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                               EXHIBIT A
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     United States Patent                                               r191                      [11]    Patent Number:                     5,604,213
     Barrie et al.                                                                                [45]    Date of Patent:                Feb. 18, 1997

     [54]     17-SUBSTITUTED STEROIDS USEFUL IN                                                Th. W. Giintert and H. H. A. Linde, "Cardiac glycosides:
              CANCER TREATMENT                                                                 Prerequisites for the development of new cardiotonic com-
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     [51]     Int. Cl. 6 ............................. A61K 31/58; C07J 43/00                  Triflats von Androsta-4---en-3, 17-dion . . . ", J. Prakt.
     [52]     U.S. Cl. ............................................... 514/176; 540/95         Chem. 335, 201-204 (1993).
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    Cardenolide ... ", Experientia 29, 449-450 (1973).
    M.     Okada and Y.           Saito,    "Synthesis    of 3
                                                                                               wherein X represents the residue of tlie A, B and C rings of
    l3-Hydroxy-5a-card-20                (22)             enolide
    (14-Deoxy-14!3-uzarigenin)", Chem. Pharm. Bull. 16,                                        a steroid, R represents a hydrogen atom or an alkyl group of
    2223-2227 (1968).                                                                          1 to 4 carbon atoms, R 14 represents a hydrogen atom and R 15
    B. K. Naidoo et al., "Cardiotonic Steroids I: Importance of                                represents a hydrogen atom or an alkyl or alkoxy group of
    14!3-Hydroxy Group in Digitoxigenin" J. Pharm. Sci. 63,                                    1-4 carbon atoms, or a hydroxy or alkylcarbonyloxy group
    1391-1394 (1974).                                                                          of 2 to 5 carbon atoms or R 14 and R 15 together represent a
    W. Schonfeld and K. R.H. Repke, "A Free-Wilson Analysis                                    double bond, and R 16 represents a hydrogen atom or an alkyl
    of 5~, 14!3-Androstane Derivatives Inhibiting the Na/K-AT-                                 group of 1 to 4 carbon atoms, in the form of the free bases
    Pase from Human Heart", Quant. Struct.-Act. Relat. 7,                                      or phannaceutically acceptable acid addition salts, are useful
    160--165 (1988).                                                                           for treatment of androgen-dependent disorders, especially
    T. Hashimoto et al., "Studies on Digitalis Glycosides XXXV                                 prostatic cancer, and also oestrogen-dependent disorders
    ... ", Chem. Pharm. Bull. 27, 2975-2979 (1979).
                                                                                               such as breast cancer.
    K-0. Haustein et al., "Structure-Activity Relationships of
    Natural and Semi-Synthetic Genins and Glycosides ... ",
    Pharmacology 10, 65-75 (1973).                                                                              22 Claims, No Drawings
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                                                                 17.beta-Pyridyl-androstane Derivatives'. Bulletin of the
   17.beta.
   (3'pyridyl)-14.beta.-Androst-4-ene-3.beta.14-diol from        Polish Academy of Sciences. Chemistry. vol. 32, No. 1-2,
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                                 1                                                                    2
         17-SUBSTITUTED STEROIDS USEFUL IN                                   4 carbon atoms, in the form of the free bases or
                 CANCER TREATMENT                                            pharmaceutically acceptable acid addition salts.
                                                                          The term "steroid" herein includes any compound having
       This specification is a continuation-in-part of PCT Appli-      the steroidal B and C rings, but in which all or part of the A
   cation PCT/GB93/00531, filed Mar. 15, 1993 and which 5 ring is missing e.g. ring not closed (lacking the 2- or
   designated the United States of America.                            3-position C-atom or both) or takes the form of a cyclopen-
                                                                       tane ring. It also includes azasteroids having a ring nitrogen
                                                                       atom in place of a ring carbon atom, especially in the A-ring
             BACKGROUND OF THE INVENTION                               such as in 4-azasteroids.
      1. Field of the Invention                                     10    In general, the compounds of formula (1) are new and
                                                                       such compounds per se are included in the invention.
      This invention relates to 17-substituted steroids and their
                                                                       However, certain of them have been disclosed as interme-
   use in the treatment of androgen~dependent and oestrogen-
                                                                       diates in the synthesis of certain steroids having a 3-pyridyl
   dependent disorders, especially prostatic cancer and breast
                                                                       or 3-pyridonyl group in the l 7P-position, see J. Wicha and
   cancer respectively.
                                                                    15 M. Masnyk, Bulletin of the Polish Academy of Sciences:
      2. Description of the Related Art                                Chemistry 33 (1-2), 19-27 and 29-37 (1985). The first of
      The 17a-hydroxylase/C 17 _20 lyase enzyme complex                these papers says that a l 7P-side chain of the form
   (hereinafter "hydroxylase/lyase") is known to be essential          -C=C-C=O or -C=C-C=N favours cardiotonic
   for the biosynthesis of androgens and oestrogens. In the            properties and describes the synthesis of I 7P-(3-pyridyl)-
   treatment of androgen-dependent disorders, especially pro- 20 14P-androst-4-ene-3P,14-diol, while the second uses this
   static cancer, there is a need for strong inhibitors ofhydroxy-     compound to prepare 17P-[3-pyrid-2(1H)onyl]-14P-an-
   lase/lyase. Certain anti-androgenic steroids are well known,        drost-4-ene-3P,14-diol. Those final compounds differ from
   for example Cyproterone acetate (17a-acetoxy-6-chloro-la,           those of the present invention by having a saturated D-ting
   2a-methylene-4,6-pregnadiene-3,20-dione). Many other                and the paper contains no test results. Insofar as certain
   steroids have been tested as hydroxylase/lyase inhibitors. 25 compounds within formula (1) are known as intermediates
   See, for example, PCT Specification WO 92/00992 (Scher-             in these syntheses, the invention extends to the compounds
   ing AG) which describes anti-androgenic steroids having a           only for use in therapy. These are 3P-acetoxy-l 7-(3-pyridy-
   pyrazole or triazole ring fused to the A ring at the 2,3-           l)androsta-5,14,16-triene and 3P,15a- and 3P,15P-diac-
   position, or European Specifications EP-A 288053 and EP-A           etoxy-17-(3-pyridyl)androsta-5,16-diene. See also J. Wicha.
   413270 (Merrell Dow) which propose l 7p-cyclopropy- 30 et. al., Heterocycles 20, 231-234 (1983 ) which is a pre-
   larnino androst-5-en-3P-ol or -4-en-3-one and their deriva-         liminary communication of the first of the above two papers.
   tives.                                                                 J. Wicha et. al., Bulletin of the Polish Academy of
                                                                       Sciences, Chemistry 32 (1-2), 75-83 (1984) have also
                                                                       described the preparation of3P-methoxy-l 7P-(3-pyridyl)an-
               SUMMARY OF THE INVENTION                             35 drostane and pyridone analogues thereof via the intermedi-
      It has now surprisingly been found that steroids lacking a       ate 3P-methoxy-l 7-(3-pyridyl)-5a-androst-16-ene. Accord-
   C 20 side chain and having a 17-(3-pyridyl) ring in its place,      ingly, the invention extends to the latter compound only for
   together with a 16,17-double bond, are powerful hydroxy-            use in therapy. A preliminary communication of this paper,
   lase/lyase inhibitors, useful for the above-stated purposes.        by J. Wicha and M. Masynk, appeared in Heterocycles 16,
                                                                       521-524 (1981).
      According to the invention, there are provided com- 40
                                                                          The invention also includes pharmaceutical compositions
   pounds of the general formula
                                                                       comprising a compound of formula (1) in association with a
                                   R                            (I)    pharmaceutically acceptable diluent or carrier. The termi-
                                                                       nology "pharmaceutical compositions" implies that
                                                                    45 injectible formulations are sterile and pyrogen-free and
                                            N                          thereby excludes any compositions comprising the com-
                                                                       pound of formula (1) and a non-sterile organic solvent, such
                                                                       as may be encountered in the context of the final stages of
                                                                       preparing these above-mentioned compounds of formula (1)
                                                                    50 which have been described in the literature but without any
                                                                       therapeutic use being mentioned.


                                                                                 DESCRIPTION OF THE PREFERRED
     wherein X represents the residue of the A, B and C rings     55                     EMBODIMENTS
       of asteroid, R represents a hydrogen atom or an alkyl              In the compounds of the invention the essential structural
       group of 1-4 carbon atoms, R 14 represents a hydrogen           features comprise all of:
       atom, a halogen atom or an alkyl group of 1 to 4 carbon
                                                                          a 3-pyridyl ring in the 17-position
       atoms and each of the R15 substituents independently
       represents a hydrogen atom or an alkyl or alkoxy group     60      a ring double bond in the 16, 17-position of the D-ring
       of 1-4 carbon atoms, a hydroxy group or an alkylcar-               the 18-position methyl group
       bonyloxy group of 2 to 5 carbon atoms or together                  It is critical that the pyridine nitrogen atom be in the
       represent an oxo or methylene group or R 14 and one of          3-position, not the 2- or 4-position. It is also critical that the
       the R 15 groups together represent a double bond and the        pyridine ring be joined directly to the 17-carbon atom. This
       other R 15 group represents a hydrogen atom or an alky1    65   criticality is demonstrated by tests of inhibiting activity
       group of 1 to 4 carbon atoms, and R 16 represents a             against hydroxylase and lyase (Table 1). The concentration
       hydrogen atom, halogen atom, or an alkyl group of 1 to          of test compound required to achieve 50% inhibition of the
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    enzyme is far greater for the 2-pyridyl, 4-pyridyl and 2-py-                           in the above-cited Specification WO 92/00992, or oxazole
    ridylmethyl compounds tested than for the 3-pyridyl. The                               ring fused in the same positions.
    methods of determination were as described in the Examples                                 By way of example, X can represent the residue of
    hereinafter.                                                                              androstan-3a- or 3~-ol,
                                                                                      5
                                                                                              androst-5-en-3a- or 3~-ol,
                                   TABLE 1
                                                                                              androst-4-en-3-one,
            Effect of variations in the 17-substitutent on inhibition of                      androst-2-ene,
            hydroxy lase and lyase, demonstrating the criticality of the
                          17-substituent in this invention.                                   androst-4-ene,
                                                                                     10       androst-5-ene,
                                                        Rl7                    (2)
                                                                                              androsta-5,7-dien-3a or 3~-ol,
                                                                                              androsta-1,4-dien-3-one,
                                                                                              androsta-3,5-diene,
                                                                                     15       estra-1,3,5[10]-triene,
                                                                                              estra-1,3,5[1 0]-trien-3-ol,
                                                                                              5a-androstan-3-one,
                                                              ICso (µM)                       androst-4-ene-3,11-dione,
                                                                                     20       6-fluoroandrost-4-ene-3-one or
    R'7                Type                           Lyase       Hydroylase
                                                                                              androstan-4-ene-3 ,6-dione
                       2-Pyridyl                       0.13           0.32                each of which, where structurally permissible, can be further
                       (for comparison)                                                   derivatised in one or more of the following ways:
                                                                                              to form 3-esters, especially 3-alkanoates and -benzoates,
                                                                                     25
                                                                                              to have one or more carbon to carbon ring double bonds
                                                                                                 in any of the 5,6-, 6,7-7,8-, 9,11- and 11,12-positions
                       3-pyridyl                       0.003          0.004
                       (present invention)                                                    as 3-oximes
                                                                                              as 3-methylenes
                                                                                     30       as 3-carboxylates
                                                                                              as 3-nitriles
                       4-pyridyl                       2.0            5.0                     as 3-nitros
                       (for comparison)
                                                                                              as 3-desoxy derivatives
                                                                                     35       to have one or more hydroxy, halo, C 1 _4 -alkyl, trifluo-
                                                                                                 romethyl, C 1 _4 -alkoxy, C 1 _4 -alkanoyloxy, benzoyloxy,
                                                                                                 oxo, methylene or alkenyl substituents in the A, B or
                       2-picolyl                      >10             >10
                       (for comparison)                                                          C-ring
                                                                                              to be 19-nor.
                                                                                     40       Preferred C 1 _4 -alkyl and alkoxy groups are methyl and
                                                                                          ethoxy.
                                                                                              Preferred C 1 _4 -alkanoyloxy groups are acetoxy and pro-
                                                                                          panoyloxy.
    Note:                                                                                     Preferred halo groups are fluoro, bromo and chloro and
    all the compounds of formula (2) tested were poor inhibitors of aromatase: 45         the preferred substitution position is the 6-position.
    IC50 >20 µM.
                                                                                              The substituents include, for instance, 2-fluoro, 4-fluoro,
    Our modelling of the geometry of the putative transition                              6-fluoro, 9-fluoro, 3-trifluoromethyl, 6-methyl, 7-methyl,
    state of the lyase component of the hydroxylase-lyase                                 6-oxo, 7-oxo, 11-oxo, 6-methylene, 11-methylene, 4-hy-
    enzyme complex, in the putative mechanism of action of the                            droxy, 7-hydroxy, 11-hydroxy or 12-hydroxy, each in any
    lyase component, suggests that the 16,17-double bond is                          50   appropriate epimeric form, and, subject to structural com-
    essential to allow the 3-pyridine ring to adopt the orientation                       patibility (well known in general steroid chemistry), in any
    required for co-ordination to the haem group of the hydroxy-                          combination of two or more such groups.
    lase-lyase complex.                                                                       Compounds which are likely to be unstable are considered
       Elsewhere, the D-ring can have any other simple substitu-                          excluded from consideration. Such compounds will be evi-
    ent. Certain simple substituents are defined in connection                       55   dent to steroid chemists. Compounds having esoteric sub-
    with the preferred general formula (1), but it will be appre-                         stituents likely to interfere with the stereochemical align-
    ciated that others could be substituted for those of formula                          ment of the steroid molecule with the enzymes to be
    (1). In the compounds of formula (1), R 15 is preferably                              inhibited, by virtue of steric or electronic distribution effects,
    hydrogen or alkyl of 1 to 3 carbon atoms, R 16 hydrogen,                              are to be avoided. For example, a 2,3,5,6-tetrafluoro-4-
    alkyl of 1 to 3 carbon atoms, fluorine, chlorine, bromine or                     60   trifluoromethylphenoxy substituent in the 3-position is not
    iodine, and R hydrogen or methyl, in the 5-position of the                            recommended. Androst-5-en-3~-ol having such an ether
    pyridine ring.                                                                        substituent in place of the 3~-hydroxy group has been shown
       The remainder of the molecule, designated "X" in formula                           to be a very poor inhibitor for lyase and hydroxylase.
    (1), can be of any kind conventional in steroid chemistry or                             The currently preferred compounds of formula (1) include
    have any other feature known in steroids having anti-                            65   those which are saturated and unsubstituted at the 11- and
    androgenic activity, for example the pyrazole or triazole                             12-positions and which therefore are of the general formula
    ring, fused to the A ring at the 2- and 3- positions, disclosed                       (3):
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                                                                        carbon atoms, most preferably ethyl or methoxy, or Z 1 and
                                  R                          (3)        Z2 together represent an alkylenedioxy group of 2 or 3
                                                                        carbon atoms and R is as defined above and carrying out said
                                                                        cross-coupling reaction.
                                          N                                The palladium complex-catalysed cross-coupling reaction
                                                                   5
                                                                        of the 17-substituted steroid with the boron compound is
                                                                        believed to involve the steps indicated in the following
                                                                        illustrative reaction scheme 1 (Py=3-pyridyl). The pyridyl
                                                                        anionic species is provided by the boron compound.
                                                                   10                            Scheme I



   wherein Q represents the residue of A, B and C rings of
   asteroid, and R is a hydrogen atom or an alkyl group of 1-4
   carbon atoms.
      However, 11- and/or 12-substituted compounds are also
   active. Particularly preferred are 11-oxo and UP-hydroxy
   derivatives of compounds of formula (3).
      Specifically preferred compounds of the invention com-
   prise
   17-(3-pyridyl)androsta-5, 16-dien-3 P-ol,
   17-(3-pyridyl)androsta-3,5, 16-triene,
   17-(3-pyridyl)androsta-4,16-dien-3-one,
   17-(3-pyridyl)estra-l ,3,5[1 OJ, 16-tetraen-3-ol,
   l 7-(3-pyridyl)-5a-androst- l 6-en-3a-ol                     25
   and their acid addition salts and 3-esters.
      Other notable compounds of the invention comprise
   l 7-(3-pyridyl)-5a-androst- l 6-en-3-one,
   17-(3-pyridyl)-androsta-4, l 6-diene-3,11-dione,
   17-(3-pyridyl)-androsta-3,5, 16-trien-3-ol,
   6a- and 6P-fluoro-17-(3-pyridyl)androsta-4,16-dien-3-one 30
   17-(3-pyridyl)androsta-4, 16-dien-3 ,6-dione,
   17-[3-(5-methyl pyridyl)]androsta-5,16 dien-3P-ol
   3a-trifluoromethyl-17-(3-pyridyl)androsta-16-en-3P-ol             The replacement of the 17-enol group can be, for
   and their acid addition salts and 3-esters.                     example, to form a 16, 17-ene trifluoromethanesulphonate
      Insofar as certain compounds within formula (1) are 35 ("triflate") of formula (6):




                                                                                         x!1f~~'
   known per se and these are compounds which are less easy                                                              (6)
   to prepare than many of the others, a preferred class of
   compounds of formula (1) is those which do not have a
   3P-alkoxy group, a 14,15-double bond or a 15-ester group.
      The compounds of formula (1) can be prepared by a 40
   method which is in itself novel and inventive. Starting from
   a 17-oxo compound of general formula (4):                                              R15

                                                             (4)        or a 17-iodo or bromo-16,[17]-ene (a "vinyl halide") of
                                                                        formula (7):
                                                                   45
                                                                                                                                 (7)




   wherein X, R 14, R 15 and R 16 are as defined above and any 50
   other oxo groups and hydroxy groups in the molecule are
   first appropriately protected, the method comprises replac-       (Hal=I or Br)
   ing the 17-hydroxy group of compound (4) in its enol form            Compounds of formula (6) can be prepared by reacting
   by a leaving group (L) which is capable of being replaced by      the 17-oxo compound of formula (4) with an enol ester-
                                                                  55
   a 3-pyridyl group in a palladium complex-catalysed cross-         forming trifluoromethanesulphonic acid derivative such as
   coupling reaction with a pyridyl ring-substituted boron           the anhydride, see S. Cacchi, E. Morera and G. Ortar,
   compound of formula (5):                                          Tetrahedron Letters, 25, 4821 (1984). The 17-oxo compound
                                                                     can be considered notionally to exist in the enol form, the
                           R                                  (5)
                                                                     reaction being one of esterification of the enol.
                                                                  60
                                                                        For the preparation of the 17-position derivatives of



                          C>
                                                                     formula (6) or (7) any necessary protection of other groups
                                                                     in the molecule may be first carried out. For example in the
                                                                     triflate route hydroxyl groups are conveniently protected as
                                                                     their acetates, whilst in the vinyl halide route the 3-oxo
                           Bz z
                              1 2
                                                                  65 group of steroids can be selectively protected as their
   wherein Z 1 and Z 2 independently represent hydroxy or            perfluorotolyl enol ethers, see M. Jarman and R. McCague,
   alkoxy or alkyl of 1-4 carbon atoms each, preferably 1-3          J.Chem. Soc. Perkin Trans. 1, 1129 (1987).
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                                   7                                                                      8
       Compounds of formula (7) can be prepared by first                                               -continued
                                                                                                        Scheme 2
    hydrazinating the 17-oxo compounds of formula (4) by a
                                                                                      R
    standard method to form the 17-hydrazone, which is then
    reacted with bromine or iodine in the presence of an amine 5
    or guanidine base, see D. Barton, G. Bashiardes and J.                                     N
    Fourmy, Tetrahedron Letters, 24, 1605 (1983).
       The 17-position derivative (whether triflate or vinyl
    halide) is then reacted with the boron compound of formula                                     R




                                                                                                   C>
    (5) using as catalyst a palladium(0) phosphine complex, for
    example tetrakis(triphenylphosphine)palladium(0), or a pal-
    ladium (II) phosphine complex which is reducible in situ to
    a palladium(0) phosphine species, especially bis(triph- 15                                       BBZ1Z2/             (Hal= I or Br)
                                                                                                  Palladium (O)-
    enylphosphine)palladium (II) chloride.
                                                                                                   Ph3P complex
                                                                                             e.g. from PdC'2(Ph3P)2


                SUMMARY OF THE INVENTION                             20        The principle of this aspect of the invention may be
                                                                            expressed as a method of preparing a 3~-hydroxy- or
       The vinyl halide route, via a compound of formula (7), is            3 ~-(lower      acyloxy )-16, 17-ene-17-(3-pyridyl)-substituted
    particularly well suited to the preparation of 3~-acyloxy-16,           steroid,  wherein  the 3~-(lower acyloxy) group of the steroid
                                                                            has from 2 to 4 carbon atoms, which comprises subjecting
    l 7-cnc-17-(3-pyridyl) steroids, especially the preferred 25 a 3~-hydroxy-16,17-ene-17-iodo or-bromo steroid to a pal-
    compound, 3~-acetoxy-17-(3-pyridyl)androsta-5, 16-diene,                ladium complex-catalysed cross-coupling reaction with a
    of formula (8):                                                         (3-pyridyl)-substituted borane, in which the pyridine ring is
                                                                            substituted at the 5-position by an alkyl group of 1 to 4
                                                                     (8)    carbon atoms or is unsubstituted thereat, especially with a
                                                                         30 said borane of formula (5), wherein R is a hydrogen atom or
                                                        N
                                                                            an alkyl group of 1-4 carbon atoms and Z 1 and Z 2 inde-
                                                                            pendently represent hydroxy or alkoxy or alkyl or 1-3
                                                                            carbon atoms each or Z 1 and Z2 together represent an
                                                                            alkylenedioxy group of 2 or 3 carbon atoms, in a proportion
                                                                         35 of at least 1.0 equivalent of boron compound per equivalent
                                                                            of steroid, in an organic liquid, which is a solvent for the
                                                                            3~-hydroxy steroidal reaction product, and optionally esteri-
                                                                            fying the 3~-hydroxy reaction product to the 3~-acyloxy
                                                                            ester, which method comprises feature (a) or (b) above.
                                                                         40    Preferably the vinyl iodide or bromide is unsubstituted in
    but using the unprotected 3~-hydroxy compound as starting               the 14, 15 and 16-positions, in which case it can be prepared
    material. By-products can be reduced either (a) by keeping              from dehydroepiandrosterone (DHEA). In the hydrazination
    the proportion of organoboron compound (borane) used in                 it is preferable to use hydrazine hydrate together with a
                                                                            catalytic amount of a proton provider which is most pref-
    the cross-coupling reaction within the range 1.0 to 1.2
                                                                         45 erably hydrazine sulfate.
    equivalents per equivalent of steroid or (b) by crystallising              The hydrazone is preferably iodinated with iodine or
    the reaction product of the cross-coupling reaction from a              brominated with bromine in the presence of a strong base
    mixture of acetonitrile and methanol. This route via the vinyl          such as a tetraalkylguanidine, especially tetramethylguand-
                                                                            ine which is cheaply and readily available.
    iodide intermediate is therefore amenable to large scale 50                In the cross-coupling reaction, the boron compound is
    synthesis, and is shown in Scheme 2 below.                              preferably a diethylborane or a dimethoxyborane (Z 1=Z2 =Et
                                                                            or OMe). Other boranes include those in which the boron
                                Scheme 2
                                                                            atom is part of a cyclic ether ring e.g. as in z1, Z 2=1,2-
                                                                            ethylenedioxy or 1,3-propylenedioxy. In embodiment (a) of
                                                                         55 this aspect of the invention the proportion of borane added
                                                                            is at least 1.0, but no more than 1.2 equivalents of boron per
                                                                            equivalent of steroid, preferably about 1.1, but in the
                                                                            embodiment (b) a higher proportion is preferred, e.g. from
                                                                            1.2:1 to 1.5:1 equivalents of boron compound to steroid. The
                                                                         60 higher proportion will give the better yield of product but
                                                                            also more of the contaminating boron, phosphine and/or
                                                   I,orBr2/




                                                1
                                                   amine or                 palladium    compounds. According to embodiment (b), how-
                                                   guanidine base           ever, these are removed with the acetonitrile solvent. In
                                                   (lit. ref. given)        either embodiment, the palladium compound is a palladium
                                                                         65 (0) phosphine complex such as tetrakis(triphenylphosphine)
                                                                            palladium (0) or a compound reducible to a palladium (0)
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                                                             5,604,213
                                  9                                                                     10
    phosphine species, especially bis(triphenylphosphine) pal-             ii) Wittig olefination to convert oxo groups to methylene
    ladium (II) chloride. The reaction vessel is preferably purged             groups [D. D. Evans et al., J. Chem. Soc., 4312-4317,
    with an inert gas, especially argon or nitrogen, to minimise               (1963)];
    the possibility of oxidation with a corresponding redox                iii) Oxidation of A5 -3P-hydroxy to A4 -3,6-dione steroids
    reduction of palladium to the metallic state.                    5         using N-methylmorpholine N-oxide and tetra-n-propy-
       The cross-coupling reaction is preferably carried out in                lammonium perruthenate catalyst [M. Moreno et al.,
    two phases, one aqueous, one organic. The organic phase                    Tetrahedron Letters, 32, 3201-3204, (1991)];
    comprises an organic solvent for the 3p-hydroxy steroidal              iv) 6-Methylenation of 6 4 -3-oxo steroids using formalde-
    reaction product, especially tetrahydrofuran (THF). Other                  hyde dimethylacetal [K. Annen et al., Synthesis, 34-40
    cyclic ethers such as dioxane could be used in place ofTHF.
                                                                     10        (1982)];                                  .
    Preferably, a nucleophilic activator, such as sodium carbon-
    ate, is used, in which case it is normally present in the              v) Conversion of A4 -3-oxo to 4,4-dimethyl-~5 -3-oxo, ~ 1 •4 -
    aqueous phase.                                                             3-oxo, ~ l.4, 6 -3-oxo, 7a-methyl-A4 -3-oxo, ~4 •6 -3-oxo,
       After the reaction, inorganic salts can be removed by first             6-chloro-A- 4 •6 -3-oxo, A2 •4 -2,3~isoxazole, 6a-methyl-~4 -
    adding another organic solvent, preferably diethyl ether,                  3-oxo and A4 -3-desoxy; ~ 5 -3P-ol to 5a-fluoro-6-oxo,
    which is a solvent for the organoboron contaminants pro-         15       5a,6,6-trifluoro, 6,6-difluoro and 6a-fluoro-A4 -3-oxo;
   duced in the reaction product, and miscible with the first-                and 11-oxo to 11-hydroxy and ~ 9 •11 steroids [D. Lednicer
   mentioned organic solvent (e.g. THF), but immiscible with                  and L. A. Mitscher, The Organic Chemistry of Drug
   water, whereafter the organic, e.g. THF-diethyl ether, phase               Synthesis, ls. 2 and 3, Wiley (1980 and 1984)] or
    and water (aqueous phase) can be separated. After this                vi) Electrophilic fluorination of steroids using N-fluoropy-
    separation, various work-up procedures are operable. In one      20       ridinium reagents [T. Umenoto et al., Organic Synthesis
   procedure, particularly suited to embodiment (a), the THF                  69, 129-143 (1990)].
    and diethyl ether are removed, e.g. evaporated as a mixture,              The compounds of formula (1) may be prepared as salts,
    and the remaining reaction product is washed with a third             e.g. the hydrochloride and converted to the free base form
   organic solvent, which can be diethyl ether, preferably                and thereafter to such other conventional pharmaceutically
   cooled to below room temperature, most especially to 10° C.       25   acceptable salts as acetates, citrates and lactates, as may
   or lower. The third organic solvent is one in which the                seem appropriate.
   3 P-hydroxy steroid reaction product has a low solubility and              The present invention also provides a pharmaceutical
   which, importantly, removes the organoboron compound/s                 composition which comprises a therapeutically effective
   (and also the contaminating phosphine and palladium com-
                                                                          amount of a compound of the invention, in association with
   pound/s). Diethyl ether is preferred.
                                                                     30   a therapeutically acceptable carrier or diluent. The compo-
       A different work-up procedure, used in embodiment (b),
   comprises crystallisation from acetonitrile/methanol. Aceto-           sition of the invention can, for example, be in a form suitable
   nitrile is a preferred crystallisation solvent to keep boron           for parenteral (e.g. intravenous, intramuscular or intracavi-
   compound as well as palladium compound in solution and is              tal), oral, topical or rectal administration. Particular forms of
   therefore used in an excess over methanol e.g. an excess of            the composition may be, for example, solutions, suspen-
   at least 5:1 and preferably about 8:1 by volume.                  35   sions, emulsions, creams, tablets, capsules, lipsomes or
      To prepare the 3P-acyloxy (alkylcarbonyloxy) com-                   micro-reservoirs, especially compositions in orally ingest-
   pounds, of which the acetoxy compound is preferred, stan-              ible or sterile injectable form. The preferred form of com-
   dard acylating (acyl-esterification) agents such as acetyl,            position contemplated is the dry solid form, which includes
   propionyl or butyryl chloride or anhydride can be used. The            capsules, granules, tablets, pills, boluses and powders. The
   final esterification product may be crystallised direct from      40   solid carrier may comprise one or more excipients, e.g.
   hexane, rather than from ethanol/water followed by hexane.             lactose, fillers, disintegrating agents, binders, e.g. cellulose,
   Preferably, the work-up procedure comprises reverse phase              carboxymethylcellulose or starch or anti-stick agents, e.g.
   chromatography, i.e. using a relatively lipophilic solid               magnesium stearate, to prevent tablets from adhering to
   phase. In this procedure, the chief by-product, a bis-steroidal        tabletting equipment. Tablets, pills and boluses may be
   compound, is preferentially retained on the solid phase and       45   formed so as to disintegrate rapidly or to provide slow
   can be eluted with a good separation from the desired                  release of the active ingredient.
   product.                                                                   The present invention also includes a method of treating
      Further compounds of the invention can be prepared by               androgen- and oestrogen-dependent disorders, especially
   standard steroid to steroid inter-conversion chemistry, so             tumours, and most especially pro static tumours, in the
   long as the D-ring chemical structure is not affected thereby.    50   mammalian body, which comprises administering a com-
   If the D-ring structure is likely to be affected, it would             pound of the invention to a mammalian patient in a thera-
   usually be necessary to prepare the desired compound de                peutically effective dose, e.g. in the range 0.001-0.04
   novo, i.e. by choosing the appropriate starting compound of            mmole/kg body weight, preferably 0.001-0.01 mmole/kg,
   formula (4), protected if necessary, and carrying out the              administered daily or twice daily during the course of
   reactions of 17-substitution of the enol and cross-coupling       55   treatment. This works out (for humans) at 20-800 mg/pa-
   with the boron compound as described above.                            tient per day. The preferred use is in treating prostatic cancer.
      By way of example, the 3-esters of asteroid 3-ol with an            Another use is in treating breast cancer.
   alkanoic acid of 1 to 6 carbon atoms, or a cycloalkanoic acid              The following Examples illustrate the invention.
   or aralkanoic acid such as phenylacetic or phenylpropionic
   acid, an aroic acid such as benzoic acid, or other simple         60
                                                                                                 EXAMPLE 1
   organic acid such as methanesulphonic acid, can be con-
   verted into the 3-ol or the 3-ol to the 3-ester. Other examples      (a) 3P-Acetoxyandrosta-5,16-dien-17-yl trifluoromethane-
   of simple conversions which would not affect the D-ring              sulphonate
   structure are                                                           To a stirred solution of dehydroepiandrosterone-3-acetate
   i) Oppenauer oxidation using cyclohexanone and aluminium          65 (24.8 g, 75 mmol) in dry dichloromethane (500 ml) con-
      isopropoxide to convert 3-hydroxy to 3-oxo steroids and           taining 2,6-di-t-butyl-4-methylpyridine (18.5 g, 90 mmol)
      notably A5 •6 -3-hydroxy to A4 •5 -3-oxo steroids;                was added trifluoromethanesulphonic anhydride (12.6 ml,
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                                                              5,604,213
                                  11                                                                  12
     75 mmol). After 12 h the mixture was filtered and washed           ane, m.p. 110°-112° C. 1H-NMR (CDC13) inter alia
     with water (50 ml), dried (MgSO4 ), and the solvent evapo-         ol.02(3H,s,19-CH3), 1.07(3H,s,18-CH3), 5.44(1H,m,6-H),
     rated. Chromatography, on elution with light petroleum-           5.61(1H,m,3-H), 5.95(1H,dm, J 9.8 Hz, 4-H), 6.0l(lH,m,
     dichloromethane (6: 1), gave firstly androsta-3,5,16-trien-17-     16-H), 7.23(1H,m,Py 5-H), 7.66(1H,m,Py 4-H), 8.46(1H,m,
     yl trifluoromethanesulphonate (3.02 g, 10%) as an oil. 5 Py 6-H), 8.63(1H,m,Py 2-H); MS m/z 331 (M+).
     1
       H-NMR(CDC1 3) inter alia 150.99 (3H,s,18-CI:h), 1.02(3H,
     s,19-CH3), 5.39(1H,m,6-H), 5.59(1H,m,16-H), 5.62(1H,m,                                    EXAMPLE4
     3-H), 5.93(1H,dm,J 9.4 Hz,4-H); MS m/z 402(M+). Further
                                                                        (a)    3-[2,3,5,6-tetrafluoro-4-(trifluoromethyl)phenoxy]an-
     elution with light petroleum-dichloromethane (3:1) afforded
                                                                       drosta-3,5,16-trien-l 7-yl trifluoromethanesulphonate
     the title compound (20.1 g, 58%) which crystallised from 10
                                                                           The method followed that described in Example l(a) but
     hexane, m.p. 75°-76° C. 1 H-NMR(CDC1 3) inter alia
                                                                       using 3-[2,3,5,6-tetrafluoro-4-(trifluoromethyl)phenoxy]an-
     ol.00(3H,s, 18-CH3), 1.06(3H, s,19-CH3), 2.04(3H,s,C
                                                                       drosta-3,5-dien-17-one (5.03 g, 10 mmol), prepared as
    H3CO 2 ), 4.59(1H,m,3a-H), 5.39(1H,dm,J 4.9 Hz,6-H),
                                                                       described in M. Jarman and R. McCague, J. Chem. Soc.,
     5.58(1H,m,16-H). Anal. Calcd: C,57.13; H,6.32; S,6.93.
                                                                       Perkin Trans. 1, 1129 (1987), dichloromethane (80 ml),
    Found: C,57.29; H,6.31; S,6.96%.                                15
                                                                       2,6-di-t-butyl-4-methylpyridine (2.87 g, 14 mmol), and tri-
     (b) 3P-Acetoxy-17-(3-pyridyl)androsta-5,16-diene
                                                                       fluoromethanesulphonic anhydride (1.85 ml, 11 mmol).
        Diethyl(3-pyridyl)borane (3.38 g, 23 mmol) from Aldrich
                                                                       Chromatography, on elution with light petroleum-dichlo-
    Chemical Co. Ltd. was added to a stirred solution of
                                                                       romethane ( 10: 1), afforded the title compound ( 1. 93 g, 30%)
    3 P-acetoxyandrosta-5, 16-dien-17-yl          trifluoromethane-
                                                                       which crystallised from ethanol, m.p. 106°-107° C.
     sulphonate (6.94 g, 15 mmol) in THF (75 ml) containing 20 1
                                                                         H-NMR (CDC1 3) inter alia ol.02(6H,s,18 and 19-CH3),
    bis(triphenylphosphine)palladium(II) chloride (0.105 g,
                                                                       5.16(1H,s,4-H), 5.28(1H,m,6-H), 5.59(1H,m,16-H); MS
    0.15 mmol). An aqueous solution of sodium carbonate (2M,
                                                                       m/z 634 (M+).
    30 ml) was then added and the mixture heated, with stirring,
                                                                       (b) 3-[2,3,5,6-tetrafluoro-4-(trifluoromethyl)phenoxy]-17-
    by an oil bath at 80° C. for 1 h, and allowed to cool. The
                                                                       (3-pyridyl)androsta-3,5, 16-triene
    mixture was partitioned between diethyl ether and water, the 25
                                                                           The method essentially followed that of Example l(b) but
    ether phase was dried (Na2 CO3), filtered through a short
                                                                       using diethyl(3-pyridyl)borane (0.44 g, 3.0 mmol), 3-[2,3,
    plug of silica, and concentrated. Chromatography, on elution
                                                                       5,6-tetrafluoro-4-(trifluoromethyl)phenoxy]androsta-3,5,
    with light petroleum-diethyl ether (2: 1), afforded the title
                                                                       16-trien-17-yl trifluoromethanesulphonate (1.27 g, 2.0
    compound (4.95 g, 84%) which crystallised from hexane,
                          1                                            mmol), THF (10 ml), bis(triphenylphosphine)palladium(II)
    m.p. 144°-145° C., H-NMR(CDC1 3) inter alia ol.05(3H,s, 30
                                                                       chloride (70 mg, 0.1 mmol), and aqueous sodium carbonate
     19-CH3),       1.08(3H,s, 18-CH3),        2.04(3H,s,CH3CO 2 ),
                                                                       (2M, 5 ml). Chromatography, on elution with light petro-
    4.60(1H,m,3a-H), 5.42(1H,dm, J 4.7 Hz,6-H), 5.99(1H,m,
                                                                       leum-diethyl ether (3:1), afforded the title compound (0.82
     16-H), 7.23(1H,m,Py 5-H) 7.65(1H,m,Py 4-H), 8.46(1H,m,
                                                                       g, 73%) which crystallised from hexane, m.p. 166.0°-166.5°
    Py 6-H), 8.62(1H,m,Py 2-H). Anal. Calcd: C, 79. 75; H, 8.50;
                                                                       C. 1 H-NMR (CDC1 3) inter alia ol.05(3H,s,19-CH3),
    N, 3.58. Found: C, 79.78; H, 8.52; N, 3.54%.                    35
                                                                       1.07(3H,s,l 8-CH3),       5.18(1H,s,4-H),     5.32(1H,m,6-H),
                            EXAMPLE 2                                  6.0l(lH,m,16-H), 7.23(1H,m,Py 5-H), 7.66(1H,m,Py 4-.
                                                                       H), 8.47(1H,m,Py 6-H), 8.63(1H,m,Py 2-H). Anal. Calcd: C,
    17-(3-Pyridyl)androsta-5, 16-dien-3P-ol                            66.07; H, 5.01; N, 2.49; F, 23.60. Found: C, 65.97; H, 5.02;
        To a solution of 3 P-acetoxy-17-(3-pyridyl)androsta-5, 16-     N, 2.47; F, 23.41%.
                                                                    40
    diene (4.90 g, 12.5 mmol) in methanol (50 ml) was added an         (c) 17-(3-Pyridyl)androsta-4,16-dien-3-one
    aqueous solution of sodium hydroxide (10% w/v, 10 ml) and             To solution of 3-[2,3,5,6-tetrafluoro-4-(trifluorometh-
    the mixture heated, with stirring, on an oil bath at 80° C. for    yl)phenoxy ]-17-(3-pyridyl)androsta-3,5, 16-triene (0.423 g,
    5 min., then allowed to cool. The mixture was poured into          0.75 mmol) in THF (5 ml) was added ethanol (5 ml)
    water, neutralised with hydrochloric acid (lM), rebasified         followed by aqueous hydrochloric acid (IM, 5 ml) and the
                                                                    45
    with saturated sodium bicarbonate solution, and extracted          mixture heated, with stirring, by an oil bath at 65° C. for 48h
    with hot toluene (3xl 00 ml). The toluene extracts were            and allowed to cool. The mixture was poured into water (20
    combined, dried (N½CO 3), and concentrated. Chromatog-             ml), neutralised with aqueous sodium hydroxide (IM), and
    raphy, on elution with toluene-diethyl ether (2:1) afforded        extracted with diethyl ether (3x30 ml). The ether extracts
    the title compound (3.45 g, 79%) which crystallised from           were combined, dried (N½CO 3), and concentrated. Chro-
                                                                    50
    toluene, mp 228°-229° C.; 1 H-NMR (CDC1 3 inter alia               matography, on elution with diethyl ether, afforded the title
    ol.05(3H,s,19-CH3), 1.07(3H,s,18-CH3), 3.54(1H,m,3a-               compound (185 mg, 71 %) which crystallised from diethyl
    H), (5.40H,dm,J 5.0 Hz, 6-H), 5.99(1H,m,16-H), 7.22(1H,            ether, m.p. 148°-150° C. IR vmax 1674 cm-; 1 H-NM-
    m,Py5-H), 7.65(1H,m,Py 4-H), 8.46(1H,m,Py 6-H),                    R(CDC13) inter alia ol.07(3H,s,18-CH3), 1.24(3H,s,19-C
    8.62(1H,m,Py 2-H). Anal. Calcd: C, 82.47; H, 8.94; N, 4.01.        H 3), 5.76(1H,s,4-H), 5.99(1H,m,16-H), 7.23(1H,m,Py 5-
                                                                    55
    Found: C, 82.40; H, 8.91; N, 3.97%.                                H), 7.64(1H,m,Py 4-H), 8.47(1H,m,Py 6-H), 8.62(1H,m,Py
                                                                       2-H); MS m/z 347 (M+).
                            EXAMPLE 3
                                                                                               EXAMPLES
    17-(3-Pyridyl)androsta-3,5, 16-triene
        The method followed that described in Example 1, using 60 (a)          3-Acetoxyestra-l,3,5[10],16-tetraen-17-yl        trifluo-
    in step (b) diethyl(3-pyridyl)borane (0.88 g, 6.0 mmol),           romethanesulphonate
    androsta-3,5,16-trien-17-yl        trifluoromethanesulphonate         The method followed that described in Example l(a), but
    (2.01 g, 5.0 mmol), prepared in step (a), THF (25 ml),             using oestrone-3-acetate (4.69 g, 15 mmol), dichlo-
    bis(triphenylphosphine)palladium(II) chloride (35 mg, 0.05         romethane (120 ml), 2,6-di-t-butyl-4-methylpyridine (4.00
    mmol), and aqueous sodium carbonate (2M, 10 ml). Chro- 65 g, 19.5 mmol), and trifluoromethanesulphonic anhydride
    matography, on elution with dichloromethane, afforded the          (2.8 ml, 16.5 mmol). Chromatography, on elution with light
    title compound (1.39 g, 84%) which crystallised from hex-          petroleum-dichloromethane (3:1), afforded the title com-
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                                                              5,604,213
                                  13                                                                  14
    pound (5.21 g, 78%). 1H-NMR(CDC1 3) inter alia ol.00(3H,             2-H). Anal. Calcd: C, 82.00; H,9.46; N,3.99. Found:
    s,18-CI:h), 2.29(3H,s,C1::bCO2), . 5.62(1H,m, 16-H),                 C,81.78; H,9.47; N.3.96%.
    6.81(1H,m,ArH), 6.85(1H,m,ArH), 7.26(1H,m,ArH). Anal.
    Calcd. for C21 H 23 O5F3S 1 .1/2H 2 O: C, 55.62; H, 5.34. Found:                            EXAMPLE 9
    C, 55.58: H, 5.14%.                                               5
    (b) 3-Acetoxy-17-(3-pyridyl)estra-1,3,5[10],16-tetraene               17-(3-Pyridyl)-5a-androst-l 6-en-3-one
       The method followed that described in Example l(b), but              From a solution of 17-(3-Pyridyl)-5a-androst-16-en-3a-
    using diethyl(3-pyridyl)borane (1.65 g, 11.2 mmol), 3-ac-            ol (1.05 g, 3.0 mmol) in dry toluene (60 ml) and cyclohex-
    etoxyestra-1,3,5[1 O], 16-tetraen-17-yl        trifluoromethane-     anone (10 ml) was distilled off part of the solvent (20 ml) to
    sulphonate (3.56 g, 8.0 mmol), THF (40 ml), bis(triph- 10 eliminate moisture. After allowing to cool to 90° C., alu-
    enylphosphine)palladium(II) chloride (56 mg, 0.08 mmol),             minium isopropoxide (1.02 g, 5.0 mmol) was added and the
    and aqueous sodium carbonate (2M, 15 ml).                            mixture heated under reflux for 90 min. then allowed to cool.
       Chromatography, on elution with light petroleum-diethyl-          The mixture was diluted with diethyl ether (250 ml), washed
    ether (2:1) afforded the title compound (2.40 g, 80%).               with aqueous trisodium citrate (15% w/v; 2x30 ml), dried
    1
     H-NMR(CDC1 3) inter alia ol.04(3H, s,18-CH), 2.29(3H, s, 15 (Na2 CO3), and concentrated. Chromatography, on elution
    CI:hCO 2 ), 6.03(1H,m,16-H), 6.82(1H,m,ArH), 6.85(1H,m,              with toluene-methanol (40:1), afforded the title compound
    ArH), 7.24(1H,m,Py 5-H), 7.29(1H,m,ArH), 7.69(1H,m,Py                (0.90 g, 86%) which crystallised from toluene, m.p.
    4-H), 8.48(1H,m,Py 6-H), 8.65(1H,m,Py 2-H); MS m/z 373.              190°-192° C. IR vmax 1713 cm- 1; 1H-NMR (CDC1 3) inter
    (M+).                                                                alia ol.04 (3H,s,19-CH3), 1.07 (3H,s,18-CH 3), 5.98 (IH,M,
                                                                     20 16-H), 7.22 (IH,m,Py 5-H), 7.64 (IH,m,Py 4-H), 8.46

                           EXAMPLE 6                                     (IH,m,Py 6-H), 8.61 (IH,m,Py 2-H); MS m/z 349 (M+).
                                                                         Anal. Calcd: C,82.47; H,8.94; N,4.01. Found: C,82.00;
    17-(3-Pyridyl)estra-l ,3,5[1 O], 16-tetraen-3-ol                     H,8.94; N,3.84[ {]jf44a
       The method followed that described in Example 2, but              EXAMPLE 10
    using 3-acetoxy-17-(3-pyridyl)estra-l ,3,5[10], 16-tetraene 25          a) 3-(tert-Butyldimethylsiloxy)androsta-3,5-diene-11,17-
    (2.36 g, 6.3 mmol), methanol (40 ml), aqueous sodium                 dione
    hydroxide (10% w/v, 5 ml), and the mixture was heated at                To a solution of adrenosterone (6.0 g, 20 mmol) in dry
    80° C. for 10 min. Chromatography, on elution with toluene-          dichloromethane (120 ml) was added triethylamine (8.4 ml,
    methanol (8:1), afforded the title compound (1.40 g, 67%)            60 mmol) followed by tert-butyldimethylsilyl trifluo-
    which crystallised from toluene, m.p. 256°-258° C.: 30 romethanesulfonate (5.0 ml, 22 mmol) and the mixture
    1H-NMR(DMSO) inter alia ol.01(3H,s,18-Clh), 6.15(1H,                 stirred at room temperature for 3 h. The dichloromethane
    m,16-H), 6.47(1H,m,ArH), 6.52(1H,m,ArH), 7.04(1H,m,                  was evaporated and the residue redissolved in diethyl ether
    ArH), 7.35(1H,m,Py 5-H), 7.79(1H,m,Py 4-H), 8.45(1H,m,               (100 ml), then allowed to stand for 30 min, after which time
    Py 6-H), 8.62(1H,m,Py 2-H). Anal. Calcd: C, 83.34; H, 7.60;          an oil separated. The ether phase was decanted off the oil and
    N, 4.23. Found: C, 83.39; H, 7.78; N, 4.06%.                     35 the solvent evaporated to give the title compound which was
                                                                         used directly in step (b). IR vmax 1705, 1747 cm-1; 1H-NM-
                           EXAMPLE?                                      R(CDC13) inter alia o0.12 (6H,s,Me 2Si), 0.85 (3H,s,18-C
                                                                         H3), 0.92 (9H,s,'BuSi) l.17(3H,s,19-CH3), 4.73 (IH,dm, J
    3a-Acetoxy-17-(3-pyridyl)-5a-androst-16-ene                          6.9 Hz, 6-H), 5.36 (IH,m,4-H).
       The method followed that described in Example 1, using 40 b) 13-(tert-Butyldimethylsiloxy)-11-oxo-androsta-3,5, 16-
    in step (b) diethyl(3-pyridyl)borane (1.41 g, 9.6 mmol),             trien-17-yl trifluoromethanesulfonate
    3a-acetoxy-5a-androst-l 6-en-17-yl             trifluoromethane-        To a solution of the product from step (a) in dry THF (100
    sulphonate (3.44 g, 7.4 mmol), prepared from the 3a-ac-              ml), cooled to -78° C., was added a freshly· prepared
    etoxy-5a-androstan-17-one by the method of step (a), THF             solution of lithium diisopropylamide [prepared by adding
    (40 ml), bis(triphenylphosphine)palladium(II) chloride (52 45 n-butyllithium (1.6M; 13.8 ml, 22 mmol) in hexane to a
    mg, 0.07 mmol), and aqueous sodium carbonate (2M, 15                 solution of diisopropylamine (3.1 ml, 22 mmol) in dry THF
    mmol). Chromatography, on elution with light petroleum-              (25 ml) at-18° C.] and the resultant yellow solution stirred
    diethyl ether (2:1), afforded the title compound (2.39 g,            at -78° C. for 30 min. A solution of N-phenyltrifluo-
    82%), 1H-NMR (CDC1 3) inter alia &l.85(3H,s, 19-CH3),                romethanesulfonimide (7 .15 g, 20 mmol) in dry THF (20 ml)
    1.01(3H,s,18-CH3), 2.06(3H,s,CH3CO 2 ), 5.02(1H,m,3~-H), 50 was then added and after an additional 1 h. at - 78° C. was
    6.00(IH,m,16-H), 7.24(1H,m,Py 5-H), 7.68(1H,m,Py 4-                  allowed to reach ambient temperature. The reaction mixture
    H), 8.47(1H,m,Py 6-H), 8.63(1H,m,Py 2-H); MS m/z 393                 was poured into water (200 ml) and extracted with diethyl
    (M+).                                                                ether (2x200 ml), the combined ether extracts were washed
                                                                         with water (20 ml), dried Na2CO 3), and concentrated to give
                                                                     55 the title compound which was used directly in step (c). IR
                           EXAMPLE 8
                                                                         vmax 1710 cm-1, 1 H-NMR (CDC1 3) inter alia &l.13 (6H,
    17-(3-Pyridyl)-5a-androst-l 6-en-3a-ol                              -s,Me2 Si), 0.92 (9H,s,'Bu Si), 1.35 (6H,2s,18-CH3 and 19-
       The method followed that described in Example 2, but              CH3), 4.75 (IH,m,6-H) 5.38 (IH,s,4-H), 5.68 (IH,m,16-H).
    using 3a-acetoxy-17-(3 -pyridyl)-5a-androst-l 6-ene (2.33            c) 3-(tert-Butyldimethy lsiloxy)-1 7-(3-pyridy l)androsta-3,5,
    g, 5.9 mmol), methanol (40 ml), aqueous sodium hydroxide 60 16-trien-11-one
    (10% w/v, 8 ml), and the mixture was heated at 80° C. for               The method essentially followed that described in
    20 min. Chromatography, on elution with toluene-methanol             Example l(b), but using the 13-(tert-butyldimethylsiloxy)-
    (40:1 ), afforded the title compound (1.62 g, 78%) which             11-oxo-androsta-3,5,16-trien-17-yltrifluoromethane-
    crystallised from toluene, m.p. 198°-199° C.; 1 H-NM-                sulfonate from step (b), diethyl (3-pyridyl)borane (3.53 g, 24
    R(CDC13) inter alia. &l.84(3H,s,19-CH3), 1.00(3H,s,18-C 65 mmol)'. THF (100 ml), bis(triphenylphosphine)palladium
    H3), 4.06(1H,m,3~-H), 5.97(1H,m,16-H), 7.21(1H,m,Py 5-               (II) chloride (280 mg, 0.4 mmol), and aqueous sodium
    H), 7.64(1H,m,Py 4-H), 8.45(1H,m,Py 6-H), 8.61(1H,m,Py               carbonate (2M;50 ml). Following work-up as described in
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                                    15                                                                   16
     Example l(b) the title compound was obtained, which was              Further elution afforded:
     used directly in step (d). IR vmax 1705 cm-1, 1H-NMR                 ii) The title 6a-epimer (8 mg, 11 %) as white crystals, m.p.
     (CDC1 3 ) inter alia 80.13 (3H,s,Me2 Si), 0.93 (9H,s,'BuSi),      167°-169° C., IR vmax 1681 cm- 1 ; 1 H-NMR (CDC1 3 ) inter
     0.99 (3H,s,18-CH 3 ), 1.18 (3H,s,19-CH 3 ), 4.75 (lH,m,6-H)       alia 81.07 (3H,s,18-CH 3 ), 1.24 (3H,s,19-CH 3 ), 5.18 (lH,
     5.37 (lH,m,4-H), 6.09 (lH,m,16-H), 7.26 (lH,m,Py 5-H), 5 dm,JH-F 48 Hz, 6P-ID, 5.98 (ZH,m,4-H and 16-H), 7.26
     7.62 (lH,m,Py 4-H), 8.50 (lH,m,Py 6-H), 8.60 (lH,m,Py 2-          (lH,m,Py 5-H), 7.64 (lH,m,Py 4-H), 8.40 (lH, m,Py6-H),
     H). MS m/z 475 (M+).                                              8.63 (lH,m,Py 2-H). 19F-NMR (CDC1 3 ) 8-183.9 (d,JH-F 48
     d) l 7-(3-Pyridyl)androsta-4,16-diene-3,ll-dione                  Hz, 6a-E). MS m/z 365 (M+).
        To a solution of the product from step (c) in wet THF (60
     ml) was added a solution of tetrabutylammonium fluoride 10                               EXAMPLE 14
     (I.OM; 10 ml, 10 mmol) in THF, and the mixture stirred at         l 7-(3-pyridyl)androsta-4,16-dien-3-one (via Oppenauer
     room temperature for 12 h. The mixture was partitioned            Oxidation)
     between diethyl ether and water basified with saturated              This Example illustrates a better method of preparing the
     aqueuous sodium bicarbonate, the ether phase isolated, dried      compound already prepared in Example 4. The method
     (Na2 CO 3 ), and concentrated. Chromatography, on elution 15 followed that described in Example 9, but using l 7-(3-
     with diethyl ether, afforded the title compound (4.30 g, 60%      pyridyl)androsta-5,16-dien-3P-ol (1.05 g, 3.0 mmol). Chro-
     overall yield from adrenosterone) which crystallised from         matography, on elution with toluene-methanol (20: 1),
     diethyl ether, m.p. 181°-183° C.                                  afforded  the title compound (0.85 g, 82%), which crystal-
        IR vmax 1669, 1703 cm-1, 1H-NMR(CDC1 3 ) inter alia            lised from diethyl ether, m.p. 148°-150° C. Spectroscopic
     81.02 (3H,s, 18-CH3 ), 1.45 (3H,s,19-CH 3 ), 5.76 (1 H,s,Py 4- 20 data was identical to that given in Example 4(c). Anal.
     H), 6.08 (lH,m, 16-H) 7.24 (lH,m,Py 5-H), 7.59 (1 H,m,Py          Calcd: C,82.95; H,8.41; N,4.03 Found: C,83.00; H, 8.50;
     4-H), 8.50 (lH,m,Py 6-H), 8.59 (lH,m,Py 2-H). MS m/z 361          N,3.99%
     (M+). Anal Calcd: C, 79.74; H,7.53: N,3.88. Found:
     C,79.58; H,7.57; N,3.89%.                                                                EXAMPLE 15
                                                                        25
                                                                             17-(3-pyridyl)androsta-4,l 6-dien-3-one oxime
                           EXAMPLE 11                                            To a suspension of 17-(3-pyridyl)androsta-4,16-dien-3-
                                                                             one (125 mg, 0.36 mmol) in ethanol (2 ml) was added
     3-Acetoxy-17-(3-pyridyl)androsta-3,5, 16-triene                         hydroxylimine hydrochloride (50 mg, 0.72 mmol), followed
        l 7-(3-pyridyl)androsta-4,16-dien-3-one (174 mg, 0.50                by pyridine (0.2 ml), and the mixture heated under reflux for
     mmol) was dissolved in isopropenyl acetate (2 ml). p-Tolu- 30           1 h. then allowed to cool. The solvent was evaporated and
     enesulfonic acid (130 mg, 0.68 mmol) was then added and                 the crystalline product triturated under water, collected on a
     the mixture heated at 80° C. for 12 h. After allowing to cool           sinter, washed with cold water, and dried in vacuo to give the
     the mixture was poured into diethyl ether, washed with                  title oxime as a 1: 1 mixture of syn and anti geometric
     saturated aqueous sodium bicarbonate, dried (Na2 CO3 ) and              isomers. 1 H-NMR (CDC1 3 ) inter alia 81.06 (3H,s,18-
     concentrated. Chromatography on elution with light petro- 35            CH3 ), 1.13 (3H,s,19-CH 3 ), 5.75 and 5.80 (1H,2m, isomeric
     leum-diethyl ether (1: 1), afforded the title Compound (86              4-H), 6.01 (lH,m, 16-H), 7.26 (lH,m,Py SH), 7.68 and 7.88
     mg, 44%), IR vmax 1755 cm-1, 1 H-NMR (CDC13 ) inter alia                (lH, 2m, isomeric Py 4-H), 8.48 and 8.53 (lH, 2m, isomeric
     81.05 (6H,s,18-CH 3 and 19-CH3 ), 2.15 (3H,s,COCH 3 ) 5.44              Py 6-H), 8.63 (lH,m,Py 2-H). MS m/z 362 (M+).
     (lH,m,6-H), 5.72(1H,m,4-H), 6.00 (lH,m,16-H), 7.25 (lH,
     m,Py 5-H), 7.66 (lH,m,Py 4-H), 8.47 (lH,M,Py 6-H), 8.63 4o                                   EXAMPLE 16
     (lH,m,Py 2-H). MS m/z 389 (M+).
                                                                             17-(3-pyridyl)androsta-4, l 6-diene-3,6-dione
                                                                                 To a solution of l 7-(3-pyridyl)androsta-5,16-dien-3P-ol
                           EXAMPLE 12                                        (350 mg, 1.0 mmol) in dry dichloromethane (10 ml) was
                                                                        45   added N-methylmorphine N-oxide (351 mg, 3.0 mmol)
     6P-Fluoro-17-(3-pyridyl)androsta-4,16-dien-3-one and                    followed by 400 mg of freshly dried and powdered 4 A
                                                                             molecular sieves and the mixture stirred for 10 min. Tetra-
                                                                             propylammonium perruthenate catalyst (35 mg), 0.1 mmol)
                           EXAMPLE 13                                        was then added, the reaction flask placed in an ultrasonic
     6a-Fluoro-17-(3-pyridyl)androsta-4, 16-dien-13-one                 50   bath, and the mixture irradiated whilst maintaining the
        To a solution of 3-acetoxy-17-(3-pyridyl)androsta-3,5, 16-           temperature between 20°-30° C. for 2 h. The mixture was
     triene (80 mg, 0.21 mmol) in dry dichloromethane (2 ml)                 then filtered, diluted with diethyl ether, washed with water,
     was added N-fluoropyridinium trifluoromethanesulfonate                  dried (Na2 CO 3 ), and concentrated. Chromatography, on
     (180 mg, 0.73 mmol) and the mixture heated under reflux for             elution with diethyl ether-ether acetate (5:1), afforded the
     12 h. The mixture was diluted with diethyl ether (30 ml),          55   title compound (26 mg, 7%) as white crystals m.p.
     washed with dilute aqueous sodium hydroxide (0.5M; 2x5                  210°-212° C. IR vmax 1680 cm-1; 1 H-NMR (CDC1 3 ) inter
     ml), dried N~CO 3 ), and concentrated. 1H and 19F-NMR at                alia 81.10 (3H,s,18-CH 3 ), 1.44 (3H,s,19-CH3 ), 4.42 (lH,m,
     this stage showed the 6-fluorinated products were formed as             enolic 2-H), 5.84 (lH,s,4-H), 6.01 (lH,m,16-H), 7.24 (lH,
     a 3:2 mixture of the P and a-epimers. Chromatography, on                m,Py 5-H), 7.65 (lH,m,Py 4-H), 8.45 (lH,m,Py 4-H), 8.45
     elution with light petroleum-diethyl ether (1 :2), gave            60   (lH,m,Py 6-H), 8.60 (lH,m,Py 2-H). FAB-MS MS m/z 362
     firstly:-i) the title 6P-epimer (13 mg), 17%) as white crystals,        (M+l).
     m.p. 167°-169° C. IR vmax 1684 cm- 1 ; 1H-NMR(CDC1 3 )                                       EXAMPLE 17
     inter alia 81.11 (3H,s,18-CH 3 ), 1.37 (3H,s,19-CH 3 ), 5.06
     (lH,dd, JH-H 2.4 Hz, JH-F 49 Hz, 6a-H), 5.92 (lH,m,4-                   3a-(Trifluoromethyl)- l 7-(3-pyridyl)androst-l 6-en-3P-ol
     H), 6.01 (lH,m,16-H), 7.24 (lH,m,Py 5-H), 7.65 (lH,m,Py            65      To a solution of 17-(3-pyridyl)androst- l 6-en-3-one (100
     4-H), 8.48 (lH,m,Py 6-H), 8.63 (lH,m,Py 2-l:I). 19F-NMR                 mg, 0.29 mmol) in THF (2 ml) cooled to 0° C. was added
     8-165.9 (dt, JH-F 49 Hz, 6P-E). MS m/z 365 (M+).                        trifluoromethyltrimethylsilane (200 µl, 1.3 mmol) followed
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                                                                5,604,213
                                  17                                                                     18
    by tetrabutylammonium fluoride trihydrate (10 mg, 0.03                   procedure used above gave a product amenable for filtration,
    mmol). After 30 min., dilute aqueous hydrochloric acid (lM;              and in excellent yield (98% ).
    I ml) was added and the mixture stirred at room temperature              (b) 17-lodo-androsta-5, 16-dien-3 P-ol
    for 12 h. The mixture was then basified with saturated                       To a solution of iodine (53.3 g, 0.21 mo!) in THF (2 L),
    aqueous sodium bicarbonate and extracted with diethyl 5                  cooled by an ice/water bath to 0° C., was added 1,1,3,3-
    ether. The three extracts were combined, dried (Na2 CO 3 ),              tetramethylguanidine (63 ml, 57.6 g, 0.50 mo!).
    and concentrated. Chromatography, on elution with light                      A solution of dehydroepiandrosterone-17-hydrazone
    petroleum-diethyl ether (1:1), afforded the title compound               (30.25 g, 0.10 mo]) in THF (750 ml) was then added slowly
    (87 mg, 73%) which crystallised from toluene, m.p.                       to the above iodine solution via a transfer needle over about
    192°-193° C. 1H-NMR (CDCl 3 ) inter alia 60.92 (3H,s,19- 10              2 h, whilst maintaining the reaction temperature at 0° C.
    CH3 ), 1.01 (3H,s,18-CH3 ), 5.98 (lH,m,16-H), 7.22 (lH,m,                After all the hydrazone solution was added, the mixture was
    Py 5-H), 7.64 (lH,m,Py 4-H),8.45 (lH,m,Py 6-H), 8.60                     filtered, and the filtrate concentrated. The remaining oil was
    (lH,m,Py 2-H); 19F-NMR (CDCl 3 ) B-79.1 (s,3a-CE3 ). MS                  then heated on an oil bath for 4 h, allowed to cool, and
    m/z 419 (M+). Anal. Calcd: C,71.57; H,7.69; N,3.34;                      dissolved in Et20. The Et 2 O solution was washed with lM
    F,13.59 Found: C,71.67; H,7.71; N,3.25; F,13.30%.           15          HCl until the aqueous phase was acidic, washed with 0.5M
                                                                            NaOH, then lM N½S 2 0 3 , and finally with water. The E½O
                          EXAMPLE 18                                         phase was separated, dried (MgSO4 ), and concentrated to
                                                                            give the crude product. Recrystallisation from Et2 O/hexane
    (a) Diethyl[3-(5-methylpyridyl)]borane
                                                                            (3:2) afforded the title compound as off-white crystals (35.8
       3-Bromo-5-methylpyridine, which can be prepared as
                                                                       20   g, 90%).
    described in the literature, e.g. L. van der Does and H. J. van
                                                                            (c) 17-(3-Pyridyl)androsta-5,16-dien-3P-ol
    Hertog, Rec. Trav. Chem. Pays Bas 84, 957-960 (1985) or
                                                                                Diethyl(3-pyridyl)borane (3.23 g, 22 mmol) from Aldrich
    R. A. Abramovitch and M. Salia, Can. J. Chem. 44,
                                                                            Chemical Co. Ltd. was added to a stirred solution of
    1765-1771 (1966), is reacted with n-butyllithium, according
                                                                             17-iodo-androsta-5,16-dien-3P-ol (7.96 g, 20 mmol) in THF
    to the method of M. Terashima et al., Chem. Pharm. Bull. 31,
                                                                       25   (120 ml) containing bis(triphenylphosphine)palladium (II)
    4573-4577, (1983). The product is treated with triethylbo-
                                                                            chloride (140 mg, 0.2 mmol). An aqueous solution of
    rane and then .iodine.
                                                                            sodium carbonate (2M, 50 ml) was then added and the
    (b) 17-[3-(5-Methylpyridyl)]androsta-5,16-dien-3P-ol
                                                                            mixture heated, with stirring, by an oil bath at 80° C. for 48
       Diethyl [3-(5-methylpyridyl)]borane is reacted with
                                                                            h, and allowed to cool.
    3P-acetoxyandrosta-5,16-dien-17-yl trifluoromethane sul-
                                                                       30       The mixture was partitioned between Et2 O and water the
    phonate analogously to Example l(b) and the resulting
                                                                            organic phase was separated, dried (N½C03 ) and twice
    3P-acetate is hydrolysed with sodium hydroxide, analo-
                                                                            concentrated from E½O by evaporation to remove THF
    gously to Example 2, to yield the title compound.
                                                                            (with Et2 O). The residual solid was then washed with E½O
       The following Examples illustrate preparation of com-
                                                                            (100 ml), the Et2 O solution decanted off, and the remaining
    pounds of the invention by the vinyl halide route. In
                                                                       35   white solid recrystallised from toluene (3.94 g, 56%).
    Example 19, the 3P-hydroxy product is produced without
                                                                            Notes
    chromatography, by embodiment (a). In Example 20, the
                                                                                1) The time required for completion needs to be made
    3P-hydroxy product is not isolated, but in step (d) an
                                                                            longer than when using the vinyl triflate (48 h vs 1 h) since
    impurity has been identified as a 16,17'-bis(steroidal) by-
                                                                            it has been found that the vinyl iodide reacts much more
    product. This can be removed by reverse phase chromatog-
                                                                       40   slowly.
    raphy, but now that the by-product has been identified, those
                                                                                2) it has been found that a smaller excess of borane than
    skilled in the art will be able more easily to identify
                                                                            described in the earlier applications (for the vinyl triflate)
    procedures which will remove it, without the need for
                                                                            aids in isolation of product.
    chromatography. Further, it is believed that with the higher
                                                                                3 ) The work-up procedure enables the product to be
    organoboron:steroid ratios suggested above, the side-reac-
                                                                       45   isolated without chromatography, thereby enabling scaling
    tion leading to this impurity will be reduced.
                                                                            up.
                          EXAMPLE 19                                        (d) 3P-Acetoxy-17-(3-pyridyl)androsta-5,16-diene
                                                                                To a stirred suspension of finely powdered 17-(3-pyridya
    (a) Dehydroepiandrosterone-17-hydrazone                                 l)androsta-5,16-dien-3P-ol (3.50 g, 10 mmol) in dry diethyl
       To a stirred solution of dehydroepiandrosterone (28.8 g,        50   ether (150 ml) containing triethylamine (2.3 ml, 16 mmol)
    0.1 mol) in ethanol (500 ml) was added hydrazine hydrate                and dimethylaminopyridine (0.012 g, 0.1 mmol) was added
    (19.5 ml, 0.4 mo]), followed by a solution of hydrazine                 acetyl chloride (1.0 ml, 14 mmol). The mixture was then
    sulfate (65 mg, 0.5 mmol) in water (2 ml). After stirring for           stirred at ambient temperature for 12 h, over which time a
    3 days the mixture was poured into water (3 liters) to                  thick white precipitate of triethylammonium chloride had
    precipitate the product as a white crystalline solid. The          55   formed. The mixture was then filtered and the filtrate con-
    product was collected by filtration on a sinter, washed with            centrated to afford the crude product which was recrystal-
    cold water (2x50 ml), then with Et2 O (50 ml). The product              lised firstly from ethanol/water (1:1), then finally from
    was then dried in vacuo, firstly over silica gel, and finally           hexane to afford the title compound (3.30 g, 84%).
    over P 2 O 5 , to give the title compound as a white cyrstalline
    solid (29.6 g, 98%).                                               60
                                                                                                 EXAMPLE 20
    Notes
       1) The method of Schweder et al., p.202, compound No.              (a) Dehydroepiandrosterone-17-hydrazone
    2 therein (using triethylamine) gave a very fine crystalline             Into a 10 L round-bottomed flask, fitted with a magnetic
    product which was difficult to filter.                                stirrer bar, was placed dehydroepiandrosterone (288 g, 1.0
       2) The method of Schweder et al. p. 203, compound No.           65 mo!) and ethanol (5.0 L). To the resultant stirred solution
    4 therein (using sodium acetate buffer) gave a slightly lower         was added hydrazine hydrate (195 ml, 4.0 mo!), followed by
    yield (96%) in trial experiments, whereas the modified                a solution of hydrazine sulfate (0.65 g, 0.005 mo!) in water
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                                                               5,604,213
                                   19                                                                    20
     (20 ml) [note: the hydrazine sulfate dissolved in this volume          trated and the residue redissolved in Et 2 O to afford a second
     of water at about 40° C.]. After stirring at room temperature          crop of crystals. The aqueous phase and washings from the
     for 5 days, water (4.5 L) was added, the mixture poured into           above work-up were extracted with hot toluene (2 L) on a
     water (10 L), and the white crystalline precipitate allowed to         steam bath and concentration of the toluene extracts afforded
     settle. The product was collected by filtration on a sinter,      5    further product. The combined crude product from the above
     washed with cold water (2x500 ml), then with Et2 O (2x500              procedures was then dissolved in the minimum volume of
     ml). The product was then dried in vacuo, firstly over silica          hot methanol, filtered through a plug of "Celite" (Registered
     gel, and finally over P 2 O 5 , to give the title compound as a        Trade Mark) and an equal volume of acetonitrile added to
     whim crystalline solid, mp 204°-206° C. (284.8 g, 94%).                the methanol solution. The acetonitrile/methanol solution
     (b) l 7-Iodo-androsta-5,16dien-3P-ol                              10   was then concentrated to half its original volume on a rotary
         A 10 L round-bottomed flask, fitted with a magnetic stirrer        evaporator and the solution left to crystallise. The resultant
     bar, was charged with iodine (156.1 g, 0.615 mol), THF (4.0            white crystals were collected by filtration on a sinter, washed
     L; GPR grade), and Et2 O (2.0 L; BDH specially dried                   with acetonitrile and dried in vacuo to constant weight
     grade). The resultant stirred solution was cooled by an                (191.1 g, 74%), mp 202°-212° C. A second recrystallisation
     ice/water bath to 0° C. and 1,1,3,3-tetramethylguanidine          15   from toluene-methanol (50:1) afforded the product as white
     (188 ml, 173 g, 1.50 mol) was added. A solution of dehy-               crystals (146.8 g, 57%) mp 214°-218° c., lit. mp 228°-229°
     droepiandrosterone-17-hydrazone from step (a) (90.74 g,                C.
     0.30 mo!) in THF (2.25 L) was then added slowly to the                 (d) 3 P-Acetoxy-1 7-(3-pyridy l)androsta-5, 16-diene
     above iodine solution via a canula over about 2 h, whilst                 The following reaction was carried out in a 500 ml
     maintaining the reaction temperature at 0° C. [note: N2 is        20   round-bottomed flask, fitted with a magnetic stirrer bar. To
     evolved as the hydrazone is added to the iodine solution].             a suspension of the steroidal product from step (c) (26.5 g,
     After all the hydrazone solution was added, the mixture was            0.104 mol) in dry pyridine (200 ml), was added acetic
     stirred for an additional hour and the precipitate allowed to          anydride (75 ml) and the mixture stirred at room temperature
     settle [note: a precipitate of tetramethylguanidium iodide             for 24 h. The pyridine and excess acetic anydride were
     forms during the reaction]. The mixture was then filtered,        25   removed on a rotary evaporator, initially with the water bath
     and the filtrate concentrated to an oil on a rotary evaporator.        at 70° C., and finally at 800° C. for 30 min. The resulting oil
        This reaction was carried out a total of three times, thus          was dissolved in Et2 O (500 ml), washed with saturated
     using in total 272.22 g (0.90 mol) of dehydroepiandroster-             aqueous NaHCO 3 (2x200 ml), dried (Na2 CO 3 ), and con-
     one-17-hydrazone from step (a). The concentrated residues              centrated to an oil which crystallised on standing. 1H-NMR
     from the three separate reactions were combined and heated        30   spectroscopy at this stage showed the product contained
     on an oil bath for 4 h, then allowed to cool [note: this               about 5% of a 16,17'-bi(steroidal) contaminant, 3P-acetoxy-
     converts any 17,17-diiodo by-product into the 17-vinyl                 16-(3 '-P-acetoxyandrosta-5', l 6'-dien-17'-yl)-17-(3-pyridy-
     iodide product]. This oil was then dissolved in Et2 O (5 L),           l)androsta-5, 16-diene, which originated as a by-product
     filtered, and further diluted with additional Et2 O (4 L).             from the coupling reaction of step (c).
        The EGO solution was washed with aqueous HCl (IM;              35      The product was therefore further purified by preparative
     3x500 ml) until the aqueous phase was acidic [note: the                flash chromatography using a 9 cm diameter column, with
     ether solution changes colour from brown to yellow when                silica stationary phase (Merck 15111 ), eluting with
     the aqueous phase remains acidified] then finally with water           dicholoromethane. The by-product eluted first followed by
     (500 ml). The Et2 O phase was separated, dried (MgSO4 ),               the desired product, although the separation was incomplete.
     and concentrated to a volume of 3 L, then left to allow the       40   Fractions containing a significant amount of by-product
     product to crystallise. The yellow crystals were collected by          were combined and subjected to further chromatographic
     filtration on a sinter, washed with hexane (3x500 ml) and              purification.
     dried under vacuum (335.4 g, 94%). Recrystallisation from                 The foregoing reaction and purification procedure was
     ethanol-water (5:1) afforded the product as white crystals             carried out a total of four times, thus using a total of 146 g
     (297.3 g, 83%) mp 175°-176° C., lit. mp 173°-174 ° C.             45   (0.418 mol) of the steroidal product from step (c).
     (c) 17-(3-Pyridyl)androsta-5, 16-dien-3 P-ol                              The product-containing dichloromethane fractions from
        In a 2 L round-bottomed flask, fitted with a magnetic               the chromatographic purification were concentrated and
     stirrer bar, was placed the steroidal 17-iodo product from             recrystallised from hexane to afford white crystals which
     step (b) (98.0 g, 0.246 mol) and this was dissolved in THF             were dried in vacuo to constant weight. The total amount of
     (1.1 L). The flask was purged with argon and bis(triph-           50   product obtained was 136.0 g (83%).
     enylphosphine)palladium (II) chloride catalyst (1.73 g,                   The dichloromethane fractions containing the least by-
     0.0025 mo!) was added, followed by diethyl(3-pyridyl)bo-               product were combined, and following recrystallisation
     rane (43.35 g, 0.295 mol). To the resultant orange THF                 from hexane, afforded the title compound as white crystals
     solution was added an aqueous solution of sodium carbonate             with mp 142°-144° C. Analysis showed this material ("A")
     (2M; 500 ml). The flask was fitted with a reflux condenser,       55   contained 6.8% w/w of the bis(steroidal) by-product.
     and the apparatus purged again with argon. The mixture was                A second crop of white crystals ("B") of the product,
     then heated under reflux (at about 80° C.) with stirring on a          containing 21.8% w/w of bis(steroidal) by-product (25 g),
     stirrer/heating mantle (Electrothermal MA) for 4 days [note:           was obtained.
     upon completion of the reaction the organic phase darkens                 The two products were purified using reverse phase
     in colour from orange to dark orange/brown], then allowed         60   chromatography. The column was packed with "LiChro-
     to cool. This reaction was carried out a total of three times,         prep" (Registered Trade Mark) RP-8 reverse-phase C 8 pack-
     thus using a total of 294.0 g (0.74 mo!) of the steroidal              ing, Art. No. 9324, supplied by E. Merck, Darmstadt,
     17-iodo product from step (b).                                         Germany. The course of the chromatography was followed
        The reaction mixtures were combined and Et2 O (5 L)                 by UV detection at 253 nm, with purity checks by HPLC.
     added. The organic phase was separated, washed with water         65      Product "A" (10.17 g) was dissolved in 200 ml. hot
     (2 L), and left to give a first crop of crystals which were            acetonitrile and 40 ml. hot methanol, and, after being
     collected by filtration on a sinter. The filtrate was concen-          allowed to cool, the filtrate was applied to a 10 cm. diameter
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                                                                 5,604,213
                                   21                                                                       22
   column containing about 500 g. of the packing. The eluant         (c) Determination of C 17-C 20 lyase
   was 5% 0.05M aqueous ammonium acetate/95% v/v aceto-                 The mixture was the same as described above for the
   nitrile. 7.51 g. of product was recovered in fractions 4-10.      17a-hydroxylase except that the substrate was 3 H-17a-
   Fractions (500 ml) 4-11 contained the product with some           hydroxy- progesterone. The reaction was carried out for 1-2
   impurities, but not the bis-steroidal byproduct. The eluant     5 h. and was stopped by the addition of 2 vols. of methanol/
   was changed to 2.5% acetic acid/95.5% v/v acetonitrile and        acetonitrile (2/1 containing approx. 100 µM 17a-hydrox-
   then to 5% acetic acid/95% v/v acetonitrile. A pink colour        yprogesterone, androstenedione and testosterone.
   seen in fractions 16 and 17 evidenced the bis-steroidal              The HPLC separation used for the lyase involved a
   by-product. Fraction 18 was colourless. The column can be         mini-re-column "Uptight Guard Column" packed with
                                                                  10
   washed with 100% acetonitrile, for re-use.                        PELL-ODS (pellicular octadecyl silica) and a 10 cm. main
      Product "B" (1 g) was separated by a similar method            column "Apex C18" column packed with 5µ APEX-CAT
   except that the product was dissolved initially in 100%           silica.
   acetonitrile and the filtrate applied to a 2 cm. column packed       The eluant was 38: 12:50 methanol:acetonitrile:water
   with 100 g. of the solid phase. Excellent separation of the    15
                                                                     flowing at 1 ml/min. The effluent was mixed 1: 1 with
   product was achieved with the aqueous ammonium acetate/           Ecoscint A containing 5% methanol and 5% acetonitrile and
   acetonitrile eluant.                                              the radioactivity was measured directly by a Berthold
      Although, in this Example, the reverse phase column was        LB506C radiochemical detector. The lyase activity was
   used in addition to a conventional column, it is clear that the   measured as the production of androstenedione and test-
   conventional column achieved little separation of the bis-     20 osterone.
   steroidal by-product and it is intended to omit the conven-       (d) Calculation of IC50.
   tional column in future preparations.                                The enzyme activity was measured in the presence of at
                                                                     least 4 concentrations of each compound. The data were for
                                                                     the 4-pyridyl and 2-picolyl compounds of Table 1 fitted by
                        TEST RESULTS
                                                                  25 linear regression to the Dixon equation (M. Dixon, E.C.
   (a) Preparation of testicular material                            Webb, Enzymes, 2nd ed., Academic Press, New York,
      Human testes were obtained from previously untreated           1964). Data for all the other compounds were fitted by
   patients undergoing orchidectomy for prostatic cancer. The        non-linear regression to the median effect equation of Chou,
   testes were decapsulated and stored in liquid nitrogen until      J. Theoret. Biol. 39, 253-276 (1976). The correlation coef-
   use. A microsomal preparation was prepared essentially as 30 ficients were greater than 0.95 except for the compound of
   described by S. E. Barrie et al., J. Steroid Biochem. 6,          Example 1, where it was 0.91. All the assays were carried
   1191-5, (1989). The material was then thawed, finely              out with approx. 4 nM enzyme (as calculated from kinetic
   chopped, and homogenised in 0.25M sucrose (5 ml/g wet             measurements) except those for Ketoconazole and the 2- and
   weight) using a Potter homogeniser. The homogenate was            4-pyridyl    and 2-picolyl compounds of Table 1, in which 25
   centrifuged at 12000 g for 30 min, and then the microsomes 35 nM lyase and 10 nM hydroxylase were used. The IC 50
   were pelleted by spinning the supernatant at 100,000 g for        values are dependent on enzyme concentration when the
   1 hr. The pellet was washed by being resuspended in 0.25M         inhibitor binds tightly (all the compounds tested except the
   sucrose and repelleted. The microsomal pellet was then            4-pyridyl and 2-picolyl). Results are shown in Table 2
   resuspended in 50 mM sodium phosphate pH 7.4/glycerol             below.
   (3/1 v/v) and stored in aliquots in liquid nitrogen.           40
                                                                                                     TABLE 2
   (b) Determination of 17a-hydroxylase
      The basic assay mixture was EDTA (0.2 mM), dithio-                       (a) Confirmation that variations in the A and B rings of
   threitol (DTT; 0.1 mM), NADPH (0.25 mM), glucose                           compounds of the invention have little effect on inhibition
                                                                                              of hydroxylase and lyase.
   6-phosphate dehydrogenase (G6PDH; 6.25 µg/ml), MgC1 2
   (I mM), glucose 6-phosphate (G6P; 10 mM) and the sub- 45                                                 R                                 (3)
   strate, 3H-progesterone (3 µM) in sodium phosphate (50
   mm), pH 7.4. The compounds under test were dissolved in
   50% DMSO and the final concentrations of ethanol and                                                                N
   DMSO were 1% each. The assay reaction was carded out for
   I hour and was terminated by the addition of 2 vols. of 50
   methanol-acetonitrile (2:1) containing approx. 100 µM unla-
   belled progesterone, I 7a-hydroxyprogesterone, androstene-
   dione, testosterone, and 16a-hydroxyprogesterone. The last-
   mentioned steroid was added as it appeared that the human
   enzyme was capable of 16a-hydroxylation as well as 17a- 55
   hydroxylation.
      The separation of the steroids by HPLC was carried out              Compounds tested are of formula
   using an "Uptight" guard column packed with 40-63 µm                   (3) wherein R = H: ·                               IC50 (µM)
   Nucleosil Cl8 and a 10 cm main column packed with 5 µm
                                                                          Q                                            Lyase      Hydroxylase
   Nucleosil Cl8 and 60% methanol as eluant. The radioac- 60
   tivity in the peaks of interest was monitored on-line by                                                           0.0097        0.0130
   mixing the HPLC effluent I: I with Ecoscint A (National
   Diagnostics) scintillation fluid, containing 25% acetonitrile,
   and passing the mixture through a Berthold LB506C radio-
   chemical monitor. The hydroxylase activity was measured 65
   as the production of I 7a-hydroxyprogesterone, androstene-             (Ex. 1)
                                                                                 A,0£:Cr
   dione and testosterone.
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                                                                            5,604,213
                                       23                                                                                     24
                            TABLE 2-continued                                                                       TABLE 2-continued
             (a) Confirmation that variations in the A and B rings of                                (a) Confirmation that variations in the A and B rings of
            compounds of the invention have little effect on inhibition                             compounds of the invention have little effect on inhibition
                            of hydroxylase and lyase.                               5                               of hydroxy lase and lyase.

                                         R                                    (3)                                                 R                                        (3)



                                          f         N
                                                                                    10
                                                                                                                                               N




                                                                                    15



       Compounds tested are of formula                                                        Compounds tested are of formula
       (3) wherein R = H:                                   ICso (µM)                         (3) wherein R =H:                                        !Cso (µM)
                                                                                    20
       Q                                           Lyase        Hydroxylase                   Q                                               Lyasc          Hydroxylase

                                                                                                                                              0.0022           0.0033
                                                   0.0029          0.0040




       HOJXJ
       (Ex. 2)
                                                                                    25




                                                                                              (Ex. 12)
                                                                                                                    F




       ccr
       (Ex. 3)
                                                   0.0056




                                                   0.0021
                                                                   0.0125




                                                                   0.0028
                                                                                    30




                                                                                    35
                                                                                             b                      r'
                                                                                                                                              0.0032           0.0053




       b
                                                                                             (Ex. 13)

                                                                                         (b) Confirmation that variation in the Cring of compounds of the invention
                                                                                         has little effect on the inhibition of hydroxylase and lyase.
                                                                                    40
                                                                                         Compound Tested
       (Ex. 4)




       HO  m
       (Ex. 6)
                                                   0.0018




                                                   0.0025
                                                                   0.0026




                                                                  0.0043
                                                                                    45


                                                                                                                                         'I
                                                                                                                                              N
                                                                                                                                                  Lyase

                                                                                                                                                  0.0025
                                                                                                                                                           ICso (µM)

                                                                                                                                                              Hydroxylase

                                                                                                                                                                0.0091




       HO.ccr
                                                                                    50




       (Ex. 8)                                                                      55

                                                   0.0030         0.0047




       C
       (Ex. 9)
                                                                                    60
                                                                                         (Ex. 10)


                                                                                           The comparative IC 50 figures for Ketoconazole are 0.026
                                                                                         against lyase and 0.065 against hydroxylase.
                                                                                         Assay of aromatase activity

                                                                                    65
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                                                                          5,604,213
                                            25                                                                                26
       Aromatase activity was determined by the method of A.
   B. Foster et al., J. Med. Chem. 26, 50-54 (1983), using                                                       TABLE 3-continued
   human placental microsomes. For the microsomes used, the                                               Mean weight (mg.)         ± standard error
   Michaelis constant Km for [l~- 3 H] androstenedione was
    0.039 µM.                                                                  5                                                    Seminal
                                                                                    Dose           Adrenals       Prostate          Vesicles     Testes         Kidneys
      The compounds having a pregnenolone-like skeleton in
   the A and B rings, i.e. 3~-acetoxy-17-(3-pyridyl)androsta-                                                      Compound of Ex. 4
   5,16-diene and its 3-alcohol of Examples I and 2, had
   IC50>20 µM. The compound having a progesterone-like                              Controls       4.3   ± 0.4    8.4   ± 0.2       165   ± 18   142 ± 8        652    ± 45
    skeleton in the A and B rings, i.e. 17-(3-pyridyl)-androsta-               10
                                                                                    Solvent        4.4   ± 0.0    9.2   ± 0.9       152   ±9     122 ± 8        589    ± 24
                                                                                    controls
   4,16-dien-3-one of Example 4 exhibited also aromatase                            0.02 mmol/     4.7   ± 0.2    5.9   ± 0.8       108   ±4     117   ±9       599    ± 29
   inhibitory activity with IC50=1 µM.                                              /kg/day
   In vivo organ weight and endocrine test in mice                                  0.1 mmol       4.6   ± 0.4    6.4   ± 0.5       61   ±9      105   ±5       549    ± 28
                                                                                    /kg/day
      Male HWT mice, 12 weeks old, were treated daily for 2                         0.5 mmol      4.9    ± 0.1    4.1   ± 0.5       25   ±1      59   ±2        468    ± 15
   weeks, with 5 animals per treatment group. The test com-                    15   /kg/day
   pounds were the compound of Examples 1 and 4 (as                                                                      Ketoconazole
   representative of compounds of the invention having the
   pregenolone-like and progesterone-like skeletons respec-                         Controls      4.2    ± 0.2    8.9   ± 0.8       193   ±8     145   ±4       670    ± 12
                                                                                    Solvent
   tively). Ketoconazole was also tested at three different                         controls      4.7    ± 0.4    9.3   ± 1.2       198   ± 18   146 ± 3        615    ± 25
   doses. The test compounds were made up in 5% benzyl                         20   0.01 mmol/    4.8    ± 0.2    9.1   ± 0.8       235   ± 18   141 ± 5        637    ± 22
   alcohol, 95% safflower oil, and were given i.p. In addition to                   /kg/day
   an untreated control group of animals, there was also a                          0.225 mmol    6.1    ± 0.3    10.8   ±          171   ±5     127   ±7       574    ± 23
                                                                                                                  1.4
   solvent control group which received the same volume of                          /kg/day
   liquid as the test group (5 ml/kg) but no test compound. All                     0.5 mmol      6.9    ± 0.3    9.3   ± 0.9       179   ± 20   133   ±6       710    ± 30
   animals were sacrificed 24 hours after the last injection.                  25   /kg/day
   Blood was collected by cardiac puncture into heparinized
   tubes, and the plasma used for RIA (radio immunoassay) of                           The results indicate the inhibition by the components of
   testosterone and luteinising hormone. The following organs                       the invention of androgen and particularly testosterone syn-
   were removed and weighed: adrenals, prostate, seminal
   vesicles, testes, kidneys. There was no significant body                    30
                                                                                    thesis. They are confirmed by endocrinological results
   weight loss in any group of mice during the experiments.                         shown in Table 4.
      Post mortem examination of the mice revealed oil/white                           Although the solvent itself produced marked depression
   deposits i.p. in those treated with compound of Ex. 1 and                        of testosterone levels, probably due to stress on the animals,
   white deposits throughout the abdomen in those treated with                      the further decrease resulting from the administration of test
   compound of Ex. 4. In all these mice, all organs looked                     35
                                                                                    compounds was much more marked for the compounds of
   normal. In Ketoconazole-treated animals, adhesions were
   found in 2/5,2/5,4/5 of the low/middle/top dose groups. The                      the invention than for ketoconazole. The rise in LH levels is
   gut and peritoneal wall seemed to be stuck to the seminal                        ascribed to a feedback mechanism associated with depletion
   vesicles. The livers were brown in the middle/top dose                           of testosterone.
   groups.                                                                     40
      The weights of organs found in the animals post mortem                                                             TABLE 4
   are shown in Table 3 below. The reductions in weight of all                                   Endocrinological Results (Mean ± standard error)
   of the prostate, seminal vesicles, testes and kidneys were
   much greater for the test compounds of the invention than                                                                 Testosterone                    LH
   for Ketoconazole. Ketoconazole caused an increase in adre-                  45                                                nM                         ng/ml

   nal weight at the two highest doses, whereas the compounds                                                     Compound of Ex. 1
   of the invention had no significant effect, suggesting that
   they did not inhibit corticosterone biosynthesis.                                   Controls                         9.8 ± 5.6                      0.63   ± 0.16
                                                                                       Solvent Controls                 2.5 ± 1.2                      0.80   ± 0.09
                                                                                       0.02 Mmol/Kg/Day                 2.7 ± 0.5                       3.4   ± 0.5
                                    TABLE 3                                    50
                                                                                       0.1 Mmol/Kg/Day                  0.2 ± 0.1                      2.55   ± 0.45
                       Mean weight (mg.) ± standard error                              0.5 Mmol/Kg/Day                  0.1 ± 0.0                      2.25   ± 0.67
                                                                                                                  Compound of Ex. 4
                                             Seminal
    Dose        Adrenals      Prostate       Vesicles   Testes    Kidneys              Control                             27.8 ± 11.4                Not   determined
                                                                                       Solvent Control                     11.0 ± 5.6                 Not   determined
                                                                               55      0.02 Mmol/Kg/Day                     4.5 ± 0.3                 Not   determined
                              Compound of Ex 1.
                                                                                       0.1 Mmol/Kg/Day                      3.5 ± 1.0                 Not   determined
    Controls    4.5   ± 0.1   10.1 ±         189   ±9   146 ± 3   709   ± 17           0.5 Mmol/Kg/Day                      0.4 ± 0.1                 Not   determined
                              0.7                                                                                       Ketoconazole
   Solvent      4.5   ± 0.4   10.2 ±         171   ±6   122 ± 7   615   ± 28
                              1.3                                                      Controls                              17.3   ± 7.1              0.66     0.05
   controls
                                                                               60      Solvent Controls                       1.3   ± 0.4              0.25     0.13
   0.02 mmol/   4.3   ± 0.2   8.0   ± 0.6    136 ± 4    134 ± 4   604   ± 24           0.1 Mmol/Kg/Day                        0.9   ± 0.2              0.39     0.14
   /kg/day                                                                             0.225 Mmol/Kg/Day                      0.7   ± 0.1              0.75     0.02
   0.1 mmol     4.0   ± 0.2   5.3   ± 0.3    51   ±6    95   ±3   500   ±8             0.5 Mmol/Kg/Day                        0.4   ± 0.1              0.76     0.03
   /kg/day
   0.5 mmol     4.7   ± 0.2   5.6   ± 0.6    25   ±2    56   ±2   449   ± 12
   /kg/day                                                                     65     We claim:
                                                                                      1. A compound of the formula (I)
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                                                             5,604,213
                                 27                                                                 28
                                                                          as 3-desoxy derivatives
                                 R                              (I)
                                                                          to have one or more hydroxy, halo, C 1_4 -alkyl, trifluoro-
                                            N                                methyl, C 1_4 -alkoxy, C 1 _4 -alkanoyloxy, benzoyloxy,
                                                                             oxo, methylene or alkenyl substituents in the A, B, or
                                                                     5       C-ring
                                                                          to be I 9-nor;
                                                                          R represents a hydrogen atom or an alkyl group of 1--4
                         X {            Rl6
                                                                             carbon atoms;
                                  14
                                                                          R 14 represents a hydrogen atom, a halogen atom or an
                               R     Rl5                            10       alkyl group of 1 to 4 carbon atoms;
                                 Rl5
                                                                          each of the R15 substituents independently represents a
     wherein X represents the residue of the A, B and C rings of             hydrogen atom or an alkyl or alkoxy group of 1--4
     a steroid selected from the group consisting of                         carbon atoms, a hydroxy group or an alkylcarbonyloxy
     androstan-3a- or 3P-ol,                                                 group of 2 to 5 carbon atoms or together represent an
     androst-5-en-3a- or 3P-ol,                                     15
                                                                             oxo or methylene group or R 14 and one of the R 15
     androst-4-en-3-one,                                                     groups together represent a double bond and the other
     androst-2-ene,                                                          R 15 group represents a hydrogen atom or an alkyl group
     androst-4-ene,                                                          of 1 to 4 carbon atoms; and
     androst-5-ene,                                                       R 16 represents a hydrogen atom, halogen atom, or an alkyl
     androsta-5,7-dien-3a or 3P-ol,                                 20       group of 1 to 4 carbon atoms, in the form of the free
     androsta-1,4-dien-3-one,                                                bases or pharmaceutically acceptable acid addition
     estra-1,3,5[1 0]-trien-3-ol,                                            salts, but excluding 3 P-acetoxy-17-(3-pyridyl)and-
     5a-androstan-3-one,                                                     rosta-5, l 4, l 6-triene, 3P,15a- and 3P,15P-diacetoxy-
     androst-4-cne-3,11-dione,                                               l 7-(3-pyridyl)androsta-5, 16-diene and 3P-methoxy-
     6-fluoroandrost-4-ene-3-one,                                   25       l 7-(3-pyridyl-5a-androst-l 6-ene.
     androstan-4-ene-3,6-dione,                                           2. A method of treating an androgen-dependent or estro-
     each of which, where structurally permissible, can be further     gen-dependent disorder which comprises administering to a
     derivatised in one or more of the following ways:                 patient in a therapeutically effective dose a compound of the
        to form 3-esters                                               formula (1):
      to have one or more carbon to carbon ring double bonds         30                                                            (I)
         in any of the 5,6-, 6,7-, 7,8-, 9,11- and 11,12-positions
                                                                                                              N
      as 3-oximes
      as 3-methylenes
      as 3-carboxylates                                              35
      as 3-nitriles
      as 3-nitros
      as 3-desoxy derivatives
      to have one or more hydroxy, halo, C 1 _4 -alkyl, trifluoro-   40
         methyl, C 1 _4 -alkoxy, C 1 _4 -alkanoyloxy, benzoyloxy,       wherein X represents the residue of the A, B and C rings of
         oxo, methylene or alkenyl substituents in the A, B, or         asteroid selected from the group consisting of
         C-ring                                                         androstan-3a- or 3P-ol,
      to be 19-nor;                                                     androst-5-en-3a- or 3P-ol,
                                                                        androst-4-en-3-one,
      R represents a hydrogen atom or an alkyl group of 1--4         45
                                                                        androst-2-ene,
         carbon atoms;                                                  androst-4-ene,
      androsta-3,5-diene,                                               androst-5-ene,
      androsta-3 ,5-diene-3-ol,                                         androsta-5,7-dien-3a or 3P-ol,
      estra-1,3,5[10]-triene and                                        androsta-1,4-dien-3-one,
                                                                     50
      estra-1,3,5[1 0]-trien-3-ol,                                      androsta-3,5-diene,
                                                                        androsta-3,5-dien-3-ol,
      5a-androstan-3-onc:                                               estra-1,3,5[10]-triene and
      androst-4-ene-3,11-dione,                                            R 14 represents a hydrogen atom, a halogen atom or an
      6-fluoroandrost-4-ene-3-one,                                            alkyl group of 1 to 4 carbon atoms;
                                                                     55
      androstan-4-ene-3,6-dione,                                           each of the R15 substituents independently represents a
    each of which, where structurally permissible, can be further             hydrogen atom or an alkyl or alkoxy group of 1--4
    derivatised in one or more of the following ways:                         carbon atoms, a hydroxy group or an alkylcarbonyloxy
      to form 3-esters                                                        group of 2 to 5 carbon atoms or together represent an
      to have one or more carbon or carbon ring double bonds         60       oxo or methylene group or R 14 and one of the R 15
         in any of the 5,6-, 6,7-, 7,8-, 9,11- and 11,12-positions            groups together represent a double bond and the other
                                                                              R 15 group represents a hydrogen atom or an alkyl group
      as 3-oximes
                                                                              of 1 to 4 carbon atoms; and
      as 3-methylenes
                                                                           R 16 represents a hydrogen atom, halogen atom, or an alkyl
      as 3-carboxylates                                              65       group of 1 to 4 carbon atoms, in the form of the free
      as 3-nitriles                                                           bases or pharmaceutically acceptable acid addition
      as 3-nitros                                                             salts.
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                                                         5,604,213
                              29                                                                   30
     3. A compound according to claim 1, which is saturated              13. A pharmaceutical composition comprising a com-
  and unsubstituted at the 11- and 12-positions.                      pound of claim 6 in association with a pharmaceutically
     4.                                                               acceptable carrier or diluent.
  17-(3-Pyridyl)androsta-5, 16-dien-3 P-ol,                              14. A pharmaceutical composition comprising a com-
  17-(3-pyridyl)androsta-3,5, 16-triene,                         5    pound of claim 7 in association with a pharmaceutically
  l 7-(3-pyridyl)androsta-4,16-dien-3-one,                            acceptable carrier or diluent.
  17-(3-pyridyl)estra-l ,3,5[10] ,l 6-tetraen-3-ol,                     -1s. A pharmaceutical composition comprising a com-
  l 7-(3-pyridyl)-5a-androst-l 6-en-3a-ol                             pound of claim 8 in association with a pharmaceutically
  and their acid addition salts and 3-esters.                         acceptable carrier or diluent.
                                                                         16. A method according to claim 2 wherein the patient has
     5. A compound according to claim 1 wherein R represents     10
                                                                      prostatic cancer.
  a hydrogen atom.                                                       17. A method according to claim 2 wherein the patient has
     6.                                                               breast cancer.
  17-(3-Pyridyl)-Sa-androst-l 6-en-3-one,                                18. A method according to claim 2 wherein the compound
  17-(3-pyridyl)-androsta-4,l 6-diene-3, 11-dione,                    defined in claim 2 is saturated and unsubstituted at the 11-
  17-(3-pyridyl)-androsta-3,5,16-trien-3-ol,                     15   and 12-positions.
  6a- and 6P-fluoro-l 7-(3-pyridyl)androsta-4,l 6-dien-3-one,            19. A method according to claim 2 wherein the compound
  17-(3-pyridyl)androsta-4, l 6-dien-3,6-dione,                       is selected from the group consisting of:
  3a-trifluoromethyl-l 7-(3-pyridyl)androst-l 6-en-3P-ol              l 7-(3-pyridyl)androsta-5,16-dien-3P-ol,
  and their acid addition salts and 3-esters.                         17-(3-pyridyl)androsta-3,5, 16-triene,
     7. 3 P-Alkanoyloxy-17-(3-pyridyl)androsta-5, 16-dienes in   20   17-(3-pyridyl)androsta-4,16-dien-3-one,
  which the alkanoyloxy group has from 2 to 4 carbon atoms.           17-(3-pyridyl)estra-1,3,5[1 OJ, 16-tetraen-3-ol,
     8. 3P-Acetoxy-17-(3-pyridyl)androsta-5,16-diene.                 17-(3-pyridyl)-5a-androst-16-en-3a-ol
     9. A pharmaceutical composition comprising a compound            and their acid addition salts and 3-esters.
  of claim 1 in association with a pharmaceutically acceptable           20. A method according to claim 2 wherein the compound
  carrier or diluent.                                            25   is a 3P-alkanoyloxy-l 7-(3-pyridyl)androsta-5,16-diene
     10. A pharmaceutical composition comprising a com-               wherein the alkanoyloxy group has 2 to 4 carbon atoms.
  pound of claim 3 in association with a pharmaceutically                21. A method according to claim 2 wherein the compound
  acceptable carrier or diluent.                                      is 3 P-acetoxy-17-(3-pyridyl)androsta-5,16-diene.
     11. A pharmaceutical composition comprising a com-                  22. An orally ingestible solid composition or a sterile
  pound of claim 1 wherein R represent a hydrogen atom in        30   injectable liquid composition comprising respectiveiy a
  association with a pharmaceutically acceptable carrier or           solid or liquid pharmaceutically acceptable carrier or diluent
  diluent.                                                            and a compound as defined by general formula (1) of claim
     12. A pharmaceutical composition comprising a com-               2.
  pound of claim 4 in association with a pharmaceutically
  acceptable carrier or diluent.                                                            * * * *         *
Case 2:19-cv-12107-KM-ESK Document 79-3 Filed 09/13/19 Page 19 of 384 PageID: 1509


                          UNITED STATES PATENT AND TRADEMARK OFFICE
                            CERTIFICATE OF CORRECTION
                                                                                     Page 1 of 2
           PATENT NO.        5,604,213
           DATED             February 18, 1997
           INVENTOR(S) : Barrie, et. al.

              It is certified that error appears in the above-identified patent and that said Letters Patent is hereby
              corrected as shown below:
     Column 27, lines 22-46; delete "estra-1,3,5{10}-trien-3-ol ... R represents a hydrogen atom or an alkyl
     group of 1-4 carbon atoms;"
     Column 28, line 52, insert--,-- after "estra-1,3,5[10}-triene"
     Column 28, line 52, insert the following after "estra-1,3,5[10}-triene,"
     -estra-1,3,5{10]-trien-3-ol,
     Sa-an drostan-3-one,
     androst-4-ene-3, 11-dione,
     6-fluoroandrost-4-ene-3-one,
     androstan-4-ene-3,6-dione,
     each of which, where structurally permissible, can be further derivatised in one or more of the following
     ways:
     to form 3-esters
Case 2:19-cv-12107-KM-ESK Document 79-3 Filed 09/13/19 Page 20 of 384 PageID: 1510


                           UNITED STATES PATENT AND TRADEMARK omcE
                             CERTIF'ICATE OF CORRECTION
                                                                                        Page 2 of 2
           PATENT NO.    5,604,213
           DATED         February 18, 1997
           INVENTOR($) : Barrie, et. al.

               It is certified that error appears in th~ above-identified patent and that said Letters Patent is hereby
               corrected as shown below:

     to have one or more carbon to carbon ring double bonds in any of the 5,6-, 6,7-, 7,8-, 9,11- and 11,12-
     positions                                                    -·
     as 3-oximes
     as 3-methylenes
     as 3-carboxylates
     as 3-n rtriles
     as 3-nitros
     as 3-desoxy derivatives
     to have one or more hydroxy, halo, C1-4-alkyl, trifluoromethyl, C,-4-alkoxy, C,-4-alkanoytoxy, benzoyloxy,
     oxo, methylene or alkenyl substituents in the A, B or C-ring
     to be 19-nor;
     R represents a hydrogen atom or an alkyl group of 1-4 carbon atoms;




                                                                             Signed and Sealed this

                                                              Twenty-seventh Day of February, 2001


                                  'Attest:


                                                                                       NICHOLAS P. GODICI

                                   Attesting Officer             Acting Direcror of The Unill!d S1ares Patt.~11t and Tradt'mark Office
Case 2:19-cv-12107-KM-ESK Document 79-3 Filed 09/13/19 Page 21 of 384 PageID: 1511




                               EXHIBIT B
Case 2:19-cv-12107-KM-ESK Document 79-3 Filed 09/13/19 Page 22 of 384 PageID: 1512
                                      I 1111111111111111 11111 111111111111111 111111111111111 IIIII IIIIII IIII IIII IIII
                                                                                                          US008822438B2


     c12)    United States Patent                                                       (10)   Patent No.:                US 8,822,438 B2
             Auerbach et al.                                                            (45)   Date of Patent:                       Sep.2,2014

     (54)    METHODS AND COMPOSITIONS FOR                                           Cougar Biotechnology, Cougar Biotechnology Announces Presenta-
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                                                                                    national Conference on Molecular Targets and Cancer Therapeutics,
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                                                                                    com, Jul. 2007.
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                                                                                    tion of positive phase I and phase II data at ASCO Prostate Cancer
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     ( *)    Notice:       Subject to any disclaimer, the term ofthis               Phase I clinical data at the 2005 Prostate Cancer Symposium,
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     (65)                      Prior Publication Data                               De Bono et al, Inhibition ofCYP450cl 7 by abiraterone administered
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     and Mitoxantrone for the Treatement of Metastatic Hormone-Refrac-              prising a 17a-hydroxylase/C 17 20 -lyase inhibitor, and at least
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                                                          US 8,822,438 B2
                                  1                                                                        2
           METHODS AND COMPOSITIONS FOR                                     tionally, there is a need for effective anti-cancer treatment
                TREATING CANCER                                             options for patients who are not responding to current anti-
                                                                            cancer treatments. Also, there is a need for effective anti-
                  FIELD OF THE INVENTION                                    cancer treatment options for patients whose cancer has
                                                                       5    recurred.
      Methods and compositions for treating cancer are
   described herein. More particularly, the methods for treating                        SUMMARY OF THE INVENTION
   cancer comprise administering a 17a-hydroxylase/C 1 7 20 -
   lyase inhibitor, such as abiraterone acetate (i.e., 3~-aceto~y-             Described herein are methods for treating a cancer in
   17-(3-pyridyl) androsta-5,16-diene), in combination with at         10   which a therapeutically effective amount of a 17a-hydroxy-
   least one additional therapeutic agent, such as an anti-cancer           lase/C17.20-lyase inhibitor, such as abiraterone acetate (i.e.
   agent or a steroid. Furthermore, disclosed are compositions              3~-acetoxy-17-(3-pyridyl)androsta-5,16-diene), is adminis-
   comprising a 17a-hydroxylase/C 17 20 -lyase inhibitor, and at            tered to a patient, e.g., a patient in need thereof, in combina-
   least one additional therapeutic ag~nt such as an anti-cancer            tion with a therapeutically effective amount of at least one
   agent or a steroid, e.g., a corticosteroid or, more specifically,   15
                                                                            additional therapeutic agent including, but not limited to, an
   a glucocorticoid.
                                                                            anti-cancer agent or steroid. Such methods can also provide
                          BACKGROUND                                        an effective treatment for individuals with a refractory cancer,
                                                                            including individuals who are currently undergoing a cancer
      The number of people diagnosed with cancer has signifi-          20   treatment. Therefore, in certain embodiments, the method is
   cantly increased. Of special interest are individuals diagnosed          directed to treating a refractory cancer in a patient, in which a
   with androgen-dependent disorders, such as prostate cancer,              therapeutically effective amount of 17a-hydroxylase/C 17 •20 -
   and estrogen-dependent disorders, such as breast cancer since            lyase inhibitor is administered to a patient currently receiving
   such diagnoses are increasing in number at an alarming rate.             an anti-cancer agent.
      Prostate cancer is currently the most common non-skin            25      For example, in certain embodiments, the method for the
   cancer and the second leading cause of cancer-related death in           treatment of a cancer in a mammal comprises administering
   men after lung cancer. The primary course of treatment for               an amount of about 0.01 mg/kg/day to about 100 mg/kg/day
   patients diagnosed with organ-confined prostate cancer is                of abiraterone acetate and an amount of about 0.1 mg/m2 to
   usually prostatectomy or radiotherapy. Not only are these                about 20 mg/m 2 of mitoxantrone.
   treatments highly invasive and have undesirable side effects,       30      In another embodiment, the method for the treatment of a
   such localized treatments are not effective on prostate cancer           cancer in a mammal comprises administering an amount of
   after it has metastasized. Moreover, a large percent of indi-            about 0.01 mg/kg/day to about 100 mg/kg/day of abiraterone
   viduals who receive localized treatments will suffer from                acetate and an amount of about 1 mg/m2 to about 175 mg/m 2
   recurring cancer.                                                        of paclitaxel.
      Additionally, breast cancer incidence in women has               35      In still other embodiments, the method for the treatment of
   increased from one out of every 20 women in 1960 to one out              a cancer in a mammal comprises administering an amount of
   of every eight women in 2005. Moreover, it is the most com-              about 0.01 mg/kg/day to about 100 mg/kg/day of abiraterone
   mon cancer among white and African-American women.                       acetate and an amount of about 1 mg/m2 to about 100 mg/m 2
   Similar to treating prostate cancer, most options for women              of docetaxel.
   diagnosed with breast cancer are highly invasive and have           40      Furthermore, described herein is a method for the treat-
   significant side-effects. Such treatments include surgery,               ment of a cancer in a mammal comprising administering an
   radiation and chemotherapy.                                              amount of about 0.01 mg/kg/day to about 100 mg/kg/day of
      Hormone therapy is another treatment option for individu-             abiraterone acetate; and an amount of about 0.01 mg to about
   als diagnosed with prostate or breast cancer. Hormone                    200 mg ofleuprolide, wherein the leuprolide is administered
   therapy is a form of systemic treatment for prostate or breast      45   over a period of about 3 days to about 12 months.
   cancer wherein hormone ablation agents are used to suppress                 In other embodiments, the method for the treatment of a
   the production or block the effects of hormones, such as                 cancer in a mammal comprises administering an amount of
   estrogen and progesterone in the body, which are believed to             about 0.01 mg/kg/day to about 100 mg/kg/day of abiraterone
   promote the growth of breast cancer, as well as testosterone             acetate and an amount of about 0.01 mg to about 20 mg of
   and dihydrotestosterone, which are believed to promote the          50   goserelin, wherein the goserelin is administered over a period
   growth of prostate cancer. Moreover, hormone therapy is less             of about 28 days to about 3 months.
   invasive than surgery and does not have many of the side                    Additionally, in another embodiment, the method for the
   effects associated with chemotherapy or radiation. Hormone               treatment of a cancer in a mammal comprises administering
   therapy can also be used by itself or in addition to localized           an amount of about 0.01 mg/kg/day to about 100 mg/kg/day
   therapy and has shown to be effective in individuals whose          55   of abiraterone acetate and an amount of about 0.01 mg to
   cancer has metastasized.                                                 about 20 mg oftriptorelin, wherein the triptorelin is admin-
      Even though hormone therapy is less invasive and can be               istered over a period of about 1 month.
   used on more advanced stages of cancer, some individuals                    The method for the treatment of a cancer in a mammal can
   administered current hormone therapy treatments may not                  also comprise administering an amount of about 0.01 mg/kg/
   show a significant response or may not show any response at         60   day to about 100 mg/kg/day of abiraterone acetate and an
   all to such treatments. Additionally, some patients treated              amount of about 0.1 µg/day to about 500 µg/day of seocalci-
   with current hormone therapy treatments may also suffer                  tol, such as about 100 µg/day of seocalcitol.
   from relapsing or recurring cancer. Currently, such refractory              Also, the method for the treatment of a cancer in a mammal
   cancer patients are left with very few treatment options.                can comprise administering an amount of about 0.01 mg/kg/
      Despite the progress made in the treatment of cancer, there      65   day to about 100 mg/kg/day of abiraterone acetate and an
   remains a need for more effective ways to treat cancer such as,          amount of about 1 mg/day to about 300 mg/day ofbicaluta-
   but not limited to, prostate cancer and breast cancer. Addi-             mide.
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                                                         US 8,822,438 B2
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      In yet another embodiment, the method for the treatment of           lyase, (which is an enzyme in testosterone synthesis), an
   a cancer in a mammal can comprise administering an amount               analog thereof, derivative thereof, metabolite thereof or phar-
   of about 0.01 mg/kg/day to about 100 mg/kg/day of abirater-             maceutically acceptable salt thereof. Also, unless otherwise
   one acetate and an amount of about 1 mg/day to about 2000               noted, reference to a particular 17a-hydroxylase/C 17 20 -lyase
   mg/day offlutamide.                                                5    inhibitor can include analogs, derivatives, metab~lites or
      Moreover, the method for the treatment of a cancer in a              pharmaceutically acceptable salts of such particular 17 a-
   mammal can comprise administering an amount of about 50                 hydroxylase/C1 7 20 -lyase inhibitor.
   mg/day to about 2000 mg/day of abiraterone acetate and an                  The term "anti-cancer agent" as used herein refers to any
   amount of about 0.01 mg/day to about 500 mg/day of a                    therapeutic agent that directly or indirectly kills cancer cells
   glucocorticoid including, but not limited to, hydrocortisone,      10   or directly or indirectly prohibits stops or reduces the prolif-
   prednisone or dexamethasone.                                            eration of cancer cells. It should be noted that even though
      Also described herein are compositions for the treatment of          throughout this specification and in the claims the phrase
   cancer that comprise a combination of a therapeutically effec-          "anti-cancer agent" is written as a singular noun, for example;
   tive amount of at least one 17a-hydroxylase/C 17 20 -lyase              "an anti-cancer agent" or "the anti-cancer agent," the phrase
   inhibitor and a therapeutically effective amount of at least one   15   "anti-cancer agent" should not be interpreted as being limited
   additional anti-cancer agent, such as, but not limited to,              to the inclusion of a single anti-cancer agent.
   mitoxantrone, paclitaxel, docetaxel, leuprolide, goserelin,                As used herein, and unless otherwise defined, the phrase
   triptorelin, seocalcitol, bicalutamide, flutamide, or a steroid         "therapeutically effective amount" when used in connection
   including, but not limited to, hydrocortisone, prednisone, or           with a 17a-hydroxylase/C 17 20 -lyase inhibitor or therapeutic
   dexamethasone.                                                     20   agent means an amount of the 17a-hydroxylase/C 17 20 -lyase
      Finally, single unit dosage forms comprising abiraterone             inhibitor or therapeutic agent effective for treating ~ disease
   acetate and a glucocorticoid, optionally with carriers, diluents        or disorder disclosed herein, such as cancer.
   or excipients, are contemplated. Also, kits comprising at least            As used herein and unless otherwise defined the phrase
   one 17 a-hydroxylase/C 17 20 -lyase inhibitor and an additional         "refractory cancer," means cancer that is not responding to an
   anti cancer agent or steroid are contemplated. For example,        25   anti-cancer treatment or cancer that is not responding suffi-
   the kit may include a vial containing abiraterone acetate and           ciently to an anti-cancer treatment. Refractory cancer can also
   another vial containing a glucocorticoid.                               include recurring or relapsing cancer.
                                                                              As used herein and unless otherwise defined the phrase
                          DEFINITIONS                                      "refractory patient," means a patient who has refractory can-
                                                                      30   cer.
      As used herein and unless otherwise defined the word                    As used herein and unless otherwise defined the phrase
   "cancer," refers to the growth, division or proliferation of            "relapse cancer," means cancer that was at one time respon-
   abnormal cells in the body. Cancers that can be treated with            sive to an anti-cancer treatment but has become no longer
   the methods and the compositions described herein include,              responsive to such treatment or is no longer responding suf-
   but are not limited to, prostate cancer, breast cancer, adrenal    35   ficiently to such treatment.
   cancer, leukemia, lymphoma, myeloma, Waldenstriim' s mac-                  As used herein and unless otherwise defined the phrase
   roglobulinemia, monoclonal gammopathy, benign mono-                     "recurring cancer," means cancer that has returned after a
   clonal gammopathy, heavy chain disease, bone and connec-                patient has been earlier diagnosed with cancer, under gone
   tive tissue sarcoma, brain tumors, thyroid cancer, pancreatic           treatment or had been previously diagnosed as cancer-free.
   cancer, pituitary cancer, eye cancer, vaginal cancer, vulvar       40      As used herein and unless otherwise defined the term
   cancer, cervical cancer, uterine cancer, ovarian cancer, esoph-         "derivative" refers to a chemically modified compound
   ageal cancer, stomach cancer, colon cancer, rectal cancer,              wherein the chemical modification takes place at one or more
   liver cancer, gallbladder cancer, cholangiocarcinoma, lung              functional groups of the compound. The derivative may retain
   cancer, testicular cancer, penal cancer, oral cancer, skin can-         or improve the pharmacological activity of the compound
   cer, kidney cancers, Wilms' tumor and bladder cancer.              45   from which it is derived.
      As used herein, and unless otherwise defined, the terms                 As used herein and unless otherwise defined the term "ana-
   "treat," "treating" and "treatment" include the eradication,            log" refers to a chemical compound that is structurally similar
   removal, modification, management or control of a tumor or              to another but differs slightly in composition (as in the
   primary, regional, or metastatic cancer cells or tissue and the         replacement of one atom by an atom of a different element or
   minimization or delay of the spread of cancer.                     50   in the presence of a particular functional group).
      As used herein, and unless otherwise defined, the term                  As used herein and unless otherwise defined the phrase
   "patient" means an animal, including but not limited to an              "pharmaceutically acceptable salt" refers to any salt of a
   animal such as a human, monkey, cow, horse, sheep, pig,                 17a-hydroxylase/C 17 20 -lyase inhibitor which retains the
   chicken, turkey, quail, cat, dog, mouse, rat, rabbit, or guinea         biological effectivene~s of the 17a-hydroxylase/C 17 20 -lyase
   pig. In one embodiment, the patient is a mammal and in             55   inhibitor. Examples of pharmaceutically acceptable salts
   another embodiment the patient is a human. In certain                   include, but are not limited to, acetates, sulfates, pyrosulfates,
   embodiments, the patient can be an adult male or female. In             bisulfates, sulfites, bisulfites, phosphates, monohydrogen-
   some embodiments, the patient is a male of age about 30 years           phosphates, dihydrogenphosphates, metaphosphates, pyro-
   to about 85 years. In other embodiments, the patient is a               phosphates, chlorides, bromides, iodides, acetates, propi-
   female of age about 30 years to about 85 years. In a particular    60   onates, decanoates, caprylates, acrylates, formates,
   embodiment, the patient has or is susceptible to having (e.g.,          isobutyrates, caproates, heptanoates, propiolates, oxalates,
   through genetic or environmental factors) cancer. In a further          malonates, succinates, suberates, sebacates, fumarates, male-
   embodiment, the patient has or is susceptible to having (e.g.,          ates, butyne-1,4-dioates, hexyne-1,6-dioates, benzoates,
   through genetic or environmental factors) a tumor. In other             chlorobenzoates,       methylbenzoates,         dinitrobenzoates,
   embodiments, the patient can be castrated or non-castrated.        65   hydroxybenzoates, methoxybenzoates, phthalates, sul-
      The term "17a-hydroxylase/C 17 20 -lyase inhibitor" as               fonates, xylenesulfonates, phylacetates, phenylpropionates,
   used herein refers to an inhibitor of 17a-hydroxylase/C 17.20 -         phenylbutyrates, citrates, lactates, gamma-hydroxybutyrates,
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   glycollates, tartarates, alkanesulfonates (e.g. methane-sul-               3-desoxy derivatives; to have one or more hydroxy, halo,
   fonate or mesylate), propanesulfonates, naphthalene-1-sul-                 C 1 _4 -alkyl, trifluoro-methyl, C 1 _4 -alkoxy, C 1 _4 -alkanoyloxy,
   fonates, naphthalene-2-sulfonates, and mandelates. Several                 benzoyloxy, oxo, methylene or alkenyl substituents in the A,
   of the officially approved salts are listed in Remington: The              B, or C-ring; or to be 19-nor;
   Science and Practice of Pharmacy, Mack Pub!. Co., Easton.             5       R represents a hydrogen atom or an alkyl group of 1-4
                                                                                      carbon atoms;
       DETAILED DESCRIPTION OF THE INVENTION                                     R 14 represents a hydrogen atom, a halogen atom or an alkyl
                                                                                      group of 1 to 4 carbon atoms;
      The methods described herein for treating cancer comprise                  each of the R 15 substituents independently represents a
   administering to a mammal, preferably a human, a 17a-hy-              10           hydrogen atom or an alkyl or alkoxy group of 1-4 carbon
   droxylase/C 17 20 -lyase inhibitor in addition to at least one                     atoms, a hydroxy group or an alkylcarbonyloxy group of
   therapeutic agent, such as an anti-cancer agent or steroid,                        2 to 5 carbon atoms or together represent an oxo or
   particularly a glucocorticoid. The compositions described                          methylene group or R 14 and one of the R 15 groups
   herein comprise a 17a-hydroxylase/C 17 20 -lyase inhibitor                         together represent a double bond and the other R 15 group
                                                                                      represents a hydrogen atom or an alkyl group of 1 to 4
   and at least one additional therapeutic agei°i.t, such as an anti-    15
                                                                                      carbon atoms; and
   cancer agent or steroid, particularly a corticosteroid or glu-
                                                                                 R 16 represents a hydrogen atom, halogen atom, or an alkyl
   cocorticoid. Other anti-cancer treatments such as, adminis-
                                                                                      group of 1 to 4 carbon atoms, in the form of the free bases
   tration of yet another anti-cancer agent, radiotherapy,                            or pharmaceutically acceptable acid addition salts, but
   chemotherapy, photodynamic therapy, surgery or other                               excluding 3~-acetoxy-17-(3-pyridyl)androsta-5, 14,16-
   immunotherapy, can be used with the methods and composi-              20
                                                                                      triene, 3~,15a- and 3~,15~-diacetoxy-17-(3-pyridyl)
   tions.                                                                             androsta-5,16-diene and 3~-methoxy-17-(3-pyridyl-
   17a-Hydroxylase/C 17 20 -Lyase Inhibitors                                          5a-androst-16-ene.
      17a-hydroxylase/C~ 7 20 -lyase inhibitors have been shown                  Suitable inhibitors also include metabolites, derivatives,
   to be useful in the treatment of cancer, specifically hormone-             analogs, or pharmaceutically acceptable salts of formula (I).
   dependent disorders such as, androgen-dependent and estro-            25      In another embodiment, the 17a-hydroxylase/C 17 20 -lyase
   gen-dependent disorders like prostate cancer and breast can-               inhibitor can have the structure of formula (I):             ·
   cer respectively, as described in U.S. Pat. No. 5,604,213 to
   Barrie et al., which is herein incorporated by reference in its
   entirety.                                                                                                                                    (I)
      In certain embodiments, the 17a-hydroxylase/C1 7 20 -lyase
                                                                         30
   inhibitor can be 17-(3-pyridyl)androsta-5, 16-dien-3°~01; 17-
   (3-pyridyl)androsta-3,5, 16-triene; 17-(3-pyridyl)androsta-4,
   16-dien-3-one; 17-(3-pyridyl)estra-l,3,5[10],16-tetraen-3-
   ol; 17-(3-pyridyl)-5a-androst-16-en-3a-ol; 17-(3-pyridyl)-
   5a-androst-16-en-3-one;          17-(3-pyridyl)-androsta-4,16-
   diene-3, 11-dione; 17-(3-pyridyl)-androsta-3,5, 16-trien-3-ol;        35
   6a- and 6~-fluoro-17-(3-pyridyl)androsta-4,16-dien-3-one;
   17-(3-pyridyl)androsta-4,16-dien-3,6-dione; 3a-trifluorom-
   ethyl-17-(3-pyridyl)androst-16-en-3~-ol or their acid addi-
   tion salts and 3-esters as well as metabolites, analogs, deriva-
   tives or a pharmaceutically acceptable salt thereof.                  40
      In certain embodiments, the 17a-hydroxylase/C1 7 20 -lyase
   inhibitor can have the structure of formula (I):         ·                 wherein R represents hydrogen or a lower acyl group having
                                                                              1 to 4 carbons. Suitable inhibitors also include derivatives,
                                                                   (I)        analogs, or pharmaceutically acceptable salts of formula (I).
                                                                         45
                                                                                 In still another embodiment, the 17a-hydroxylase/C 17 20 -
                                                                              lyase inhibitor can be a 3~-alkanoyloxy-17-(3-pyridyl)
                                                                              androsta-5,16-diene in which the alkanoyloxy group has
                                                                              from 2 to 4 carbon atoms.
                                                                                 In a preferred embodiment, the 17a-hydroxylase/C 17 20 -
                                                                              lyase inhibitor comprises abiraterone acetate or 3~-acetoxy-
                                                                         50   17-(3-pyridyl)androsta-5,16-diene which has the following
                                                                              structural formula:
                                  Rl5
                                Rl4

                                                                                                                                               (II)
   wherein X represents the residue of the A, B and C rings of a         55
   steroid which can be, without limitation, androstan-3a- or
   3~-ol; androst-5-en-3~- or 3~-ol; androst-4-en-3-one;
   androst-2-ene; androst-4-ene; androst-5-ene; androsta-5,7-
   dien-3a or 3~-ol; androsta-1,4-dien-3-one; androsta-3,5-di-
   ene; androsta-3,5-diene-3-ol; estra-1,3,5[10]-triene; estra-1,
   3,5[1 0]-trien-3-ol; 5a-androstan-3-one; androst-4-ene-3, 11-         60
   dione; 6-fluoroandrost-4-ene-3-one; or androstan-4-ene-3,6-
   dione; each of which, where structurally permissible, can be
   further derivatized in one or more of the following ways,
   including, but not limited to, to form 3-esters; to have one or
   more carbon or carbon ring double bonds in any of the 5,6-,           65
   6,7-, 7,8-, 9,11- and 11,12-positions; as 3-oximes; as 3-me-
   thylenes; as 3-carboxylates; as 3-nitriles; as 3-nitros; as                and pharmaceutically acceptable salts thereof.
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      Preferred salts of abiraterone acetate and methods of mak-              singular noun, for example; "a hormonal ablation agent" or
   ing such salts are also disclosed in U.S. Provisional Applica-             "the hormonal ablation agent," the phrase "hormonal ablation
   tion No. 60/603,559 to Hunt, which is incorporated by refer-               agent" should not be interpreted as being limited to the inclu-
   ence in its entirety. Preferred salts include, but are not limited         sion of a single hormonal ablation agent. The amount of the
   to, acetates, citrates, lactates, alkanesulfonates (e.g. methane-     5    hormonal ablation agent administered to a mammal having
   sulfonate or mesy late) and tartarates. Of special interest is the         cancer is an amount that is sufficient to treat the cancer
   abiraterone acetate mesylate salt (i.e. 3~-acetoxy-17-(3-py-               whether administered alone or in combination with a 17a-
   ridyl)androsta-5,16-diene mesylate salt) which has the fol-                hydroxylase/C1 7 20 -lyase inhibitor.
   lowing structural formula:                                                    Suitable anti-a°ndrogen agents include but are not limited to
                                                                         10   bicalutamide, flutamide and nilutamide. The amount of the
                                                                              anti-androgen agent administered to a mammal having cancer
                                                                 (III)        is an amount that is sufficient to treat the cancer whether
                                                    ®                         administered alone or in combination with a 17a-hydroxy-
                                 0:::--/ 0          HN                        lase/C1 7 20 -lyase inhibitor.
                                  -=::s::::::::,o
                                       I                1/               15      Inan~therembodiment, the 17a-hydroxylase/C 17 20 -lyase
                                   HO                                         inhibitor may be administered with a differentiatin°g agent.
                                                                              Suitable differentiating agents include, but are not limited to,
                                                                              polyamine inhibitors; vitamin D and its analogs, such as,
                                                                              calcitriol, doxercalciferol and seocalcitol; metabolites of
                                                                         20   vitamin A, such as, ATRA, retinoic acid, retinoids; short-
                                                                              chain fatty acids; phenylbutyrate; and nonsteroidal anti-in-
                                                                              flammatory agents. The amount of the differentiating agent
                                                                              administered to a mammal having cancer is an amount that is
                                                                              sufficient to treat the cancer whether administered alone or in
                                                                         25   combination with a 17a-hydroxylase/C 17 20 -lyase inhibitor.
                                                                                                                          0


      The 17a-hydroxylase/C 17 20 -lyase inhibitors can be made                  In another preferred embodiment, the 17a-hydroxylase/
   according to any method kn~wn to one skilled in the art. For               C 17 20 -lyase inhibitor may be administered with an anti-neo-
   example, such inhibitors can be synthesized according to the               pla;tic agent, including, but not limited to, tubulin interacting
   method disclosed in U.S. Pat. Nos. 5,604,213 and 5,618,807                 agents, topoisomerase inhibitors and agents, acitretin, alsto-
   to Barrie et al., herein incorporated by reference. Another           30   nine, amonafide, amphethinile, amsacrine, ankinomycin,
   method of making 17a-hydroxlase/C17 20 -lyase inhibitors is                anti-neoplaston, aphidicolin glycinate, asparaginase, baccha-
   disclosed in U.S. provisional applicatio~ 60/603,558 to Bury,              rin, batracylin, benfluron, benzotript, bromofosfamide, cara-
   herein incorporated by reference.                                          cemide, carmethizole hydrochloride, chlorsulfaquinoxalone,
      The amount of 17a-hydroxylase/C 17 20 -lyase inhibitor                  clanfenur, claviridenone, crisnatol, curaderm, cytarabine,
   administered to a mammal having cancer i's an amount that is          35   cytocytin, dacarbazine, datelliptinium, dihaematoporphyrin
   sufficient to treat the cancer, whether the 17a-hydroxylase/               ether, dihydrolenperone, dinaline, distamycin, docetaxel,
   C 17 20 -lyase inhibitor is administered alone or in combination           elliprabin, elliptinium acetate, epothilones, ergotamine, eto-
   with an additional anti-cancer treatment, such as an additional            poside, etretinate, fenretinide, gallium nitrate, genkwadaph-
   anti-cancer agent.                                                         nin, hexadecylphosphocholine, homoharringtonine, hydrox-
   Additional Therapeutic Agents                                         40   yurea, ilmofosine, isoglutamine, isotretinoin, leukoregulin,
       Suitable compounds that can be used in addition to 17 a-               lonidamine, merbarone, merocyanlne derivatives, methyla-
   hydroxylase/C17 20 -lyase inhibitors as an anti-cancer agent               nilinoacridine, minactivin, mitonafide, mitoquidone, mitox-
   include, but are n"ot limited to, hormone ablation agents, anti-           antrone, mopidamol, motretinide, N-(retinoyl)amino acids,
   androgen agents, differentiating agents, anti-neoplastic                   N-acylated-dehydroalanines,         nafazatrom,      nocodazole
   agents, kinase inhibitors, anti-metabolite agents, alkylating         45   derivative, ocreotide, oquizanocinc, paclitaxel, pancratista-
   agents, antibiotic agents, immunological agents, interferon-               tin, pazelliptine, piroxantrone, polyhaematoporphyrin,
   type agents, intercalating agents, growth factor inhibitors,               polypreic acid, probimane, procarbazine, proglumide, razox-
   cell cycle inhibitors, enzymes, topoisomerase inhibitors, bio-             ane, retelliptine, spatol, spirocyclopropane derivatives,
   logical response modifiers, mitotic inhibitors, matrix metal-              spirogermanium, strypoldinone, superoxide dismutase, teni-
   loprotease inhibitors, genetic therapeutics, and anti-andro-          50   poside, thaliblastine, tocotrienol, topotecan, ukrain, vinblas-
   gens. The amount of the additional anti-cancer agent                       tine sulfate, vincristine, vindesine, vinestramide, vinorelbine,
   administered to a mammal having cancer is an amount that is                vintriptol, vinzolidine, and withanolides. The amount of the
   sufficient to treat the cancer whether administered alone or in            anti-neoplastic agent administered to a mammal having can-
   combination with a 17a-hydroxylase/C 17 20 -lyase inhibitor.               cer is an amount that is sufficient to treat the cancer whether
   Below are lists of examples of some of the above classes of           55   administered alone or in combination with a 17a-hydroxy-
   anti-cancer agents. The examples are not all inclusive and are             lase/C1 7 20 -lyase inhibitor.
   for purposes of illustration and not for purposes oflimitation.               The 17a-hydroxylase/C 17 20 -lyase inhibitors may also be
   Many of the examples below could be listed in multiple                     used with a kinase inhibito~ including p38 inhibitors and
   classes of anti-cancer agents and are not restricted in any way            CDK inhibitors, TNF inhibitors, metallomatrix proteases
   to the class in which they are listed in.                             60   inhibitors (MMP), COX-2 inhibitors including celecoxib,
       Suitable hormonal ablation agents include, but are not lim-            rofecoxib, parecoxib, valdecoxib, and etoricoxib, SOD mim-
   ited to, androgen ablation agents and estrogen ablation                    ics or av~ 3 inhibitors. The amount of the kinase inhibitor
   agents. In preferred embodiments, the 17a-hydroxylase/                     administered to a mammal having cancer is an amount that is
   C 17 20 -lyase inhibitor is administered with a hormonal abla-             sufficient to treat the cancer whether administered alone or in
   tion" agent, such as deslorelin, leuprolide, goserelin or trip-       65   combination with a 17a-hydroxylase/C 17 20 -lyase inhibitor.
   torelin. Even though throughout this specification and in the                 In another embodiment, the 17a-hydro~ylase/C 17 20 -lyase
   claims the phrase "hormonal ablation agent" is written as a                inhibitor may be administered with an anti-metabolite agent.
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   Suitable anti-metabolite agents may be selected from, but not           nilutamide, noscapine, oprelvekin, osaterone, oxaliplatin,
   limited to, 5-FU-fibrinogen, acanthifolic acid, aminothiadia-           pamidronic acid, pegaspargase, pentosan polysulfate sodium,
   zole, brequinar sodium, carmofur, cyclopentyl cytosine, cyt-            pentostatin, picibanil, pirarubicin, porfimer sodium, ralox-
   arabine phosphate stearate, cytarabine conjugates, dezagua-             ifene, raltitrexed, rasburicase, rituximab, romurtide, sargra-
   nine,      dideoxycytidine,      dideoxyguanosine,        didox,   5    mostim, sizofiran, sobuzoxane, sonermin, suramin, tasoner-
   doxifluridine, fazarabine, floxuridine, fludarabine phosphate,          min, tazarotene, tegafur, temoporfin, temozolomide,
   5-fluorouracil, N-(2'-furanidyl )-5-fluorouracil, isopropy1             teniposide, tetrachlorodecaoxide, thalidomide, thymalfasin,
   pyrrolizine, methobenzaprim, methotrexate, norspermidine,               thyrotropin alfa, topotecan, toremifene, trastuzumab, treosul-
   pentostatin, piritrexim, plicamycin, thioguanine, tiazofurin,           fan, tretinoin, trilostane, trimetrexate, ubenimex, valrubicin,
   trimetrexate, tyrosine kinase inhibitors, and uricytin. The        10
                                                                           verteporfin, vinorelbine. The amount of the anti-cancer agent
   amount of the anti-metabolite agent administered to a mam-
                                                                           administered to a mammal having cancer is an amount that is
   mal having cancer is an amount that is sufficient to treat the
                                                                           sufficient to treat the cancer whether administered alone or in
   cancer whether administered alone or in combination with a
   17a-hydroxylase/C 17 20 -lyase inhibitor.                               combination with a 17a-hydroxylase/C 17 •20 -lyase inhibitor.
      In another embodin"i.ent, the 17a-hydroxylase/C 17 20 -lyase    15
                                                                              The 17a-hydroxylase/C 17 _20 -lyase inhibitors may also be
   inhibitor may be administered with an alkylating ag~nt. Suit-           administered or combined with steroids, such as corticoster-
   able alkylating agents may be selected from, but not limited            oids or glucocorticoids. The 17a-hydroxylase/C 17 •20 -lyase
   to, aldo-phosphamide analogues, altretamine, anaxirone,                 inhibitors and the steroid may be administered in the same or
   bestrabucil, budotitane, carboplatin, carmustine, chloram-              in different compositions. Non-limiting examples of suitable
   bucil, cisplatin, cyclophosphamide, cyplatate, diphenylspiro-      20   steroids include hydrocortisone, prednisone, or dexametha-
   mustine, di platinum cytostatic, elmustine, estramustine phos-          sone. The amount of the steroid administered to a mammal
   phate sodium, fotemustine, hepsul-fam, ifosfamide,                      having cancer is an amount that is sufficient to treat the cancer
   iproplatin, lomustine, mafosfamide, mitolactol, oxaliplatin,            whether administered alone or in combination with a 17a-
   prednimustine, ranimustine, semustine, spiromustine, tauro-             hydroxylase/C1 7.20 -lyase inhibitor.
   mustine, temozolomide, teroxirone, tetraplatin and tri-            25      In one embodiment, provided herein are methods and com-
   melamol. The amount of the alkylating agent administered to             positions comprising both abiraterone acetate and a steroid
   a manimal having cancer is an amount that is sufficient to treat        particularly a corticosteroid, or more particularly a glucocor-
   the cancer whether administered alone or in combination with            ticoid. Steroids within the scope of the disclosure include, but
   a 17a-hydroxylase/C 17 20 -lyase inhibitor.                             are not limited to, (1) hydrocortisone (cortisol; cyprionate
      In another preferred· embodiment, the 17a-hydroxylase/          30
                                                                           (e.g., CORTEF), oral; sodium phosphate injection (HYDRO-
   C 17 20 -lyase inhibitor may be administered with an antibiotic
                                                                           CORTONE PHOSPHATE); sodium succinate (e.g., A-HY-
   age~t. Suitable antibiotic agents may be selected from, but not
                                                                           DROCORT, Solu-CORTEF); cortisone acetate oral or injec-
   limited to, aclarubicin, actinomycin D, actinoplanone, adria-
                                                                           tion forms, etc.), (2) dexamethasone (e.g., Decadron, oral;
   mycin, aeroplysinin derivative, amrubicin, anthracycline,
   azino-mycin-A, bisucaberin, bleomycin sulfate, bryostatin-1,       35
                                                                           Decadron-LA injection, etc.), (3) prednisolone (e.g., Delta-
   calichemycin, chromoximycin, dactinomycin, daunorubicin,                CORTEF, prednisolone acetate (ECONOPRED), predniso-
   ditrisarubicin B, dexamethasone, doxorubicin, doxorubicin-              lone sodium phosphate (HYDELTRASOL), prednisolone
   fibrinogen, elsamicin-A, epirubicin, erbstatin, esorubicin,             tebutate (HYDELTRA-TBA, etc.)), or (4) prednisone DEL-
   esperamicin-Al, esperamicin-Al b, fostriecin, glidobactin,              TASONE, etc.) and combinations thereof. See, e.g., GooDMAN
   gregatin-A, grincamycin, herbimycin, corticosteroids such as       40   & GILMAN'S THE PHARMACOLOGICAL BASIS OF THERAPEUTICS, 10TH
   hydrocortisone, idarubicin, illudins, kazusamycin, kesarirho-           EDITION 2001.
   dins, menogaril, mitomycin, neoenactin, oxalysine, oxauno-                 In a specific embodiment, single unit solid oral dosage
   mycin, peplomycin, pilatin, pirarubicin, porothramycin,                 forms which comprise an amount from about 50 mg to about
   prednisone, prednisolone, pyrindanycin A, rapamycin,                    300 mg of abiraterone acetate and an amount from about 0.5
   rhizoxin, rodorubicin, sibanomicin, siwenmycin, sorangicin-        45   mg to about 3 .0 mg ofa steroid, e.g., glucocorticoid in a single
   A, sparsomycin, talisomycin, terpentecin, thrazine, tric-               composition, optionally with excipients, carriers, diluents,
   rozarin A, and zorubicin. The amount of the antibiotic agent            etc. is contemplated. For instance, the single unit dosage form
   administered to a mammal having cancer is an amount that is             can comprise about 250 mg of abiraterone acetate and about
   sufficient to treat the cancer whether administered alone or in         1.0 mg, 1.25 mg, 1.5 mg, or 2.0mgofa steroid, such as but not
   combination with a 17a-hydroxylase/C 17 20 -lyase inhibitor.       50   limited to corticosteroids or glucocorticoids.
      Alternatively, the 17a-hydroxylase/C 17°20 -lyase inhibitors         Administration of the 17a-Hydroxylase/C 17 20 -Lyaseinhibi-
   may also be used with other anti-cancer agents, including but           tor and an Additional Therapeutic Agent '
   not limited to, acemarman, aclarubicin, aldesleukin, alemtu-               The 17a-hydroxylase/C 17 20 -lyase inhibitor and the addi-
   zumab, alitretinoin, altretamine, amifostine, amsacrine,                tional therapeutic agent, su~h as an anti-cancer agent or a
   anagrelide, anastrozole, ancestim, bexarotene, broxuridine,        55   steroid can be administered by any method known to one
   capecitabine, celmoleukin, cetrorelix, cladribine, clotrima-            skilled in the art. In certain embodiments, the 17a-hydroxy-
   zole, daclizumab, dexrazoxane, dilazep, docosanol, doxiflu-             lase/C1 7 20 -lyase inhibitor and the additional therapeutic
   ridine, bromocriptine, carmustine, cytarabine, diclofenac,              agent ca~ be in separate compositions prior to administration.
   edelfosine, edrecolomab, eflornithine, emitefur, exemestane,            In the alternative, the 17a-hydroxylase/C 17 20 -lyase inhibitor
   exisulind, fadrozole, filgrastim, finasteride, fludarabine phos-   60   and the additional therapeutic agent can b~ combined into a
   phate, formestane, fotemustine, gallium nitrate, gemcitabine,           single composition for administration.
   glycopine, heptaplatin, ibandronic acid, imiquimod, ioben-                 The 17a-hydroxylase/C 17 20 -lyase inhibitor and the addi-
   guane, irinotecan, irsogladine, lanreotide, leflunomide,                tional therapeutic agent can be administered sequentially or
   lenograstim, lentinan sulfate, letrozole, liarozole, lobaplatin,        simultaneously. If administered sequentially, the order of
   lonidamine, masoprocol, melarsoprol, metoclopramide,               65   administration is flexible. For instance, 17a-hydroxylase/
   mifepristone, miltefosine, mirimostim, mitoguazone, mito-               C 17 20 -lyase inhibitor acetate can be administered prior to
   lactol, molgramostim, nafarelin, nartograstim, nedaplatin,              a~inistration of the additional therapeutic agent. Alterna-
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   tively, administration of the additional therapeutic agent can            mg/m2 . Preferably, the mitoxantrone is administered over a
   precede administration of 17a-hydroxylase/C17 ,20 -lyase                  period of between about 10 to about 20 minutes once every 21
   inhibitor.                                                                days.
       Whether they are administered as separate compositions or                Also, a method for the treatment of a cancer in a mammal
   in one composition, each composition is preferably pharma-           5    can comprise administering an amount of abiraterone acetate
   ceutically suitable for administration. Moreover, the 17a-                and an amount of paclitaxel. In one embodiment, the abirater-
   hydroxylase/C1 7,20 -lyase inhibitor and the therapeutic agent,           one acetate can be administered in an amount of about 0.01
   if administered separately, can be administered by the same or            mg/kg/day to about 100 mg/kg/day and the paclitaxel can be
   different modes of administration. Examples of modes of                   administered in the amount of about 1 mg/m2 to about 175
                                                                        10   mg/m2 . Preferably, the paclitaxel is administered over a
   administration include parenteral (e.g., subcutaneous, intra-
                                                                             period of between about 2 to about 5 hours once every three
   muscular, intraorbital, intracapsular, intraspinal, intrastemal,
                                                                             months.
   intravenous, intradetinal, intraperitoneal, intraportal, intra-
                                                                                Additionally, a method for the treatment of a cancer in a
   arterial, intrathecal, transmucosal, intra-articular, and intra-          mammal comprises administering an amount of abiraterone
   pleural), transdermal (e.g., topical), epidural, and mucosa!         15   acetate and an amount of docetaxel. For example, the abi-
   (e.g., intranasal) injection or infusion, as well as oral, inhala-        raterone acetate can be administered in an amount of about
   tion, pulmonary, and rectal administration. In specific                   0.01 mg/kg/day to about 100 mg/kg/day and the docetaxel
   embodiments, both are oral.                                               can be administered in an amount of about 1 mg/m2 to about
       For example, the 17a-hydroxylase/C 17,20 -lyase inhibitor             100 mg/m2 . Preferably, the docetaxel is administered over a
   can be administered transdermally and the additional thera-          20   period of between about 1 to about 2 hours once every three
   peutic agent can be administered parenterally. Alternatively,             weeks.
   the 17a-hydroxylase/C 17 20 -lyase inhibitor can be adminis-                 In certain embodiments, the 17a-hydroxylase/C 17 20 -lyase
   tered orally, such as in a tablet, caplet or capsule, while the           inhibitor is administered along with an anti-cancer agent that
   additional therapeutic agent can be administered intrave-                 comprises a hormonal ablation agent, including, but not lim-
   nously. Such intravenous administered therapeutic agents             25   ited to, leuprolide, goserelin, or triptorelin. For example, one
   include, but are not limited to, docetaxel injections, such as            method for the treatment of a cancer in a mammal also com-
   Taxotere®; paclitaxel injections, such as Paclitaxel® and                 prises administering an amount of abiraterone acetate and an
   mitoxantrone injections, such as Novantrone®. Also, the                   amount of leuprolide. The amount of abiraterone acetate can
   additional therapeutic agent can be in the form of depots or              be about 0.01 mg/kg/day to about 100 mg/kg/day and the
   implants such as leuprolide depots and implants, e.g. Viadur®        30   amount ofleuprolide can be about 0.01 mg to about 200 mg
   and Lupron Depot®; triptorelin depots, e.g. Trelstar®; gos-               over a period of about 3 days to about 12 months. Preferably,
   erelin implants, e.g. Zoladex®.                                           the leuprolide is administered in the amount of about 3 .6 mg
       The suitable daily dosage of the 17a-hydroxylase/C 17 20 -            of leuprolide over a period of about 3 days to about 12
   lyase inhibitor depends upon a number of factors, includi~g,              months.
   the nature of the severity of the condition to be treated, the       35      Additionally, the methods for the treatment of cancer in a
   particular inhibitor, the route of administration and the age,            mammal include administering an amount of abiraterone
   weight, and response of the individual patient. Suitable daily            acetate and an amount of goserelin. For example, the amount
   dosages of 17a-hydroxylase/C 17 20 -lyase inhibitors can gen-             of abiraterone acetate can be about 0.01 mg/kg/day to about
   erally range from about 0.0001' mg/kg/day to about 1000                   100 mg/kg/day and the amount of goserelin can be about 0.01
   mg/kg/day, or from about 0.001 mg/kg/day to about 200                40   mg to about 20 mg over a period of about 28 days to about 3
   mg/kg/day, or from about 0.01 mg/kg/day to about 200                      months. Preferably, the goserelin is administered in the
   mg/kg/day, or from about 0.01 mg/kg/day to about 100                      amount of about 3.6 mg to about 10.8 mg over a period of
   mg/kg/day in single or multiple doses.                                    about 28 days to about 3 months.
       In some embodiments, the 17a-hydroxylase/C 17 20 -lyase                  In certain embodiments the methods for the treatment of
   inhibitor can be administered in an amount from abo'ut 0.004         45   cancer in a mammal comprises administering an amount of
   mg/day to about 5,000 mg/day, or from about 0.04 mg/day to                abiraterone acetate and an amount oftriptorelin. For example,
   about 3,000 mg/day, or from about 0.4 mg/day to about 1500                the amount of abiraterone acetate can be about 0.01 mg/kg/
   mg/day. In certain embodiments, the 17a-hydroxylase/                      day to about 100 mg/kg/day and the amount oftriptorelin can
   C 17 20 -lyase inhibitor can be administered in an amount from            be about 0.01 mg to about 20 mg, over a period of about 1
   abo~t 0.1 mg/day to about 2000 mg/day or from about 1                50   month, preferably the triptorelin is administered in the
   mg/day to about 2000 mg/day or from about 50 mg/day to                    amount of about 3.75 mg over a period of about 1 month.
   about 2000 mg/day or from about 100 mg/day to about 1500                     Also, in one embodiment, the method for the treatment of
   mg/day or from about 5 mg/day to about 1,000 mg/day or                    a cancer in a mammal comprises administering an amount of
   from about 5 mg/day to about 900 mg/day or from about 10                  abiraterone acetate and an amount of seocalcitol. For
   mg/day to about 800 mg/day or from about 15 mg/day to                55   instance, the method involves administering an amount of
   about 700 mg/day or from about 20 mg/day to about 600                     about 0.01 mg/kg/day to about 100 mg/kg/day of abiraterone
   mg/day or from about 25 mg/day to about 500 mg/day in                     acetate and an amount of about 0.1 µg/day to about 500
   single or multiple doses.                                                 µg/day of seocalcitol, such as about 100 µg/day of seocalcitol.
       In certain embodiments, the 17a-hydroxylase/C17 20 -lyase                In another embodiment, the method for the treatment of a
   inhibitor is co-administered with an additional anti-cancer          60   cancer in a mammal comprises administering an amount of
   agent such as mitoxantrone, paclitaxel or docetaxel. For                  abiraterone acetate and an amount of bicalutamide. For
   example, a method for the treatment of a cancer in a mammal               instance, the method involves administering an amount of
   comprises administering an amount of abiraterone acetate                  about 0.01 mg/kg/day to about 100 mg/kg/day of abiraterone
   and an amount of mitoxantrone. For example, the abiraterone               acetate and an amount ofabout 1 mg/day to about 300 mg/day
   acetate can be administered in an amount of about 0.01               65   ofbicalutamide.
   mg/kg/day to about 100 mg/kg/ day and the mitoxantrone can                   In yet another embodiment, the method for the treatment of
   be administered in an amount of about 0.1 mg/m2 to about 20               a cancer in a mammal comprises administering an amount of
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   abiraterone acetate and an amount of flutamide. For example,               larly) or by intramuscular injection. Thus, for example, the
   the method comprises administering an amount of about 0.01                 therapeutic agents may be formulated with suitable poly-
   mg/kg/day to about 100 mg/kg/day of abiraterone acetate and                meric or hydrophobic materials (for example as an emulsion
   an amount of about 1 mg/day to about 2000 mg/day offluta-                  in an acceptable oil) or ion exchange resins, or as sparingly
   mide.                                                                 5    soluble derivatives, for example, as a sparingly soluble salt.
      Moreover, the method for the treatment of a cancer in a                    Additionally, the composition may be delivered using a
   mammal can comprise administering an amount of a 17a-                      sustained-release system, such as semi-permeable matrices
   hydroxylase/C1 7 20 -lyase inhibitor such as abiraterone                   of solid polymers containing the composition. Various forms
   acetate and an a~ount of a glucocorticoid including, but not               of sustained-release materials have been established and are
   limited to, hydrocortisone, prednisone or dexamethasone. For          10   well known by those skilled in the art. Sustained-release
   example, the method can comprise administering an amount                   capsules may, depending on their chemical nature can release
   of about 50 mg/day to about 2000 mg/day of abiraterone                     the composition over a period ofhours, days, weeks, months.
   acetate and an amount of about 0.01 mg/day to about 500                    For example a sustained release capsule can release the com-
   mg/day ofhydrocortisone. In other instances, the method can                positions over a period of 100 days or longer. Depending on
   comprise administering an amount of about 500 mg/day to               15   the chemical nature and the biological stability of the com-
   about 1500 mg/day of abiraterone acetate and an amount of                  position, additional strategies for stabilization may be
   about 10 mg/day to about 250 mg/day ofhydrocortisone.                      employed.
      The method for the treatment of a cancer can also comprise                 The compositions can further comprise a pharmaceutically
   administering an amount of a 17a-hydroxylase/C17 20 -lyase                 acceptable carrier. The term "carrier" refers to a diluent,
   inhibitor, such as abiraterone acetate, and an amo~t of a             20   adjuvant (e.g., Freund's adjuvant (complete and incom-
   glucocorticoid, such as prednisone. For example, the method                plete)), excipient, or vehicle with which the therapeutic is
   can comprise administering an amount of about 50 mg/day to                 administered.
   about 2000 mg/day of abiraterone acetate and an amount of                     For parenteral administrations, the composition can com-
   about 0.01 mg/day to about 500 mg/day of prednisone. Also,                 prise one or more of the following carriers: a sterile diluent
   the method can comprise administering an amount of about              25   such as water for injection, saline solution, fixed oils, poly-
   500 mg/day to about 1500 mg/day of abiraterone acetate and                 ethylene glycols, glycerin, propylene glycol or other syn-
   an amount of about 10 mg/day to about 250 mg/day of pred-                  thetic solvents; antibacterial agents such as benzyl alcohol or
   msone.                                                                     methyl parabens; antioxidants such as ascorbic acid or
      In addition, the method for the treatment of a cancer can               sodium hi sulfite; chelating agents such as ethylenediamine-
   also comprise administering an amount of a 17a-hydroxy-               30   tetraacetic acid; buffers such as acetates, citrates or phos-
   lase/C17 20 -lyase inhibitor, such as abiraterone acetate, and an
            0
                                                                              phates and agents for the adjustment of tonicity such as
   amount of a glucocorticoid, such as dexamethasone. For                     sodium chloride or dextrose. The parenteral preparation can
   example, the method can comprise administering an amount                   be enclosed in ampules, disposable syringes or multiple dose
   of about 50 mg/day to about 2000 mg/day of abiraterone                     vials made of glass or plastic.
   acetate and an amount of about 0.01 mg/day to about 500               35      For oral solid formulations suitable carriers include fillers
   mg/day of dexamethasone. Also, the method can comprise                     such as sugars, e.g., lactose, sucrose, mannitol and sorbitol;
   administering an amount of about 500 mg/day to about 1500                  cellulose preparations such as maize starch, wheat starch, rice
   mg/day of abiraterone acetate and an amount of about 0.5                   starch, potato starch, gelatin, gum tragacanth, methyl cellu-
   mg/day to about 25 mg/day of dexamethasone.                                lose, hydroxypropylmethyl-cellulose, sodium carboxymeth-
   Compositions Containing a 17a-Hydroxylase/C 17 20 -Lyase              40   ylcellulose, fats and oils; granulating agents; and binding
   Inhibitor and an Additional Therapeutic Agent            ·                 agents such as microcrystalline cellulose, gum tragacanth or
      In certain embodiments, the compositions can contain a                  gelatin; disintegrating agents, such as cross-linked polyvi-
   combination of a 17a-hydroxylase/C 17 20 -lyase inhibitor,
                                                0
                                                                              nylpyrrolidone, agar, or alginic acid or a salt thereof such as
   preferably abiraterone acetate, and any of the therapeutic                 sodium alginate, Primogel, or com starch; lubricants, such as
   agents recited above. Whether the 17a-hydroxylase/C 17 20 -    0
                                                                         45   magnesium stearate or Sterotes; glidants, such as colloidal
   lyase inhibitor and the additional therapeutic agent are                   silicon dioxide; a sweetening agent, such as sucrose or sac-
   administered in separate compositions or as a single compo-                charin; or flavoring agents, such as peppermint, methyl sali-
   sition, the compositions can take various forms. For example,              cy late, or orange flavoring. If desired, solid dosage forms may
   the compositions can take the form of solutions, suspensions,              be sugar-coated or enteric-coated using standard techniques.
   emulsions, tablets, pills, capsules, powders or sustained-re-         50      For intravenous administration, suitable carriers include
   lease formulations, depending on the intended route of                     physiological saline, bacteriostatic water, phosphate buffered
   administration.                                                            saline (PBS). In all cases, the composition must be sterile and
      For topical or transdermal administration, the composi-                 should be fluid to the extent that easy injectability with a
   tions can be formulated as solutions, gels, ointments, creams,             syringe. It must be stable under the conditions of manufacture
   suspensions or salves.                                                55   and storage and must be preserved against the contaminating
      For oral administration, the compositions may be formu-                 action of microorganisms such as bacteria and fungi. The
   lated as tablets, pills, dragees, troches, capsules, liquids, gels,        carrier can be a solvent or dispersion medium containing, for
   syrups, slurries, suspensions and the like, for oral ingestion by          example, water, ethanol, polyol (for example, glycerol, pro-
   a patient to be treated.                                                   pylene glycol, and liquid polyethylene glycol, and the like),
      The composition may also be formulated in rectal or vagi-          60   and suitable mixtures thereof. The proper fluidity can be
   nal compositions such as suppositories or retention enemas                 maintained, for example, by the use of a coating such as
   that contain conventional suppository bases such as cocoa                  lecithin, by the maintenance of the required particle size in the
   butter or other glycerides.                                                case of dispersion and by the use of surfactants. Prevention of
      In addition to the formulations described previously, the               the action of microorganisms can be achieved by various
   composition may also be formulated as a depot preparation.            65   antibacterial and antifungal agents, for example, parabens,
   Such long acting formulations may be administered by                       chlorobutanol, phenol, ascorbic acid, thimerosal, and the like.
   implantation (for example subcutaneously or intramuscu-                    In many cases, it will be preferable to include isotonic agents,
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   for example, sugars; polyalcohols such as mannitol, sorbitol;            of a steroid, such as hydrocortisone, prednisone or dexam-
   sodium chloride in the composition. Prolonged absorption of              ethasone; and one or more carriers, excipients, diluents or
   the injectable compositions can be brought about by includ-              additional ingredients.
   ing in the composition an agent which delays absorption, for                The description contained herein is for purposes of illus-
   example, aluminum monostearate and gelatin.                         5    tration and not for purposes of limitation. The methods and
      Also for intravenous administration, the compositions may             compositions described herein can comprise any feature
   be formulated in solutions, preferably in physiologically                described herein either alone or in combination with any other
   compatible buffers such as Hanks's solution, Ringer's solu-              feature( s) described herein. Changes and modifications may
   tion, or physiological saline buffer. The solution may contain           be made to the embodiments of the description. Furthermore,
                                                                       10   obvious changes, modifications or variations will occur to
   formulatory agents such as suspending, stabilizing and/or
                                                                            those skilled in the art. Also, all references cited above are
   dispersing agents. In a preferred embodiment, the composi-
                                                                            incorporated herein, in their entirety, for all purposes related
   tions are formulated in sterile solutions.
                                                                            to this disclosure.
      For transmucosal administration, penetrants appropriate to
   the barrier to be permeated are used in the formulation. Such       15      What is claimed is:
   penetrants are generally known in the art, and include, for                 1. A method for the treatment of a prostate cancer in a
   example, for transmucosal administration, detergents, bile               human comprising administering to said human a therapeu-
   salts, and fusidic acid derivatives. Transmucosal administra-            tically effective amount of abiraterone acetate or a pharma-
   tion can be accomplished through the use of nasal sprays or              ceutically acceptable salt thereof and a therapeutically effec-
   suppositories.                                                      20   tive amount of prednisone.
      For administration by inhalation, the compositions may be                2. The method of claim 1, wherein the therapeutically
   formulated as an aerosol spray from pressurized packs or a               effective amount of the abiraterone acetate or pharmaceuti-
   nebulizer, with the use of a suitable propellant, e.g., dichlo-          cally acceptable salt thereof is from about 50 mg/day to about
   rodifluoromethane, trichlorofluoromethane, dichlorotet-                  2000mg/day.
   rafluoroethane, carbon dioxide or other suitable gas. In the        25      3. The method of claim 2, wherein the therapeutically
   case of a pressurized aerosol, the dosage unit may be deter-             effective amount of the abiraterone acetate or pharmaceuti-
   mined by providing a valve to deliver a metered amount.                  cally acceptable salt thereof is from about 500 mg/day to
   Capsules and cartridges of gelatin for use in an inhaler or              about 1500 mg/day.
   insufflator may be formulated containing a powder mix of the                4. The method of claim 3, wherein the therapeutically
   composition and a suitable powder base such as lactose or           30   effective amount of the abiraterone acetate or pharmaceuti-
   starch.                                                                  cally acceptable salt thereof is about 1000 mg/day.
      The pharmaceutical compositions may be manufactured                      5. The method of claim 1, wherein the therapeutically
   by means of conventional mixing, dissolving, granulating,                effective amount of the abiraterone acetate or a pharmaceu-
   dragee-making, levigating, emulsifying, encapsulating,                   tically acceptable salt thereof is administered in at least one
   entrapping or lyophilizing processes.                               35   dosage form comprising about 250 mg of abiraterone acetate
      One example of a composition comprising a 17 a-hydroxy-               or a pharmaceutically acceptable salt thereof.
   lase/C1 7 20 -lyase inhibitor and an additional therapeutic agent           6. The method of claim 1, wherein the therapeutically
   is an oral composition or composition suitable for oral admin-           effective amount of the prednisone is from about 0.01 mg/day
   istration comprising abiraterone acetate in combination with             to about 500 mg/day.
   a steroid. For example, the oral composition can be a solid         40      7. The method of claim 6, wherein the therapeutically
   dosage form such as a pill, a tablet or a capsule. The oral              effective amount of the prednisone is from about 10 mg/day to
   composition can comprise about 10 mg, 25 mg, 50 mg, 7 5 mg,              about 250 mg/day.
   100mg, 150mg, 200mg, 250mg, 300mg, 350mg, 400mg,                            8. The method of claim 7, wherein the therapeutically
   450 mg, 500 mg, 550 mg, 600 mg, 650 mg, 700 mg, 750 mg,                  effective amount of the prednisone is about 10 mg/day.
   800 mg, 850 mg, 900 mg, 950 mg, or 1000 mg of abiraterone           45      9. The method of claim 1, wherein the therapeutically
   acetate. The oral composition can comprises about 0.25 mg,               effective amount of the prednisone is administered in at least
   0.5 mg, 0.75 mg, 1.0 mg, 1.25 mg, 1.5 mg, 1.75 mg, 2.0 mg,               one dosage form comprising about 5 mg of prednisone.
   2.25 mg, 2.5 mg, 2.75 mg, 3.0 mg, 3.25 mg, 3.5 mg, 3.75 mg,                 10. The method of claim 1, comprising administering to
   4.0mg, 4.25 mg, 4.5 mg, 4.75 mg, 5.0mg, 7.5 mg, 10mg, 20                 said human about 500 mg/day to about 1500 mg/day of abi-
   mg, 30 mg, 40 mg or 50 mg of a steroid, such as a glucocor-         50   raterone acetate or a pharmaceutically acceptable salt thereof
   ticoid.                                                                  and about 0.01 mg/day to about 500 mg/day of prednisone.
      In one embodiment, the oral composition can comprise                     11. The method of claim 10, comprising administering to
   about 50 mg to about 500 mg of abiraterone acetate and an                said human about 1000 mg/day of abiraterone acetate or a
   amount of about 0.25 mgto about 3.5 mg of the steroid, such              pharmaceutically acceptable salt thereof and about 10
   as hydrocortisone, prednisone or dexamethasone. In other            55   mg/day of prednisone.
   instances, the composition can comprise about 50 mg to about                12. The method of claim 1, wherein said prostate cancer is
   300 mg of abiraterone acetate and an amount of about 1.0 mg              refractory prostate cancer.
   to about 2.5 mg of the steroid, such as hydrocortisone, pred-               13. The method of claim 12, wherein the refractory prostate
   nisone or dexamethasone. In another embodiment the com-                  cancer is not responding to at least one anti-cancer agent.
   position can comprise about 50 mg to about 300 mg of abi-           60      14. The method of claim 13, wherein the at least one
   raterone acetate and about 0.5 mg to about 3 .0 mg ofa steroid.          anti-cancer agent comprises a hormonal ablation agent, an
   For example, the oral composition can be a tablet containing             anti-androgen agent, or an anti-neoplastic agent.
   250 mg of abiraterone acetate; 1.25 mg or 2.0 mg of a steroid,              15. The method of claim 14, wherein the hormonal ablation
   such as hydrocortisone, prednisone or dexamethasone; and                 agent comprises deslorelin, leuprolide, goserelin, or triptore-
   one or more carriers, excipients, diluents or additional ingre-     65   !in.
   dients. Additionally, the oral composition can be a capsule                 16. The method of claim 14, wherein the anti-androgen
   containing 250 mg of abiraterone acetate; 1.25 mg or 2.0 mg              agent comprises bicalutamide, flutamide, or nilutamide.
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                                                       US 8,822,438 B2
                                17                                       18
      17. The method of claim 14, wherein the anti-neoplastic
   agent comprises docetaxel.
      18. The method of claim 12, comprising administering to
   said human about 500 mg/day to about 1500 mg/day of abi-
   raterone acetate or a pharmaceutically acceptable salt thereof   5
   and about 0.01 mg/day to about 500 mg/day of prednisone.
      19. The method of claim 18, comprising administering to
   said human about 1000 mg/day of abiraterone acetate or a
   pharmaceutically acceptable salt thereof and about 10
   mg/day of prednisone.                                            10
      20. The method of claim 17, comprising administering to
   said human about 1000 mg/day of abiraterone acetate or a
   pharmaceutically acceptable salt thereof and about 10
   mg/day of prednisone.
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                         * * * * *
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                  In the United States Patent and Trademark Office


                      Before the Patent Trial and Appeal Board


                  AMERIGEN PHARMACEUTICALS LIMITED,

                                      Petitioner

                                          v.

                           JANSSEN ONCOLOGY, INC.,

                                    Patent Owner


                     U.S. Patent No. 8,822,438 to Auerbach et al.
                           Issue Date: September 2, 2014
                Title: Methods and Compositions for Treating Cancer


                         Inter Partes Review No. Unassigned



         Petition for Inter Partes Review of U.S. Patent No. 8,822,438 Under
          35 U.S.C. §§ 311-319 and 37 C.F.R. §§ 42.1-42.80, 42.100-42.123


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 Alexandria, Virginia 22313–1450

 Submitted Electronically via the Patent Review Processing System
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            CHALLENGED CLAIMS OF U.S. PATENT NO. 8,822,438

       1. A method for the treatment of a prostate cancer in a human comprising

 administering to said human a therapeutically effective amount of abiraterone acetate

 or a pharmaceutically acceptable salt thereof and a therapeutically effective amount of

 prednisone.

       2. The method of claim 1, wherein the therapeutically effective amount of

 abiraterone acetate or pharmaceutically acceptable salt thereof is from about 50

 mg/day to about 2000 mg/day.

       3. The method of claim 2, wherein the therapeutically effective amount of

 abiraterone acetate or pharmaceutically acceptable salt thereof is from about 500

 mg/day to about 1500 mg/day.

       4. The method of claim 3, wherein the therapeutically effective amount of

 abiraterone acetate or pharmaceutically acceptable salt thereof is about 1000 mg/day.

       5. The method of claim 1, wherein the therapeutically effective amount of the

 abiraterone acetate or a pharmaceutically acceptable salt thereof is administered in at

 least one dosage form comprising about 250 mg of abiraterone acetate or a

 pharmaceutically acceptable salt thereof.

       6. The method of claim 1, wherein therapeutically effective amount of

 prednisone is from about 0.01 mg/day to about 500 mg/day.

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       7. The method of claim 6, wherein therapeutically effective amount of

 prednisone is from about 10 mg/day to about 250 mg/day.

       8. The method of claim 7, wherein therapeutically effective amount of

 prednisone is about 10 mg/day.

       9. The method of claim 1, wherein the therapeutically effective amount of

 prednisone is administered in at least one dosage form comprising about 5 mg of

 prednisone.

       10. The method of claim 1, comprising administering to said human about 500

 mg/day to about 1500 mg/day of abiraterone acetate or a pharmaceutically acceptable

 salt thereof and about 0.01 mg/day to about 500 mg/day of prednisone.

       11. The method of claim 10, comprising administering to said human about

 1000 mg/day of abiraterone acetate or a pharmaceutically acceptable salt thereof and

 about 10 mg/day of prednisone.

       12. The method of claim 1, wherein said prostate cancer is refractory prostate

 cancer.

       13. The method of claim 2, wherein refractory prostate cancer is not responding

 to at least one anti-cancer agent.

       14. The method of claim 13, wherein at least one anti-cancer agent comprises a

 hormonal ablation agent, an anti-androgen agent, or anti-neoplastic agent.

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       15. The method of claim 14, wherein the hormonal ablation agent comprises

 deslorelin, leuprolide, goserelin, or triptorelin.

       16. The method of claim 14, wherein the anti-androgen agent comprises

 bicalutamide, flutamide, or nilutamide.

       17. The method of claim 14, wherein the antineoplastic agent comprises

 docetaxel.

       18. The method of claim 12, comprising administering to said human about 500

 mg/day to about 1500 mg/day of abiraterone acetate or a pharmaceutically acceptable

 salt thereof and about 0.01 mg/day to about 500 mg/day of prednisone.

       19. The method of claim 18, comprising administering to said human about

 1000 mg/day of abiraterone acetate or a pharmaceutically acceptable salt thereof and

 about 10 mg/day of prednisone.

       20. The method of claim 17, comprising administering to said human about

 1000 mg/day of abiraterone acetate or a pharmaceutically acceptable salt thereof and

 about 10 mg/day of prednisone.




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                                  Petition for Inter Partes Review of U.S. Patent No. 8,822,438

  I.    INTRODUCTION

        Amerigen Pharmaceuticals, Ltd. ("Petitioner") petitions for Inter Partes

  Review of claims 1 - 20 of U.S. Patent No. 8,822,438 to Auerbach et al. (“the ’438

  patent”) (AMG Ex. 1001), which is assigned to Janssen Oncology, Inc.

  (“Janssen”), under 35 U.S.C. §§ 311-319 and 37 C.F.R. Part 42 and a

  determination that all claims (1-20) of the ’438 patent be canceled as unpatentable.

  II.   MANDATORY NOTICES (37 C.F.R. § 42.8(a)(1))

        Petitioner provides the following mandatory notices under 37 C.F.R. §§

  42.8(a)(1) and 42.8(b).

        A.     Real Party-In-Interest Under 37 C.F.R. § 42.8(b)(1)

        Petitioner Amerigen Pharmaceuticals, Ltd. is the real party-in-interest.

        B.     Related Matters Under 37 C.F.R. § 42.8(b)(2)

        To the best of Petitioner’s knowledge, the following litigations or other

  related matters related to the ’438 patent that would affect, or be affected by, a

  decision in this proceeding are pending:

        BTG International Limited et al. v. Actavis Laboratories FL, Inc. et al., 15 cv

  81079-DMM (Southern District of Florida).

        BTG INTERNATIONAL LIMITED et al. v. Actavis Laboratories FL, Inc.,

  Amneal Pharmaceuticals LLC,, Amneal Pharmaceuticals of New York, LLC.,


                                                                                            1
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                                    Petition for Inter Partes Review of U.S. Patent No. 8,822,438

         This petition is being served by Express Mail on Janssen Oncology, Inc.,

  owners of the ‘438 Patent, at their addresses of record according to the USPTO

  PAIR database: Janssen Oncology, Inc., 10990 Wilshire Blvd., Suite 1200, Los

  Angeles, CA 90024; and Johnson & Johnson, One Johnson & Johnson Plaza, New

  Brunswick, NJ 08933-7003.

  III.   GROUNDS FOR STANDING (37 C.F.R. §§ 42.101 and 42.104)

         Petitioner is eligible under 37 C.F.R. § 42.101 to file a petition to initiate an

  inter partes review of the ‘438 patent because: (1) the Petitioner does not own the

  ‘438 patent; (2) prior to the date this Petition was filed, neither the Petitioner nor

  any real party-in-interest filed a civil action challenging the validity of a claim of

  the ‘438 patent; (3) this Petition has been filed less than one year after the date on

  which Petitioner, a real party-in-interest, or a privy of the Petitioner were served

  with a complaint alleging infringement of the ‘438 patent; and (4) neither

  Petitioner, any real party-in-interest, nor any privies of Petitioner, are estopped

  from challenging the claims on the grounds identified in this Petition.

         Petitioner certifies under 37 C.F.R. § 42.104 that the ‘438 patent is available

  for inter partes review and that the Petitioner is not barred or estopped from

  requesting an inter partes review challenging the patent claims on the grounds

  identified in the petition.

         This Petition is filed in accordance with 37 CFR § 42.106(a). Concurrently
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  (1966) (obviousness analysis evaluates the level of ordinary skill in the art; the

  scope and content of the prior art; whether any differences between the prior art

  and the claims would have been obvious to the skilled artisan; and secondary

  considerations).

        In support of these grounds for unpatentability, Petitioner submits the expert

  declaration of Dr. Scott Serels, M.D., (AMG Ex. 1002 (“Serels Declaration”)) to

  discuss the relevant field and art in general, and the factual and opinion bases

  underlying Petitioner’s Grounds 1 and 2 for the Graham factors other than

  commercial success. Petitioner also submits the expert declaration of economics

  expert Dr. DeForest McDuff, PhD (AMG Ex. 1017 (“McDuff Declaration”)) on

  the secondary considerations of the Graham factors.

        Petitioner also relies on the other Exhibits set forth in the concurrently filed

  Listing of Exhibits.

  VII. INTRODUCTION AND SUMMARY OF ARGUMENT

        The claims of the ‘438 patent are directed to treating prostate cancer by

  administering therapeutically effective amounts of abiraterone acetate, a 17 α-

  hydroxylase/C17,20-lyase inhibitor ("CYP17 inhibitor"), in combination with

  prednisone, a glucocorticoid. The prior art taught use of abiraterone acetate as an

  effective anti-cancer agent which suppresses testosterone synthesis in prostate

  cancer patients. AMG Ex. 1002, Serels Decl. ¶¶ 26, 45, 56, 58. It was known that
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  testosterone promoted prostate cancer proliferation and progress so that to treat

  prostate cancer, testosterone synthesis must be suppressed.

        However, it was known that in using a CYP17 inhibitor to reduce

  testosterone synthesis, the CYP17 inhibitor also undesirably suppressed the

  production of cortisol, a glucocorticoid, which is necessary for other biochemical

  cycles in the body and its reduced production caused adverse effects, including

  hypertension, hypokalemia (decrease in circulating potassium levels), and fluid

  retention. To address the suppressed synthesis of cortisol, the prior art also taught

  that concomitant glucocorticoid replacement therapy might be necessary when

  administering abiraterone to treat prostate cancer in a patient, and that this was

  common practice in the treatment of prostate cancer with ketoconazole, another

  CYP17 inhibitor. AMG Ex. 1002, Serels Decl. ¶¶ 32, 34, 48.

        The prior art also taught that abiraterone was a more effective CYP17

  inhibitor than ketoconazole. For example, the prior art taught that abiraterone

  acetate was more effective in decreasing testosterone levels in a mammal than

  ketoconazole. AMG Ex. 1002, Serels Decl. ¶¶36, 45. The prior art also taught that

  the combination of ketoconazole and prednisone was a safe and effective treatment

  for refractory metastatic prostate cancer. AMG Ex. 1002, Serels Decl. ¶48.

        One of skill in the art would have combined abiraterone acetate and

  prednisone based on teachings of O’Donnell in view of Gerber and/or the '213

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  patent in view of Gerber for a safe and effective treatment of prostate cancer with a

  reasonable expectation of success because the prior art taught abiraterone acetate

  as a more effective CYP17 inhibitor than ketoconazole and the combination of

  ketoconazole and prednisone as safe and effective to treat patients with hormone

  refractory metastatic prostate cancer. AMG Ex. 1002, Serels Decl. ¶¶45-49.

        There are no secondary considerations of commercial success that overcome

  obviousness. The claims of the application resulting in the ‘438 patent were

  repeatedly rejected for obviousness until the Examiner allowed the claims based on

  the purported "unexpected commercial success" of Zytiga®, the brand name under

  which abiraterone acetate is marketed in the United States by the Assignee. In

  particular, the Examiner's allowance of the claims based on secondary

  considerations of commercial success of Zytiga® was in error because Applicants

  failed to show the necessary nexus between the claimed invention (which is

  directed to method of treating prostate cancer by administering abiraterone acetate

  and prednisone) and any commercial success of the drug Zytiga®.

  VIII. LEVEL OF ORDINARY SKILL IN THE ART

        A person of ordinary skill in the art is presumed to be aware of all pertinent

  art, thinks along conventional wisdom in the art, and is a person of ordinary

  creativity. With respect to the '438 patent, the scientific field relevant is oncology

  or urology. AMG Ex. 1002, Serels Decl. ¶8. A person of ordinary skill in the art

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  would be a physician specializing in urology or oncology, or holding a Ph.D. in

  pharmacology, biochemistry or a related discipline. AMG Ex. 1002, Serels Decl.

  ¶8. Additional experience could substitute for the advanced degree. AMG Ex.

  1002, Serels Decl. ¶8. To the extent necessary, one of skill in the art may

  collaborate with one or more other persons of skill in the art for one or more

  aspects with which the other person may have expertise, experience and/or

  knowledge that was obtained through his or her education, industrial or academic

  experiences. AMG Ex. 1002, Serels Decl. ¶9. For example, one of skill may

  consult with an enzymologist and/or molecular biologist and thus may rely on the

  opinions of such specialists in evaluating the claims. AMG Ex. 1002, Serels Decl.

  ¶10.

  IX.    U.S. PATENT NO. 8,822,438 AND ITS FILE HISTORY

         A.    Specification of the ‘438 Patent

         The “Background” section describes prostatectomy and radiotherapy, a

  primary course of treatment for patients diagnosed with organ-confined prostate

  cancer, as being highly invasive and ineffective on metastasized prostate cancer.

  In addition, the specification states that these localized treatments are not effective

  on prostate cancer after it has metastasized; and that, moreover, a large percent of

  individuals who receive such localized treatments will suffer from “recurring

  cancer.” The specification states that another treatment option for prostate cancer,

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  hormone therapy, is less invasive than surgery and has fewer side effects.

  However, the specification notes that hormone therapy is not equally effective in

  all patients thus treated; and some patients suffer from relapsing or recurring

  cancer after hormone therapy. AMG Ex. 1001, Col. 1, ll. 25-64.

        The “Summary of the Invention” section describes various embodiments of

  the invention being directed to methods and compositions of treating a refractory

  cancer in a patient, involving administration of an effective amount of a CYP17

  inhibitor and an effective amount of another anticancer agent such as

  mitoxantrone, paclitaxel, docetaxel, leuprolide, goserelin, triptorelin, seocalcitol,

  bicalutamide, flutamide, or a steroid including prednisone or dexamethasone.

  AMG Ex. 1001, Col. 2, l. 9 – col. 3, l. 20.

        The “Definitions” section defines “17α-hydroxylase/C17,20-lyase inhibitor” as

  an inhibitor of the enzyme “17α-hydroxylase/C17,20-lyase” (an enzyme involved in

  testosterone synthesis). AMG Ex. 1001, Col. 3, l. 66 – col. 4, l. 7. The terms

  “treat,” “treating” and “treatment” are defined as including the “eradication,

  removal, modification, management or control of a tumor or primary, regional, or

  metastatic cancer cells or tissue and the minimization or delay of the spread of

  cancer.” AMG Ex. 1001, Col. 3, ll. 46-50. The term “anti-cancer agent” is defined

  as referring to “any therapeutic agent that directly or indirectly kills cancer cells or

  directly or indirectly prohibits stops or reduces the proliferation of cancer cells.”

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  AMG Ex. 1001, Col. 4, ll. 8-16. The term “refractory cancer” is defined as “cancer

  that is not responding to an anti-cancer treatment or cancer that is not responding

  sufficiently to an anti-cancer treatment.” AMG Ex. 1001, Col. 4, ll. 23-27.

        The “Detailed Description of the Invention” section refers to U.S. Patent No.

  5,604,213 (“Barrie et al.”, AMG Ex. 1005) for its disclosure of CYP17 inhibitors

  being “shown to be useful in the treatment of cancer, specifically hormone-

  dependent disorders such as, androgen-dependent and estrogen-dependent

  disorders like prostate cancer and breast cancer.” AMG Ex. 1001, Col. 5, ll. 23-29.

  The specification provides a list of various CYP17 inhibitors including abiraterone

  (3β-ol-17-(3-pyridyl) androsta-5,16-diene). AMG Ex. 1001, Col. 5, ll. 30-40.

        According to the specification, the CYP17 inhibitors may also be

  administered or combined with steroids, such as corticosteroids or glucocorticoids

  including hydrocortisone, prednisone, or dexamethasone, in the same or different

  compositions. AMG Ex. 1001, Col. 10, ll. 15-19. A single unit solid oral dosage

  forms may contain about 50 mg to about 300 mg of abiraterone acetate and about

  0.5 to 3 mg of a steroid, e.g., glucocorticoid, optionally with additional excipients.

  AMG Ex. 1001, Col. 10, ll. 42-50. Suitable daily dosages of CYP17 inhibitors

  according to the ‘438 patent can generally range from about 0.0001 mg/kg/day to

  about 1000 mg/kg/day. AMG Ex. 1001, Col. 11, ll. 33-43.

        According to the specification, the method for the treatment of cancer can

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  comprise administering an amount of about 50 mg/day to about 2000 mg/day or

  about 500 mg/day to about 1500 mg/day of abiraterone acetate, and an amount of

  about 0.01 mg/day to about 500 mg/day or about 0.5 mg/day to about 25 mg/day of

  glucocorticoid, such as hydrocortisone, dexamethasone or prednisone. AMG Ex.

  1001, Col. 13, ll. 6-39.

        One example of a composition according to the invention comprises a

  CYP17 inhibitor such as abiraterone acetate in combination with a steroid, such as

  hydrocortisone, prednisone or dexamethasone. The composition can comprise

  about 50-500 mg of abiraterone acetate, and about 0.25-3.5 mg of steroid. AMG

  Ex. 1001, Col. 15, ll. 52-66.

        B.     File History of the ‘438 Patent

        The '438 patent has a lengthy and involved prosecution. The application

  resulting in the ‘438 Patent was filed on February 24, 2011 and assigned

  Application No. 13/034,340. The application was filed as a continuation of

  Application No. 11/844,440, filed on August 24, 2011, which claims priority to

  Provisional Application No. 60/921,506, filed on August 25, 2006.

        In an Office Action dated November 25, 2011, the Examiner imposed

  restriction between the claims of Group I (claims 1-26, drawn to a method for

  treating cancer); and the claims of Group II (claims 27-36, drawn to a

  composition). In a Response dated December 21, 2011, Applicants cancelled the
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  pending claims, and elected the invention of Group I, represented by newly

  presented claims 37-56. Newly presented claims 37-56 are substantively similar to

  claims 1-20 of the ‘438 patent as issued.

        In an Office Action dated February 3, 2012, all pending claims 37-56 were

  rejected for obviousness over O’Donnell (AMG Ex. 1003) in view of Tannock

  (AMG Ex. 1006). The Examiner characterized O’Donnell as disclosing the

  CYP17 inhibitor abiraterone acetate being used to suppress testosterone levels in

  prostate cancer patients. February 3, 2012 Office Action (AMG Ex. 1007) at p. 2.

  Tannock was cited for teaching 10 mg prednisone "in combination with another

  anti-cancer drug [i.e., mitoxantrone] as effective in treating refractory hormonal-

  resistant prostate cancer." AMG Ex. 1007 at p. 3.

        In a Response dated July 3, 2012, Applicants argued that "nothing in the art

  teaches or suggests that abiraterone acetate in combination with prednisone would

  be a particularly useful combination for cancer treatment.” July 3, 2012 Response

  (AMG Ex. 1008) at p. 2. Applicants further argued that "even if one of ordinary

  skill would have been motivated to combine both modes of treatment, the claimed

  invention produces unexpected results." AMG Ex. 1008 at p. 2.

        Applicants provided as evidence to support unexpected results the disclosure

  of Sartor, Nature Reviews Clinical Oncology, 8:515-516 (2011), reporting data

  from a clinical study of patients with metastatic castration-resistant prostate cancer

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  ("mCRPC") previously treated with chemotherapy who were treated with the

  combination of abiraterone and prednisone or prednisone alone. Applicants

  described Sartor as teaching that "abiraterone plus prednisone prolongs overall

  survival relative to prednisone alone.” AMG Ex. 1008 at p. 2.

        Applicants also argued that worldwide sales data for Zytiga® (the trade

  name under which abiraterone acetate is marketed) were evidence of purported

  commercial success of the claimed invention. According to the Applicants, sales

  of Zytiga® were evidence of the commercial success of the claimed combination

  because the approved label for Zytiga® directs patients to use Zytiga® in

  combination with prednisone. AMG Ex. 1008 at p. 3.

        In a Final Office Action dated September 11, 2012, the Examiner maintained

  the rejection of the claims over O’Donnell and Tannock. In a Request for

  Continued Examination ("RCE") and Response dated January 11, 2013, Applicants

  once again argued unexpected results and provided another reference, Ryan et al.,

  New Eng. J. of Med., 368:138-148 (2012) (AMG Ex. 1009), purporting to show

  unexpected results of the claimed invention over prednisone. For example,

  Applicants argued an "unexpected survival benefit of abiraterone with prednisone"

  over "prednisone alone." January 11, 2013 Response (AMG Ex. 1010) at 7.

        In a Final Office Action dated March 4, 2013, the Examiner continued to

  maintain the obviousness rejection of claims 37-56 over O’Donnell and Tannock.

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  The Examiner explained that "since abiraterone acetate provide a new mechanism

  of action in treating prostate cancer and prednisone is known to be useful for

  treating cancer, concomitant employment of both compounds into a single method

  useful for the same purpose, treating prostate cancer, would be considered prima

  facie obvious." Office Action dated March 4, 2013 (AMG Ex. 1011) at p. 3.

        However, as explained in the Serels Declaration, the Examiner’s stated

  reasons for combining both compounds into a single method included incorrect

  facts. First, abiraterone acetate did not provide a new mechanism of action. As

  explained above and set out in O’Donnell, both ketoconazole and abiraterone were

  known CYP17 inhibitors acting by the same mechanism. Second, prednisone was

  not accepted as being useful for treating cancer. As explained in the Serels

  Declaration (AMG Ex. 1002, ¶¶74, 79, 80), in the 1980s there was a belief that

  prednisone might be useful for treating prostate cancer. However, at the time of

  filing of the ‘438 patent, it was known that prednisone was not effective as an anti-

  cancer agent for prostate cancer but it was common practice to co-administer a

  glucocorticoid such as prednisone with a CYP17 inhibitor for glucocorticoid

  replacement. AMG Ex. 1002, Serels at ¶¶34, 48, 68.

        In a Notice of Appeal and Response dated June 4, 2013, Applicants

  reiterated their argument of Tannock purportedly teaching away from the use of

  prednisone with abiraterone acetate because Tannock teaches that “there was no

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  significant difference in overall survival between prednisone alone and prednisone

  plus the cancer agent mitoxantrone.” Response dated June 4, 2013 (AMG Ex.

  1012) at p. 6. Applicants argued that one of skill in the art, reading Tannock,

  would have expected “there to be no difference in survival between one cancer

  agent alone, and the same cancer agent in combination with prednisone.” AMG

  Ex. 1012 at p. 6.

        Applicants also provided the FDA approval label for Zytiga™ and argued

  that "taking Zytiga in accordance with the approved label [i.e., in combination with

  prednisone] represents a commercial embodiment of the presently claimed

  invention." AMG Ex. 1012 at p. 7. Applicants also submitted a news release from

  FDA announcing that Zytiga was approved for the additional indication for use in

  prostate cancer patients prior to receiving chemotherapy as purporting to provide

  additional evidence of commercial success of the claimed combination. AMG Ex.

  1012 at p. 7.

        Applicants once again argued commercial success, this time based on market

  share data for Zytiga®, and a presentation entitled “Pharmaceuticals Commercial

  Overview” by Joaquin Duato, Worldwide Chairman, Pharmaceuticals, Janssen,

  dated May 2013 ("Duato presentation"), which characterized Zytiga has having the

  most successful launch of an oral oncology product ever “Zytiga®: Most

  Successful Oral Oncology Launch in History.” AMG Ex. 1012 at p. 7, slide 11.

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        Applicants specifically pointed to a slide showing a 70% market share for

  Zytiga in July 2012 for “chemo refractory prostate cancer patients.” Applicants

  argued that the Duato presentation showed that despite another product, Xtandi®,

  being introduced in August 2012, as of April 2013, Zytiga was still the market

  leader with 57% market share in "chemo-refractory prostate cancer patients."

  AMG Ex. 1012 at p. 7, slide 12. Applicants concluded that “not only is ZYTIGA

  the most successful oral oncology launch in history, two years after its initial

  approval it is still the market leader for chemo refractory prostate cancer despite an

  earlier introduced therapy [i.e., Jevtana®] and a later introduced therapy [i.e.,

  Xtandi®].” AMG Ex. 1012 at p. 8. Applicants argued that "this commercial

  success [of Zytiga] demonstrates the non-obviousness of the presently claimed

  invention." AMG Ex. 1012 at p. 8.

        In a Notice of Allowance dated July 3, 2013, all pending claims were

  allowed with the Examiner providing the following reason for allowance: “The

  unexpected commercial success of the launch of the drug obviates the rejection

  under 35 USC 103(a).” Notice of Allowance dated July 3, 2013 at 2 (emphasis

  added) (AMG Ex. 1013).

        In an Information Disclosure Statement (“IDS”) dated October 3, 2013

  submitted with an RCE, Applicants provided a number of non-patent literature

  documents, following which a second Notice of Allowance was issued on October

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  25, 2013. Among the references listed in the October 3, 2013 IDS was Gerber

  (AMG Ex. 1004). A second Notice of Allowance issued dated October 25, 2013

  wherein the Examiner stated in the Notice of Allowability that the reasons for

  allowance were "essentially the same" as in the previous notice. AMG Ex. 1013,

  at p. 2.

         A second IDS submitted with a second RCE and listing additional non-

  patent documents was filed by Applicants on January 10, 2013, following which a

  third Notice of Allowance was issued on February 11, 2014. The Examiner again

  stated in the Notice of Allowability that the reasons for allowance were "essentially

  the same as in the initial notice" and further stated that "the commercial success of

  the combination of prednisone and abiraterone to treat prostate cancer obviate the

  rejection under 35 U.S.C. 103(a)." AMG Ex. 1015 at p. 2.

         A third IDS, dated May 9, 2014, listed a number of additional references. A

  fourth IDS, dated May 30, 2014, provided statements of opposition filed in the

  European Patent Office for a counterpart foreign application of the '438 patent;

  Applicants' response to the opposition; and a number of additional references. A

  fourth Notice of Allowance was issued on June 2, 2014, reiterating the same

  grounds for allowance as the previous notice. AMG Ex. 1016.

  X.     CLAIM CONSTRUCTION (37 C.F.R. §§ 42.100(b), 42.104(b)(3))

         Pursuant to 37 C.F.R. § 42.100(b), a claim in an unexpired patent is given its
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  broadest reasonable interpretation in light of the specification. Petitioners submit

  for purposes of this petition only that the terms in the claims of the ‘438 patent do

  not have any special meanings and are presumed to take on their broadest

  reasonable meaning consistent with the understanding of a person of ordinary skill

  in the art (“POSA”) when read in light of the ‘438 patent’s specification. Because

  the claim construction standard in an inter partes review is different than that used

  in litigation, Petitioners reserve the right to present different constructions of terms

  in litigation under claim construction standards appropriate for those cases. In re

  Am. Acad. of Sci. Tech. Ctr., 367 F.3d 1359, 1369 (Fed. Cir. 2004).

        The following terms in the claims are defined for purposes of this petition as

  they are defined in the specification of the '438 patent:

        1.     The claim terms “treat,” “treating” and “treatment” should be

  construed as those terms are defined in the specification of the '438 Patent to mean

  the “eradication, removal, modification, management or control of a tumor or

  primary, regional, or metastatic cancer cells or tissue and the minimization or delay

  of the spread of cancer.” AMG Ex. 1001, col. 3, ll. 46-50.

        2.     The claim term “anti-cancer agent” should be construed as defined in

  the specification of the '438 patent as referring to “any therapeutic agent that

  directly or indirectly kills cancer cells or directly or indirectly prohibits, stops or

  reduces the proliferation of cancer cells.” AMG Ex. 1001, col. 4, ll. 8-16.

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        3.     The claim term “refractory cancer” should be construed as defined in

  the specification of the '438 patent to mean “cancer that is not responding to an

  anti-cancer treatment or cancer that is not responding sufficiently to an anti-cancer

  treatment.” AMG Ex. 1001, col. 4, ll. 23-27.

  XI.   SCOPE AND CONTENT OF THE PRIOR ART

        A.     Overview

        The ‘438 patent has a single independent claim that is directed to a method

  for treating prostate cancer comprising administering therapeutically effective

  amounts of abiraterone acetate, a CYP17 inhibitor, in combination with

  prednisone, a glucocorticoid. However, the prior art taught use of abiraterone

  acetate as an effective anti-cancer agent which suppresses testosterone synthesis in

  prostate cancer patients. AMG Ex. 1002, Serels Decl. at ¶¶26, 27, 36, 45. The

  prior art also taught that concomitant glucocorticoid replacement therapy might be

  necessary when administering abiraterone to treat prostate cancer in a patient, and

  that this was common practice in the treatment of prostate cancer with

  ketoconazole, another CYP17 inhibitor. AMG Ex. 1002, Serels Decl. at ¶ 48, 56,

  68.

        The prior art also taught that abiraterone was a more effective CYP17

  inhibitor than ketoconazole. For example, the prior art taught that abiraterone

  acetate was more effective in decreasing testosterone levels in a mammal than
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  ketoconazole. AMG Ex. 1002, Serels Decl. at ¶¶36, 45, 49. The prior art also

  taught that the combination of ketoconazole and prednisone was a safe and

  effective treatment for refractory metastatic prostate cancer. AMG Ex. 1002,

  Serels Decl. at ¶¶35, 48.

        One of skill in the art would have combined abiraterone acetate and

  prednisone based on teachings of O’Donnell and Gerber and/or the '213 patent and

  Gerber for a safe and effective treatment of prostate cancer with a reasonable

  expectation of success because the prior art taught the combination of ketoconazole

  and prednisone as safe and effective to treat patients with hormone refractory

  metastatic prostate cancer. AMG Ex. 1002, Serels Decl. at ¶¶48, 49.

        During prosecution, after numerous rejections for obviousness, the

  Applicants argued that unexpected results rebutted the prima facie case of

  obviousness made by the Examiner. The Applicants argued that the cited prior art

  did not teach or suggest that abiraterone acetate in combination with prednisone

  would be “a particularly useful combination for cancer treatment.” AMG Ex. 1008

  at p. 2. They further argued that commercial success of Zytiga® (the trade name

  under which abiraterone acetate is marketed) was evidence of non-obviousness of

  the claimed combination. AMG Ex. 1008 at pp. 2-3.

        However, Gerber taught that some patients with hormone refractory

  metastatic prostate cancer could derive significant benefit from treatment with

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   ketoconazole and prednisone. AMG Ex. 1002, Serels Decl. ¶35. Indeed, the

   administration of ketoconazole in combination with a glucocorticoid such as

   prednisone or hydrocortisone was a common practice at the time of the invention.

   AMG Ex. 1002, Serels Decl. ¶¶31-32, 34, 68. The Examiner did not consider

   Gerber during prosecution. Quite possibly, this is because Gerber was submitted

   after the initial notice of allowance, along with dozens of other references.

   Because the Examiner did not consider Gerber, the Examiner did not fully

   appreciate the obviousness of combining a CYP17 inhibitor (such as abiraterone)

   with a glucocorticoid (such as prednisone).

         Applicants also argued that abiraterone and prednisone unexpectedly

   prolonged overall survival relative to prednisone alone, and that the prior art taught

   away from combining abiraterone with prednisone. AMG Ex. 1012 at p. 6. For

   example, in traversing repeated obviousness rejections over Tannock (AMG Ex.

   1006), the Applicants argued that Tannock taught away from use of abiraterone

   with prednisone because it showed that there “was no significant difference in

   overall survival [between prednisone alone and prednisone plus the cancer agent

   mitoxantrone].” which would have led one of skill in the art to expect “no

   difference in survival between one cancer agent alone, and the same cancer agent

   in combination with prednisone.” AMG Ex. 1012 at p. 6.

         This was an erroneous and misleading inference to make for at least two

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   reasons: (i) the co-administration of prednisone with abiraterone was not intended

   to enhance the anti-cancer properties of abiraterone, already known in the art to be

   a very selective CYP17 inhibitor (and consequently a potent inhibitor of peripheral

   testosterone production), but rather to reduce side effects associated with

   administering abiraterone; and (ii) the proper comparison for overcoming

   obviousness over the prior art should have been whether there was any unexpected

   synergistic anti-cancer benefit of using abiraterone in combination with

   prednisone beyond the anti-cancer effect of administering abiraterone alone.

         While the Examiner did not find Applicants' arguments regarding

   unexpected results persuasive, the Examiner also did not fully appreciate the

   obviousness of the claimed invention or the reason that the clamed invention does

   not produce unexpected results. For example, in a Final Rejection dated March 4,

   2013 maintaining an obviousness rejection of the pending claims, the Examiner

   explained that "[s]ince abiraterone acetate provide a new mechanism of action in

   treating prostate cancer and prednisone is known to be useful in treating refractory

   prostate cancer, concomitant employment of both compounds into a single method

   useful for the same purpose, treating prostate cancer, would be considered prima

   facie obvious." AMG Ex. 1011 at p. 3. However, as explained below, CYP17

   inhibitors were known in the art for treating prostate cancer, so that the mechanism

   of action of abiraterone acetate was not new. Additionally, it was known that co-


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   administering a glucocorticoid such as prednisone with a CYP17 inhibitor was

   necessary as hormone replacement therapy in order to reduce potential side effects

   of administering a CYP17 inhibitor, not to enhance an anti-cancer benefit.

         Moreover, the Examiner committed error in allowing the claims based on

   the purported "unexpected commercial success" of Zytiga®, the brand name under

   which abiraterone acetate is marketed in the United States by the Assignee. In

   particular, the Examiner's allowance of the claims based on secondary

   considerations of commercial success of Zytiga® was in error because Applicants

   failed to show the necessary nexus between the claimed invention (which is

   directed to method of treating prostate cancer by administering abiraterone acetate

   and prednisone) and any commercial success of the drug Zytiga®, which consists

   of abiraterone acetate.

         B.     Background of Prostate Cancer and Its Treatment

         Prostate cancer is an androgen-dependent disease. AMG Ex. 1002, Serels

   Decl. at ¶13. The activation of androgen receptors ("AR") on prostate cells

   regulates the transcriptional activation of a wide variety of genes involved in

   promoting the progression and proliferation of prostate cancer. AMG Ex. 1002,

   Serels Decl. at ¶14. The two most important androgens responsible for activating

   the AR are testosterone and its derivative dihydrotestosterone (“DHT”).

   Testosterone is synthesized primarily in the testes and the adrenals.

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         The treatment options for treating prostate cancer depend to a great extent on

   whether the prostate cancer is confined or localized to the prostate or whether it

   has spread to other organs (i.e., metastasized) from the prostate. The goal of

   treating primary prostate cancer (i.e., prostate cancer localized to the prostate) is to

   interfere with the proliferation of prostate cancer cells by interrupting production

   of testosterone and DHT in the testes, or interfering with their function of binding

   with receptors on prostate cancer cells. However, a significant number of patients

   do not respond to localized therapy to suppress testosterone, and consequently

   develop metastatic prostate cancer. AMG Ex. 1002, Serels Decl. at ¶16.

         The treatment of metastatic prostate cancer requires systemic therapy. An

   important goal in treating metastatic prostate cancer patients who have undergone

   localized androgen ablation is to reduce baseline circulating testosterone levels. A

   substantial amount of extratesticular testosterone is produced in the adrenal glands.

   The first-line treatment for metastatic prostate cancer patients since at least the

   1980's has involved systemic suppression of extratesticular testosterone production

   by the peripheral organs, including the adrenal glands, and is commonly referred to

   as hormone therapy. AMG Ex. 1002, Serels Decl. at ¶18.

         In almost all cases, patients with metastatic prostate cancer develop what is

   referred to as refractory or castration-resistant prostate cancer ("CRPC"), i.e.,

   prostate cancer that does not respond to a reduction in testosterone levels by

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   surgical or chemical means and resumes growth. AMG Ex. 1002, Serels Decl. at

   ¶21.

          The treatment of metastatic refractory prostate cancer typically also

   comprises the use of secondary hormone therapy to further reduce testosterone

   production, usually in combination with anti-androgen therapy. AMG Ex. 1002,

   Serels Decl. at ¶22.

          CYP17 inhibitors were known in the art to be useful in the treatment of

   androgen-dependent cancers, including prostate cancer, by contributing to

   suppression of peripheral androgen production. Ketoconazole, a non-specific

   inhibitor of 17-α hydroxylase, an enzyme critical to steroid synthesis, was

   commonly used off-label in combination with prednisone as a second-line

   treatment for metastatic refractory prostate cancer at the time of the invention of

   the '438 patent. AMG Ex. 1002, Serels Decl. at ¶23.

          Like ketoconazole, abiraterone is a CYP17 inhibitor. AMG Ex. 1003,

   (O'Donnell); AMG Ex. 1002, Serels Decl. at ¶¶36, 45. CYP17 inhibitors were

   known to inhibit CYP17, an enzyme that is critical to androgen synthesis in both

   the testes and the adrenal cortex. While the CYP17 enzyme is essential for

   androgen biosynthesis, it also plays an important role in the production of cortisol,

   a glucocorticoid that is critical to basic metabolic functions including the

   formation of glucose, cardiovascular function, and the activation of the anti-stress

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   and inflammatory pathways. AMG Ex. 1002, Serels Decl. at ¶28.

         When a CYP17 inhibitor is administered to suppress androgen synthesis, as

   an undesired side effect cortisol production is compromised (e.g., reduced), which

   interferes with the negative feedback mechanism that usually maintains cortisol

   levels within the normal physiological range. This results in the pituitary gland

   producing more adrenocorticotropic hormone (“ACTH”) to stimulate greater

   production of glucocorticoids, which are formed from ACTH, in part, by a reaction

   involving CYP17. However, in the presence of a CYP17 inhibitor, the conversion

   in the CYP17 pathway from ACTH to cortisol cannot occur. AMG Ex. 1002,

   Serels Decl. at ¶30.

         It was known that CYP17 inhibition of cortisol increased ACTH drive (i.e.,

   increased ACTH production), which resulted in a corresponding increase in

   mineralocorticoids. An increase in mineralocorticoids beyond normal levels,

   known as “mineralocorticoid excess,” was known to have adverse effects,

   including hypertension, hypokalemia (decrease in circulating potassium levels),

   and fluid retention. AMG Ex. 1002, Serels Decl. at ¶31. It was general knowledge

   in the art to administer a glucocorticoid, such as prednisone or hydrocortisone, to a

   patient with ACTH drive, such as a patient administered a CYP17 inhibitor, to

   reduce ACTH drive, and consequently, reduce mineralocorticoid excess. AMG

   Ex. 1002, Serels Decl. at ¶32. Therefore, in a patient being treated for prostate

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   cancer with a CYP17 inhibitor such as ketoconazole, a patient would have been

   concomitantly administered a glucocorticoid such as prednisone for the purpose of

   reducing the side effects associated with increased ACTH drive that result from the

   CYP17 inhibitor, rather than treating prostate cancer itself. AMG Ex. 1002, Serels

   Decl. at ¶34.

         It was known that administration of ketoconazole resulted in adverse side

   effects including high blood pressure, hypokalemia and swelling associated with

   ACTH drive and mineralocorticoid excess. AMG Ex. 1002, Serels Decl. at ¶34.

   Therefore, it was standard practice in the art to co-administer a glucocorticoid

   when using ketoconazole to treat patients with refractory metastatic prostate

   cancer. AMG Ex. 1002, Serels Decl. at ¶34.

         One of skill in the art would have expected that administering abiraterone,

   an even more potent inhibitor of CYP17 than ketoconazole, to treat prostate cancer

   in a patient might also require co-administration of a glucocorticoid, such as

   prednisone. One of skill in the art would therefore have appreciated that the co-

   administration of prednisone with abiraterone was not intended to enhance the anti-

   cancer effect of abiraterone. Instead, one of skill in the art would have expected

   that the co-administration of prednisone with abiraterone would improve the safety

   and tolerability of administering abiraterone by reducing the potential for side

   effects associated with the administration of a CYP17 inhibitor. AMG Ex. 1002,

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   Serels Decl. at ¶34.

         C.     Prior Art References

                 1.       In 2004, O’Donnell Described the Administration of

                          Abiraterone Acetate as More Effective for Treating Metastatic

                          Refractory Prostate Cancer than Ketoconazole, and Possibly

                          Requiring Concomitant Glucocorticoid Replacement Therapy

         O’Donnell, A. et al., “Hormonal impact of the 17α-hydroxylase/C17-20-

   lyase inhibitor abiraterone acetate (CB7630) in patients with prostate cancer,”

   British J. of Cancer, 90:2317-2325 (2004), ("O'Donnell," "AMG Ex. 1003"),

   published on May 18, 2004. O'Donnell is prior art to the '438 patent under at least

   35 U.S.C. §102(b) (pre-AIA) because it was published on May 18, 2004, more

   than one year prior to August 25, 2006, the earliest effective filing date for the

   claims of the ‘438 patent.

         O’Donnell teach that abiraterone acetate is a CYP17 inhibitor that

   suppresses testosterone synthesis in patients with prostate cancer. Abstract.

   O’Donnell report that repeated treatment of male patients with prostate cancer with

   intact gonadal function (testicular function) with abiraterone acetate at a dose of

   500-800 mg can successfully suppress testosterone levels to the castrate range. Id.

   O’Donnell also teach that the dose of abiraterone acetate administered to a

   particular patient may need to be adjusted in order to attain suppression of
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   testosterone levels at target levels. See, e.g., AMG Ex. 1003, O'Donnell,

   Abstract; p. 2324. O’Donnell also report that adrenocortical suppression (i.e.,

   suppression of cortisol) may necessitate concomitant administration of replacement

   glucocorticoid with abiraterone acetate. Id.

         O’Donnell report that as much as 10% of baseline circulating testosterone

   remains in castrated men due to peripheral conversion of adrenal steroids (DHEA

   and androstenedione) to testosterone. AMG Ex. 1003 at p. 2317. O’Donnell

   explain that this baseline circulating testosterone can activate overexpressed

   androgen receptors in hormone refractory tumors. AMG Ex. 1003 at p. 2317.

   O’Donnell also describe ketoconazole as an inhibitor of CYP17 that has shown

   anti-cancer activity for prostate cancer by decreasing the production of adrenal

   steroids. O’Donnell also describe abiraterone acetate as a more selective CYP17

   inhibitor than ketoconazole of the CYP17 enzyme, which will more effectively

   decrease the production of adrenal steroids. AMG Ex. 1003 at p. 2318. They

   further report that the activity of ketoconazole as a second line agent in clinical

   trials among patients with prostate cancer supports the concept of a more selective

   inhibitor of the CYP17 enzyme. AMG Ex. 1003 at p. 2318.

         O’Donnell describe the potential utility of abiraterone acetate as an effective

   anti-cancer agent for treating both castrate and noncastrate patients with advanced

   prostate cancer. O’Donnell report the results of three separate phase I studies

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   wherein human patients with advanced prostate cancer, including patients who had

   progressed despite prior hormone and antiandrogen therapy, were treated with 500-

   800 mg abiraterone acetate and maintained testosterone suppression at target

   levels. AMG Ex. 1003 at pp. 2322-2323.

           In one study, a single dose study in surgically or medically castrate male

   patients with advanced prostate cancer, a dose of 500 mg of abiraterone acetate

   was considered necessary to suppress testosterone to target levels. AMG Ex. 1003

   at p. 2320.

           In a second study, a single dose study involving non-castrate male patients

   with advanced prostate cancer, there appeared to be a steep dose-response

   relationship. They further report that at 500 mg of abiraterone acetate, treated

   patients showed persistent reductions in testosterone levels. AMG Ex. 1003 at p.

   2323.

           In a third study, a multidose study involving non-castrate male patients with

   advanced prostate cancer, O’Donnell report that a dose of at least 800 mg was

   required to maintain testosterone suppression at target levels. AMG Ex. 1003 at p.

   2323.

           In addition, O’Donnell report that repeated treatment of noncastrate patients

   with advanced metastatic prostate cancer with abiraterone acetate at a dose of 800

   mg/day can successfully suppress testosterone levels to the castrate range. AMG
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   Ex. 1003 at pp. 2320-2322.

         O’Donnell further report that from the repeat dose studies, it can be seen that

   a dose of at least 800 mg is required to maintain testosterone suppression at target

   levels in these patients. AMG Ex. 1003 at p. 2323.

         O’Donnell also report that adrenocortical suppression (i.e., the suppression

   of androgens secreted in the adrenal cortex) may necessitate concomitant

   administration of replacement glucocorticoid. AMG Ex. 1003 at p. 2323. In

   particular, they report that although baseline cortisol levels remained normal, “all

   patients treated at 500 mg and 800 mg in the multidose study developed an

   abnormal response to a short Synacthen test by Day 11, indicating a decrease in

   cortisol level.” O’Donnell further note that “some impact on cortisol levels was

   expected from the effect of abiraterone acetate on the steroid synthesis pathway.”

   AMG Ex. 1003 at p. 2323. O’Donnell further disclose that in the clinical use of

   ketoconazole, “it is common practice to administer supplementary hydrocortisone”

   and that this may prove necessary with abiraterone acetate. AMG Ex. 1003 at p.

   2323. On the basis of the clinical evidence, O’Donnell report that the need for

   concomitant therapy of abiraterone acetate with a glucocorticoid needs to be

   further investigated. AMG Ex. 1003 at p. 2323.

                 2.    In 1990, Gerber Disclosed the Use of Ketoconazole with

                       Prednisone, a glucocorticoid, in Patients with Hormone

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                        Refractory Metastatic Prostate Cancer

         Gerber G.S et al., “Prostate specific antigen for assessing response to

   ketoconazole and prednisone in patients with hormone refractory metastatic

   cancer,” J. Urol., 144(5):1177-9 (November 1990), ("Gerber," "AMG Ex. 1004"),

   published November 1990. Gerber is prior art to the '438 patent under at least 35

   U.S.C. §102(b) (pre-AIA) because it was published November 1990, more than

   one year prior to August 25, 2006, the earliest effective filing date for the claims of

   the ‘438 patent. Gerber was submitted in a post-allowance IDS dated October 3,

   2013. Therefore Gerber was of record, but not asserted by the Examiner nor

   argued by the Applicants, during prosecution of the ‘438 patent.

         Gerber describe ketoconazole as a potent inhibitor of gonadal and

   adrenocortical steroid synthesis. Geber also describe that cytotoxic effects of

   ketoconazole on prostate cancer cells are known in the art and suggests its potential

   role in the treatment of prostate cancer. AMG Ex. 1004 at p. 1177.

         Gerber teach the use of ketoconazole, a known CYP17 enzyme inhibitor and

   a potent inhibitor of gonadal and adrenocortical steroid synthesis, with prednisone

   in patients with hormone refractory metastatic prostate cancer. In particular,

   Gerber teach that patients with progressive prostate cancer despite androgen

   ablation, and therefore unresponsive to initial hormonal therapy, may benefit from

   the combination of ketoconazole and prednisone. AMG Ex. 1004 at p. 1179.

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         Gerber note that the results of their study (which combined daily

   administration of 600-900 mg ketoconazole with the administration of 5 mg

   prednisone twice daily) show that 80% (12 out of 15) of patients with prostate

   cancer characterized by progressively increasing prostate specific antigen (“PSA”)

   levels experienced a decrease in PSA levels in response to treatment with

   ketoconazole and prednisone. AMG Ex. 1004 at pp. 1178-79. In addition, they

   report that 75% of the patients who had bone pain and/or other symptoms of

   advancing malignancy at the outset of the study had subjective improvement.

   AMG Ex. 1004 at p. 1178-79. They further report that 20% (3 out of 15) patients

   experienced a prolonged (8 to 10 months) favorable response to ketoconazole and

   prednisone based on persistently decreasing PSA levels and symptomatic

   improvement, including improvement in bone pain. AMG Ex. 1004 at pp. 1178-

   79. Gerber further report that this rate of response is similar to that found in

   studies that have used changes in measurable tumor size, bone scan abnormalities

   and acid phosphatase to assess response. Gerber thus conclude that their results

   show that some patients with progressive prostate cancer despite previous hormone

   therapy will derive significant benefit from the combination of ketoconazole and

   glucocorticoid replacement therapy. AMG Ex. 1004 at p. 1179.

                 3.     In 1997, the ‘213 Patent Disclosed Abiraterone Acetate, and Its

                        Superiority over Ketoconazole in the Treatment of Prostate


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                         Cancer

         U.S. Patent 5,604,213, issued to Barrie S.E. et al., “Steroid dependent

   cancers such as prostate and breast cancer,” ("the '213 patent," AMG Ex. 1005),

   was published on February 18, 1997. The '213 patent is prior art to the '438 patent

   under at least 35 U.S.C. §102(b) (pre-AIA) because it issued on February 18, 1997,

   more than one year prior to August 25, 2006, the earliest effective filing date for

   the claims of the ‘438 patent. The '213 patent is incorporated by reference in the

   ‘438 patent, but it was neither argued nor disclosed in an IDS as relevant prior art

   during prosecution.

         The ‘213 patent is one of the patents listed in the FDA Orange Book for

   Zytiga®. The ‘213 patent is not related to the ‘438 Patent and there is no overlap

   in inventorship between the ‘213 patent and the ‘438 Patent. The ‘213 patent is

   assigned on its face to British Technology Group, Ltd. Of note, the ‘213 patent

   was neither argued nor disclosed to the PTO in an IDS during prosecution.

         The ‘213 patent relates to a novel class of 17-substituted steroids and their

   use in the treatment of androgen-dependent and estrogen-dependent disorders,

   especially prostatic cancer and breast cancer, respectively. AMG Ex. 1005 at Col.

   1, ll. 11-14. The compounds of the ‘213 patent include abiraterone and acid

   addition salts and 3-esters of abiraterone (see, e.g., AMG Ex. 1005 at Col. 5, ll. 21-

   26; Example 2 at col. 11, ll. 39-55), as well as abiraterone acetate in particular (see,

                                                                                             34
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   e.g., AMG Ex. 1005 at Example 1 at col. 10, ll. 62-11:35).

          The ‘213 patent further disclose that abiraterone acetate may be

   administered in a method of treating androgen- and estrogen-dependent disorders,

   especially prostate cancer, as a pharmaceutical composition comprising a

   therapeutically effective amount of the compound, which the ‘213 patent further

   discloses to be 20-800 mg/patient per day of abiraterone acetate. AMG Ex. 1005

   at Col. 10, ll. 27-57.

          The ‘213 patent discloses that the CYP17 enzyme complex is known to be

   essential for the biosynthesis of androgens and estrogens. The ‘213 patent further

   discloses that in the treatment of androgen-dependent disorders, especially

   prostatic cancer, there is a need for strong CYP17 inhibitors. AMG Ex. 1005 at

   Col. 1, ll. 19-22.

          The ‘213 patent reports results from in vitro inhibition assays using tissue

   from the testes of previously untreated human patients undergoing orchidectomy

   for prostatic cancer. The assays compare the in vitro inhibition of 17α-

   hydroxyprogesterone androstenedione and testosterone production by some of the

   compounds of the invention, including abiraterone acetate (i.e., Example 1) with

   that of ketoconazole. The reported IC50 for abiraterone acetate is 0.0097 against

   lyase and 0.0130 against hydroxylase. By comparison, the reported IC50 for

   ketoconazole is 0.026 against lyase (or an order of magnitude higher than

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   abiraterone acetate) and 0.065 against hydroxylase. AMG Ex. 1005 at Col. 21, l.

   25 - 25, l. 12.

          The ‘213 patent further disclose the results of in vivo assays involving male

   human wild type (“HWT”) mice that compare the effect on organ weight and

   production of testosterone and luteinizing hormone of administering abiraterone

   acetate and ketoconazole, respectively. The mice were tested for the presence of

   testosterone and luteinizing hormone. Post-mortem analyses of the adrenals,

   prostate, seminal vesicles, testes and kidneys were also conducted. The results

   show that the reductions in weight of all of the prostate, seminal vesicles, testes

   and kidneys were much greater for the test compounds of the invention than for

   ketoconazole. AMG Ex. 1005 at Col. 25, l. 41 - 26, l. 25; Table 3.

          The ‘213 patent conclude that mammalian assays show that abiraterone

   acetate inhibits androgen, and particularly testosterone, synthesis. AMG Ex. 1005

   at Col. 26, ll. 27-63; Table 4. The ‘213 patent further conclude that the decrease in

   testosterone levels resulting from the administration of abiraterone acetate was

   much more marked than for ketoconazole. AMG Ex. 1005 at Col. 26, ll. 32-38.

   XII. EXPLANATION OF GROUNDS FOR UNPATENTABILITY

          A.     Claim 1

          Claim 1 is obvious over O'Donnell in view of Gerber (Ground 1) or the ‘213

   Patent in view of Gerber (Ground 2). Claim 1 is the only independent claim in the
                                                                                             36
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   ‘438 patent. Claim 1 is directed to a method for treating prostate cancer in a

   human comprising administration of therapeutically effective amounts of

   abiraterone acetate, or a pharmaceutically acceptable salt thereof, and prednisone.

   Because both the use of abiraterone acetate to treat prostate cancer and the co-

   administration of prednisone in treatment of prostate cancer with a CYP17

   inhibitor were present in the prior art with sufficient motivation to combine, claim

   1 is obvious.

         With respect to abiraterone acetate, both O'Donnell and the '213 patent teach

   that abiraterone acetate is a selective CYP17 inhibitor that is more effective in

   suppressing testosterone levels in a mammal in vivo than ketoconazole, a CYP17

   inhibitor known in the art. AMG Ex. 1003, O'Donnell, at pp. 2318, 2322, 2323;

   2325; Exhibit 1005, the '213 patent, col. 25, l. 13 - col. 26, l. 63. O'Donnell teaches

   that 500-800 mg of abiraterone acetate can be useful in suppressing testosterone

   levels in a human patient with prostate cancer, including metastatic refractory

   prostate cancer. AMG Ex. 1003, O'Donnell, Abstract. The '213 patent discloses

   that abiraterone acetate may be administered in a method of treating androgen- and

   estrogen-dependent disorders, especially prostate cancer, as a pharmaceutical

   composition. AMG Ex. 1005, the '213 patent, col. 10, ll. 47-56. The '213 patent

   further discloses that a therapeutically effective amount of abiraterone acetate

   comprises 20-800 mg/patient per day. AMG Ex. 1005, the '213 patent, col. 10, ll.


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   55-56. The '213 patent also teaches that a salt of abiraterone acetate may be

   administered to a human patient with prostate cancer to treat prostate cancer in said

   human patient. AMG Ex. 1005, the '213 patent, col. 10, ll. 22-26.

         It would have been obvious to administer abiraterone acetate to a human

   patient with a prostate cancer in light of the teachings of either O'Donnell or the '213

   patent to administer a therapeutically effective amount of abiraterone acetate to treat

   a human patient with a prostate cancer.

         Neither O’Donnell nor the ‘213 patent disclose co-administering

   prednisone with abiraterone acetate.

         Although O'Donnell does not disclose administration of abiraterone acetate

   with prednisone, O’Donnell teaches that concomitant hormone replacement therapy

   with a glucocorticoid may be needed for continuous use of abiraterone acetate in

   treating a prostate cancer in a human patient. See, e.g., AMG Ex. 1003, O'Donnell,

   Abstract, p. 2323.     Gerber teaches that the combination of ketoconazole and

   prednisone is safe and effective in treating human patients with hormone-refractory

   advanced prostate cancer. Exhibit 1005, Gerber, Abstract, pp. 1177-1178, 1179.

   The motivation to add prednisone to a method of treating prostate cancer in a human

   patient that includes abiraterone acetate is clearly seen in Gerber who teaches that

   the administration of ketoconazole, a CYP17 inhibitor, in combination with 5 mg

   prednisone twice daily, is safe and effective in treating human patients with

   hormone-refractory prostate cancer. AMG Ex. 1004, Gerber, Abstract pp. 1177-
                                                                                             38
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   1178, 1179.

         As such, the skilled artisan would expect that the addition of 10 mg of

   prednisone daily according to Gerber to the treatment regimen of O’Donnell also

   would be safe and effective in treating a prostate cancer, including prostate cancer

   refractory to anticancer therapy, including hormone and anti-androgen therapy.

         Alternatively, the '213 patent teaches that abiraterone acetate is a CYP17

   inhibitor that is more effective in suppressing testosterone levels in a mammal in

   vivo than ketoconazole, a CYP17 inhibitor known in the art. AMG Ex. 1005, the

   '213 patent, col. 25, l. 13 - col. 26, l. 63. Gerber teaches that the combination of

   ketoconazole and prednisone is safe and effective in treating human patients with

   hormone-refractory advanced prostate cancer. AMG Ex. 1004, Gerber, Abstract,

   pp. 1177-1178, 1179. The motivation to add prednisone to the method of treating

   prostate cancer of the '213 patent is clearly seen in Gerber who teaches that the

   administration of ketoconazole, a CYP17 inhibitor, in combination with 5 mg

   prednisone twice daily, is safe and effective in treating human patients with

   hormone-refractory prostate cancer. AMG Ex. 1004, Gerber, Abstract pp. 1177-

   1178, 1179. As such, the skilled artisan would expect that the addition of 5 mg

   twice daily prednisone to the treatment regimen of the '213 patent also would be safe

   and effective in treating a prostate cancer, including prostate cancer refractory to

   anti-cancer therapy, including hormone and anti-androgen therapy, in such patients.

         Therefore, based on the teaching of either O'Donnell in view of Gerber or the
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   ‘213 patent in view of Gerber one of skill in the art would have been motivated to

   co-administer 10 mg/daily of prednisone with abiraterone acetate, a more selective

   CYP17 inhibitor than ketoconazole, in order to treat a human patient with prostate

   cancer, including prostate cancer refractory to previous anti-cancer therapy,

   including hormone and anti-androgen therapy, with a reasonable expectation that

   such treatment would be successful.

         Claims 2-20 all depend directly or indirectly from claim 1, and include

   additional limitations of combinations of the following: i) the amount and/or

   dosage range of abiraterone acetate or a pharmaceutically acceptable salt thereof to

   be administered; ii) the amount and/or dosage range of prednisone to be

   administered; iii) the type of prostate cancer to be treated; or iv) whether the

   patient has been previously treated with another anti-cancer agent, where the

   additional anti-cancer agent may be a hormonal ablation agent, an anti-androgen

   agent, or an anti-neoplastic agent. For the reasons set forth above for claim 1 and

   additionally for the reasons set forth below, these additional categories of

   limitations also are obvious over O'Donnell in view of Gerber and/or the ‘213

   patent in view of Gerber.

         B.     Claims 2 and 3

         O'Donnell teaches that 500-800 mg of abiraterone acetate can be useful in

   suppressing testosterone levels in a human patient with prostate cancer, including

   metastatic prostate cancer. See, e.g., AMG Ex. 1003, O'Donnell, Abstract. The
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   '213 patent teaches that a therapeutically effective amount of abiraterone acetate

   for treating prostate cancer in a human patient includes 20-800 mg/day. AMG Ex.

   1005, the '213 patent, col. 10, ll. 47-56.

         A therapeutically effective amount of 500-800 mg of abiraterone acetate as

   taught by O'Donnell or of 20-800 mg per day of abiraterone acetate as expressly

   taught in the '213 patent is within the range of "about 50 mg/day to about 2000

   mg/day" (claim 2); and "about 500 mg/day to about 1500 mg/day" (claim 3). For

   the foregoing reasons, the daily dosage amounts and ranges of abiraterone acetate

   recited in these claims are disclosed both in O'Donnell and the '213 patent.

   Therefore claims 2 and 3 are obvious over O’Donnell in view of Gerber (Ground 1)

   or the ‘213 patent in view of Gerber (Ground 2).

         C.     Claim 4

         Although neither O'Donnell nor the '213 patent expressly teach an amount of

   abiraterone acetate of about 1000 mg/day as recited in claim 4, O’Donnell reports

   a dose of 500-800 mg/day of abiraterone acetate used in phase 1 human studies.

   AMG Ex. 1003, Abstract, p. 2318. The’ 213 patent discloses 20-800 mg/day of

   the drug. AMG Ex. 1005, the ‘213 patent, Col. 10, ll. 55-56. O’Donnell reports

   that a dose of 800 mg of abiraterone acetate can successfully suppress

   testosterone levels to the castrate range, but this level of suppression may not be

   sustained in all patients due to compensatory hypersecretion of luteinizing


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   hormone (“LH”). AMG Ex. 1003, O'Donnell, Abstract. O’Donnell concludes

   from the studies that in the face of increased LH, higher doses of abiraterone

   acetate may be required. See, e.g., AMG Ex. 1003, O'Donnell, Abstract; p. 2324.

         It would have been obvious to one of skill in the art to optimize the

   dosage range of abiraterone acetate to 1000 mg administered to treat prostate

   cancer in a human patient based on the teaching in O'Donnell that adjustments

   in the dosage amount of abiraterone acetate may be necessary to treat a patient.

   In addition, with respect to both O’Donnell and the ‘213 patent, optimizing the

   dosage range and dosage regimen of known active ingredients to be

   administered was considered well within the competence level of an ordinary

   skilled artisan in the pharmaceutical sciences as of at least 2006.

         Based on the teachings of O'Donnell or the '213 patent, it would have been

   well within the skill of one in the art to optimize the amount of abiraterone acetate

   to be administered to treat prostate cancer in a human patient.

         D.     Claim 5

         O'Donnell teaches that capsules containing 10, 50, 100 and 200 mg of

   abiraterone acetate were used in the three phase 1 clinical studies. It would have

   required only routine experimentation to increase the amount of abiraterone acetate

   in the capsules from 200 mg to 250 mg. Motivation for making this increase

   includes the starting dose of 500 mg in Study C and the use of 500 mg of

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   abiraterone in Studies A and B, which are a multiple of 250 mg. Therefore one of

   skill in the art would have made a 250 mg dosage form of abiraterone acetate for

   the convenience of dosing. For at least this reason claim 5 is obvious over

   O’Donnell in view of Gerber.

         E.     Claims 6-9

         Claims 6-9 are directed to the amount or range of amount of prednisone

   administered: “about 0.01 mg/day to about 500 mg/day” (claim 6); “about 10

   mg/day to about 250 mg/day” (claim 7); “about 10 mg/day” (claim 8); and “one

   dosage form comprising about 5 mg of prednisone” (claim 9). Each of these

   limitations is disclosed in Gerber, which teaches that the combination of

   ketoconazole, a CYP17 inhibitor, and 5 mg of prednisone twice daily is safe and

   effective in treating patients with hormone-refractory advanced prostate cancer.

   AMG Ex. 1004, Gerber, Abstract, pp. 1177-1178, 1179.

         Claim 6 depends from claim 1 and is obvious over O’Donnell in view of

   Gerber or the ‘213 patent in view of Gerber for the same reasons that claim 1 is

   obvious and further for the disclosure in Gerber of 10 mg/day of prednisone.

         Claim 7 depends from claim 6 and narrows the range to about 10 mg/day to

   about 250 mg/day of prednisone. Because Gerber discloses 10 mg/day of

   prednisone, claim 7 is obvious over O’Donnell in view of Gerber or the ‘213 patent

   in view of Gerber for the same reasons that claim 1 is obvious and further for the

   disclosure in Gerber of 10 mg/day of prednisone.
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         Claim 8 depends from claim 7 and narrows the range to about 10 mg/day of

   prednisone. Because Gerber discloses 10 mg/day of prednisone, claim 8 is obvious

   over O’Donnell in view of Gerber or the ‘213 patent in view of Gerber for the

   same reasons that claim 1 is obvious and further for the disclosure in Gerber of 10

   mg/day of prednisone.

         Claim 9 depends from claim 1 and requires the dosage form of prednisone to

   be about 5 mg. Gerber discloses administering 5 mg of prednisone twice daily, a

   dosage form of 5 mg of prednisone would have been obvious. As such, claim 9 is

   obvious over O’Donnell in view of Gerber or the ‘213 patent in view of Gerber for

   the same reasons that claim 1 is obvious and further for the disclosure in Gerber of

   administering 5 mg of prednisone.

         F.     Claim 10

         Claim 10 depends from claim 1 and includes the limitation of about 500

   mg/day to about 1500 mg/day of abiraterone acetate and about 0.01 mg/day to

   about 500 mg/day of prednisone. These limitations are recited in claims 3 and 6

   respectively. Therefore claim 10 is invalid as being obvious over O’Donnell in

   view of Gerber or the ‘213 patent in view of Gerber for the reasons set out above

   for claims 1, 3 and 6.

         G.     Claim 11

         Claim 11 depends from claim 10 and includes the limitations of about 1000

   mg/day of abiraterone acetate and about 10 mg/day of prednisone. These
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   limitations are recited in claims 4 and 8 respectively. Therefore claim 11 is invalid

   as being obvious over O’Donnell in view of Gerber or the ‘213 patent in view of

   Gerber for the reasons set out above for claims 1, 4, 8 and 10.

         H.     Claims 12-16

         Claim 12 depends from claim 1 and includes the limitations of the prostate

   cancer being refractory prostate cancer. Claim 13 depends from claim 12 and

   requires the refractory prostate cancer to be not responding to at least one anti-

   cancer agent. Claim 14 depends from claim 13 and required the anti-cancer agent

   to be a hormonal ablation agent, an anti-androgen agent or an anti-neoplastic agent.

   Claim 15 depends from claim 14 and requires the hormonal ablation agent to be

   deslorelin, leuprolide, foserelin, or triptorelin. Claim 16 depends from claim 14

   and requires the anti-androgen agent to be bicalutamide, flutamide, or nilutamide.

         The patients in the phase I trial reported in O'Donnell were classified as

   having advanced or metastatic refractory prostate cancer. AMG Ex. 1001,

   O'Donnell, Abstract, pp. 2318-2319. In addition, one of the cohorts in

   O'Donnell had undergone hormone ablation surgery, i.e., orchiectomy and all

   three cohorts of patients in O'Donnell had previously undergone hormone or

   anti-androgen therapy or both, and therefore had been previously treated with at

   least one anti-cancer agent, and in particular a hormone ablation agent or anti-

   androgen agent. AMG Ex. 1003, O'Donnell, Abstract; pp. 2318-2319, 2320. In

   Study A, all patients had received flutamide, an anti-androgen agent recited in
                                                                                             45
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   claim 16, and were receiving goserelin or leuprorelin, hormone ablation agents.

         Therefore claims 12 and 13 are obvious for the reasons set forth for claim

   1 and additionally for the teaching in O'Donnell that abiraterone acetate may be

   administered to treat a human patient with metastatic prostate cancer that is

   refractory to at least one anti-cancer agent.

         Claim 14 is obvious for the reasons set forth for claims 1, 12 and 13 and

   additionally for the teaching in O'Donnell that all three cohorts of patients in

   O'Donnell had previously undergone hormone or anti-androgen therapy or both.

         Claim 15 is obvious for the reasons set forth for claims 1, 12, 13 and 14

   and additionally for the teaching in O'Donnell that the patients in Study A had

   previous undergone hormone ablation therapy with goserelin or leuprorelin.

         Claim 16 is obvious for the reasons set forth for claims 1, 12, 13 and 14

   and additionally for the teaching in O'Donnell that the patients in Study A had

   previous undergone anti-androgen therapy with flutamide.

         I.     Claim 17

         Claim 17 depends from claim 14 and includes the limitations that the anti-

   neoplastic agent is docetaxel. O'Donnell does not expressly teach that abiraterone

   acetate may be administered to treat a human patient with metastatic prostate

   cancer that is refractory to an anti-neoplastic agent comprising docetaxel.

   However, docetaxel was well known as an anti-cancer compound, and in

   particular, an anti-neoplastic agent at the priority date of the ‘438 Patent. For
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   instance, U.S. Patent No. 5,688,977 (AMG Ex. 1029) which issued on November

   18, 1997, states at col. 2, ll. 29-32, that docetaxel is an anti-cancer compound. And

   docetaxel in combination with prednisone was known to increase overall survival

   of patients with metastatic refractory prostate cancer, (AMG Ex. 1022, Tannock,

   Abstract), the first treatment known to do so, and was approved for the treatment

   of metastatic refractory prostate in 2004. See, AMG Ex. 1030, FDA News Release

   dated May 19, 2004. Therefore, claim 17 is obvious over O’Donnell in view of

   Gerber for the reasons set forth for claim 14 and additionally for the general

   knowledge in the art that docetaxel with prednisone was a first-line treatment

   for metastatic hormone refractory prostate cancer known to increase overall

   survival.

         J.     Claim 18

         Claim 18 depends from claim 12 and includes the limitations from claim 10

   of about 500 mg/day to about 1500 mg/day of abiraterone acetate and about 0.01

   mg/day to about 500 mg/day of prednisone. Therefore claim 18 is invalid as being

   obvious over O’Donnell in view of Gerber for the reasons set out above for claims

   10 and 12.

         K.     Claim 19

         Claim 19 depends from claim 18 and includes the limitations from claim 11

   of about 1000 mg/day of abiraterone acetate and about 10 mg/day of prednisone.

   Therefore claim 19 is invalid as being obvious over O’Donnell in view of Gerber
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   for the reasons set out above for claims 11 and 18.

         L.     Claim 20

         Claim 20 depends from claim 17 and includes the limitations from claim 11

   of about 1000 mg/day of abiraterone acetate and about 10 mg/day of prednisone.

   Therefore claim 20 is invalid as being obvious over O’Donnell in view of Gerber

   for the reasons set out above for claims 11 and 17.

   XIII. SECONDARY CONSIDERATIONS DO NOT INDICATE THAT THE

         CLAIMS OF THE ‘438 PATENT ARE NON-OBVIOUS

         To counter the prima facie evidence that all claims of the ‘438 patent are

   obvious, the patentee may try to rely on secondary considerations of non-

   obviousness. While any such evidence would be “insufficient” to “overcome the

   strong case of obviousness” here (Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1372

   (Fed. Cir. 2008)), we nonetheless preliminarily address these alleged secondary

   considerations below, and reserve the right to respond to any arguments by the

   patentee asserted in this proceeding.

         A.     Applicants Did Not Offer Relevant Evidence of Commercial

                Success and the Examiner Issued the ‘438 Patent Based on the

                Erroneous Conclusion that the Asserted Commercial Success of

                Zytiga® Overcame the Obviousness of the Claimed Invention.

         Applicants asserted during prosecution that commercial success of Zytiga®,

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   the commercial product containing abiraterone acetate, was evidence of the non-

   obviousness of the claimed invention. AMG Ex. 1012 at p. 8. The Examiner

   erroneously concluded that the alleged “unexpected commercial success of the

   launch of the drug”, Zytiga®, obviated the obviousness rejection over O’Donnell

   and Tannock. AMG Ex. 1013, AMG Ex. 1014, AMG Ex. 1015. This was in error.

         It is well settled that evidence of secondary considerations, such as

   commercial success, is only relevant to an obviousness analysis if the Patentees

   can show a direct link, or nexus, between the secondary consideration and the

   claims of the patent. Ashland Oil, Inc. v. Delta Resins & Refractories, Inc., 776

   F.2d 281, 305 n.42, 227 USPQ 657, 673-674 n. 42 (Fed. Cir. 1985), cert. denied,

   475 U.S. 1017 (1986). In addition, that evidence must be commensurate in scope

   with the asserted claims. Id. Commercial success must be derived from the

   claimed invention. Smith & Nephew, Inc. v. ConvaTec Technologies, Inc., Case

   Nos. IPR 13-00097 and IPR 13-00102 (PTAB, May 29, 2014); MPEP § 716.03(b).

   An applicant asserting commercial success to overcome an obviousness rejection

   bears the burden of proof of establishing a nexus between the claimed invention

   and evidence of commercial success. MPEP § 716.03(I).

         During prosecution, Applicants alleged that Zytiga's market shares of 70%

   in the "post-chemo" mCRPC market prior to the launch of Xtandi and 57% after

   the launch of Xtandi indicated that the claimed invention was a commercial

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   success. AMG Ex. 1012 at p. 7, slide 12. Even assuming that the market

   definition Applicants used is accurate (and it is not), this information is insufficient

   as a matter of law because it fails to show any nexus between the claimed

   combination and the commercial performance of Zytiga®. In addition, as Dr.

   McDuff explains, evidence of Zytiga's® purported market share in a market

   Applicants define as the "post-chemo" mCRPC therapeutic market is deficient for

   a number of reasons. First, Applicants adduced no evidence that a market

   consisting only of "post chemo" mCRPC patients is the appropriate relevant

   market. As Dr. McDuff explains in his declaration, this market definition is much

   too narrow. AMG Ex. 1017, McDuff Decl. at ¶¶23-26. Using a market definition

   that includes all mCRPC patients immediately reduces Zytiga's market share

   substantially. AMG Ex. 1017, McDuff Decl. at ¶¶24-25.

         Second, recent market data demonstrate a steep and continuous decline in

   Zytiga’s market share post-Xtandi launch, and concurrent growth in Xtandi market

   share. AMG Ex. 1017, McDuff Decl. at ¶¶27-29. Dr. Serels explains that the

   perception among clinicians is that Xtandi has similar efficacy to, but a better

   safety profile than, Zytiga because Xtandi does not require co-administration of

   prednisone. AMG Ex. 1002, Serels Decl. at ¶¶85-87. The superior safety of

   Xtandi may account for Xtandi's growth in market share. In any event, this market

   shift is particularly notable in light of Applicants' argument during prosecution that


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   Zytiga's continued commercial success after the introduction of Xtandi was further

   evidence of the commercial success of the invention. AMG Ex. 1017, McDuff

   Decl. at ¶¶23-30.

         Lastly and most importantly, even assuming arguendo, that Zytiga's

   commercial performance, regardless of how broadly the relevant therapeutic

   market is defined, has been strong, any commercial success of Zytiga® is not

   shown to derive from the claimed invention, i.e., the combination of abiraterone

   acetate and prednisone. AMG Ex. 1017, McDuff Decl. at ¶¶31-35. Certainly,

   Applicants made no effort during prosecution to show any nexus between the

   claimed invention and the commercial performance of Zytiga®. Instead, any

   commercial success of Zytiga® is likely due to the effectiveness of abiraterone

   acetate in treating prostate cancer.

         In particular, Applicants presented no evidence to suggest that the claimed

   invention, rather than the prior art abiraterone acetate, was responsible for any

   commercial success of Zytiga.® Instead, Applicants mislead the Examiner by

   arguing that because Zytiga® is approved in combination with prednisone,

   Zytiga® is a commercial embodiment of the claimed invention. AMG Ex. 1012 at

   p. 7. Applicants then extrapolated that the sales of Zytiga® were evidence of the

   commercial success of the invention. However, this is incorrect as a matter of law

   because Zytiga® is the trade name under which abiraterone acetate is marketed.

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   And abiraterone acetate by itself is not a commercial embodiment of the claimed

   invention.

         Specifically, the active ingredient in Zytiga® is abiraterone acetate.

   Abiraterone acetate and its use in treating prostate cancer are claimed in the '213

   patent. Therefore, Zytiga® is a commercial embodiment of the '213 patent, not the

   '438 patent. In order to overcome the Examiner's prima facie case of obviousness

   by arguing commercial success, Applicants were required to provide sufficient

   evidence of a nexus between the commercial performance of Zytiga® and any

   incremental clinically significant anti-cancer benefit of administering the

   combination of abiraterone acetate and prednisone over abiraterone alone.

   Applicants provided no such evidence. Having failed to do so, Applicants failed to

   meet their burden of proof.

         B.     One of Skill Would Not Anticipate Unexpected Benefits from the

                Claimed Invention and Applicants Did Not Offer Any Evidence of

                Relevant Unexpected Results

         Although Zytiga® is approved in combination with prednisone, as Dr. Serels

   explains, the anti-cancer effect of administering Zytiga® to treat prostate cancer is

   obtained from abiraterone acetate. AMG Ex. 1002, Serels Decl. at ¶84. This is

   because the prednisone administered with abiraterone in accordance with the

   approved indication for Zytiga® is intended as hormone replacement therapy

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   related to administration of a CYP17 inhibitor, and not as an anti-cancer therapy.

   AMG Ex. 1002, Serels Decl. at ¶¶68-70, 74-78. Therefore, one of skill would not

   expect the administration of the combination of abiraterone acetate and prednisone

   to provide any additional clinically significant anti-cancer benefit in treating

   prostate cancer beyond the anti-cancer benefit obtained from the administration of

   abiraterone acetate alone. AMG Ex. 1002, Serels Decl. at ¶¶74, 80.

         Importantly, abiraterone acetate was known as an anti-cancer agent at least

   as of the earliest priority date of the claimed invention. In particular, abiraterone

   acetate was known as an anti-cancer agent for the treatment of prostate cancer.

   AMG Ex. 1002, Serels Decl. at ¶¶36, 45. For example, abiraterone acetate for the

   treatment of prostate cancer was disclosed and claimed in the '213 patent. AMG

   Ex. 1002, Serels Decl. at ¶¶36, 45, 73. Abiraterone acetate had been shown to

   reduce testosterone levels in refractory metastatic prostate cancer patients in

   clinical trials. AMG Ex. 1002, Serels Decl. at ¶¶36, 45. Therefore, the proper

   comparison for overcoming obviousness over the prior art based on unexpected

   results should have been whether there was any unexpected synergistic anti-cancer

   benefit of using the combination of abiraterone and prednisone beyond the anti-

   cancer effect of abiraterone alone.

         But Applicants never once argued unexpected results of administering

   abiraterone and prednisone over abiraterone alone. Instead, Applicants mislead the

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   Examiner by arguing alleged unexpected benefits of abiraterone and prednisone

   over prednisone and a placebo. See e.g., July 3, 2012 Response (AMG Ex. 1008),

   January 11, 2013 Response (AMG Ex. 1010); June 4, 2013 Response (AMG Ex.

   1012). However, evidence of any purported benefits of abiraterone and prednisone

   over prednisone and a placebo is insufficient as a matter of law to overcome a

   prima facie case of obviousness over the closest prior art, i.e., abiraterone.

         Tellingly, the assignee of the '438 patent and NDA holder, Janssen Biotech

   Inc., has never described the co-administration of prednisone with Zytiga® as

   enhancing the anti-cancer activity of Zytiga® in information provided to healthcare

   practitioners. AMG Ex. 1002, Serels Decl. at ¶¶75-78. Instead, in prescribing

   information for Zytiga®, including the 2011 Approval Prescribing Information;

   and the 2015 revised Prescribing Information and accompanying brochure on co-

   administration, it is explained that co-administration of prednisone with Zytiga® is

   intended to reduce adverse effects, such as hypertension, hypokalemia and fluid

   retention that may result from CYP17 inhibition of cortisol production and

   consequent ACTH drive. AMG Ex. 1018, 2011 Zytiga® Approval Prescribing

   Information, at pp. 3-4, 5-6, 11; AMG Ex. 1019, 2015 Zytiga® Prescribing

   Information, Co-administration Brochure, at pp. 2-3.

         For example, the 2015 brochure "Putting Prednisone in Perspective," that

   accompanies the 2015 revised Prescribing Information for Zytiga®, states that

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   "prednisone reduces the incidence and severity of mineralocorticoid-related

   adverse reactions associated with Zytiga®" and that "coadministration [sic] of

   prednisone [with Zytiga®] suppresses the ACTH drive and reduces the incidence

   and severity of mineralocorticoid excess adverse reactions." AMG Ex. 1019, 2015

   Zytiga® Prescribing Information, Co-administration Brochure, at p. 2.

         Indeed, the Zytiga® 2015 Prescribing Information makes clear that

   prednisone is co-administered as hormone replacement therapy and that "7.5

   mg/day to 10 mg/day of prednisone is approximately the physiologic equivalent of

   the amount of endogenous cortisol normally produced on a daily basis." AMG Ex.

   1019, 2015 Zytiga® Prescribing Information, Co-administration Brochure, at p. 3.

         As Dr. Serels explains in his accompanying declaration, it was known in the

   art that administering ketoconazole, also a CYP17 inhibitor like abiraterone

   acetate, to treat a prostate cancer may result in significant side effects, such as

   hypertension, hypokalemia and fluid retention as a result of a decrease in cortisol

   levels and consequent ACTH drive. AMG Ex. 1002, Serels Decl. at ¶¶34, 68-70.

   These adverse effects reduced the safety of administering ketoconazole as a single

   agent. AMG Ex. 1002, Serels Decl. at ¶¶34, 68-70. Therefore, it was common

   practice in the art to co-administer a glucocorticoid as replacement therapy when

   administering ketoconazole to treat prostate cancer in a human patient in order to

   improve the safety and enhance the tolerability of treatment. AMG Ex. 1002,

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   Serels Decl. at ¶¶35, 68-70. The particular combination of ketoconazole and

   prednisone was known to be safe and effective in treating patients with metastatic

   refractory prostate cancer based on at least the teachings of Gerber. See, e.g.,

   Exhibit 1004, Gerber, Abstract; AMG Ex. 1002, Serels Decl. at ¶¶48-49, 68-70.

         Based on at least these teachings, one of skill in the art would have had a

   reasonable expectation that administration of abiraterone, a more selective CYP17

   inhibitor than ketoconazole, to treat a patient with prostate cancer would require

   the co-administration of a glucocorticoid such as prednisone in order to improve

   safety and enhance tolerability of administration. AMG Ex. 1002, Serels Decl. at

   ¶¶48-49, 68-70.

         To the extent that the co-administration of prednisone with abiraterone made

   treatment of prostate cancer with abiraterone safer and/or more tolerable, this

   greater safety and/or tolerability was expected, based on the teachings of the prior

   art, including Gerber. See, e.g., AMG Ex. 1004, Gerber, Abstract, pp. 1178-1179;

   AMG Ex. 1020, Harris, p. 544; AMG Ex. 1021, Oh, Abstract, p. 90; AMG Ex.

   1003, O'Donnell, p. 2323; AMG Ex. 1002, Serels Decl. at ¶¶68-70, 74, 80.

         C.     The ‘438 Patent Satisfied No Long-Felt But Unmet Need

         Patentees may argue that commercial performance of Zytiga® is evidence of

   long-felt but unmet need. However, as explained by Dr. McDuff, any success of

   Zytiga® that is not a result of the claimed invention is irrelevant to secondary
                                                                                             56
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   considerations. AMG Ex. 1017, McDuff Decl. at ¶¶31-35. As Dr. Serels explains,

   the combination of abiraterone acetate and prednisone does not produce

   unexpected results in anti-cancer benefit. AMG Ex. 1002, Serels Decl. at ¶¶74, 80,

   83. In fact, the perception among clinicians is that the requirement to co-

   administer prednisone with Zytiga is a drawback to its use to treat prostate cancer.

   AMG Ex. 1002, Serels Decl. at ¶85. For at least these reasons, the combination of

   abiraterone and prednisone satisfied no long-felt need beyond what abiraterone

   may have done.

         D.     The '213 is a Blocking Patent that Limits the Applicability of

                Commercial Success

         The Federal Circuit has held that the existence of a blocking patent limits the

   applicability of any evidence of commercial success to overcome a prima facie

   case of obviousness. Merck & Co., Inc. v. Teva Pharmaceuticals USA, Inc., 395

   F.3d 1364, 1376–77 (Fed. Cir. 2005) (where "market entry by others was

   precluded" as a result of a patent covering the active ingredient and its method of

   use and FDA exclusivity, "the inference of non-obviousness of weekly-dosing,

   from evidence of commercial success, is weak.”). Both abiraterone acetate and its

   use for the treatment of prostate cancer are claimed in the '213 patent. AMG Ex.

   1002, Serels Decl. ¶¶36, 45, 73. The FDA’s Orange Book lists the '213 patent as



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   covering Zytiga®1. Because the ’213 patent claims abiraterone acetate and its use

   in a method of treating an androgen-dependent disorder, “no entity other than” the

   patentee “could have successfully brought [abiraterone acetate] to market.”

   Galderma Labs. v. Tolmar, Inc., 737 F.3d 731, 740-41 (Fed. Cir. 2013). The

   ability of the patentees of the '213 to block additional research and development of

   abiraterone acetate limits the relevance of commercial success for the '438 patent.

   AMG Ex. 1017, McDuff Decl. at ¶¶18-20.

           As Dr. McDuff explains, from an economic perspective, commercial success

   presumes that if an idea were obvious to market participants, then others would

   have brought that idea to market sooner had there been economic incentives to do

   so. AMG Ex. 1017, McDuff Decl. at ¶16-17. A finding of commercial success

   can, in some circumstances, support the notion that a patent was not obvious to

   those skilled in the art if those incentives for development existed. AMG Ex.

   1017, McDuff Decl. at ¶17. However, in this case, the '213 patent was a blocking

   patent that limited economic incentives to develop the invention of the '438 patent.

   AMG Ex. 1017, McDuff Decl. at ¶¶18-20. As Dr. McDuff explains, "Because

   Johnson & Johnson could have effectively prevented market participants from

   1
       FDA Website, Orange Book, Zytiga (NDA 202379),

   http://www.accessdata.fda.gov/scripts/cder/ob/docs/patexclnew.cfm?Appl_No=20

   2379&Product_No=001&table1=OB_Rx (accessed 07/24/2015).

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   supplying an abiraterone product, typical incentives associated with drug

   development would not have existed." AMG Ex. 1017, McDuff Decl. at ¶20.

         E.     Copying By Generic Drug Makers Is Irrelevant

         Finally, the Patentees may argue that Petitioners and other generic drug

   companies seek to copy the invention of the ‘438 Patent by commercializing

   generic versions of abiraterone acetate. Because copying “is required for FDA

   approval” of generic drugs, any “evidence of copying in the [generic drug] context

   is not probative of nonobviousness.” Bayer Healthcare Pharms., Inc. v. Watson

   Pharms., Inc., 713 F.3d 1369, 1377 (Fed. Cir. 2013).

   XIV. CONCLUSION

         For the reasons discussed above, Petitioners request that the Board institute

   an inter partes review and determine that all claims (1-20) of the ‘438 patent be

   canceled as unpatentable.

                                          Respectfully submitted,

                                          /William D. Hare/
                                          William D. Hare
                                          Reg. No. 44,739
                                          Lead Counsel for Petitioner Amerigen
                                          Pharmaceuticals Ltd.
   Dated: December 4, 2015

   MCNEELY, HARE & WAR LLP
   12 Roszel Road, Suite C104
   Princeton, NJ 08540

                                                                                            59
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                           CERTIFICATE OF SERVICE

      Pursuant to 37 C.F.R. §§ 42.6(e) and 42.105(a), I certify that, on December 4,

2015, I caused to be served true and correct copies of the foregoing:

           PETITION FOR INTER PARTES REVIEW OF U.S. PATENT NO.

             8,822,438

           Exhibits 1001-1067

           Power of Attorney

      by Express Mail on the Patent Owner at the correspondence address of record for

U.S. Patent No. 8,822,438, and additionally at other addresses known as likely to effect

service, as follows:

                                       Janssen Oncology, Inc.
                                       10990 Wilshire Blvd., Suite 1200
                                       Los Angeles, CA 90024

                                       Johnson & Johnson
                                       One Johnson & Johnson Plaza
                                       New Brunswick, NJ 08933.
Dated: December 4, 2015

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                                EXHIBIT E
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                                                                Filed: June 30, 2016

             UNITED STATES PATENT AND TRADEMARK OFFICE


              BEFORE THE PATENT TRIAL AND APPEAL BOARD



                       MYLAN PHARMACEUTICALS INC.,

                                      Petitioner

                                          v.

                           JANSSEN ONCOLOGY, INC.,

                                    Patent Owner



                     U.S. Patent No. 8,822,438 to Auerbach et al.


                         Inter Partes Review IPR2016-01332


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   I.    INTRODUCTION
         Mylan Pharmaceuticals Inc. (“Petitioner”) petitions for Inter Partes Review

   of claims 1-20 of U.S. Patent No. 8,822,438 to Auerbach et al. (“the ’438 patent”)

   (MYL Ex. 1001), which is assigned to Janssen Oncology, Inc. (“Janssen”), under

   35 U.S.C. §§ 311–319 and 37 C.F.R. Part 42 and seeks a determination that all

   claims (1-20) of the ’438 patent be canceled as unpatentable.

         This Petition is filed in accordance with 37 C.F.R. § 42.106(a).

   Concurrently filed herewith is a power of attorney and an exhibit list per § 42.10(b)

   and § 42.63(e), respectively. Pursuant to 37 C.F.R. § 42.103, the fee set forth in

   § 42.15(a) accompanies this Petition.

   II.   MANDATORY NOTICES
         Petitioner provides the following mandatory notices.

         A.     Real Parties-In-Interest Under 37 C.F.R. § 42.8(b)(1)
         The real parties-in-interest for Petitioner are Mylan Pharmaceuticals Inc.,

   Mylan Inc., Mylan N.V., and Mylan LLC.

         B.     Related Matters Under 37 C.F.R. § 42.8(b)(2)

         The following litigations or instituted inter partes reviews related to the ’438

   patent are pending:

               Amerigen Pharms. Ltd. v. Janssen Oncology, Inc., IPR2016-00286

                (P.T.A.B.);




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               Argentum Pharms. LLC v. Janssen Oncology, Inc., IPR2016-01317

                (P.T.A.B.).

               BTG Int’l Ltd. v. Actavis Labs. FL, Inc., No. 15-cv-5909-KM-JBC

                (D.N.J.);

               BTG Int’l Ltd. v. Amerigen Pharms., Inc., No. 16-cv-02449-KM-JBC

                (D.N.J.);

               BTG Int’l Ltd. v. Glenmark Pharms. Inc., USA, No. 16-cv-03743-KM-

                JBC (D.N.J.); and

               Janssen Biotech, Inc. v. Mylan Pharms. Inc., No. 15-cv-00130-IMK

                (N.D.W. Va.).

         C.     Lead And Back-Up Counsel Under 37 C.F.R. § 42.8(b)(3)

                Lead Counsel                             Back-Up Counsel
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          bmwhite@perkinscoie.com                     bbeel@perkinscoie.com
         D.     Service Information Under 37 C.F.R. § 42.8(b)(4)
         Please direct all correspondence to lead counsel and back-up counsel at the

   contact information above. Petitioner consents to electronic service by e-mail at




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   the     above    listed   email    addresses    of   lead    and    back-up     counsel

   (bmwhite@perkinscoie.com and bbeel@perkinscoie.com).

   III.    GROUNDS FOR STANDING (37 C.F.R. §§ 42.101 and 42.104)

           As required by 37 C.F.R. § 42.104(a), Petitioner certifies that the ’438 patent

   is available for inter partes review and that the Petitioner is not barred or estopped

   from requesting inter partes review on the grounds identified herein.

   IV.     IDENTIFICATION OF CHALLENGE AND STATEMENT OF THE
           PRECISE RELIEF REQUESTED (37 C.F.R. § 42.22(a) and 37 C.F.R.
           § 42.104(b))
           Petitioner requests inter partes review and cancellation of claims 1–20.

   Petitioner’s full statement of the reasons for the relief requested is set forth below.

           Petitioner respectfully requests inter partes review and cancellation of

   claims 1–20 of the ’438 Patent based on the grounds set forth below:1

           Ground 1: Claims 1-20 are unpatentable as obvious under 35 U.S.C. § 103

                        over O’Donnell in view of Gerber

           Ground 2: Claims 1-4 and 5-11 are unpatentable as obvious under 35

                        U.S.C. § 103 over the ’213 patent in view of Gerber.

           In support of these grounds for unpatentability, Petitioner submits the expert

   declaration of Marc B. Garnick, M.D. (MYL Ex. 1002 (“Garnick Decl.”)) and the

   1
       Mylan’s asserted grounds of obviousness are the same as those instituted in

   IPR2016-00286, filed by Amerigen Pharmaceuticals Limited.


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   declaration of economics expert Ivan T. Hofmann (MYL Ex. 1017 (“Hofmann

   Decl.”)). Petitioner also relies on the other Exhibits set forth in the concurrently

   filed Listing of Exhibits.

   V.    THRESHOLD REQUIREMENT FOR INTER PARTES REVIEW
         A petition for inter partes review must demonstrate “a reasonable likelihood

   that the petitioner would prevail with respect to at least 1 of the claims challenged

   in the petition.” 35 U.S.C. § 314(a). This Petition meets this threshold. As

   explained below, there is a reasonable likelihood that Petitioner will prevail with

   respect to at least one of the challenged claims.

   VI.   STATEMENT OF REASONS FOR THE RELIEF REQUESTED

         A.     Summary of the Argument
         The claims of the ’438 patent are directed to treating prostate cancer by

   administering therapeutically effective amounts of abiraterone acetate, a 17α-

   hydroxylase/C17,20-lyase inhibitor (“CYP17 inhibitor”), in combination with

   prednisone, a glucocorticoid. MYL Ex. 1002, Garnick Decl. ¶¶34–35. The prior

   art taught the use of abiraterone acetate as an effective anti-cancer agent that

   suppresses testosterone synthesis in prostate cancer patients. MYL Ex. 1002,

   Garnick Decl. ¶¶36, 55, 66, 68. It was known as of the earliest priority date

   claimed by the ’438 patent that testosterone promoted prostate cancer proliferation

   and progress, so that testosterone synthesis must be suppressed to treat prostate

   cancer.

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           However, it was also known that in using a CYP17 inhibitor to reduce

   testosterone synthesis, the CYP17 inhibitor undesirably suppressed the production

   of cortisol, a glucocorticoid, which is necessary for other biochemical cycles in the

   body.     In particular, reduced production of cortisol caused adverse effects,

   including hypertension, hypokalemia (decrease in circulating potassium levels),

   and fluid retention. To address the suppressed synthesis of cortisol, the prior art

   taught that concomitant glucocorticoid replacement therapy might be necessary

   when administering abiraterone to treat prostate cancer in a patient, and that this

   was common practice in the treatment of prostate cancer with ketoconazole,

   another CYP17 inhibitor. MYL Ex. 1002, Garnick Decl. ¶¶42, 44, 58.

           The prior art also taught that abiraterone was a more effective CYP17

   inhibitor than ketoconazole. For example, the prior art taught that abiraterone

   acetate was more effective in decreasing testosterone levels in a mammal than

   ketoconazole. MYL Ex. 1002, Garnick Decl. ¶¶46, 55. The prior art also taught

   that the combination of ketoconazole and prednisone was a safe and effective

   treatment for refractory metastatic prostate cancer. MYL Ex. 1002, Garnick Decl.

   ¶58.

           One of skill in the art would have combined abiraterone acetate and

   prednisone based on the teachings of O’Donnell in view of Gerber, and/or the ’213

   patent in view of Gerber, for a safe and effective treatment of prostate cancer with



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   a reasonable expectation of success. The prior art taught that abiraterone acetate

   was a more effective CYP17 inhibitor than ketoconazole and that the combination

   of ketoconazole and prednisone was safe and effective to treat patients with

   hormone refractory metastatic prostate cancer, which would have motivated the

   combination. MYL Ex. 1002, Garnick Decl. ¶¶55–59. One of skill in the art may

   also have been motivated by prednisone’s possible anti-cancer effects. Id. ¶ 89.

         There are no secondary considerations of commercial success that overcome

   this case of obviousness. The claims of the application that resulted in the ’438

   patent were repeatedly rejected for obviousness until the Examiner allowed the

   claims based on the purported “unexpected commercial success” of Zytiga, the

   brand name under which abiraterone acetate is marketed in the United States by the

   Assignee.   In particular, the Examiner’s allowance of the claims based on

   secondary considerations of commercial success of Zytiga was in error because

   Applicants failed to show the necessary nexus between the claimed invention

   (which is directed to a method of treating prostate cancer by administering

   abiraterone acetate and prednisone) and any commercial success of the drug

   Zytiga.

         B.    Level of Ordinary Skill in the Art
         A person of ordinary skill in the art is presumed to be aware of all pertinent

   art, thinks along conventional wisdom in the art, and is a person of ordinary



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   creativity. With respect to the ’438 patent, the scientific field relevant is oncology

   or urology. MYL Ex. 1002, Garnick Decl. ¶18. A person of ordinary skill in the

   art would be a physician specializing in urology, endocrinology, or oncology, or a

   person holding a Ph.D. in pharmacology, biochemistry or a related discipline, such

   as pharmaceutical science.      MYL Ex. 1002, Garnick Decl. ¶18.            Additional

   experience could substitute for the advanced degree. MYL Ex. 1002, Garnick

   Decl. ¶18. To the extent necessary, one of skill in the art may collaborate with one

   or more other persons of skill in the art for one or more aspects with which the

   other person may have expertise, experience and/or knowledge that was obtained

   through his or her education, industrial or academic experiences. MYL Ex. 1002,

   Garnick Decl. ¶19. For example, one of skill may consult with an endocrinologist,

   oncologist, or medical biochemist and thus may rely on the opinions of such

   specialists in evaluating the claims. MYL Ex. 1002, Garnick Decl. ¶20.

         C.     U.S. Patent No. 8,822,438 and Its File History

                1.     Specification of the ’438 Patent
         The “Background” section of the ’438 patent describes prostatectomy and

   radiotherapy, a primary course of treatment for patients diagnosed with organ-

   confined prostate cancer, as being highly invasive and ineffective on metastasized

   prostate cancer. MYL Ex. 1001, col. 1, ll. 25–32. In addition, the specification

   states that these localized treatments are not effective on prostate cancer after it has



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   metastasized and that, moreover, a large percent of individuals who receive such

   localized treatments will suffer from “recurring cancer.” Id. at ll. 28–33. The

   specification states that another treatment option for prostate cancer, hormone

   therapy, is less invasive than surgery and has fewer side effects. Id. at ll. 43–44,

   51–53. However, the specification notes that hormone therapy is not equally

   effective in all patients thus treated, and some patients suffer from relapsing or

   recurring cancer after hormone therapy. Id. at ll. 57-64.

         The “Summary of the Invention” section of the ’438 patent describes various

   embodiments of the invention as being directed to methods and compositions of

   treating a refractory cancer in a patient, involving administering an effective

   amount of a CYP17 inhibitor and an effective amount of another anticancer agent

   such as mitoxantrone, paclitaxel, docetaxel, leuprolide, goserelin, triptorelin,

   seocalcitol, bicalutamide, flutamide, or a steroid including prednisone or

   dexamethasone. MYL Ex. 1001, col. 2, l. 9 – col. 3, l. 20.

         The “Definitions” section defines “17α-hydroxylase/C17,20-lyase inhibitor”

   as an inhibitor of the enzyme “17α-hydroxylase/C17,20-lyase” (an enzyme

   involved in testosterone synthesis). MYL Ex. 1001, col. 3, l. 66 – col. 4, l. 7. The

   terms “treat,” “treating” and “treatment” are defined as “includ[ing] the

   eradication, removal, modification, management or control of a tumor or primary,

   regional, or metastatic cancer cells or tissue and the minimization or delay of the



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   spread of cancer.” MYL Ex. 1001, col. 3, ll. 46–50. The term “anti-cancer agent”

   is defined as “any therapeutic agent that directly or indirectly kills cancer cells or

   directly or indirectly prohibits stops or reduces the proliferation of cancer cells.”

   MYL Ex. 1001, col. 4, ll. 8–16. The term “refractory cancer” is defined as “cancer

   that is not responding to an anti-cancer treatment or cancer that is not responding

   sufficiently to an anti-cancer treatment.” MYL Ex. 1001, col. 4, ll. 23–27.

         The “Detailed Description of the Invention” section refers to U.S. Patent No.

   5,604,213 (MYL Ex. 1005) for its disclosure of CYP17 inhibitors being “shown to

   be useful in the treatment of cancer, specifically hormone-dependent disorders

   such as, androgen-dependent and estrogen-dependent disorders like prostate cancer

   and breast cancer.” MYL Ex. 1001, col. 5, ll. 23–29. The specification provides a

   list of various CYP17 inhibitors including abiraterone (17-(3-pyridyl)-androsta-

   5,16-diene-3β-ol). MYL Ex. 1001, col. 5, ll. 30–40.

         According to the specification, the CYP17 inhibitors may also be

   administered or combined with steroids, such as corticosteroids or glucocorticoids

   including hydrocortisone, prednisone, or dexamethasone, in the same or different

   compositions. MYL Ex. 1001, col. 10, ll. 15–21. A single-unit solid oral dosage

   form may contain about 50 mg to about 300 mg of abiraterone acetate and about

   0.5 to 3 mg of a steroid, e.g., glucocorticoid, optionally with additional excipients.

   MYL Ex. 1001, col. 10, ll. 42–50. Suitable daily dosages of CYP17 inhibitors



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   according to the ’438 patent can generally range from about 0.0001 mg/kg/day to

   about 1000 mg/kg/day. MYL Ex. 1001, col. 11, ll. 33–43.

         According to the specification, the method for the treatment of cancer can

   comprise administering an amount of about 50 mg/day to about 2000 mg/day or

   about 500 mg/day to about 1500 mg/day of abiraterone acetate, and an amount of

   about 0.01 mg/day to about 500 mg/day or about 0.5 mg/day to about 25 mg/day of

   glucocorticoid, such as hydrocortisone, dexamethasone or prednisone. MYL Ex.

   1001, col. 13, ll. 6–39.

         One example of a composition according to the invention comprises a

   CYP17 inhibitor such as abiraterone acetate in combination with a steroid, such as

   hydrocortisone, prednisone or dexamethasone. The composition can comprise

   about 50–500 mg of abiraterone acetate, and about 0.25–3.5 mg of steroid. MYL

   Ex. 1001, col. 15, ll. 52–55.

                2.     File History of the ’438 Patent
         The ’438 patent has a lengthy and involved prosecution. The application

   resulting in the ’438 Patent was filed on February 24, 2011, and assigned

   Application No. 13/034,340.      MYL Ex. 1001, cover page ¶¶(21), (22).       The

   application was filed as a continuation of Application No. 11/844,440, filed on

   August 24, 2007, which claims priority to Provisional Application No. 60/921,506,

   filed on August 25, 2006. Id. ¶¶(60), (63).



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         In an Office Action dated November 25, 2011, the Examiner imposed

   restriction between the claims of Group I (claims 1–26, drawn to a method for

   treating cancer), and the claims of Group II (claims 27–36, drawn to a

   composition). MYL Ex. 1068, November 25, 2011, Office Action at 2. In a

   Response dated December 21, 2011, Applicants cancelled the pending claims, and

   elected the invention of Group I, represented by newly-presented claims 37–56.

   MYL Ex. 1069, December 21, 2011, Response at 1–5. Newly-presented claims

   37–56 are substantively similar to claims 1–20 of the ’438 patent as issued.

         In an Office Action dated February 3, 2012, all pending claims (i.e., 37–56)

   were rejected for obviousness over O’Donnell (MYL Ex. 1003) in view of

   Tannock (MYL Ex. 1006). MYL Ex. 1007, February 3, 2012 Office Action, at 2.

   The Examiner characterized O’Donnell as disclosing the CYP17 inhibitor

   abiraterone acetate being used to suppress testosterone levels in prostate cancer

   patients. Id. Tannock was cited for teaching “10 mg of prednisone in combination

   with other anit-cancer [sic] drug [i.e., mitoxantrone] as effective in treating

   refractory hormonal-resistance [sic] prostate cancer.” MYL Ex. 1007 at 3.

         In a Response dated July 3, 2012, Applicants argued that “[n]othing in the

   art teaches or suggests that abiraterone acetate in combination with prednisone

   would be a particularly useful combination for cancer treatment.” July 3, 2012

   Response (MYL Ex. 1008) at 2. Applicants further argued that “[e]ven if one of



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   ordinary skill would have been motivated to combine both modes of treatment, the

   claimed invention produces unexpected results.” Id.

         As alleged evidence in support of unexpected results, Applicants cited

   Sartor, Nature Reviews Clinical Oncology, 8:515–516 (2011), reporting data from

   a clinical study of patients with metastatic castration-resistant prostate cancer

   (“mCRPC”) previously treated with chemotherapy who were treated with the

   combination of abiraterone and prednisone or prednisone alone. Id. Applicants

   described Sartor as teaching that “[a]biraterone plus prednisone prolongs overall

   survival relative to prednisone alone.” MYL Ex. 1008 at 2.

         Applicants also argued that worldwide sales data for Zytiga (the trade name

   under which abiraterone acetate is marketed) were evidence of purported

   commercial success of the claimed invention.          Id. at 3.   According to the

   Applicants, sales of Zytiga were evidence of the commercial success of the

   claimed combination because the approved label for Zytiga directs patients to use

   Zytiga in combination with prednisone. Id.

         In a Final Office Action dated September 11, 2012, the Examiner maintained

   the rejection of the claims over O’Donnell and Tannock.           MYL Ex. 1070,

   September 11, 2012, Office Action at 2–4.         In a Request for Continued

   Examination (“RCE”) and Response dated January 11, 2013, Applicants once

   again argued unexpected results and cited Ryan et al., New Eng. J. of Med.,



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   368:138–148 (2013) (MYL Ex. 1009), purporting to show unexpected results of

   the claimed invention over prednisone.       MYL Ex. 1010 at 6.      For example,

   Applicants argued an “unexpected survival benefit of abiraterone in combination

   with prednisone” over “prednisone alone.” MYL Ex. 1010, January 11, 2013

   Response at 7; MYL Ex. 1002, Garnick Decl. ¶77.

         In a Final Office Action dated March 4, 2013, the Examiner continued to

   maintain the obviousness rejection of claims 37–56 over O’Donnell and Tannock.

   MYL Ex. 1011, March 4, 2013 Office Action at 2. The Examiner explained that

   “[s]ince abiraterone acetate provide a new mechanism of action in treating prostate

   cancer and prednisone is known to be useful in treating refractory prostate cancer,

   concomitant employment of both compounds into a single method useful for the

   very same purpose, treating prostate cancer, would be considered prima facie

   obvious.” Id.

         However, as explained in the Garnick Declaration, the Examiner’s stated

   reasons for combining both compounds into a single method included incorrect

   facts. First, abiraterone acetate did not provide a new mechanism of action. As

   explained above and set out in O’Donnell, both ketoconazole and abiraterone were

   known CYP17 inhibitors acting by the same mechanism. MYL Ex. 1002 (Garnick

   Declaration) ¶¶33, 36. Second, prednisone was not accepted as being useful for

   treating cancer. As explained in the Garnick Declaration, MYL Ex. 1002, Garnick



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   Decl. ¶¶83-84, 89, 90, although there was a belief that prednisone might be useful

   for treating prostate cancer, at the time of filing of the ’438 patent, prednisone’s

   use as an effective anti-cancer agent for prostate cancer was much less clear than

   its use as a palliative agent. It was therefore common practice to co-administer a

   glucocorticoid such as prednisone with a CYP17 inhibitor for glucocorticoid

   replacement. MYL Ex. 1002, Garnick Decl. ¶¶44, 58, 78.

         In a Notice of Appeal and Response dated June 4, 2013, Applicants

   reiterated their argument that Tannock purportedly taught away from the use of

   prednisone with abiraterone acetate because Tannock taught that “[t]here was no

   significant difference in overall survival [between prednisone alone and prednisone

   plus the anti-cancer agent mitoxantrone].” Response dated June 4, 2013 (MYL Ex.

   1012) at 6 (brackets in original). Applicants argued that one of skill in the art,

   reading Tannock, would have expected “there to be no difference in survival

   between one cancer agent alone, and that same cancer agent in combination with

   prednisone.” MYL Ex. 1012 at 6.

         Applicants also provided the FDA approval label for Zytiga and argued that

   “[t]aking Zytiga in accordance with the approved label [i.e., in combination with

   prednisone] represents a commercial embodiment of the presently claimed

   invention.” MYL Ex. 1012 at 7. Applicants also submitted a news release from

   FDA announcing that Zytiga was approved for the additional indication “for use in



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   prostate cancer patients prior to receiving chemotherapy” and argued that this

   provided additional evidence of commercial success of the claimed combination.

   MYL Ex. 1012 at 7.

         Applicants once again argued commercial success, this time based on market

   share data for Zytiga, and a Janssen-created presentation entitled “Pharmaceuticals

   Commercial Overview” by Joaquin Duato, Worldwide Chairman, Pharmaceuticals,

   Janssen, dated May 2013 (“Duato presentation”), which characterized Zytiga as

   having the most successful launch of an oral oncology product ever: “Zytiga®:

   Most Successful Oral Oncology Launch in History.” MYL Ex. 1012 at 7; id. at

   Exhibit page 40 (slide 11).

         Applicants specifically pointed to a slide showing a 70% market share for

   Zytiga in July 2012 for “chemo refractory prostate cancer patients.” MYL Ex.

   1012 at 7. Applicants argued that the Duato presentation showed that “[d]espite

   another product, Xtandi, being introduced in August of 2012, by April of 2013,

   Zytiga was still the market leader as of April 2013 with 57% market share in

   chemorefractory prostate cancer patients.” MYL Ex. 1012 at 7-8. Applicants

   concluded that “not only is ZYTIGA the most successful oral oncology launch in

   history, two years after its initial approval it is still the market leader for chemo

   refractory patients despite an earlier introduced therapy [i.e., Jevtana®] and a later

   introduced therapy [i.e., Xtandi®].” MYL Ex. 1012 at 8. Applicants argued that



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   “[t]his commercial success [of Zytiga] demonstrates the non-obviousness of the

   presently claimed invention.” MYL Ex. 1012 at 8.

            In a Notice of Allowability dated July 3, 2013, all pending claims were

   allowed with the Examiner providing the following reason for allowance: “The

   unexpected commercial success of the launch of the drug obviates the rejection

   under 35 USC 103(a).” MYL Ex. 1013, Notice of Allowability dated July 3, 2013

   at 2 (emphasis added).

            In a pair of Information Disclosure Statements (“IDS”) dated October 3,

   2013, submitted with an RCE, Applicants provided a number of non-patent

   literature documents.2 MYL Exs. 1071-72. Among the references listed in the

   October 3, 2013 IDS was Gerber (MYL Ex. 1004). MYL Ex. 1071 at 3 (Item No.

   17). A second Notice of Allowability issued October 25, 2013, with the Examiner

   stating in the Notice that the reasons for allowance were “essentially the same” as

   in the previous notice. MYL Ex. 1014 at 2.

            Another IDS submitted with a second RCE and listing additional non-patent

   documents was filed by Applicants on January 10, 2014. MYL Ex. 1073. A third

   2
       In all, in the ten months after receiving their first Notice of Allowability for the

   ’438 patent, the Applicants submitted seven Information Disclosure Statements to

   the Patent Office listing 95 newly-cited references. Applicants did not submit any

   Information Disclosure Statements before allowance.


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   Notice of Allowability issued on February 11, 2014.         MYL Ex. 1015.        The

   Examiner again stated in the Notice of Allowability that the reasons for allowance

   were “essentially the same as the notice of allowance mailed 7/30/2013,” and

   further that “[t]he commercial success of the combination of prednisone and

   abiraterone to treat prostate cancer obviate the rejection under 35 USC 103(a).”

   MYL Ex. 1015 at 2.

         A second pair of IDSes, dated May 9, 2014, listed a number of additional

   references. MYL Exs. 1074-75. These IDSes provided statements of opposition

   filed in the European Patent Office for a counterpart foreign application of the ’438

   patent; Applicants’ response to the opposition; and a number of additional

   references.    See, e.g., MYL Ex. 1075.        Additional Information Disclosure

   Statements filed on May 30, 2014, provided more of the same. MYL Exs. 1076-

   77. A fourth Notice of Allowance issued on June 2, 2014, reiterating the same

   grounds for allowance as the previous notice. MYL Ex. 1016.

         D.      Claim Construction (37 C.F.R. §§ 42.100(b), 42.104(b)(3))
         Pursuant to 37 C.F.R. § 42.100(b), a claim in an unexpired patent is given its

   broadest reasonable interpretation in light of the specification.     Cuozzo Speed

   Techs., LLC v. Lee, No. 15-446, 2016 WL 3369425 (U.S. June 20, 2016).

   Petitioner submits for purposes of this petition only that the terms in the claims of

   the ’438 patent do not have any special meanings and are presumed to take on their



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   broadest reasonable meaning consistent with the understanding of a person of

   ordinary skill in the art (“POSA”) when read in light of the ’438 patent’s

   specification. Because the claim construction standard in an inter partes review is

   different than that used in litigation, Petitioner reserves the right to present

   different constructions of terms in litigation under claim construction standards

   appropriate for those cases. In re Am. Acad. of Sci. Tech. Ctr., 367 F.3d 1359,

   1369 (Fed. Cir. 2004).

            The following terms in the claims of the ’438 patent should be construed for

   purposes of this petition as they are defined in the specification of the ’438 patent;

   the Board adopted each of these constructions in the Institution Decision (Paper

   No. 14) in IPR2016-00286:

         The terms “treat,” “treating” and “treatment” should be construed to mean:

            “include the eradication, removal, modification, management or control of a

            tumor or primary, regional, or metastatic cancer cells or tissue and the

            minimization or delay of the spread of cancer.” MYL Ex. 1001, col. 3, ll.

            46–50 (emphasis added).3

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       In its co-pending district court litigation, Petitioner argues that “treat,” “treating,”

   and “treatment,” properly construed, encompass both palliative and anti-cancer

   effects, consistent with the Board’s claim construction in the institution decision in

   IPR2016-00286. See BTG Int’l Ltd. v. Actavis Labs. FL, Inc., No. 15-cv-5909-


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       The term “anti-cancer agent” should be construed to mean: “any therapeutic

         agent that directly or indirectly kills cancer cells or directly or indirectly

         prohibits, stops or reduces the proliferation of cancer cells.” MYL Ex. 1001,

         col. 4, ll. 8–16.

       The term “refractory cancer” should be construed to mean: “cancer that is

         not responding to an anti-cancer treatment or cancer that is not responding

         sufficiently to an anti-cancer treatment.” MYL Ex. 1001, col. 4, ll. 23–27.


   See also MYL Ex. 1002, Garnick Decl. ¶¶47-53.


         E.     Scope and Content of the Prior Art

                1.     Overview
         The ’438 patent has a single independent claim that is directed to a method

   for treating prostate cancer comprising administering therapeutically effective

   amounts of abiraterone acetate, a CYP17 inhibitor, in combination with

   prednisone, a glucocorticoid. MYL Ex. 1001, claim 1; MYL Ex. 1002, Garnick

   Decl. ¶54; MYL Ex. 1017, Hofmann Decl. ¶19. However, the prior art taught use

   of abiraterone acetate as an effective anti-cancer agent that suppresses testosterone

   synthesis in prostate cancer patients. MYL Ex. 1002, Garnick Decl. ¶¶36, 37, 46,

   55. The prior art also taught that concomitant glucocorticoid replacement therapy


   KM-JBC (D.N.J.), ECF No. 207 at 2.


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   might be necessary when administering abiraterone to treat prostate cancer in a

   patient, and that this was common practice in the treatment of prostate cancer with

   ketoconazole, another CYP17 inhibitor. MYL Ex. 1002, Garnick Decl. ¶¶58, 66,

   78.

         The prior art also taught that abiraterone was a more effective CYP17

   inhibitor than ketoconazole. For example, the prior art taught that abiraterone

   acetate was more effective in decreasing testosterone levels in a mammal than

   ketoconazole. MYL Ex. 1002, Garnick Decl. ¶¶46, 55, 59. The prior art also

   taught that the combination of ketoconazole and prednisone was a safe and

   effective treatment for refractory metastatic prostate cancer.   MYL Ex. 1002,

   Garnick Decl. ¶¶45, 58.

         One of skill in the art would have combined abiraterone acetate and

   prednisone based on the teachings of O’Donnell and Gerber and/or the ’213 patent

   and Gerber for a safe and effective treatment of prostate cancer with a reasonable

   expectation of success because the prior art taught the combination of ketoconazole

   and prednisone as safe and effective to treat patients with hormone refractory

   metastatic prostate cancer. MYL Ex. 1002, Garnick Decl. ¶¶58–59.

         During prosecution, after numerous rejections for obviousness, the

   Applicants argued that unexpected results rebutted the prima facie case of

   obviousness made by the Examiner. The Applicants argued that the cited prior art



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   did not teach or suggest that “abiraterone acetate in combination with prednisone

   would be a particularly useful combination for cancer treatment.” MYL Ex. 1008

   at 2. They further argued that commercial success of Zytiga was evidence of non-

   obviousness of the claimed combination. MYL Ex. 1008 at 3.

         However, Gerber taught that some patients with hormone refractory

   metastatic prostate cancer could derive significant benefit from treatment with

   ketoconazole and prednisone. MYL Ex. 1002, Garnick Decl. ¶45. Indeed, the

   administration of ketoconazole in combination with a glucocorticoid such as

   prednisone or hydrocortisone was a common practice at the time of the invention.

   MYL Ex. 1002, Garnick Decl. ¶¶41–42, 44, 78. The Examiner did not consider

   Gerber during prosecution. Quite possibly, this is because Gerber was submitted

   after the initial notice of allowance, along with dozens of other references.

         Because the Examiner did not consider Gerber, the Examiner did not fully

   appreciate the obviousness of combining a CYP17 inhibitor (such as abiraterone)

   with a glucocorticoid (such as prednisone).

         Applicants also argued that abiraterone and prednisone unexpectedly

   prolonged overall survival relative to prednisone alone, and that the prior art taught

   away from combining abiraterone with prednisone. MYL Ex. 1012 at 6. For

   example, in traversing repeated obviousness rejections over Tannock (MYL Ex.

   1006), the Applicants argued that Tannock taught away from use of abiraterone



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   with prednisone because it showed that there “was no significant difference in

   overall survival [between prednisone alone and prednisone plus the cancer agent

   mitoxantrone],” which would have led one of skill in the art to expect “no

   difference in survival between one cancer agent alone, and that same cancer agent

   in combination with prednisone.” MYL Ex. 1012 at 6 (brackets in original).

         This was an erroneous and misleading inference to make for at least two

   reasons: (i) the co-administration of prednisone with abiraterone was not intended

   to enhance the anti-cancer properties of abiraterone, already known in the art to be

   a very selective CYP17 inhibitor (and consequently a potent inhibitor of peripheral

   testosterone production), but rather to reduce side effects associated with

   administering abiraterone; and (ii) the proper comparison for overcoming

   obviousness over the prior art should have been whether there was any unexpected

   synergistic anti-cancer benefit of using abiraterone in combination with

   prednisone, beyond the anti-cancer effect of administering abiraterone alone.

         While the Examiner did not find Applicants’ arguments regarding

   unexpected results persuasive, the Examiner also did not fully appreciate the

   obviousness of the claimed invention or the reason that the clamed invention does

   not produce unexpected results. For example, in a Final Rejection dated March 4,

   2013 maintaining an obviousness rejection of the pending claims, the Examiner

   explained that “[s]ince abiraterone acetate provide a new mechanism of action in



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   treating prostate cancer and prednisone is known to be useful in treating refractory

   prostate cancer, concomitant employment of both compounds into a single method

   useful for the very same purpose, treating prostate cancer, would be considered

   prima facie obvious.” MYL Ex. 1011 at 3. However, as explained below, CYP17

   inhibitors were known in the art for treating prostate cancer, so that the mechanism

   of action of abiraterone acetate was not new. Additionally, it was known that co-

   administering a glucocorticoid such as prednisone with a CYP17 inhibitor was

   necessary as hormone replacement therapy in order to reduce potential side effects

   of administering a CYP17 inhibitor, not to enhance an anti-cancer benefit.

         Moreover, the Examiner committed error in allowing the claims based on

   the purported “unexpected commercial success” of Zytiga, the name under which

   abiraterone acetate is marketed in the United States by the Assignee. In particular,

   the Examiner’s allowance of the claims based on secondary considerations of

   commercial success of Zytiga was in error because Applicants failed to show the

   necessary nexus between the claimed invention (which is directed to a method of

   treating prostate cancer by administering abiraterone acetate and prednisone) and

   any commercial success of the drug Zytiga, which consists solely of abiraterone

   acetate.




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                2.      Background of Prostate Cancer and Its Treatment
         Prostate cancer is an androgen-dependent disease. MYL Ex. 1002, Garnick

   Decl. ¶23. The activation of androgen receptors (“AR”) on prostate cells regulates

   the transcriptional activation of a wide variety of genes involved in promoting the

   progression and proliferation of prostate cancer. MYL Ex. 1002, Garnick Decl.

   ¶24. The two most important androgens responsible for activating the AR are

   testosterone and its derivative dihydrotestosterone (“DHT”).       MYL Ex. 1002,

   Garnick Decl. ¶24.

         Testosterone is synthesized primarily in the testes and the adrenals. MYL

   Ex. 1002, Garnick Decl. ¶24. The treatment options for treating prostate cancer

   depend to a great extent on whether the prostate cancer is confined or localized to

   the prostate or whether it has spread to other organs (i.e., metastasized) from the

   prostate. MYL Ex. 1002, Garnick Decl. ¶25. The goal of treating primary prostate

   cancer (i.e., prostate cancer localized to the prostate) is to interfere with the

   proliferation of prostate cancer cells by interrupting production of testosterone and

   DHT in the testes, or interfering with their function of binding with receptors on

   prostate cancer cells. MYL Ex. 1002, Garnick Decl. ¶25. However, a significant

   number of patients do not respond to localized therapy to suppress testosterone,

   and consequently develop metastatic prostate cancer. MYL Ex. 1002, Garnick

   Decl. ¶¶26–27.



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          The treatment of metastatic prostate cancer requires systemic therapy. MYL

   Ex. 1002, Garnick Decl. ¶28. An important goal in treating metastatic prostate

   cancer patients who have undergone localized androgen ablation is to reduce

   baseline circulating testosterone levels. MYL Ex. 1002, Garnick Decl. ¶28-29. A

   substantial amount of extratesticular testosterone is produced in the adrenal glands.

   MYL Ex. 1002, Garnick Decl. ¶28-29. The first-line treatment for metastatic

   prostate cancer patients since at least the 1980s has involved systemic suppression

   of extratesticular testosterone production by the peripheral organs, including the

   adrenal gland, and is commonly referred to as hormone therapy. MYL Ex. 1002,

   Garnick Decl. ¶28.

          In almost all cases, patients with metastatic prostate cancer develop what is

   referred to as refractory or castration-resistant prostate cancer (“CRPC”), i.e.,

   prostate cancer that does not respond to a reduction in testosterone levels by

   surgical or chemical means and resumes growth. MYL Ex. 1002, Garnick Decl.

   ¶31.

          The treatment of metastatic refractory prostate cancer typically also

   comprises the use of secondary hormone therapy to further reduce testosterone

   production, usually in combination with anti-androgen therapy. MYL Ex. 1002,

   Garnick Decl. ¶32.




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         CYP17 inhibitors were known in the art to be useful in the treatment of

   androgen-dependent cancers, including prostate cancer, by contributing to

   suppression of peripheral androgen production. MYL Ex. 1002, Garnick Decl.

   ¶¶36, 43. Ketoconazole, a non-specific inhibitor of 17α-hydroxylase, an enzyme

   critical to steroid synthesis, was commonly used off-label in combination with

   prednisone as a second-line treatment for metastatic refractory prostate cancer at

   the time of the invention of the ’438 patent. MYL Ex. 1002, Garnick Decl. ¶33.

         Like ketoconazole, abiraterone is a CYP17 inhibitor.           MYL Ex. 1003,

   (O’Donnell) at 3-4; MYL Ex. 1002, Garnick Decl. ¶¶36, 55. CYP17 inhibitors

   were known to inhibit CYP17, an enzyme that is critical to androgen synthesis in

   both the testes and the adrenal cortex. MYL Ex. 1002, Garnick Decl. ¶37. While

   the CYP17 enzyme is essential for androgen biosynthesis, it also plays an

   important role in the production of cortisol, a glucocorticoid that is critical to basic

   metabolic functions including the formation of glucose, cardiovascular function,

   and the activation of the anti-stress and inflammatory pathways. MYL Ex. 1002,

   Garnick Decl. ¶38.

         When a CYP17 inhibitor is administered to suppress androgen synthesis, as

   an undesired side effect cortisol production is compromised (e.g., reduced), which

   interferes with the negative feedback mechanism that usually maintains cortisol

   levels within the normal physiological range. MYL Ex. 1002, Garnick Decl. ¶¶39–



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   40.   This results in the pituitary gland producing more adrenocorticotropic

   hormone (“ACTH”) to stimulate greater production of glucocorticoids, which are

   formed from ACTH, in part, by a reaction involving CYP17. MYL Ex. 1002,

   Garnick Decl. ¶40. However, in the presence of a CYP17 inhibitor, the conversion

   in the CYP17 pathway from ACTH to cortisol cannot occur. MYL Ex. 1002,

   Garnick Decl. ¶40.

         It was known that CYP17 inhibition of cortisol increased ACTH drive (i.e.,

   increased ACTH production), which resulted in a corresponding increase in

   mineralocorticoids.   MYL Ex. 1002, Garnick Decl. ¶41.           An increase in

   mineralocorticoids beyond normal levels, known as “mineralocorticoid excess,”

   was known to have adverse effects, including hypertension, hypokalemia (decrease

   in circulating potassium levels), and fluid retention. MYL Ex. 1002, Garnick Decl.

   ¶41. It was general knowledge in the art to administer a glucocorticoid, such as

   prednisone or hydrocortisone, to a patient with ACTH drive, such as a patient

   administered a CYP17 inhibitor, to reduce ACTH drive, and consequently, reduce

   mineralocorticoid excess. MYL Ex. 1002, Garnick Decl. ¶42. Therefore, in a

   patient being treated for prostate cancer with a CYP17 inhibitor such as

   ketoconazole, a patient would have been concomitantly administered a

   glucocorticoid such as prednisone for the purpose of reducing the side effects




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   associated with increased ACTH drive that result from the CYP17 inhibitor, rather

   than treating prostate cancer itself. MYL Ex. 1002, Garnick Decl. ¶44.

         It was known that administration of ketoconazole resulted in adverse side

   effects including high blood pressure, hypokalemia and swelling associated with

   ACTH drive and mineralocorticoid excess. MYL Ex. 1002, Garnick Decl. ¶44.

   Therefore, it was standard practice in the art to co-administer a glucocorticoid

   when using ketoconazole to treat patients with refractory metastatic prostate

   cancer. MYL Ex. 1002, Garnick Decl. ¶44.

         One of skill in the art would have expected that administering abiraterone,

   an even more potent inhibitor of CYP17 than ketoconazole, to treat prostate cancer

   in a patient might also require co-administration of a glucocorticoid, such as

   prednisone. MYL Ex. 1002, Garnick Decl. ¶¶79-80. One of skill in the art would

   therefore have appreciated that the co-administration of prednisone with

   abiraterone was not intended to enhance the clinically-relevant anti-cancer effect of

   abiraterone. MYL Ex. 1002, Garnick Decl. ¶¶83-84. Instead, one of skill in the art

   would have expected that the co-administration of prednisone with abiraterone

   would improve the safety and tolerability of administering abiraterone by reducing

   the potential for side effects associated with the administration of a CYP17

   inhibitor. MYL Ex. 1002, Garnick Decl. ¶44.




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                3.     Prior Art References

                       a.    In 2004, O’Donnell Described the Administration of
                             Abiraterone Acetate as More Effective for Treating
                             Metastatic Refractory Prostate Cancer than
                             Ketoconazole, and Possibly Requiring Concomitant
                             Glucocorticoid Replacement Therapy

         O’Donnell, A. et al., “Hormonal impact of the 17α-hydroxylase/C17,20-

   lyase inhibitor abiraterone acetate (CB7630) in patients with prostate cancer,” Brit.

   J. Cancer, 90:2317–2325 (2004) (MYL Ex. 1003), published on May 18, 2004.

   O’Donnell is prior art to the ’438 patent under at least 35 U.S.C. § 102(b) (pre-

   AIA) because it was published on May 18, 2004, more than one year prior to

   August 25, 2006, the earliest effective filing date for the claims of the ’438 patent.

         O’Donnell taught that abiraterone acetate is a CYP17 inhibitor that

   suppresses testosterone synthesis in patients with prostate cancer. MYL Ex. 1003,

   O’Donnell, at Abstract.     O’Donnell reported that repeated treatment of male

   patients with prostate cancer with intact gonadal function (testicular function) with

   abiraterone acetate at a dose of 500–800 mg can successfully suppress testosterone

   levels to the castrate range. Id. O’Donnell also taught that the dose of abiraterone

   acetate administered to a particular patient may need to be adjusted in order to

   attain suppression of testosterone levels at target levels. See, e.g., MYL Ex. 1003,

   O’Donnell, at Abstract, 2324.        O’Donnell also reported that adrenocortical




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   suppression   (i.e.,   suppression   of   cortisol)   may   necessitate   concomitant

   administration of replacement glucocorticoid with abiraterone acetate. Id.

         O’Donnell reported that as much as 10% of baseline circulating testosterone

   remains in castrated men due to peripheral conversion of adrenal steroids (DHEA

   and androstenedione) to testosterone.       MYL Ex. 1003 at 2317.          O’Donnell

   explained that this baseline circulating testosterone can activate overexpressed

   androgen receptors in hormone-refractory tumors. MYL Ex. 1003 at 2317.

         O’Donnell also described ketoconazole as an inhibitor of CYP17 that has

   shown anti-cancer activity for prostate cancer by decreasing the production of

   adrenal steroids. MYL Ex. 1003 at 2318. O’Donnell also described abiraterone

   acetate as a more selective CYP17 inhibitor than ketoconazole of the CYP17

   enzyme, which will more effectively decrease the production of adrenal steroids.

   Id. O’Donnell further reported that the activity of ketoconazole as a second-line

   agent in clinical trials among patients with prostate cancer supports the concept of

   a more selective inhibitor of the CYP17 enzyme. Id.

         O’Donnell described the potential utility of abiraterone acetate as an

   effective anti-cancer agent for treating both castrate and non-castrate patients with

   advanced prostate cancer. O’Donnell reported the results of three separate Phase I

   studies in which human patients with advanced prostate cancer, including patients

   who had progressed despite prior hormone and antiandrogen therapy, were treated



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   with 500–800 mg abiraterone acetate and maintained testosterone suppression at

   target levels. MYL Ex. 1003 at 2318-19, 2322–23.

           In one study, a single-dose study in surgically or medically castrate male

   patients with advanced prostate cancer, a dose of 500 mg of abiraterone acetate

   was considered necessary to suppress testosterone to target levels. MYL Ex. 1003

   at 2320.

           In a second study, a single-dose study involving non-castrate male patients

   with advanced prostate cancer, there appeared to be a steep dose-response

   relationship. O’Donnell reported that at a dose of 500 mg of abiraterone acetate,

   treated patients showed persistent reductions in testosterone levels. MYL Ex. 1003

   at 2323.

           In a third, multi-dose study involving non-castrate male patients with

   advanced prostate cancer, O’Donnell reported that a dose of at least 800 mg was

   required to maintain testosterone suppression at target levels. MYL Ex. 1003 at

   2323.

           In addition, O’Donnell reported that repeated treatment of non-castrate

   patients with advanced metastatic prostate cancer with abiraterone acetate at a dose

   of 800 mg/day can successfully suppress testosterone levels to the castrate range.

   MYL Ex. 1003 at 2320–2322.




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           O’Donnell further reported that from the repeat-dose studies, it can be seen

   that a dose of at least 800 mg is required to maintain testosterone suppression at

   target levels in these patients. MYL Ex. 1003 at 2323.

           O’Donnell also reported that adrenocortical suppression (i.e., the

   suppression of androgens secreted in the adrenal cortex) may necessitate

   concomitant administration of replacement glucocorticoid.       MYL Ex. 1003 at

   2323. In particular, O’Donnell reported that “[a]lthough baseline cortisol levels

   remained normal, all patients treated at 500 and 800 mg in the multiple dose study

   developed an abnormal response to a short Synacthen test by Day 11,” indicating a

   decrease in cortisol level. MYL Ex. 1003 at 2323. O’Donnell further noted that

   “some impact on cortisol levels was expected from the effect of abiraterone acetate

   on the steroid synthesis pathway.” MYL Ex. 1003 at 2323. O’Donnell further

   disclosed that in the clinical use of ketoconazole, “it is common practice to

   administer supplementary hydrocortisone and this may prove necessary with …

   abiraterone acetate.”    MYL Ex. 1003 at 2323.        On the basis of the clinical

   evidence, O’Donnell reported that the need for concomitant therapy of abiraterone

   acetate with a glucocorticoid needed to be investigated further. MYL Ex. 1003 at

   2323.




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                       b.    In 1990, Gerber Disclosed the Use of Ketoconazole
                             with Prednisone, a Glucocorticoid, in Patients with
                             Hormone Refractory Metastatic Prostate Cancer
           Gerber G.S. et al., “Prostate specific antigen for assessing response to

   ketoconazole and prednisone in patients with hormone refractory metastatic

   prostate cancer,” J. Urol., 144:1177–9 (November 1990) (MYL Ex. 1004),

   published in November 1990. Gerber is prior art to the ’438 patent under at least

   35 U.S.C. § 102(b) (pre-AIA) because it was published more than one year prior to

   August 25, 2006, the earliest effective filing date for the claims of the ’438 patent.

   Gerber was submitted in a post-allowance IDS dated October 3, 2013. Gerber was

   therefore of record, but neither asserted by the Examiner nor argued by the

   Applicants, during prosecution of the ’438 patent.

           Gerber described ketoconazole as “a potent inhibitor of gonadal and

   adrenocortical steroid synthesis.” MYL Ex. 1004 at 1177. Gerber also described

   the known cytotoxic effects of ketoconazole on prostate cancer cells and suggested

   ketoconazole’s potential role in the treatment of prostate cancer. MYL Ex. 1004 at

   1177.

           Gerber taught the use of ketoconazole, a known CYP17 enzyme inhibitor

   and a potent inhibitor of gonadal and adrenocortical steroid synthesis, with

   prednisone in patients with hormone refractory metastatic prostate cancer. MYL

   Ex. 1004 at Abstract. In particular, Gerber taught that patients having progressive



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   prostate cancer despite androgen ablation, and therefore unresponsive to initial

   hormonal therapy, may benefit from the combination of ketoconazole and

   prednisone. MYL Ex. 1004 at Abstract, 1179.

         The Gerber study combined daily administration of 600–900 mg

   ketoconazole with the administration of 5 mg prednisone twice daily. MYL Ex.

   1004 at 1177-78. Gerber showed that 80% (12 out of 15) of patients with prostate

   cancer characterized by progressively increasing prostate specific antigen (“PSA”)

   levels experienced a decrease in PSA levels in response to treatment with

   ketoconazole and prednisone. MYL Ex. 1004 at 1178–79. Gerber also showed

   that 75% of the patients who had bone pain and/or other symptoms of advancing

   malignancy at the outset of the study had subjective improvement. MYL Ex. 1004

   at 1178–79. Gerber further reported that 20% (3 out of 15) of patients experienced

   a prolonged (8- to 10-month) favorable response to ketoconazole and prednisone

   based on persistently decreasing PSA levels and symptomatic improvement,

   including improvement in bone pain. MYL Ex. 1004 at 1178–79. Gerber further

   reported that this response rate was similar to that found in studies assessing

   response by monitoring changes in measurable tumor size, bone scan abnormalities

   and acid phosphatase. MYL Ex. 1004 at 1179. Gerber concluded that some

   patients with progressive prostate cancer despite previous hormone therapy will




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   derive significant benefit from the combination of ketoconazole and glucocorticoid

   replacement therapy. MYL Ex. 1004 at 1179.

                       c.     In 1997, the ’213 Patent Disclosed Abiraterone
                              Acetate and Its Superiority over Ketoconazole in
                              Treating Prostate Cancer
         U.S. Patent 5,604,213 (“the ’213 patent,” MYL Ex. 1005), entitled “17-

   Substituted Steroids Useful in Cancer Treatment,” issued to Barrie et al. on

   February 18, 1997. The ’213 patent is prior art to the ’438 patent under at least 35

   U.S.C. § 102(b) (pre-AIA) because it issued more than one year prior to August

   25, 2006, the earliest effective filing date for the claims of the ’438 patent.

         The ’213 patent is listed in the FDA’s Orange Book for Zytiga. The ’213

   patent is not related to the ’438 Patent and there is no overlap in inventorship

   between the ’213 patent and the ’438 Patent. The ’213 patent is assigned on its

   face to British Technology Group, Ltd. Of note, the ’213 patent is incorporated by

   reference in the ’438 patent, but the ’213 patent was neither argued nor disclosed to

   the PTO in an IDS during prosecution of the ’438 patent.

         The ’213 patent relates to a novel class of 17-substituted steroids and their

   use in the treatment of androgen-dependent and estrogen-dependent disorders,

   especially prostatic cancer and breast cancer, respectively. MYL Ex. 1005 at col.

   1, ll. 11–14. The compounds disclosed and claimed in the ’213 patent include

   abiraterone generally, and its acid addition salts and 3-esters (see, e.g., MYL Ex.



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   1005 at col. 5, ll. 21–26; Example 2 at col. 11, ll. 36–55), as well as abiraterone

   acetate in particular (see, e.g., MYL Ex. 1005 at col. 10, l. 62 – col. 11, l. 35

   (Example 1)).

         The ’213 patent further disclosed that abiraterone acetate may be

   administered in a method of treating androgen- and estrogen-dependent disorders,

   especially prostate cancer, as a pharmaceutical composition comprising a

   therapeutically effective amount of the compound, which the ’213 patent further

   disclosed to be 20–800 mg of abiraterone acetate per patient, per day. MYL Ex.

   1005 at col. 10, ll. 27–57.

         The ’213 patent disclosed that the CYP17 enzyme complex is known to be

   essential for the biosynthesis of androgens and estrogens. MYL Ex. 1005 at col. 1,

   ll. 17–19. The ’213 patent further disclosed that in the treatment of androgen-

   dependent disorders, especially prostatic cancer, there is a need for strong CYP17

   inhibitors. MYL Ex. 1005 at col. 1, ll. 19–22.

         The ’213 patent reported results from in vitro inhibition assays using tissue

   from the testes of previously untreated human patients undergoing orchiectomy for

   prostatic cancer.     The assays compared the in vitro inhibition of 17α-

   hydroxyprogesterone, androstenedione, and testosterone production by some of the

   compounds of the invention, including abiraterone acetate (i.e., Example 1) with

   that of ketoconazole. MYL Ex. 1005 at col. 21, l. 26–25, l. 12. The ’213 patent



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   reported the IC50 for abiraterone acetate as 0.0097 against lyase and 0.0130

   against hydroxylase. MYL Ex. 1005 at col. 22, ll. 58–66. By comparison, the

   ’213 patent reported the IC50 for ketoconazole as 0.026 against lyase (i.e., an order

   of magnitude higher than abiraterone acetate) and 0.065 against hydroxylase.

   MYL Ex. 1005 at col. 24, ll. 61–62.

         The ’213 patent further disclosed the results of in vivo assays involving male

   human wild-type mice that compared the effect on organ weight and production of

   testosterone and luteinizing hormone of administering abiraterone acetate and

   ketoconazole, respectively. MYL Ex. 1005 at col. 25, l. 13 – col. 26, l. 63. The

   mice were tested for the presence of testosterone and luteinizing hormone. Post-

   mortem analyses of the adrenals, prostate, seminal vesicles, testes and kidneys

   were also conducted. MYL Ex. 1005 at col. 25, ll. 14–40. The results show that

   the reductions in weight of all of the prostate, seminal vesicles, testes and kidneys

   were much greater for the test compounds of the invention than for ketoconazole.

   MYL Ex. 1005 at col. 25, l. 50–26, l. 26; Table 3.

         The ’213 patent concluded that abiraterone acetate inhibits androgen, and

   particularly testosterone, synthesis in mammalian assays. MYL Ex. 1005 at col.

   26, ll. 27–63; Table 4. The ’213 patent further concluded that administering

   abiraterone acetate yielded a markedly greater decrease in testosterone levels than

   did administering ketoconazole. MYL Ex. 1005 at col. 26, ll. 32–38.



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         F.     Explanation of Grounds for Unpatentability

                1.    The Method of Claim 1 was Obvious over Either O’Donnell
                      in view of Gerber (Ground 1) or the ’213 Patent in View of
                      Gerber (Ground 2)

                      a.     O’Donnell and the ’213 Patent Disclosed the Use of
                             Abiraterone Acetate to Treat Prostate Cancer
         Claim 1 is obvious over O’Donnell in view of Gerber (Ground 1) or the ’213

   Patent in view of Gerber (Ground 2). MYL Ex. 1002, Garnick Decl. ¶¶54–59.

   Claim 1 is the only independent claim in the ’438 patent. Claim 1 is directed to a

   method for treating prostate cancer in a human comprising administering

   therapeutically effective amounts of abiraterone acetate, or a pharmaceutically

   acceptable salt thereof, and prednisone. Because the prior art disclosed both the

   use of abiraterone acetate to treat prostate cancer, and co-administering prednisone

   in treatment of prostate cancer with a CYP17 inhibitor, with sufficient motivation

   to combine, claim 1 was obvious.

         Regarding the use of abiraterone acetate, both O’Donnell and the ’213 patent

   taught that abiraterone acetate is a selective CYP17 inhibitor that is more effective

   than ketoconazole, a CYP17 inhibitor known in the art, in suppressing testosterone

   levels in a mammal in vivo. MYL Ex. 1003, O’Donnell, at 2318, 2322, 2323,

   2325; MYL Ex. 1005, the ’213 patent, col. 25, l. 13 – col. 26, l. 63. O’Donnell

   taught that 500–800 mg of abiraterone acetate can be useful in suppressing

   testosterone levels in a human patient with prostate cancer, including metastatic


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   refractory prostate cancer. MYL Ex. 1003, O’Donnell, Abstract. The ’213 patent

   disclosed that abiraterone acetate may be administered in a method of treating

   androgen- and estrogen-dependent disorders, especially prostate cancer, as a

   pharmaceutical composition. MYL Ex. 1005, the ’213 patent, col. 10, ll. 47–56.

   The ’213 patent further disclosed that a therapeutically effective amount of

   abiraterone acetate comprises a dose of 20–800 mg per patient, per day. MYL Ex.

   1005, the ’213 patent, col. 10, ll. 55–56. The ’213 patent also taught that an

   abiraterone acetate salt may be administered to a human patient with prostate

   cancer to treat prostate cancer in said human patient. MYL Ex. 1005, the ’213

   patent, col. 10, ll. 22–50.

         It would therefore have been obvious in light of the teachings of either

   O’Donnell or the ’213 patent to administer a therapeutically effective amount of

   abiraterone acetate to a human patient with prostate cancer, to treat the patient’s

   prostate cancer.

                       b.        Gerber Disclosed Co-Administering Prednisone with
                                 a CYP17 Inhibitor, like Abiraterone Acetate
         O’Donnell taught that concomitant hormone replacement therapy with a

   glucocorticoid may be needed when using abiraterone acetate to treat a prostate

   cancer in a human patient. See, e.g., MYL Ex. 1003, O’Donnell, Abstract, 2323.

   Gerber taught that the combination of ketoconazole and prednisone (a

   glucocorticoid) is safe and effective in treating human patients with hormone-


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   refractory advanced prostate cancer. Exhibit 1005, Gerber, Abstract, 1177–1178,

   1179. One of skill in the art would have been motivated to add prednisone to a

   method of using abiraterone acetate (a CYP17 inhibitor) to treat prostate cancer in

   a human patient by Gerber’s teaching that administering 5 mg prednisone twice

   daily with ketoconazole, also a CYP17 inhibitor, is a safe and effective treatment

   in human patients with hormone-refractory prostate cancer.        MYL Ex. 1004,

   Gerber, Abstract 1177–1178, 1179. One of skill in the art could also have been

   motivated by suggestions in the prior art that prednisone could have some amount

   of anti-cancer activity. MYL Ex. 1002, Garnick Decl. ¶¶ 33, 89–90.

         As such, the skilled artisan would have expected that adding 10 mg of

   prednisone daily, according to Gerber, to the treatment regimen of O’Donnell, also

   would be safe and effective in treating a prostate cancer, including prostate cancer

   refractory to anticancer therapy, including hormone and anti-androgen therapy.

         Alternatively, the ’213 patent taught that abiraterone acetate is a CYP17

   inhibitor that is more effective than ketoconazole, a CYP17 inhibitor known in the

   art, in suppressing testosterone levels in a mammal in vivo. MYL Ex. 1005, the

   ’213 patent, col. 25, l. 13 – col. 26, l. 63.      Gerber taught that combining

   ketoconazole with prednisone was safe and effective in treating human patients

   with hormone-refractory prostate cancer. MYL Ex. 1004, Gerber, Abstract, 1177–

   1178, 1179. The motivation to add prednisone to the method of treating prostate



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   cancer of the ’213 patent is clearly seen in Gerber who teaches that the

   administration of ketoconazole, a CYP17 inhibitor, in combination with 5 mg

   prednisone twice daily, is safe and effective in treating human patients with

   hormone-refractory prostate cancer. MYL Ex. 1004, Gerber, Abstract 1177– 1178,

   1179. As such, the skilled artisan would expect that adding 5 mg twice daily

   prednisone to the treatment regimen of the ’213 patent would also be safe and

   effective in treating a prostate cancer in such patients, including prostate cancer

   refractory to anti-cancer therapy, including hormone and anti-androgen therapy.

         Therefore, based on the teaching of either O’Donnell in view of Gerber or

   the ’213 patent in view of Gerber, one of skill in the art would have been motivated

   to co-administer 10 mg of prednisone daily with abiraterone acetate, a more

   selective CYP17 inhibitor than ketoconazole, to treat a human patient with prostate

   cancer, including prostate cancer refractory to previous anti-cancer therapy,

   including hormone and anti-androgen therapy, with a reasonable expectation that

   such treatment would be successful. One of skill in the art could also have been

   motivated by suggestions in the prior art that prednisone could have some amount

   of anti-cancer activity, with a similar expectation. MYL Ex. 1002, Garnick Decl.

   ¶¶ 33, 89–90.

         Claims 2–20 all depend directly or indirectly from claim 1, and include

   additional limitations combining one or more of the following: i) the amount



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   and/or dosage range of abiraterone acetate or a pharmaceutically acceptable salt

   thereof to be administered; ii) the amount and/or dosage range of prednisone to be

   administered; iii) the type of prostate cancer to be treated; and iv) whether the

   patient has been previously treated with another anti-cancer agent, where the

   additional anti-cancer agent may be a hormonal ablation agent, an anti-androgen

   agent, or an anti-neoplastic agent. MYL Ex. 1002, Garnick Decl. ¶60. For the

   reasons set forth above regarding claim 1, and additionally for the reasons set forth

   below, these additional limitations also were obvious over O’Donnell in view of

   Gerber and/or the ’213 patent in view of Gerber. MYL Ex. 1002, Garnick Decl.

   ¶¶60–76.

                2.    O’Donnell and the ’213 Disclosed the Dosing Limitations
                      Recited in Claims 2 and 3
         O’Donnell taught that 500–800 mg of abiraterone acetate can be useful in

   suppressing testosterone levels in a human patient with prostate cancer, including

   advanced prostate cancer. See, e.g., MYL Ex. 1003, O’Donnell, Abstract, 2318.

   The ’213 patent taught that a therapeutically effective amount of abiraterone

   acetate for treating prostate cancer in a human patient includes 20–800 mg/day.

   MYL Ex. 1005, the ’213 patent, col. 10, ll. 47–56.

         A therapeutically effective amount of 500–800 mg of abiraterone acetate, as

   taught by O’Donnell, or 20–800 mg per day of abiraterone acetate, as taught by the

   ’213 patent, is within the claimed ranges of “about 50 mg/day to about 2000


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   mg/day” (claim 2) and “about 500 mg/day to about 1500 mg/day” (claim 3). See

   MYL Ex. 1001, claims 2 & 3; MYL Ex. 1003, O’Donnell, Abstract; MYL Ex.

   1005, the ’213 patent, col. 10, ll. 47-56. Therefore, the daily dosage amounts and

   ranges of abiraterone acetate recited in these claims were disclosed in both

   O’Donnell and the ’213 patent. MYL Ex. 1002, Garnick Decl. ¶¶61–62.

         Therefore claims 2 and 3 were obvious over O’Donnell in view of Gerber

   (Ground 1) or the ’213 patent in view of Gerber (Ground 2). MYL Ex. 1002,

   Garnick Decl. ¶¶61–62.

               3.     The Dose Recited in Claim 4 was Disclosed to One of Skill
                      in the Art by either O’Donnell or the ’213 Patent
         O’Donnell disclosed a dose of 500–800 mg/day of abiraterone acetate used

   in Phase 1 human studies. MYL Ex. 1003, Abstract, 2319. The’ 213 patent

   disclosed using 20–800 mg/day of abiraterone acetate. MYL Ex. 1005, the ’213

   patent, col. 10, ll. 55–56. O’Donnell reported that a dose of 800 mg of abiraterone

   acetate “can successfully suppress testosterone levels to the castrate range[, but]

   this level of suppression may not be sustained in all patients due to compensatory

   hypersecretion of LH” (luteinizing hormone).        MYL Ex. 1003, O’Donnell,

   Abstract. O’Donnell therefore concluded from the studies that in the face of

   increased LH, higher doses of abiraterone acetate may be required. See, e.g., MYL

   Ex. 1003, O’Donnell, Abstract; 2324.




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         It would have been obvious to one of skill in the art to optimize, to 1000

   mg/day, the dose of abiraterone acetate administered to treat prostate cancer in a

   human patient, based on O’Donnell’s teaching that adjustments in the dosage

   amount of abiraterone acetate may be necessary to treat a patient. In addition, with

   respect to both O’Donnell and the ’213 patent, optimizing the dosage range and

   dosage regimen when administering active ingredients was well within the abilities

   of an ordinary skilled artisan in the pharmaceutical sciences as of at least 2006.

         Thus, based on the teachings of O’Donnell or the ’213 patent, it would have

   been well within the skill of one in the art to optimize the amount of abiraterone

   acetate to be administered to treat prostate cancer in a human patient, and obvious

   to do so. MYL Ex. 1002, Garnick Decl. ¶¶61–64.

                4.    The Dose Recited in Claim 5 was Disclosed to One of Skill
                      in the Art by O’Donnell
         O’Donnell teaches that capsules containing 10, 50, 100, and 200 mg of

   abiraterone acetate were provided for three Phase 1 clinical studies. MYL Ex.

   1003, O’Donnell, 2319. It would have required only routine experimentation to

   increase the amount of abiraterone acetate in the capsules from 200 mg to 250 mg.

   Id.; see also MYL Ex. 1002, Garnick Decl. ¶65. Motivation for making this

   increase includes the starting dose of 500 mg in Study C and the use of 500 mg of

   abiraterone in Studies A and B, each of which is a multiple of 250 mg. MYL Ex.

   1003, O’Donnell, 2319; see also MYL Ex. 1002, Garnick Decl. ¶65. Therefore,


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   one of skill in the art would have made a 250-mg dosage form of abiraterone

   acetate for the convenience of dosing. MYL Ex. 1002, Garnick Decl. ¶65. For at

   least this reason, claim 5 is obvious over O’Donnell in view of Gerber.

                 5.    Claims 6–9 were Obvious over O’Donnell or the ’213 Patent
                       in View of Gerber
           Claims 6–9 are directed to the amount or range of amounts of prednisone

   administered to a patient: “about 0.01 mg/day to about 500 mg/day” (claim 6);

   “about 10 mg/day to about 250 mg/day” (claim 7); “about 10 mg/day” (claim 8);

   and “one dosage form comprising about 5 mg of prednisone” (claim 9). MYL Ex.

   1001.     Gerber disclosed each of these limitations when it taught that the

   combination of ketoconazole, a CYP17 inhibitor, and 5 mg of prednisone twice

   daily is safe and effective in treating patients with hormone-refractory advanced

   prostate cancer. MYL Ex. 1004, Gerber. MYL Ex. 1002, Garnick Decl. ¶¶66–70.

           Claim 6 depends from claim 1 and was therefore obvious over O’Donnell in

   view of Gerber or the ’213 patent in view of Gerber for the same reasons that claim

   1 was obvious and further for the disclosure in Gerber of 10 mg/day of prednisone.

   MYL Ex. 1002, Garnick Decl. ¶¶66–70.

           Claim 7 depends from claim 6 and narrows the claimed range to about 10

   mg/day to about 250 mg/day of prednisone. Because Gerber disclosed 10 mg/day

   of prednisone, claim 7 was obvious over O’Donnell in view of Gerber or the ’213

   patent in view of Gerber for the same reasons that claim 1 was obvious and further


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   for the disclosure in Gerber of 10 mg/day of prednisone. MYL Ex. 1002, Garnick

   Decl. ¶¶66–70.

         Claim 8 depends from claim 7 and narrows the range to about 10 mg/day of

   prednisone. Because Gerber disclosed 10 mg/day of prednisone, claim 8 was

   obvious over O’Donnell in view of Gerber or the ’213 patent in view of Gerber for

   the same reasons that claim 1 was obvious and further for the disclosure in Gerber

   of 10 mg/day of prednisone. MYL Ex. 1002, Garnick Decl. ¶¶66–70.

         Claim 9 depends from claim 1 and requires the dosage form to include about

   5 mg of prednisone. Because Gerber disclosed administering 5 mg of prednisone

   twice daily, a dosage form of 5 mg of prednisone would have been obvious. As

   such, claim 9 was obvious over O’Donnell in view of Gerber or the ’213 patent in

   view of Gerber for the same reasons that claim 1 was obvious and further for the

   disclosure in Gerber of administering 5 mg of prednisone.        MYL Ex. 1002,

   Garnick Decl. ¶¶66–70.

               6.    Claim 10 was Obvious over O’Donnell or the ’213 Patent in
                     View of Gerber
         Claim 10 depends from claim 1 and recites the limitations of about 500

   mg/day to about 1500 mg/day of abiraterone acetate and about 0.01 mg/day to

   about 500 mg/day of prednisone. MYL Ex. 1001. These limitations are also

   recited in claims 3 and 6, respectively. Therefore claim 10 was invalid as being

   obvious over O’Donnell in view of Gerber or the ’213 patent in view of Gerber for


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   the reasons set out above for claims 1, 3 and 6. MYL Ex. 1002, Garnick Decl.

   ¶¶66–70.

               7.     Claim 11 was Obvious over O’Donnell or the ’213 Patent in
                      View of Gerber
         Claim 11 depends from claim 10 and recites the limitations of about 1000

   mg/day of abiraterone acetate and about 10 mg/day of prednisone. MYL Ex. 1001.

   These limitations are also recited in claims 4 and 8, respectively. Claim 11 was

   therefore invalid as being obvious over O’Donnell in view of Gerber or the ’213

   patent in view of Gerber for the reasons set out above for claims 1, 4, 8, and 10.

   MYL Ex. 1002, Garnick Decl. ¶¶61–64.

               8.     Claims 12–16 were Obvious over O’Donnell in View of
                      Gerber
         Claim 12 depends from claim 1 and includes the limitations of the prostate

   cancer being refractory prostate cancer. Claim 13 depends from claim 12 and

   requires the refractory prostate cancer to be not responding to at least one anti-

   cancer agent. Claim 14 depends from claim 13 and required the anti-cancer agent

   to be a hormonal ablation agent, an anti-androgen agent or an anti-neoplastic agent.

   Claim 15 depends from claim 14 and requires the hormonal ablation agent to be

   deslorelin, leuprolide, goserelin, or triptorelin. Claim 16 depends from claim 14

   and requires the anti-androgen agent to be bicalutamide, flutamide, or nilutamide.




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         The patients in the Phase I trial reported in O’Donnell were classified as

   having advanced or metastatic refractory prostate cancer.        MYL Ex. 1003,

   O’Donnell, Abstract, 2318–2319. In addition, one of the cohorts in O’Donnell had

   undergone hormone ablation surgery, i.e., orchiectomy, and all three cohorts of

   patients in O’Donnell had previously undergone hormone or anti-androgen therapy

   or both, and therefore had been previously treated with at least one anti-cancer

   agent, and in particular a hormone ablation agent or anti-androgen agent. MYL

   Ex. 1003, O’Donnell, Abstract; 2318–2320. In Study A, all patients had received

   flutamide or cyproterone acetate, the former being an anti-androgen agent recited

   in claim 16, and were receiving goserelin or leuprorelin, hormone ablation agents.

   MYL Ex. 1003, O’Donnell, 2320. Therefore claims 12 and 13 were obvious for

   the reasons set forth for claim 1 and additionally because O’Donnell taught that

   abiraterone acetate may be administered to treat a human patient with metastatic

   prostate cancer that is refractory to at least one anti-cancer agent. MYL Ex. 1002,

   Garnick Decl. ¶¶71–72.

         Claim 14 was obvious for the reasons set forth for claims 1, 12, and 13 and

   additionally because O’Donnell taught that all three cohorts of patients in

   O’Donnell previously underwent hormone or anti-androgen therapy, or both.

   MYL Ex. 1002, Garnick Decl. ¶73.




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          Claim 15 was obvious for the reasons set forth for claims 1, 12, 13, and 14

   and additionally because O’Donnell taught that the patients in Study A previously

   underwent hormone ablation therapy with goserelin or leuprorelin. MYL Ex.

   1002, Garnick Decl. ¶73.

          Claim 16 was obvious for the reasons set forth for claims 1, 12, 13, and 14

   and additionally because O’Donnell taught that the patients in Study A previously

   underwent anti-androgen therapy with flutamide. MYL Ex. 1002, Garnick Decl.

   ¶73.

                9.    The Docetaxel Treatment in Claim 17 was Part of the
                      Background Knowledge of One of Skill in the Art
          Claim 17 depends from claim 14 and includes the limitations that the anti-

   neoplastic agent is docetaxel.

          Docetaxel was well known as an anti-cancer compound, and, in particular,

   an anti-neoplastic agent at the priority date of the ’438 Patent. For instance, U.S.

   Patent No. 5,688,977 (MYL Ex. 1029) which issued on November 18, 1997,

   disclosed that docetaxel is an anti-cancer compound. See id. at col. 2, ll. 29–32.

   And docetaxel in combination with prednisone was known to increase overall

   survival of patients with metastatic refractory prostate cancer, (MYL Ex. 1022,

   Tannock, Abstract), the first treatment known to do so, and was approved for the

   treatment of metastatic refractory prostate in 2004. See, MYL Ex. 1030, FDA

   News Release dated May 19, 2004.          Therefore, claim 17 was obvious over


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   O’Donnell in view of Gerber for the reasons set forth for claim 14 and additionally

   because the background knowledge in the art taught that docetaxel with prednisone

   was a first-line treatment for metastatic hormone-refractory prostate cancer, known

   to increase overall survival. MYL Ex. 1002, Garnick Decl. ¶74.

               10.      Claim 18 was Obvious over O’Donnell in View of Gerber

         Claim 18 depends from claim 12 and includes the limitations from claim 10

   of about 500 mg/day to about 1500 mg/day of abiraterone acetate and about 0.01

   mg/day to about 500 mg/day of prednisone. MYL Ex. 1001. Claim 18 was

   therefore invalid as obvious over O’Donnell in view of Gerber for the reasons set

   out above for claims 10 and 12. MYL Ex. 1002, Garnick Decl. ¶¶66–70, 75.

               11.      Claim 19 was Obvious over O’Donnell in View of Gerber
         Claim 19 depends from claim 18 and includes the limitations from claim 11

   of about 1000 mg/day of abiraterone acetate and about 10 mg/day of prednisone.

   MYL Ex. 1001. Claim 19 was therefore invalid as obvious over O’Donnell in

   view of Gerber for the reasons set out above for claims 11 and 18. MYL Ex. 1002,

   Garnick Decl. ¶76.

               12.      Claim 20 was Obvious over O’Donnell in View of Gerber
         Claim 20 depends from claim 17 and includes the limitations from claim 11

   of about 1000 mg/day of abiraterone acetate and about 10 mg/day of prednisone.

   Claim 20 was therefore invalid as obvious over O’Donnell in view of Gerber for

   the reasons set out above for claims 11 and 17. MYL Ex. 1002, Garnick Decl. ¶76.

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         G.    Secondary Considerations do not Indicate that the Claims of the
               ’438 Patent were Non-Obvious

         To counter the prima facie evidence that all claims of the ’438 patent are

   obvious, the patent owner may try to rely on secondary considerations of non-

   obviousness. While any such evidence would be “insufficient” to “overcome the

   strong showing of obviousness” here, Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348,

   1372 (Fed. Cir. 2007), petitioner nonetheless preliminarily addresses certain

   alleged secondary considerations below, and reserves the right to respond to any

   arguments by the patent owner asserted in this proceeding.

               1.     Applicants did not Offer Relevant Evidence of Commercial
                      Success and the Examiner Issued the ’438 Patent Based on
                      the Erroneous Conclusion that the Asserted Commercial
                      Success of Zytiga Overcame the Obviousness of the Claimed
                      Invention.
         Applicants asserted during prosecution that the commercial success of

   Zytiga, a commercial product containing abiraterone acetate, was evidence of the

   non-obviousness of the claimed invention. MYL Ex. 1012 at 8. The Examiner

   erroneously concluded that the alleged “unexpected commercial success of the

   launch of the drug”, Zytiga, obviated the obviousness rejection over O’Donnell and

   Tannock. MYL Ex. 1013; MYL Ex. 1014; MYL Ex. 1015; MYL Ex. 1017,

   Hofmann Decl. ¶20. This was error.

         It is well settled that evidence of secondary considerations, such as

   commercial success, is only relevant to an obviousness analysis if the patentee can


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   show a direct link, or nexus, between the alleged secondary consideration and the

   claims of the patent. Ashland Oil, Inc. v. Delta Resins & Refractories, Inc., 776

   F.2d 281, 305 n.42 (Fed. Cir. 1985), cert. denied, 475 U.S. 1017 (1986). In

   addition, the proffered evidence must be commensurate in scope with the asserted

   claims. Id. Commercial success must be derived from the claimed invention.

   Smith & Nephew, Inc. v. ConvaTec Techs., Inc., Case Nos. IPR2013-00097 and

   IPR2013-00102 (PTAB May 29, 2014); MPEP § 716.03(b).

         An applicant asserting commercial success to overcome an obviousness

   rejection bears the burden of proof of establishing a nexus between the claimed

   invention and evidence of commercial success. MPEP § 716.03.

         During prosecution, Applicants alleged that Zytiga’s market shares of 70%

   in the “post-chemo” mCRPC market prior to the launch of Xtandi and 57% after

   the launch of Xtandi indicated that the claimed invention was a commercial

   success. MYL Ex. 1012 at 7-8, slide 12. But this information was misleading and

   incomplete, and could not suffice as a basis for allowing the ’438 patent because

   Zytiga was not an unexpected commercial success when viewed in the proper

   market context.    MYL Ex. 1017, Hofmann Decl. ¶¶ 35–38.            Further, even

   assuming that the market definition Applicants used is accurate (and it is not), or

   that Applicants put Zytiga in the proper market context (which they did not), this

   information is insufficient as a matter of law because it fails to show any nexus



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   between the claimed combination and the commercial performance of Zytiga.

   MYL Ex. 1017, Hofmann Decl. ¶¶29–34.

         Even assuming that Zytiga’s commercial performance has been strong,

   regardless of how broadly the relevant therapeutic market is defined, any

   commercial success of Zytiga® has not been shown to derive from the claimed

   invention, i.e., the combination of abiraterone acetate and prednisone. MYL Ex.

   1017, Hofmann Decl. ¶¶29–35.       Certainly, Applicants made no effort during

   prosecution of the ’438 patent to show any nexus between the claimed invention

   and the commercial success of Zytiga®. Instead, any commercial success of

   Zytiga® is likely due to the effectiveness of abiraterone acetate, in isolation, in

   treating prostate cancer.

         In particular, Applicants presented no evidence to suggest that the claimed

   invention, rather than the prior art abiraterone acetate, was responsible for any

   commercial success of Zytiga.®      Instead, Applicants misled the Examiner by

   arguing that because Zytiga® is approved in combination with prednisone,

   Zytiga® is a commercial embodiment of the claimed invention. MYL Ex. 1012 at

   7. Applicants then extrapolated that the sales of Zytiga® were evidence of the

   commercial success of the invention. However, this is incorrect as a matter of law

   because Zytiga® is the trade name under which abiraterone acetate is marketed.




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   And abiraterone acetate by itself is not a commercial embodiment of the claimed

   invention. Specifically, the active ingredient in Zytiga® is abiraterone acetate.

         Abiraterone acetate and its use in treating prostate cancer are claimed in the

   ’213 patent. Therefore, Zytiga® is a commercial embodiment of the ’213 patent,

   not the ’438 patent. In order to overcome the Examiner’s prima facie case of

   obviousness by arguing commercial success, Applicants were required to provide

   sufficient evidence of a nexus between the commercial performance of Zytiga®

   and any incremental clinically significant anti-cancer benefit of administering the

   combination of abiraterone acetate and prednisone over abiraterone alone.

         Applicants provided no such evidence. Having failed to do so, Applicants

   failed to meet their burden of proof.

                2.    One of Skill in the Art would not Anticipate Unexpected
                      Benefits from the Claimed Invention and Applicants did not
                      Offer Any Evidence of Relevant Unexpected Results
         Although Zytiga® is approved in combination with prednisone, as Dr.

   Garnick explains, the anti-cancer effect of administering Zytiga® to treat prostate

   cancer is obtained from abiraterone acetate. MYL Ex. 1002, Garnick Decl. ¶93.

   This is because the prednisone administered with abiraterone in accordance with

   the approved indication for Zytiga® is intended as hormone replacement therapy

   related to administration of a CYP17 inhibitor, and not as an anti-cancer therapy.

   MYL Ex. 1002, Garnick Decl. ¶¶78–80, 84–88. Therefore, one of skill would not



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   expect the administration of the combination of abiraterone acetate and prednisone

   to provide any additional clinically significant anti-cancer benefit in treating

   prostate cancer beyond the anti-cancer benefit obtained from the administration of

   abiraterone acetate alone. MYL Ex. 1002, Garnick Decl. ¶¶84, 90.

         Importantly, abiraterone acetate was known as an anti-cancer agent at least

   as of the earliest priority date of the claimed invention. In particular, abiraterone

   acetate was known as an anti-cancer agent for the treatment of prostate cancer.

   MYL Ex. 1002, Garnick Decl. ¶¶46, 55. For example, abiraterone acetate for the

   treatment of prostate cancer was disclosed and claimed in the ’213 patent. MYL

   Ex. 1002, Garnick Decl. ¶¶46, 55, 83. Abiraterone acetate had been shown to

   reduce testosterone levels in refractory metastatic prostate cancer patients in

   clinical trials. MYL Ex. 1002, Garnick Decl. ¶¶46, 55. Therefore, the proper

   comparison for overcoming obviousness over the prior art based on unexpected

   results should have been whether there was any unexpected synergistic anti-cancer

   benefit of using the combination of abiraterone and prednisone beyond the anti-

   cancer effect of abiraterone alone.     MYL Ex. 1002, Garnick Decl. ¶¶ 81-83.

   However, there are no unexpected anti-cancer synergies arising from the co-

   administering abiraterone acetate and prednisone. MYL Ex. 1002 (Garnick Decl.)

   ¶¶ 91-93.




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         But Applicants never once argued unexpected results of administering

   abiraterone and prednisone over abiraterone alone. Instead, Applicants misled the

   Examiner by arguing alleged unexpected benefits of abiraterone and prednisone

   over prednisone and a placebo. See, e.g., July 3, 2012 Response (MYL Ex. 1008),

   January 11, 2013 Response (MYL Ex. 1010); June 4, 2013 Response (MYL Ex.

   1012). However, evidence of any purported benefits of abiraterone and prednisone

   over prednisone and a placebo is insufficient as a matter of law to overcome a

   prima facie case of obviousness over the closest prior art, i.e., abiraterone

   disclosed in the ’213 patent.

         Tellingly, the assignee of the ’438 patent and NDA holder, Janssen Biotech

   Inc., has never described the co-administration of prednisone with Zytiga® as

   enhancing the anti-cancer activity of Zytiga® in information provided to healthcare

   practitioners. MYL Ex. 1002, Garnick Decl. ¶¶85–88. Instead, in the prescribing

   information for Zytiga®, including the 2011 Approval Prescribing Information and

   the 2015 revised Prescribing Information and accompanying brochure on co-

   administration, it is explained that co-administration of prednisone with Zytiga® is

   intended to reduce adverse effects, such as hypertension, hypokalemia and fluid

   retention that may result from CYP17 inhibition of cortisol production and

   consequent ACTH drive. MYL Ex. 1018, 2011 Zytiga® Approval Prescribing




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   Information, at 3–6, 11; MYL Ex. 1019, 2015 Zytiga® Prescribing Information,

   Co-administration Brochure, at 2–3.

         For example, the 2015 brochure “Putting Prednisone in Perspective,” that

   accompanies the 2015 revised Prescribing Information for Zytiga®, states that

   “[p]rednisone reduces the incidence and severity of mineralocorticoid-related

   adverse reactions associated with Zytiga®” and that “[c]oadministration of

   prednisone [with Zytiga®] suppresses the ACTH drive and reduces the incidence

   and severity of mineralocorticoid excess adverse reactions.” MYL Ex. 1019, 2015

   Zytiga® Prescribing Information, Co-administration Brochure, at 2.

         Indeed, the Zytiga® 2015 Prescribing Information makes clear that

   prednisone is co-administered as hormone replacement therapy and that “7.5

   mg/day to 10 mg/day of prednisone is approximately the physiologic equivalent of

   the amount of endogenous cortisol normally produced on a daily basis.” MYL Ex.

   1019, 2015 Zytiga® Prescribing Information, Co-administration Brochure, at 3.

         As Dr. Garnick explains in his accompanying declaration, it was known in

   the art that administering ketoconazole, a CYP17 inhibitor like abiraterone acetate,

   to treat a prostate cancer may result in significant side effects, such as

   hypertension, hypokalemia and fluid retention as a result of a decrease in cortisol

   levels and consequent ACTH drive. MYL Ex. 1002, Garnick Decl. ¶¶44, 78–80.

   These adverse effects reduced the safety of administering ketoconazole as a single



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   agent. MYL Ex. 1002, Garnick Decl. ¶¶44, 78–80. Therefore, it was common

   practice in the art to co-administer a glucocorticoid as replacement therapy when

   administering ketoconazole to treat prostate cancer in a human patient in order to

   improve the safety and enhance the tolerability of treatment. MYL Ex. 1002,

   Garnick Decl. ¶¶45, 78–80.      The particular combination of ketoconazole and

   prednisone was known to be safe and effective in treating patients with metastatic

   refractory prostate cancer based on at least the teachings of Gerber. See, e.g.,

   Exhibit 1004, Gerber, Abstract; MYL Ex. 1002, Garnick Decl. ¶¶58–59, 78–80.

         Based on at least these teachings, one of skill in the art would have had a

   reasonable expectation that administration of abiraterone, a CYP17 inhibitor like

   ketoconazole, to treat a patient with prostate cancer would require the co-

   administration of a glucocorticoid such as prednisone in order to improve safety

   and enhance tolerability of administration. MYL Ex. 1002, Garnick Decl. ¶¶58–

   59, 78–80.

         To the extent that the co-administration of prednisone with abiraterone made

   treatment of prostate cancer with abiraterone safer and/or more tolerable, this

   greater safety and/or tolerability was expected, based on the teachings of the prior

   art, including Gerber and others. See, e.g., MYL Ex. 1004, Gerber, Abstract,

   1178–1179; MYL Ex. 1020, Harris, 544; MYL Ex. 1021, Oh, Abstract, 89-90;




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   MYL Ex. 1022, Tannock 2004, 1502; MYL Ex. 1003, O’Donnell, 2323; MYL Ex.

   1002, Garnick Decl. ¶¶78–80, 84, 89-90.

                3.    The ’438 Patent Satisfied No Long-Felt but Unmet Need
         Patentees may argue that commercial performance of Zytiga® is evidence of

   long-felt but unmet need. However, as explained by Dr. Hofmann, any success of

   Zytiga® that is not a result of the alleged novel features of the claimed invention is

   irrelevant to secondary considerations. MYL Ex. 1017, Hofmann Decl. ¶¶23, 29-

   34.   As Dr. Garnick explains, the combination of abiraterone acetate and

   prednisone does not produce unexpected results in anti-cancer benefit. MYL Ex.

   1002, Garnick Decl. ¶¶84, 90, 93. In fact, the perception among clinicians is that

   the requirement to co-administer prednisone with Zytiga is a drawback to its use to

   treat prostate cancer, a drawback not shared by other, competitive, therapies. MYL

   Ex. 1002, Garnick Decl. ¶94-96. For at least these reasons, the combination of

   abiraterone and prednisone satisfied no long-felt need beyond what abiraterone

   may have done.

                4.    The ’213 is a Blocking Patent that Limits the Applicability
                      of Commercial Success
         The Federal Circuit has held that the existence of a blocking patent limits the

   applicability of any evidence of commercial success to overcome a prima facie

   case of obviousness. Merck & Co., Inc. v. Teva Pharms. USA, Inc., 395 F.3d 1364,

   1376–77 (Fed. Cir. 2005) (where “market entry by others was precluded” as a


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   result of a patent covering the active ingredient and its method of use and FDA

   exclusivity, “the inference of non-obviousness of weekly-dosing, from evidence of

   commercial success, is weak.”).     Both abiraterone acetate and its use for the

   treatment of prostate cancer are claimed in the ’213 patent. MYL Ex. 1002,

   Garnick Decl. ¶¶46, 55, 83. The FDA’s Orange Book lists the ’213 patent as

   covering Zytiga®.4 Because the ’213 patent claims abiraterone acetate and its use

   in a method of treating an androgen-dependent disorder, “no entity other than” the

   patentee “could have successfully brought [abiraterone acetate] to market.”

   Galderma Labs., L.P. v. Tolmar, Inc., 737 F.3d 731, 740–41 (Fed. Cir. 2013). The

   ability of the patentees of the ’213 to block additional research and development of

   abiraterone acetate limits the relevance of commercial success for the ’438 patent.

   MYL Ex. 1017, Hofmann Decl. ¶¶22, 24–28.

           As Dr. Hofmann explains, from an economic perspective, commercial

   success presumes that if an idea were obvious to market participants, then others

   would have brought that idea to market sooner had there been economic incentives

   to do so. MYL Ex. 1017, Hofmann Decl. ¶27. A finding of commercial success

   can, in some circumstances, support the notion that a patent was not obvious to

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       MYL Ex. 1047, FDA Website, Orange Book, Zytiga (NDA 202379),

   http://www.accessdata.fda.gov/scripts/cder/ob/docs/patexclnew.cfm?Appl_No=20

   2379&Product_No=001&table1=OB_Rx (accessed 6/30/2016)


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   those skilled in the art if those incentives for development existed. MYL Ex. 1017,

   Hofmann Decl. ¶21. However, in this case, the ’213 patent was a blocking patent

   that limited economic incentives to develop the invention of the ’438 patent. MYL

   Ex. 1017, Hofmann Decl. ¶¶25–26. As Dr. Hofmann explains, “the existence of

   the ’213 Patent prevents the performance of Zytiga from providing objective

   evidence of nonobviousness of the ’438 Patent.” MYL Ex. 1017, Hofmann Decl.

   ¶28.

                5.    Copying by Generic Drug Makers is Irrelevant
          Finally, the Patentees may argue that petitioner and other generic drug

   companies seek to copy the invention of the ’438 Patent by commercializing

   generic versions of abiraterone acetate. Because copying “is required for FDA

   approval” of generic drugs, any “evidence of copying in the [generic drug] context

   is not probative of nonobviousness.” Bayer Healthcare Pharms., Inc. v. Watson

   Pharms., Inc., 713 F.3d 1369, 1377 (Fed. Cir. 2013).

          H.    Conclusion
          For the reasons discussed above, petitioner requests that the Board institute

   an inter partes review and determine that all claims (1–20) of the ’438 patent be

   canceled as unpatentable.




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   Respectfully submitted,

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   CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATION
         This Petition complies with the type-volume limitation of 37 C.F.R. §

   42.24(a)(1) because this Petition contains 13,342 words, as determined by the

   word-count function of Microsoft Word, excluding the parts of the Petition

   exempted by Rule (i.e., a table of contents, a table of authorities, mandatory

   notices under 37 C.F.R. § 42.8, a certificate of service or word count, or appendix

   of exhibits or claim listing).


   Date: June 30, 2016

                                               /s/ Brandon M. White
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                                               Counsel for Petitioner Mylan
                                               Pharmaceuticals Inc.
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                            CERTIFICATE OF SERVICE
         Pursuant to 37 C.F.R. §§ 42.6(e) and 42.105, I certify that I caused to be

   served a true and correct copy of the foregoing: Petition for Inter Partes Review

   of U.S. Patent No. 8,822,438 by Federal Express Next Business Day Delivery on

   this day on the Patent Owner’s correspondence address of record for the subject

   patent as follows:

       Janssen Oncology, Inc.                            Johnson & Johnson,
   10990 Wilshire Blvd., Suite 1200                     Attn: Joseph F. Shirtz
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                                EXHIBIT F
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            UNITED STATES PATENT AND TRADEMARK OFFICE


             BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             WOCKHARDT BIO AG
                                 Petitioner

                                        v.

                           JANSSEN ONCOLOGY, INC.,

                                   Patent Owner
                            ________________________

                               Case IPR: Unassigned

                              U.S. Patent No. 8,822,438
                            ________________________


   PETITION FOR INTER PARTES REVIEW OF U.S. PATENT NO. 8,822,438
      UNDER 35 U.S.C. §§ 311-319 AND 37 C.F.R. §§ 42.1-.80, 42.100-.123




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   I.        Introduction
             Pursuant to 35 U.S.C. §§ 311-319 and 37 C.F.R. § 42, Wockhardt Bio AG

   submits this Petition for Inter Partes Review (“IPR”) seeking cancellation of

   claims 1-20 of U.S. Patent No. 8,822,438 (WCK1001) as unpatentable under 35

   U.S.C. § 103(a).

             The challenged claims are generally directed to methods of treating prostate

   cancer comprising administering a therapeutically effective amount of abiraterone

   acetate and a therapeutically effective amount of prednisone. (WCK1001, 16:16-

   20.) Dependent claims recite dosage amounts for the abiraterone and prednisone,

   as well as the type of prostate cancer to be treated. (Id., 16:21-17:14.)

             However, every element of the challenged claims existed in the prior art. For

   instance, abiraterone acetate was a well-known, potent, specific inhibitor of

   CYP17, an enzyme that functions to produce testosterone: a fuel for prostate

   cancer growth. And O’Donnell (WCK1005) demonstrates that abiraterone acetate

   was used to treat prostate cancer by August 25, 2006.1

             Further, using glucocorticoids, such as prednisone, in treating prostate

   cancer had been known since at least the 1950’s. In fact, Sartor (WCK1006)


   1
       Petitioner does not concede that the ’438 patent is entitled to an effective filing

        date of August 25, 2006, rather that it is not entitled to any earlier date.



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   teaches the anti-prostate cancer effect of prednisone. For example, Sartor reports

   that administering prednisone caused a significant reduction in PSA levels, a

   primary indicator of prostate cancer tumor burden, in patients participating in

   clinical trials. In addition, co-administering prednisone with other anti-cancer

   agents had long been part of the standard of care when treating prostate cancer.

   (WCK1007, 1509; WCK1029, 8253; WCK1002, ¶¶29, 41-45.) And finally, co-

   administering prednisone with CYP17 inhibitors, such as ketoconazole, was seen

   as necessary to prevent unwanted side effects that can result from CYP17

   inhibition. (WCK1005, 2323; WCK1011; 542-544; WCK1016, 1947; WCK1040,

   814; WCK1002, ¶40, 44.)

         This petition and the supporting Declaration of Dr. Paul A. Godley

   (WCK1002), an expert in the diagnosis and treatment of genitourinary cancers,

   evidence that the challenged claims merely combine the known elements of using

   abiraterone and prednisone individually to treat prostate cancer, achieving

   predictable results. As such, each of the challenged claims fall squarely within the

   Supreme Court’s KSR decision and its extensive progeny as fatally obvious. KSR

   Int’l Co. v. Teleflex Inc., 550 U.S. 398, 416 (2007). Further, no publicly available

   evidence of objective indicia of nonobviousness weighs in favor of patentability.

   Accordingly, this Petition demonstrates that Wockhardt is reasonably likely to

   prevail with respect to at least one challenged claim.


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   II.    Grounds for standing (37 C.F.R. § 42.104(a))
          Wockhardt certifies that the ’438 patent is available for IPR and Wockhardt

   is not barred or estopped from requesting IPR of any of the challenged claims.

   III.   Statement of the precise relief requested and the reasons therefore
          The Office should institute IPR under 35 U.S.C. §§ 311-319 and 37 C.F.R.

   §§ 42.1-.80 and 42.100-42.123, and cancel claims 1-20 of the ’438 patent as

   unpatentable under pre-AIA 35 U.S.C. § 103(a) for the reasons explained below.

   This petition is accompanied and supported by the declarations of Dr. Paul A.

   Godley (WCK1002), an expert in the diagnosis and treatment of genitourinary

   cancers, and Dr. Robert Stoner (WCK1077), an expert in industrial organization

   and economics. Wockhardt’s detailed, full statement of the reasons for relief

   requested is provided in § VI.

   IV.    Overview

          A.    Person of ordinary skill in the art (“POSA”)
          A POSA is a hypothetical person who is presumed to be aware of all

   pertinent art, thinks along conventional wisdom in the art, and is a person of

   ordinary creativity. With respect to the ’438 patent, a POSA would be a treating

   clinician specializing in oncology, typically holding an M.D. degree, with at least

   five years of experience specializing in medical oncology. (WCK1002, ¶17.)

   Alternatively, a POSA would have an M.D., with at least five years of experience

   specializing in urology and at least two years of clinical experience. (Id.) A POSA

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   would have also typically worked as part of a multi-disciplinary team and drawn

   upon not only his or her own skills, but also taken advantage of certain specialized

   skills of others in the team, to solve a given problem. (Id.) For example, such a

   team may be comprised of a biochemist (who, e.g., would have knowledge relating

   to enzyme inhibition), an endocrinologist (who, e.g., would have knowledge

   relating to hormone-directed treatments), and a pharmaceutical scientist (who, e.g.,

   who have knowledge related to developing pharmaceutical dosage forms). (Id.)

         Before August 25, 2006, a POSA would have been aware of the teachings

   provided by the references discussed in this Petition and by Dr. Godley, who also

   discusses prior art teachings confirming the general knowledge of a POSA.

   See Abbott Labs. v. Andrx Pharm., Inc., 452 F.3d 1331, 1336 (Fed. Cir.

   2006) (stating that a person of ordinary skill possesses the “understandings

   and knowledge reflected in the prior art”); see also Randall Mfg. v. Rea, 733 F.3d

   1355, 1362 (Fed. Cir. 2013) (“[T]he knowledge of [a person of ordinary skill in the

   art] is part of the store of public knowledge that must be consulted when

   considering whether a claimed invention would have been obvious”). A POSA,

   based on then existing literature, would also have had general knowledge of the

   methods used to treat and monitor prostate cancer. (WCK1002, ¶18.)

         B.     Scope and content of the art before August 25, 2006
         Prostate cancer, an androgen-dependent disease, is the second leading cause


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   of cancer death among men in the U.S. (WCK1007, 1503; WCK1008, 1241;

   WCK1002, ¶19.) Androgen steroids activate the androgen receptor (“AR”) on

   prostate cells, resulting in the transcription of target genes involved in prostate cell

   proliferation, differentiation, and apoptosis. (WCK1046, 460, Fig. 1; WCK1002,

   ¶20.) In prostate cancer patients, activation of the AR by androgen steroids also

   results in the progression and proliferation of the cancer. (WCK1008, 1241;

   WCK1002, ¶20.) Testosterone and its metabolite dihydrotestosterone (“DHT”) are

   two important androgens responsible for activating the AR. (WCK1008, 1241;

   WCK1002, ¶20.)

                1.     Metastatic castration-resistant prostate cancer
         Treatment focusing on targeting prostate cancer through surgical removal of

   the prostate and local tumors fails in 15-33% of prostate cancer patients and results

   in metastatic disease. (WCK1008, 1241; WCK1002, ¶¶21-23.) Prostate cancer

   frequently metastasizes to pelvic lymph nodes and bone, with pain usually being

   the most significant symptom. (WCK1010, 1756; WCK1002, ¶23.) The first step

   in treating metastatic disease typically involves orchiectomy (i.e., surgical

   castration) or administering drugs that decrease androgen production (i.e.,

   chemical castration) (WCK1010, 1756; WCK1002, ¶¶23-26.)

         However, it was well-known in the art that peripheral conversion of adrenal

   steroids to testosterone resulted in as much as 10% of baseline circulating


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   androgens remaining in castrate men. (WCK1005, 2317; WCK1009, 548;

   WCK1002, ¶31.) This extratesticular source of androgens was well-known to be an

   important alternate source of AR stimulation that can lead to prostate cancer

   growth despite castrate levels of testosterone. (WCK1005, 2317; WCK1002, ¶31.)

   Indeed, almost all castrate patients will go on to develop refractory or metastatic

   castration-resistant prostate cancer (“mCRPC”), i.e., prostate cancer that

   progresses despite a reduction in androgen levels from surgical or chemical

   castration.2 (WCK1007, 1503; WCK1017, 62; WCK1002, ¶26.)

            In addition, the art taught that, after androgen deprivation treatment, prostate

   tumors evolve mechanisms to reactivate AR signaling and AR-responsive

   pathways. (WCK1029, 8254; WCK1008, 1242; WCK1002, ¶27.) Preclinical

   models suggested that low levels of androgens, equivalent to castrate levels,

   continued to fuel prostate cancer growth. (WCK1008, 1242; WCK1002, ¶27.)

   Further, it was well-known that the AR could acquire greater sensitivity in mCRPC

   patients, and thus, could be activated at lower levels of testosterone (WCK1005,


   2
       mCRPC is also widely referred to in the literature as “hormone refractory,”

       “hormone resistant,” “androgen resistant,” or “androgen refractory.” (WCK1029,

       p. 8254; WCK1002, ¶ 26 n.1.) Reference to mCRPC in this petition encompasses

       these other alternate terms.



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   2317; WCK1008, 1242; WCK1002, ¶27.) And inhibiting androgen synthesis

   through known inhibitors of androgen production, such as ketoconazole and

   abiraterone acetate, was well-known. (WCK1009, 549; WCK1002, ¶¶36, 38.)

         Ultimately, when a patient stopped responding to hormone-focused

   treatments, cytotoxic agents were usually considered as the next line of treatment.

   (WCK1009, 549; WCK1002, ¶29.) In 2004, co-administering docetaxel and

   prednisone was the standard of care for patients who did not respond to androgen

   deprivation therapy. (WCK1029, 8253; WCK1002, ¶29.) And prior to 2004, the

   combination of mitoxantrone and prednisone had been the standard chemotherapy

   regimen for mCRPC. (WCK1007, 1509; WCK1029, 8253; WCK1002, ¶29.) As

   such, prednisone had been part of the standard of care for mCRPC long before

   August 25, 2006. (WCK1002, ¶29.)

                2.    By August 25, 2006, PSA levels were known to be an
                      indicator of prostate cancer progression and tumor burden
         Prostate-specific antigen (“PSA”) testing was important in the diagnosis,

   management, and treatment of hormone refractory prostate cancer, by August 25,

   2006. (WCK1004, 1177; WCK1009, 543-544; WCK1018, Abstract; WCK1002,

   ¶30.) Both nonmalignant and malignant epithelial cells of the prostate produce

   PSA. (WCK1009, 544; WCK1002, ¶30.) Doctors monitored PSA levels in prostate

   cancer patients to determine disease progression. (WCK1009, 544, 548-550;

   WCK1002, ¶30.) A decrease in PSA levels generally correlates with a response to

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   treatment, while rising levels correlates with disease progression. (WCK1006, 252;

   WCK1009, 544, 546-549; WCK1002, ¶30.) Additionally, PSA was a well-known

   predictor of tumor burden, as well as recurrence and survival. (WCK1018,

   Abstract; WCK1002, ¶30.)

                3.    By August 25, 2006, prednisone was known to treat prostate
                      cancer and was co-administered with other anti-cancer
                      agents as part of the standard of care
         It was also well-known that glucocorticoids had anti-cancer effects on

   mCRPC. (WCK1006, Abstract; WCK1011, 544; WCK1017, Abstract; WCK1015,

   89-90; WCK1027, 495-496; WCK1002, ¶41.) In fact, practitioners treated various

   types of cancers with prednisone. (WCK1043, Abstract; WCK1004, Abstract;

   WCK1045, Abstract; WCK1002, ¶41.) And the art had documented the growth

   inhibitory effects of glucocorticoids on prostate cancer. (WCK1036, 553;

   WCK1002, ¶41.) Specifically, both prednisone and hydrocortisone were known to

   treat prostate cancer before August 25, 2006. (WCK1006, Abstract; WCK1010,

   Abstract, 1759; WCK1011, 543; WCK1017, 66; WCK1002, ¶¶41-42.)

         The art taught that glucocorticoids produce a negative feedback on the

   pituitary gland, leading to a decrease in both testicular and adrenal androgens.

   (WCK1036, 553; WCK1037, 648, 650; WCK1002, ¶43.) Indeed, doctors

   prescribed low-dose corticosteroids with the goal of producing a negative feedback

   on the pituitary gland to inhibit secretion of adrenocorticotropic releasing hormone


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   (“ACTH”). (WCK1028, Abstract; WCK1002, ¶43.). Inhibiting ACTH secretion

   leads to a decrease in the synthesis of weak androgens, such androstenedione and

   dehydroepiandrostene (DHEA). (WCK1028, 590; WCK1002, ¶43.) These weak

   androgens can undergo metabolism to produce small amounts of testosterone,

   which can further exacerbate prostate cancer growth. (WCK1005, 2317;

   WCK1028, 590; WCK1002, ¶43.) Further, it was suggested that glucocorticoids

   could “inhibit prostate cancer cell growth by modulating cellular growth factors.”

   (WCK1036, 553; WCK1002, ¶41.)

         In 1998, Sartor reported a ≥ 50% reduction in PSA in 34% of patients dosed

   with 20 mg/day prednisone. (WCK1006, Abstract, 253-254, Table III; WCK1002,

   ¶42.) Additionally, the art reported that administering prednisone resulted in a ≥

   50% reduction in PSA in 22% of patients dosed with 10 mg/day prednisone.

   (WCK1010, 1759; WCK1002, ¶42.) Further, as discussed above, long before

   August 25, 2006, the combination of mitoxantrone and prednisone was the

   standard chemotherapy regimen for mCRPC. (WCK1007, 1509; WCK1029, 8253;

   WCK1002, ¶29.) And in 2004, the standard of care for patients who had

   progressed on androgen deprivation therapy transitioned to co-administering

   docetaxel and prednisone. (WCK1029, 8253; WCK1002, ¶29.)

                4.    Inhibition of CYP17 was known to affect cortisol
                      production and lead to mineralocorticoid excess

         As discussed above, it was well known that testosterone and other androgens

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   fuel prostate cancer growth. By August 25, 2006, it was also well-known that the

   CYP17 enzyme has two steroidogenic activities: (1) acting as a 17,20-lyase

   enzyme that acts to synthesize testosterone precursors, and (2) acting as a 17α-

   hydroxylase enzyme that functions in both testosterone and cortisol synthesis.

   (WCK1009, 2128; WCK1002, ¶33, Fig. 2.)

         Cortisol, a member of the glucocorticoid family of steroids, acts in the

   formation of glucose, cardiovascular function, and the activation of the anti-stress

   and inflammatory pathways. (WCK1032, 1436; WCK1002, ¶34.) As the body

   produces more cortisol, a negative feedback on the hypothalamus leads to a

   reduction in ACTH production. (WCK1033, 294-295; WCK1002, ¶34, Fig. 3.) The

   reduction in ACTH production consequently reduces the production of cortisol.

   (WCK1033, 294-295; WCK1002, ¶34, Fig. 3.) By August 25, 2006, it was well-

   known that when CYP17 activity is inhibited, glucocorticoid production decreases,

   which interferes with this negative feedback mechanism. (WCK1033, 284;

   WCK1002, ¶34.) In response, the pituitary gland produces more ACTH to

   stimulate production of glucocorticoids (e.g., cortisol). (WCK1033, 284;

   WCK1002, ¶34.)

         It was also well-documented that patients with 17-hydroxylase deficiency

   secreted large amounts of the mineralocorticoids 10-deoxycorticosterone and

   corticosterone without concomitant production of cortisol and other androgens.


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   (WCK1009, 2145-2146; WCK1033, 284; WCK1002, ¶¶35, 40.) This excess

   corticosterone may be further converted to aldosterone, resulting in excess amounts

   of this mineralocorticoid and a condition called “mineralocorticoid excess.”

   (WCK1009, 2128-2129, 2143, 2145-2147; WCK1002, ¶¶35, 40, Fig. 2.)

   Mineralocorticoid excess has adverse effects, including hypertension and

   hypokalemia (reduction in circulating potassium levels). (WCK1009, 2146;

   WCK1002, ¶35.) It was also well-know that administering a glucocorticoid could

   relieve mineralocorticoid excess due to CYP17 inhibition. (WCK1011, 544;

   WCK1040, 814; WCK1009, 2146; WCK1002, ¶¶40, 44.)

               5.     Ketoconazole and abiraterone acetate were well-known
                      inhibitors of CYP17 by August 25, 2006
         By August 25, 2006, ketoconazole was a well-known CYP17 inhibitor.

   (WCK1035, 2463; WCK1038, Abstract; WCK1030, 24:61-62; WCK1002, ¶36.)

   Ketaconazole acts to inhibit both the 17-hydroxylase and 17,20-lyase activities of

   CYP17, inhibiting the 17,20-lyase activity more than the 17-hydroxylase activity.

   (WCK1035, 2466, Table I; WCK1038, 1196-1197; WCK1002, ¶37.)

         However, ketoconazole had its drawbacks. It was well-known in the art that

   ketoconazole was an unselective CYP17 inhibitor, weakly and non-selectively

   inhibiting several cytochrome P450 enzymes. (WCK1004, 1177; WCK1005, 2318;

   WCK1008, 1242; WCK1012, 542; WCK1002, ¶36). And ketoconazole was well-

   known to have a blunting or inhibitory effect on cortisol production. (WCK1039,

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   732, 735-736; WCK1040, 814-815; WCK1002, ¶37.) Consequently, doctors

   commonly prescribed ketoconazole off-label (as it was only approved as an anti-

   fungal agent) in combination with a glucocorticoid, such as prednisone (to inhibit

   ACTH secretion and prevent mineralocorticoid excess), as a second-line treatment

   for mCRPC. (WCK1004, Abstract; WCK1005, 2323; WCK1011, 542; WCK1016,

   1947; WCK1040, 814; WCK1002, ¶¶37, 44, 45.)

         In contrast, abiraterone acetate was known to be a potent and more specific

   CYP17 inhibitor than ketoconazole. (WCK1005, 2318; WCK1008, 1243-1244;

   WCK1035, Table 1 (compound 2); WCK1002, ¶39.) Specifically, it was well-

   known in the art that abiraterone acetate inhibited the 17,20-lyase activity of

   CYP17 (i.e., the activity that leads to testosterone production (see § IV.B.4.)).

   (WCK1035, Table 1 (compound 2); WCK1030, 22:60-65; WCK1002, ¶38.)

   Abiraterone acetate also inhibited the 17-hydroxylase activity of CYP17 (i.e., the

   activity that leads to cortisol and testosterone production (see § IV.B.4.)),

   suggesting that, like ketoconazole, administering abiraterone acetate would require

   co-administering a glucocorticoid, such as prednisone, to prevent

   mineralocorticoid excess. (WCK1035, Table 1 (compound 2); WCK1030, 22:60-

   65; WCK1002, ¶¶38.). Indeed, as discussed below, the art reported that abiraterone

   acetate could inhibit cortisol production. (See § IV.C.; WCK1002, ¶¶64, 65.)

   Abiraterone acetate also reduced testosterone levels more than ketoconazole in


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   vivo. (WCK1030, 26:32-39, Table 4 (compound 1); WCK1005, 2318; WCK1002,

   ¶38.)

           Petitioner’s grounds rely specifically on the following publications:

           C.    Gerber (WCK1004)
           Gerber G.S et al., “Prostate specific antigen for assessing response to

   ketoconazole and prednisone in patients with hormone refractory metastatic

   cancer,” J. Urol., 144:1177-9 (November 1990) (“Gerber”; WCK1004) describes

   ketoconazole as an inhibitor of gonadal and adrenocortical steroid synthesis.

   (WCK1004, 1177; WCK1002, ¶70.) Gerber discloses that the cytotoxic effects of

   ketoconazole on prostate cancer cells in vitro are known in the art and investigates

   its potential role in the treatment of prostate cancer. (WCK1004, 1177; WCK1002,

   ¶70.)

           Gerber teaches co-administering ketoconazole, a known CYP17 enzyme

   inhibitor, with prednisone in patients with mCRPC. (WCK1004, 1177-1178;

   WCK1002, ¶61.) Gerber reports administering 600-900 mg/day ketoconazole with

   5 mg prednisone twice daily showed that 80% of patients with prostate cancer

   characterized by progressively increasing prostate specific antigen (“PSA”) levels

   experienced a decrease in PSA levels in response to treatment. (WCK1004, 1178-

   1179; WCK1002, ¶61.) Gerber reports that 75% of the patients who had bone pain

   and/or other symptoms of advancing malignancy at the outset of the study had


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   subjective improvement. (WCK1004, 1178; WCK1002, ¶61.) Further, Gerber

   reports that 20% patients experienced a prolonged (8 to 10 months) favorable

   response to ketoconazole and prednisone based on persistently decreasing PSA

   levels and symptomatic improvement, including improvement in bone pain.

   (WCK1004, 1179; WCK1002, ¶61.)

         Gerber discloses that this rate of response is similar to that found in studies

   that have used changes in “measurable tumor size, bone scan abnormalities, and

   acid phosphatase to assess response.” (WCK1004, 1179; WCK1002, ¶61.) Gerber

   concludes that his results demonstrate that some patients with progressive prostate

   cancer, despite previous hormone therapy, will derive significant benefit from the

   combination of ketoconazole and glucocorticoid replacement therapy, e.g., by co-

   administering prednisone. (WCK1004, 1179; WCK1002, ¶61.)

         D.     O’Donnell (WCK1005)
          O’Donnell, A. et al., “Hormonal impact of the 17α-hydroxylase/C17-20-

   lyase inhibitor abiraterone acetate (CB7630) in patients with prostate cancer,”

   British J. of Cancer, 90:2317-25 (2004) (“O’Donnell”; WCK1005) teaches that

   abiraterone acetate is a CYP17 inhibitor that effectively suppresses testosterone

   synthesis in patients with prostate cancer. (WCK1005, Abstract; WCK1002, ¶70.)

   O’Donnell reports that repeated treatment of non-castrate prostate cancer patients

   with abiraterone acetate at a dose of 800 mg can successfully suppress testosterone


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   levels to the castrate range. (WCK1005, Abstract; WCK1002, ¶¶65, 70.)

   O’Donnell also teaches that adjusting the dose of abiraterone acetate administered

   may be needed in order to attain suppression of testosterone levels to target levels.

   (WCK1005, Abstract, 2324; WCK1002, ¶70.)

         O’Donnell also discloses that ketoconazole, too, was a well-known inhibitor

   of CYP17 that has shown anti-cancer activity for prostate cancer by decreasing the

   production of adrenal steroids. (WCK1005, 2318; WCK1002, ¶¶38, 70.)

   O’Donnell further describes abiraterone acetate as a potent CYP17 inhibitor that is

   more specific than ketoconazole, and which effectively decreases the production of

   adrenal steroids. (WCK1005, 2318; WCK1002, ¶¶38, 39, 70.) For instance,

   O’Donnell describes the potential utility of abiraterone acetate as an effective anti-

   cancer agent for treating both castrate and non-castrate patients with advanced

   prostate cancer. (WCK1005, 2324; WCK1002, ¶70.) Indeed, O’Donnell reports the

   results of three separate phase I studies in patients with advanced prostate cancer,

   including patients who had progressed despite prior hormone and anti-androgen

   therapy. (WCK1005, 2320-2322; WCK1002, ¶¶62-65.) O’Donnell treated patients

   with various doses of abiraterone acetate, finding that administering 500 and 800

   mg/day abiraterone acetate maintained testosterone suppression at target levels.

   (WCK1005, 2320-2321; WCK1002, ¶¶62-65.)

         O’Donnell also suggests that administering abiraterone acetate may cause


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   adrenocortical suppression (i.e., suppression of cortisol) that would necessitate

   concomitant administration of a replacement glucocorticoid. (WCK1005, Abstract;

   WCK1002, ¶64.) In fact, O’Donnell discloses that patients given abiraterone

   acetate daily for 12 days had abnormal responses to ACTH stimulation by Day 11.

   (WCK1005, 2320-2321; WCK1002, ¶¶64-65.) In other words, the patients did not

   produce cortisol in response to adrenal stimulation. (WCK1002, ¶¶64-65.) A

   POSA would have understood from this result that abiraterone acetate can inhibit

   cortisol production, which can lead to mineralocorticoid excess and its resulting

   side effects that can be treated by replacement glucocorticoids, such as prednisone.

   (WCK1011, 544; WCK1040, 814; WCK1002, ¶¶35, 64, Fig. 2.)

         E.     Sartor (WCK1006)
         Sartor, O., et al., “Effect of Prednisone on Prostate-Specific Antigen in

   Patient with Hormone-Refractory Prostate Cancer,” Urology, 1998 52:252-256

   (“Sartor”; WCK1006) reports the results of clinical studies in which patients with

   mCRPC were administered 20 mg daily of prednisone as a monotherapy. (See

   generally WCK1006; WCK1002, ¶66.) Sartor reports that before his review, only

   four trials had been published in which PSA levels were monitored to determine

   the effects of glucocorticoids in patients with mCRPC (WCK1006, 252;

   WCK1002, ¶77.) To control against confounding variables known to effect PSA,

   Sartor’s study excluded patients that previously (1) received concomitant treatment


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   with radiation therapy, (2) exhibited antiandrogen withdrawal, or (3) received

   treatment with ketoconazole, suramin, aminoglutethimide, or chemotherapy.

   (WCK1006, 253; WCK1002, ¶77.) Sartor reports that administering prednisone

   resulted in a significant decline (≥ 50%) in PSA levels with a duration of response

   of at least 4 months. (WCK1006, Abstract, 253-254, Table III; WCK1002, ¶¶66,

   76.)

          F.    Summary of the ’438 patent

                1.     Brief description of the ’438 patent
          Against this background, Auerbach et al. filed a patent application directed

   to methods of treating prostate cancer by co-administering abiraterone and

   prednisone that issued as the ’438 patent on September 2, 2014. The ’438 patent

   asserts its earliest priority claim to August 25, 2006. According to the ’438 patent

   face page, Janssen Oncology, Inc. (“Janssen” or “Patent Owner”) owns the ’438

   patent by assignment. (WCK1001.)

                2.     The ’438 patent claims
          The ’438 patent has 20 issued claims, 1 independent and 19 dependent.

   Claim 1, the broadest claim, is reproduced below:

          A method for the treatment of a prostate cancer in a human
          comprising administering to said human a therapeutically effective
          amount of abiraterone acetate or a pharmaceutically acceptable salt
          thereof and a therapeutically effective amount of prednisone.
   (WCK1001, 16:16-20.) Claims 2-20 recite dosage amounts for either the

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   abiraterone, prednisone, or both, as well as the type of prostate cancer to be treated.

   (Id., 16:21-17:14.)

                3.       Prosecution background and summary of arguments

         The ’438 patent has a lengthy prosecution. In a first Office Action, all

   pending claims were rejected for obviousness over O’Donnell (WCK1005) in view

   of Tannock (WCK1010). The Examiner characterized O’Donnell as disclosing

   using abiraterone acetate to suppress testosterone levels in prostate cancer patients

   and Tannock for teaching 10 mg prednisone in combination with the anti-cancer

   drug mitoxantrone as effective in treating mCRPC. (WCK1031, 73-74.)

         In Response, the applicants argued that “nothing in the art teaches or

   suggests that abiraterone acetate in combination with prednisone would be a

   particularly useful combination for cancer treatment.” (Id., 85.) The applicants

   further argued unexpected results based on the disclosure of Sartor 2011

   (WCK1042) allegedly showing that abiraterone plus prednisone prolongs overall

   survival relative to prednisone alone. (WCK1031, 85-86)

         The applicants also argued that worldwide sales data for Zytiga® (the trade

   name under which abiraterone acetate is marketed) were evidence of purported

   commercial success of the claimed invention. (Id., 86.) According to the

   applicants, sales of Zytiga® were evidence of the commercial success of the

   claimed combination because the approved label for Zytiga® directs patients to use


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   Zytiga® in combination with prednisone. (Id.) However, the Examiner maintained

   the rejection of the claims. (Id., 94-97.)

         In Response, the applicants once again argued unexpected results and

   provided another reference, Ryan 2013 (WCK1023), purporting to show

   unexpected results of the claimed invention over administering prednisone alone.

   (WCK1031, 113-114.) Still not persuaded, the Examiner continued to reject the

   claims. (Id., 119-123.)

         Following the Examiner’s rejection, the applicants provided the FDA

   approval label for Zytiga® and argued that “taking Zytiga in accordance with the

   approved label [i.e., in combination with prednisone] represents a commercial

   embodiment of the presently claimed invention.” (Id., 134-135.) The applicants

   also submitted a news release from the FDA announcing that Zytiga was approved

   for the additional indication of use in prostate cancer patients prior to receiving

   chemotherapy. (Id.) According to the applications, this was additional evidence of

   commercial success of the claimed combination. (Id.) Additionally, the applicants

   argued commercial success based on a presentation showing a 70% market share

   for Zytiga in July 2012 for “chemo refractory prostate cancer patients.” (Id.)

   According to the applicants, the presentation showed that, as of April 2013, Zytiga

   was still the market leader with 57% market share in “chemo-refractory prostate

   cancer patients,” despite another product, Xtandi®, being introduced in August


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   2012. (Id.) The applicants argued that “this commercial success [of Zytiga]

   demonstrates the non-obviousness of the presently claimed invention.” (Id.)

         In a Notice of Allowance, the Examiner provided the following reason for

   allowing all pending claims: “The unexpected commercial success of the launch of

   the drug obviates the rejection under 35 USC 103(a).” (Id., 206 (emphasis added).)

   V.    Claim construction
         In accordance with 37 C.F.R. § 42.100(b), the challenged claims must be

   given their broadest reasonable interpretations in light of the specification of the

   ’438 patent. See Cuozzo Speed Techs., LLC v. Lee, 136 S. Ct. 2131, 2144-2146

   (2016). Terms not explicitly discussed below are plain on their face and should be

   construed to have their ordinary meanings. See Chef America, Inc. v. Lamb-

   Weston, Inc., 358 F.3d 1371, 1373 (Fed. Cir. 2004).

         A.     “treat,” “treating,” and “treatment”
         The Board has already construed the terms “treat,” “treating,” and

   “treatment” in Amerigen Pharms., Ltd. v. Janssen Oncology, Inc., IPR2016-00286,

   Paper 14 (PTAB May 31, 2016) to “include the eradication, removal, modification,

   management or control of a tumor or primary, regional, or metastatic cancer cells

   or tissue and the minimization or delay of the spread of cancer.” For the purposes

   of this proceeding only, Petitioner analyzes the claims under this construction.

         B.      “therapeutically effective amount of prednisone”
         The Board has already construed the term “therapeutically effective amount

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         First, it relies on a different combination of prior art than the 286 IPR,

   including Sartor (WCK1006), which (1) is not of record in the 286 IPR and (2) was

   not considered during prosecution of the ’438 patent. Second, it specifically

   addresses the Board’s construction of “therapeutically effective amount of

   prednisone.” For example, the addition of Sartor teaches that prednisone treats

   prostate cancer, in accordance with the Board’s claim construction in the 286 IPR.

   Consequently, any consideration of unexpected results shifts from comparison to

   abiraterone acetate alone to comparison of abiraterone acetate plus prednisone and

   requires a showing of synergy. Merck & Co., Inc. v. Biocraft Labs., Inc., 874 F.2d

   804, 808-809 (Fed. Cir. 1989). And, as discussed below, there is no evidence to

   suggest any such synergy. See § VI.B.1. As a consequence, there can be not

   credible claim of unexpected results.

          Third, the proffered Ground relies on the declarations of Dr. Godley and

   Dr. Stoner, which have not been previously considered by the Board and are not

   duplicative of evidence presented in the 286 IPR. Fourth, Wockhardt has not

   previously challenged the ’438 patent and is not a party to the IPR2016-00286

   proceedings. Fifth, the 286 IPR is still in the beginning stages—no Patent Owner

   Response has been filed, no final decision has issued, and the parties to that

   proceeding may settle before a final determination issues.

         Indeed, the Board has previously decided not to exercise its discretion under


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   § 325(d) on petitions challenging a patent for which a petition requesting trial had

   already been filed. For instance, in Boehringer Ingelheim Int’l GmbH v. AbbVie

   Biotechnology Ltd., IPR2016-00408, Paper 9, at 7-8 (PTAB July 7, 2016) the

   Board granted institution under § 325(d) where, as here, the petitioner was not a

   party to a previously filed petition and the petition presented testimonial evidence

   from new declarants.

         In Mastercard Int’l Inc. v. Leon Stambler, CBM2015-00044, Paper 10, at

   11-12 (PTAB July 8, 2015) the Board declined to exercise its discretion under

   § 325(d) where, again as here, a second petitioner presented a combination of art

   and arguments not present in a petition previously filed by a different party.

         Further, in Valeo N. Am., Inc. v. Magna Elecs., Inc., IPR2014-01206, Paper

   13, at 9-12 (PTAB Dec. 23, 2014) the Board declined to deny institution under

   § 325(d) even where the identical petitioner filed a second petition relying on a

   different combination of prior art already of record in a first petition, as is the case

   for Gerber and O’Donnell here.

         Therefore, as in Bohringer, Mastercard, and Valeo, the Board should not

   exercise its discretion under § 325(d) to deny institution of this Petition.

         A.     Ground 1: Claims 1-20 would have been obvious over Gerber,
                O’Donnell, and Sartor
         As supported by the declaration of Dr. Godley, a POSA would have had

   reason and the know-how to arrive at claims 1-20 in view of Gerber, O’Donnell,

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   and Sartor with a reasonable expectation of success. (WCK1002, ¶¶57-105). Each

   of Gerber, O’Donnell, and Sartor are directed to methods of treating prostate

   cancer. (Id., ¶¶60-66.) A POSA would have had a reason to modify Gerber’s

   method of administering ketoconazole to use abiraterone acetate, as taught in

   O’Donnell. (Id., ¶67.) This is because a POSA would have known that abiraterone

   acetate is a potent and more selective inhibitor of CYP17 than ketoconazole and

   that abiraterone acetate effectively suppressed testosterone levels in both castrate

   and non-castrate males. (Id.) So, a POSA would have expected abiraterone acetate

   to be more effective than ketoconazole for treating prostate cancer. (Id.)

         Additionally, a POSA would have had a reason to maintain co-

   administration of prednisone, as taught in Gerber, because prednisone was known

   to treat prostate cancer on its own, as demonstrated by Sartor. (WCK1006,

   Abstract; WCK1002, ¶68.) Prednisone had been part of the standard of care in

   prostate cancer treatment long before the ’438 patent. (WCK1007, 1509;

   WCK1029, 8253; WCK1002, ¶68.) And in fact, data from O’Donnell’s study

   indicates that administering abiraterone acetate can inhibit cortisol production,

   which would require co-administering a glucocorticoid such as prednisone.

   (WCK1005, 2320-2321; WCK1002, ¶68.)

         A POSA would also have had a reasonable expectation of successfully

   practicing a method of administering abiraterone acetate and prednisone to treat


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   Gerber discloses the results of a clinical study of the CYP17 inhibitor ketoconazole

   in mCRPC patients. (WCK1004, 1177-1178; WCK1002, ¶71.) Gerber

   administered patients 600-1200 mg/day ketoconazole and 5 mg of prednisone

   twice a day. (WCK1004, 1177-1178; WCK1002, ¶71.) Gerber reports that 80% of

   the patients had a mean decrease in PSA levels of 49%, with a median duration of

   response to treatment of 3 months. (WCK1004, 1178; WCK1002, ¶71.) Gerber

   also reports that 20% of patients had a prolonged duration of response of 8 to 10

   months, as demonstrated by persistently decreasing PSA levels and symptomatic

   improvement. (WCK1004, 1178-1179; WCK1002, ¶71.) As discussed in § IV.B.2.,

   doctors routinely monitored PSA levels in prostate cancer patients to determine

   disease progression, with a decrease in PSA levels—as seen in patients

   administered ketoconazole—correlating with a response to treatment. (WCK1006,

   252; WCK1009, 544, 546-549; WCK1002, ¶71.)

                      (b)   Abiraterone acetate was well-known to be a potent
                            and more specific inhibitor of CYP17 than
                            ketoconazole and to effectively reduce testosterone
         Abiraterone acetate was known to be a potent and more specific inhibitor of

   CYP17 than ketoconazole and it effectively reduced testosterone levels.

   (WCK1002, ¶72.) For instance, abiraterone acetate was known to more effectively

   reduced testosterone levels than ketoconazole in vivo. (WCK1030, 26:32-39, Table

   4 (compound 1); WKC1002, ¶¶38, 72.) Additionally, ketoconazole was known to


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   have off target effects, such as reducing the production of the mineralocorticoid

   corticosterone, due to it inhibiting cytochrome P450 proteins other than CYP17.

   (WCK1005, 2318; WCK1035, 2467; WCK1002, ¶¶39, 70, 72.) In contrast, studies

   with abiraterone acetate suggested that it did not inhibit corticosterone production.

   (WCK1035, 2467; WCK1030, 25:45-48; WCK1002, ¶¶39, 72.)

         O’Donnell reports results from clinical studies in castrate and non-castrate

   males given either 10, 30, 100, 500, or 800 mg abiraterone acetate. (See generally

   WCK1005; WCK1002, ¶73.) O’Donnell discloses that patients who received 500

   and 800 mg abiraterone acetate had a significant reduction in testosterone levels.

   (WCK1005, 2320-2321; WCK1002, ¶73.) Moreover, O’Donnell states his studies

   demonstrate the potential utility of specifically inhibiting CYP17 to cause

   reductions in testosterone levels males with prostate cancer. (WCK1005, 2324;

   WCK1002, ¶73.) O’Donnell also recognizes the importance of abiraterone acetate

   “in the second-line treatment of patients who have become refractory to

   gonadotrophin-releasing hormone agonists.” (WCK1005, 2324; WCK1002, ¶73.)

   So, a POSA would have had a reason to administer abiraterone acetate to a patient

   with prostate cancer. (WCK1002, ¶74.)

                       (c)   A POSA would have had a reason and the know-how
                             to combine abiraterone and prednisone to treat
                             prostate cancer
         A POSA would have had a reason to modify Gerber’s co-administration of


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   ketoconazole and prednisone to replace ketoconazole with O’Donnell’s abiraterone

   acetate. (Id., ¶75.) This is because, as discussed above, a POSA would have known

   that abiraterone acetate was a more specific inhibitor of CYP17 than ketoconazole.

   (Id.) Furthermore, O’Donnell teaches that abiraterone acetate effectively reduces

   testosterone levels in both castrate and non-castrate males. (WCK1005, 2324;

   WCK1002, ¶75.) A POSA would have wanted to reduce testosterone levels to

   prevent exacerbation of prostate cancer’s growth. (WCK1002, ¶75.)

         Additionally, a POSA would have had a reason to maintain Gerber’s co-

   administration of prednisone when administering abiraterone acetate in place of

   ketoconazole. (Id., ¶¶75-84.) This is because prednisone was known to treat

   prostate cancer, as well as to offset the side effects from administering a CYP17

   inhibitor, such as abiraterone acetate and ketoconazole. (Id.)

         In fact, Sartor teaches administering 20 mg/day prednisone as a

   monotherapy in patients with mCRPC. (See generally WCK1006; WCK1002,

   ¶76.) For instance, Sartor reports that 34% of patients studied had a significant

   decrease in baseline PSA levels, i.e., ≥ 50%, with a duration of response of at least

   4 months. (WCK1006, 253-254, Table III; WCK1002, ¶76.) As discussed in

   § IV.B.2., a decrease in PSA levels in prostate cancer patients correlates with a

   response to treatment. (WCK1006, 252; WCK1009, 544, 546-549; WCK1002,

   ¶30.) In fact, it was well-known in the art that prostate cancer patients having a


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   reduction in baseline PSA levels of greater than or equal to 50%, like those in

   Sartor, had longer median survival rates. (WCK1025, Abstract; WCK1026,

   Abstract; WCK1002, ¶78.)

         Sartor also teaches that previous studies failed to control for factors that

   could confound measuring PSA levels. (WCK1006, 252-253; WCK1002, ¶77.)

   Thus, the therapeutic value of prednisone in treating prostate cancer was unclear

   before Sartor. (WCK1002, ¶77.) Yet, Sartor excluded patients known to be

   affected by such confounding factors. (WCK1006, 252-253; WCK1002, ¶77.)

   From this, Sartor obtained a more normalized population from which any effect on

   PSA levels, and in turn prostate cancer’s response to treatment, could be discerned.

   (WCK1006, 252-253; WCK1002, ¶77.) So, a POSA reading Sartor would have

   had a reason to maintain Gerber’s co-administration of prednisone when replacing

   Gerber’s ketoconazole with O’Donnell’s abiraterone acetate. (WCK1002, ¶78.)

         Additionally, a POSA would have known that inhibiting CYP17 can lead to

   adrenal suppression and mineralocorticoid excess due to increased secretion of

   ACTH. (WCK1009, 2145, 2146; WCK1033, 284; WCK1002, ¶¶40, 79.) Because

   of this effect, prednisone was routinely added to ketoconazole administration

   regimens to reduce the amount of ACTH. (WCK1004, Abstract; WCK1002, ¶¶37,

   44, 45.) And, like ketoconazole, abiraterone acetate is a CYP17 inhibitor that

   disrupts the production of adrenal androgens. (WCK1002, ¶¶36-38, 80.) In fact,


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   O’Donnell demonstrates that patients administered abiraterone acetate failed to

   produce more cortisol in response to ACTH stimulation. (WCK1005, 2321;

   WCK1002, ¶80.) From this lack of response to ACTH, a POSA would have

   understood that administering abiraterone acetate could inhibit cortisol production

   and cause mineralocorticoid excess. (WCK1011, 544; WCK1040, 814; WCK1002,

   ¶¶35, 64-65, 80, Fig, 2.) Indeed, O’Donnell recognizes this and states that

   “concomitant administration of replacement glucocorticoid” may be necessary.

   (WCK1005, Abstract; WCK1002, ¶81.)

         So, a POSA would have expected abiraterone acetate, like ketoconazole, to

   increase ACTH levels and lead to mineralocorticoid excess. (WCK1002, ¶¶44, 81.)

   Therefore, a POSA would have had a reason to maintain co-administering a

   glucocorticoid such as prednisone when administering abiraterone acetate.

   (WCK1002, ¶83.) Moreover, glucocorticoids had been used in prostate cancer

   treatment as early as the 1950’s. (WCK1027, 486-487; WCK1002, ¶82.) Clinicians

   had long administered prednisone as part of the standard of care: prednisone was a

   well-known monotherapy treatment (WCK1006, Abstract; WCK1017, Abstract;

   WCK1028, Abstract; WCK1002, ¶82) and combination therapy treatment

   (WCK1004, Abstract; WCK1007, Abstract; WCK1010, Abstract; WCK1011,

   Abstract; WCK1019, Abstract; WCK1002, ¶82).

         Therefore, a POSA reading Gerber, O’Donnell, and Sartor would have had a


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   reason to co-administer a therapeutically effective amount of prednisone with

   abiraterone acetate because (1) prednisone was known to treat prostate cancer and

   (2) prednisone would reduce the side effects of mineralocorticoid excess that could

   result from abiraterone acetate treatment. (WCK1002, ¶¶83-84.) Thus, prednisone

   would have served a dual purpose when co-administered with abiraterone acetate.

   (Id.)

                       (d)   A POSA would have had a reasonable expectation of
                             success in practicing the method of claim 1
           Also, a POSA would have had reasonably expected to successfully practice

   a method of treating prostate cancer comprising administering a therapeutically

   effective amount of abiraterone acetate and a therapeutically effective amount of

   prednisone. (Id., ¶¶85-86.) This is because Gerber teaches methods of treating

   prostate cancer safely and effectively using the CYP17 inhibitor ketoconazole.

   (WCK1004, 1177-1179; WCK1002, ¶¶61, 71, 85.) O’Donnell teaches

   administering the more selective CYP17 inhibitor abiraterone acetate effectively

   suppresses testosterone levels—a focus of prostate cancer treatment—in castrate

   and non-castrate males with prostate cancer. (WCK1005, 2320-2321; WCK1002,

   ¶85.)

           Additionally, a POSA would have had a reasonable expectation that co-

   administering prednisone would aid in the treatment of prostate cancer.

   (WCK1002, ¶86.) This is because Sartor discloses that mCRPC patients had a

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   signification reduction in PSA levels, i.e., ≥ 50%, when administered prednisone as

   a monotherapy. (WCK1006, Abstract; WCK1002, ¶86.) And a reduction in PSA

   levels was well-known in the art to be an indicator of a response to prostate cancer

   treatment. (WCK1025, Abstract; WCK1026, Abstract; WCK1002, ¶78, 86.)

   Consequently, a POSA would have had a reasonable expectation that co-

   administering both abiraterone and prednisone would have treated prostate cancer.

   (WCK1002, ¶86.)

         Moreover, O’Donnell’s data indicates that patients administered abiraterone

   acetate for 12 days failed to respond to ACTH stimulation, i.e., they failed to

   produce more cortisol. (WCK1005, 2321; WCK1002, ¶85.) So, a POSA would

   have expected that co-administering prednisone would have been necessary to

   prevent the mineralocorticoid excess that would result from an inhibition of

   cortisol production. (WCK1011, 544; WCK1040, 814; WCK1002, ¶¶35, 64, 85,

   Fig.2 .) In fact, a POSA would have known that co-administering prednisone

   would have decreased production of ACTH. (WCK1028, Abstract; WCK1002,

   ¶¶86.) And decreased production of ACTH would prevent mineralocorticoid

   excess, in addition to reducing secretion of androstenedione and DHEAS, which

   can be converted to testosterone that would further fuel prostate cancer cell growth.

   (WCK1028, 590; WCK1002, ¶86.)

         Therefore, a POSA reading Gerber, O’Donnell, and Sartor would have had a


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   reason and the know-how to successfully practice the method of claim 1. And for

   the reasons outlined above, claim 1 would have been obvious. (WCK1002, ¶¶70-

   86.)

                2.     Claims 2 and 3
          Claim 2 depends from claim 1 and further requires administering from about

   50 mg/day to about 2000 mg/day of abiraterone acetate. Claim 3 depends from

   claim 2 and further requires administering from about 500 mg/day to about 1500

   mg/day abiraterone acetate. O’Donnell teaches administering 500 mg/day or 800

   mg/day abiraterone acetate suppress testosterone levels in prostate cancer patients.

   (WCK1005, 2320-2321; WCK1002, ¶88.) Both 500 mg/day and 800 mg/day fall

   within the ranges recited in claims 2 and 3. As such, in addition to the reasons

   outlined above for claim 1, claims 2 and 3 would have been obvious. See In re

   Aller, 220 F.2d 454, 456 (CCPA 1955) (“[I]t is to be expected that a change in

   temperature, or in concentration, or in both, would be an unpatentable

   modification.”); Atlas Powder Co. v. IRECO Inc., 190 F.3d 1342, 1346 (Fed. Cir.

   1999) (stating that a claim to a genus of subject matter necessarily encompasses all

   of the species that fall within that genus, and so can be invalid over the disclosure

   of even a single species in the prior art).

                3.     Claim 4
          Claim 4 depends from claim 3 and further requires administering abiraterone



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   acetate in an amount of about 1000 mg/day. O’Donnell discloses administering

   200, 500, and 800 mg/day of abiraterone acetate. (WCK1005, 2320-2321;

   WCK1002, ¶89.) However, O’Donnell also discloses that the dose of abiraterone

   acetate may need to be increased to reliably maintain sufficient suppression of

   testosterone production in some patients. (WCK1005, 2324; WCK1002, ¶89.)

         For instance, O’Donnell reports that administering 200 mg/day or less of

   abiraterone acetate did not produce a measurable reduction in testosterone levels.

   (WCK1005, 2320-2321; WCK1002, ¶89.) In contrast, administering 500 or 800

   mg/day produced a more profound response. (WCK1005, 2320-2321; WCK1002,

   ¶89.) Thus, the amount of abiraterone acetate administered is a result-effective

   variable. So, a POSA would have had a reason to optimize the amount of

   abiraterone acetate administered to a patient because it would affect the extent

   testosterone levels would have been reduced in in a patient. (WCK1005, 2320-

   2321; WCK1002, ¶89-90.) Furthermore, there is no indication in the ’438 patent

   that the claimed concentration is critical. (WCK1002, ¶89.) And it would have

   been well within the technical grasp of a POSA to optimize dosage amounts and

   dosing regimens to balance efficacy and toxicity by August 25, 2006. (WCK1032,

   65-69; WCK1002, ¶90.)

         As such, in addition to the reasons outlined above for claims 1 and 3, a

   POSA would have arrived at the method of claim 4 with a reasonable expectation


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   of success through routine optimization. In re Aller, 220 F.2d at 456 (“where the

   general conditions of a claim are disclosed in the prior art, it is not inventive to

   discover the optimum or workable ranges by routine experimentation,” especially

   if such conditions are not “critical”); Biocraft Labs., Inc., 874 F.2d at 807-809

   (finding obvious composition claims to specific ratios of two prior art compounds

   with known properties when the claimed composition was used for the identical

   purpose taught in the prior art and a POSA would have arrived at the claimed ratios

   by routine experimentation).

                4.     Claim 5
         Claim 5 depends from claim 1 and further requires that the abiraterone

   acetate is administered in at least one 250 mg dosage form. O’Donnell

   administered abiraterone acetate capsules containing 10, 50, 100, and 200 mg

   abiraterone acetate. (WCK1005, 2319; WCK1002, ¶91.) As discussed above for

   claim 4, a POSA would have had a reason to optimize the daily dosage of

   abiraterone acetate to 1000 mg/day. A POSA also would have known that patient

   compliance should be considered when developing a pharmaceutical dosage form.

   (WCK1041, 1705-1706; WCK1002, ¶91.) As such, a POSA would have been

   motivated to optimize the dosing regimen to administer the fewest number of

   capsules or tablets per day. (WCK1041, 1705-1706; WCK1002, ¶91.)

   Furthermore, it would have been well within the technical grasp of a POSA to


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   modify O’Donnell’s 200 mg capsules to make a 250 mg capsule. (See generally

   WCK1041, 1553-1584; WCK1002, ¶91.) So, in addition to the reasons outlined

   above for claim 1, a POSA would have had a reasonable expectation of success in

   arriving at the method of claim 5. In re Aller, 220 F.2d at 456 (“[I]t is to be

   expected that a change in temperature, or in concentration, or in both, would be an

   unpatentable modification … changes such as these may impart patentability to a

   process if the particular ranges claimed produce a new and unexpected result”). Cf.

   Tyco Healthcare Grp. LP v. Mut. Pharm. Co., Inc., 642 F.3d 1370, 1372-1732

   (Fed. Cir. 2011) (finding claims to a 7.5 mg capsule obvious prior art capsules

   containing 15 mg and 30 mg combined with a teaching of dosing 5 mg to 15 mg).

                 5.    Claims 6-8
         Claim 6 depends from claim 1 and further requires administering from about

   0.01 to about 500 mg/day prednisone. Claim 7 depends from claim 6 and further

   requires administering from about 10 to about 250 mg/ day prednisone. Claim 8

   depends from claim 7 and further requires administering about 10 mg/day

   prednisone.

         Sartor discloses administering 20 mg/day prednisone as a monotherapy is

   safe and effective for treating prostate cancer. (WCK1006, 253; WCK1002, ¶92.)

   Gerber discloses administering 10 mg/day prednisone in combination with the

   CYP17 inhibitor ketoconazole is safe and effective for treating prostate cancer.


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   (WCK1004, 1178; WCK1002, ¶92.) Each of 10 and 20 mg/day prednisone falls

   within the ranges recited within claims 6 and 7. As such, in addition to the reasons

   outlined above for claim 1, claims 6 and 7 would have been obvious. In re Aller,

   220 F.2d at 456; Atlas Powder, 190 F.3d at 1346.

         In addition, a POSA would have known that prolonged therapy with

   corticosteroids, such as prednisone, may result in negative side effects, such as

   fluid and electrolyte disturbances, hypertension (i.e., high blood pressure),

   hyperglycemia (i.e., high blood sugar), peptic ulcers, myopathy, and a host of other

   issues. (WCK1032, 1448, 1451-1452; WCK1002, ¶93.) And in fact, Sartor reports

   that several patients in his study developed proximal muscle weakness indicative

   of steroid-induced myopathy and one patient developed diabetes. (WCK1006, 254;

   WCK1002, ¶93.)

         Consequently, a POSA would have had a reason to optimize the amount of

   prednisone administered to treat prostate cancer because it would be a result-

   effective variable that would affect the chances a patient would develop

   undesirable side effects. (WCK1002, ¶93.) Furthermore, there is no indication in

   the ’438 patent that the claimed dosage amount is critical. (Id.) And it would have

   been well within the technical grasp of a POSA to optimize the dosage amount of

   prednisone to have the greatest efficacy with the fewest side effects when co-

   administering another agent for treating prostate cancer. (WCK1032, 65-69;


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   WCK1041, 1706; WCK1002, ¶94.) Moreover, a POSA reading Gerber would have

   recognized that adjusting the dose of prednisone to 10 mg/day was safe and

   effective when co-administering a CYP17, such as ketoconazole or abiraterone

   acetate. (WCK1004, 1177-1178; WCK1002, ¶94.) So, in addition to the reasons

   outlined above for claims 1 and 7, claim 8 would have been obvious. In re Aller,

   220 F.2d at 456; Biocraft Labs., 874 F.2d at 807-809.

                6.    Claim 9
         Claim 9 depends from claim 1 and further requires administering prednisone

   in at least one dosage form comprising about 5 mg. Gerber teaches administering a

   single dosage form containing 5 mg prednisone twice daily in combination with a

   CYP17 inhibitor for treating prostate cancer (WCK1004, 1178; WCK1002, ¶95.)

   So, in addition for the reasons outlined above for claim 1, claim 9 would have been

   obvious.

                7.    Claims 10 and 11
         Claim 10 depends from claim 1 and further requires administering about 500

   to about 1500 mg/day abiraterone acetate and about 0.01 to about 500 mg/day of

   prednisone. Claim 11 depends from claim 10 and further requires administering

   about 1000 mg/day abiraterone acetate and about 10 mg/day of prednisone.

         As discussed above, O’Donnell teaches administering 500 or 800 mg/day

   abiraterone acetate effectively suppresses testosterone levels in patients with



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   prostate cancer. (WCK1005, 2321-2323; WCK1002, ¶96.) In addition, Gerber and

   Sartor disclose administering 10 and 20 mg/day prednisone, respectively.

   (WCK1004, 1178; WCK1006, 253; WCK1002, ¶96.) And Gerber teaches

   administering 10 mg/day prednisone in combination with a CYP17 inhibitor.

   (WCK1005, 1178; WCK1002, ¶96.) These amounts of abiraterone acetate and

   prednisone fall within the recited range of claim 10. As such, in addition to the

   reasons outlined above for claim 1, claim 10 would have been obvious. In re Aller,

   220 F.2d at 456; Atlas Powder, 190 F.3d at 1346; Biocraft Labs., 874 F.2d 804,

   807 (finding obvious composition claims to specific ratios of two prior art

   compounds with known properties when the claimed composition was used for the

   identical purpose taught in the prior).

         And as discussed above for claims 4, 7, and 8, a POSA would have had a

   reason to optimize the doses of abiraterone acetate and prednisone administered to

   be about 1000 mg/day and 10 mg/day, and would have done so successfully. See

   §§ VI.A.4 and VI.A.5. (WCK1002, ¶¶97-98.) As such, in addition to the reasons

   outlined above for claims 1 and 10, claim 11 would have been obvious. In re Aller,

   220 F.2d at 456; Biocraft Labs., 874 F.2d at 807-809.

                8.     Claims 12 and 13
         Claim 12 depends from claim 1 and further requires that the prostate cancer

   is refractory prostate cancer. Claim 13 depends from claim 12 and further requires


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   that the refractory prostate cancer is not responding to at least one anti-cancer

   agent. O’Donnell reports the results of phase I clinical trials in patients classified

   as having stable recurrent malignancy (WCK1005, Abstract, 2319-2321.) This

   means that the patient’s cancer had progressed despite previous anti-cancer

   therapy. (WCK1002, ¶99.)

         A cohort of patients in O’Donnell’s study previously received treatment with

   at least one anti-cancer agent, i.e., an anti-androgen and a gonadotropin-releasing

   hormone (“GnRH”) agonist. (WCK1005, 2320; WCK1002, ¶99.) So, in addition to

   the reasons outline for claim 1 above, claims 12 and 13 would have been obvious

   because O’Donnell teaches that abiraterone acetate is effective for treating patients

   with mCRPC that are not responding to at least one anti-cancer agent, i.e., patients

   with refractory prostate cancer. (WCK1002, ¶99.)

                9.     Claims 14-16
         Claim 14 depends from claim 13 and further requires that the at least one

   anti-cancer agent comprises a hormonal ablation agent, an anti-androgen agent, or

   an anti-neoplastic agent. Claim 15 depends from claim 14 and further requires that

   the hormonal ablation agent comprises deslorin, leuprolide, goserelin, or

   triptorelin. Claim 16 depends from claim 14 and further requires that the anti-

   androgen agent comprises bicalutamide, flutamide, or nilutamide.

         As discussed above, a cohort of patients in O’Donnell’s study previously


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   received at least one anti-cancer agent, specifically either an anti-androgen or a

   hormonal ablation agent, as recited in claim 14. (WCK1005, 2320; WCK1002,

   ¶61, 101.) For example, O’Donnell discloses that the patients in “Study A” had

   received flutamide, as recited in claim 16. (WCK1005, 2320; WCK1002, ¶101.)

   Additionally, the patients received leuprolide or goserelin, as recited in claim 15.

   (WCK1005, 2320; WCK1002, ¶101.) So, in addition to the reasons outline above

   for claims 1 and 13, claims 14-16 would have been obvious.

                10.    Claim 17
         Claim 17 depends from claim 14 and further requires that the anti-neoplastic

   agent comprises docetaxel. Although O’Donnell does not expressly disclose

   administering abiraterone acetate to a patient who has become refractory to

   docetaxel, by August 25, 2006, docetaxel was a well-known anti-neoplastic agent

   that had been co-administered as with prednisone as an FDA approved for

   metastatic prostate cancer. (WCK1007, Abstract; WCK1002, ¶102.) It was known

   that Docetaxel and abiraterone acetate each treat prostate cancer through different

   mechanisms of action: docetaxel reversibly binds to microtubules and prevents cell

   division, while abiraterone acetate inhibits CYP17 and decreases testosterone

   production. (WCK1034, 6; WCK1005, Abstract; WCK1002, ¶102.) So, a POSA

   would have had a reason to treat a patient who had progressed after docetaxel

   treatment with a different anti-cancer regimen that has a different mechanism of


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   action, such as abiraterone acetate. (WCK1002, ¶102.)

          As such, a POSA would have had a reasonable expectation of success that

   co-administering abiraterone acetate with prednisone would have been effective in

   treating patients not responding to docetaxel because (1) O’Donnell discloses that

   abiraterone acetate is effective in treating prostate cancer patients whom had

   become refractory to at least one anti-cancer agent and (2) docetaxel and

   abiraterone acetate have different mechanisms of action in treating cancer.

   (WCK1002, ¶102.)

                11.   Claims 18-20
         Claim 18 depends from claim 12 and further requires administering about

   500 to about 1500 mg/day of abiraterone acetate and about 0.01 to about 500

   mg/day abiraterone acetate. Claims 19 and 20 depend from claims 18 and 17,

   respectively and further require administering about 1000 mg/day abiraterone

   acetate and about 10 mg/day prednisone.

         As discussed above for claim 10, a POSA would have arrived at a method of

   administering about 500 to about 1500 mg/day of abiraterone acetate and about

   0.01 to about 500 mg/day abiraterone acetate with a reasonable expectation of

   success. See § VI.A.7.; In re Aller, 220 F.2d at 456; Atlas Powder, 190 F.3d at

   1346. And as discussed above for claim 11, a POSA would have arrived at a

   method of administering about 1000 mg/day abiraterone acetate and about 10


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   mg/day prednisone. See § VI.A.7.; In re Aller, 220 F.2d at 456; Biocraft Labs., 874

   F.2d at 807-809.

         So, in addition to the reasons outlined for claims 1, 10, and 12, claim 18

   would have been obvious. See §§ VI.A.7. and VI.A.8. This is because O’Donnell

   teaches administering 500 mg/day and 800 mg/day abiraterone acetate was

   effective in treating prostate cancer in patients with refractory prostate cancer that

   are not responding to at least one anti-cancer agent. (WCK1005, 2321-2323;

   WCK1002, ¶103.)

         And in addition to the reasons outlined above for claims 1, 11, 12, 17, and

   18, claims 19 and 20 would have been obvious. See §§ VI.A.7., VI.A.8, and

   VI.A.10. This is because O’Donnell teaches that administering 500 and 800

   mg/day abiraterone acetate was effective in treating prostate cancer in patients with

   refractory prostate cancer that are not responding to at least one anti-cancer agent.

   (WCK1005, 2321-2323; WCK1002, ¶¶96, 103.) Moreover, O’Donnell teaches that

   doses greater than 800 mg/day, e.g., 1000 mg/day, may be necessary to reliably

   maintain sufficient suppression of testosterone production in some patients, such

   those with refractory prostate cancer who were the subjects of O’Donnell’s study.

   (WCK1005, 2324; WCK1002, ¶¶94, 104-105.)

         B.     Objective indicia of nonobviousness do not weigh in favor of
                patentability of claims 1-20

         In addition to Wockhardt’s strong showing of prima facie obviousness,

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   objective indicia must be taken into account, although it does not control the

   obviousness conclusion. See Newell Cos., Inc. v. Kenney Mfg. Co., 864 F.2d

   757, 768 (Fed. Cir. 1988); Leo Pharm. Prods. v. Rea, 726 F.3d 1346, 1358 (Fed.

   Cir. 2013) (finding that before the Board consideration of objective indicia is part

   of the whole obviousness analysis, not just an afterthought). However, where a

   strong showing o f prima facie obviousness exists, the Federal Circuit has

   repeatedly held that even relevant secondary considerations supported by

   substantial evidence is still insufficient to overcome obviousness. See, e.g.,

   Leapfrog Enterprises Inc. v. Fisher-Price Inc., 485 F.3d 1157, 1162 (Fed. Cir.

   2007).

         Objective evidence must be attributable to the claimed invention, and

   apart from what is unclaimed or in the prior art. See In re Kao, 639 F.3d 1057,

   1068 (Fed. Cir. 2011); see also Gnosis S.p.A. v. Merck & Cie, IPR2013-00117,

   Paper 71, at 35 (PTAB June 20, 2014) (“Based on evidence before us, we are not

   persuaded that ‘the objective indicia of non-obviousness [is] tied to the novel

   elements of the claim at issue’ in this case … As such, insufficient nexus exists.”);

   Medtronic, Inc. v. Martial Deduction Trust, IPR2014-00100, Paper 46, at 28

   (PTAB Mar. 24, 2015) (“[N]o evidence of record indicates that a nexus exists

   between the sales of the mentioned devices and novel or non-obvious aspects of

   the subject matter recited in the challenged claims.”).


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          And lastly, “[e]vidence of secondary considerations must be reasonably

   commensurate with the scope of the claims.” In re Kao, 639 F.3d at 1068; see also

   Gnosis S.p.A., IPR2013-00117, at 38-39 (finding that that the patent owner’s

   contentions regarding unexpected results were not commensurate in scope with the

   claims at issue).

          Patent Owner may argue that secondary considerations of commercial

   success, long-felt but unmet need, failure of others, or unexpected superior

   results exist.

                    1.   No unexpected superior results
          Janssen argued unexpected results during prosecution of the ’438 patent and

   in its Preliminary Patent Owner Response in Amerigen Pharms., IPR2016-00286,

   Paper 12, at 11-16 (“286 POPR”). But as discussed below, these arguments fail

   and do not support patentability.

                         (a)   Unexpected results raised during prosecution do not
                               weigh in favor of patentability
          During prosecution, the applicants argued unexpected results based on a

   comparison of abiraterone acetate and prednisone versus prednisone alone. This

   comparison is wrong. (WCK1002, ¶116.) Although prednisone was known to have

   a modest anti-cancer effect on hormone refractory prostate cancer (see, e.g.,

   WCK1006, Abstract), as Dr. Godley explains, a POSA likely would not have

   administered prednisone alone to treat prostate cancer, except for palliative

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   treatment in patients who had progressed on all other available treatments.

   (WCK1002, ¶116.) Moreover, it was well-known in the art that abiraterone acetate

   was an inhibitor of CYP17, which would result in a suppression of testosterone

   production. (See § V.A.) As such, a POSA would have expected that co-

   administering abiraterone acetate and prednisone would have been more effective

   in treating cancer than prednisone alone. (WCK1002, ¶116.) And because

   administering each of abiraterone acetate and prednisone were known for treating

   prostate cancer, the appropriate comparison would be to determine if co-

   administering abiraterone acetate and prednisone produced greater than additive

   effects. Biocraft Labs., 874 F.2d at 808-809; In re Huang, 100 F.3d at 139.

                      (b)   Janssen failed to provide probative evidence of
                            unexpected results in the 286 POPR
         In the 286 POPR, Janssen relied on Ryan 2011 (WCK1021) and Attard 2009

   (WCK1022) to claim that an unexpected survival benefit was demonstrated in

   patients treated with abiraterone acetate and prednisone (Ryan 2011) versus

   abiraterone alone (Attard 2009). (286 POPR at 13-15.) Attard 2009 discloses

   results of a phase I/II clinical trial in which patients with mCRPC were given

   abiraterone acetate. Patients in this study who progressed were given

   dexamethasone in addition to the abiraterone acetate. (WCK1022, 3743). Ryan

   2011 discloses results of a phase II clinical trial in which patients with mCRPC

   were given a combination of abiraterone acetate and prednisone. (WCK1021,

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   4855). But this data does not, and indeed cannot, demonstrate any unexpected

   result that weighs in favor of patentability.

                            i.   The proffered evidence does not show unexpected
                                 results
         First, a comparison of clinical data across disparate patient populations is not

   clinically sound. (WCK1002, ¶111.) Therefore, Janssen’s analysis starts from a

   flawed foundation and cannot credibly show any unexpected result. (Id.)

         Second, a showing of unexpected results from co-administering abiraterone

   acetate and prednisone should provide a synergistic and not just an additive effect

   in treating prostate cancer. Biocraft Labs., 874 F.2d at 808-809 (“Given the prior

   art teaching that both [compounds] are natriuretic, it is to be expected that their co-

   administration would induce more sodium excretion than would either diuretic

   alone.”) (citing In re Crockett, 279 F.2d 274, 276 (CCPA 1960)); In re Huang, 100

   F.3d 135, 139 (Fed. Cir. 1996). Yet, even if one were to compare the results of the

   two trials, the comparison between Ryan 2011 and Attard 2009 does not

   demonstrate a synergistic effect on the survival benefit from co-administering

   abiraterone acetate and prednisone. (WCK1002, ¶¶110-115.)

         Third, the results from comparing Ryan 2011 and Attard 2009 would not

   have been unexpected due to factors unrelated to therapeutic regimens. (Id., ¶110-

   115.) This is because the patients in Attard 2009 had much more advanced disease

   than those in Ryan 2011. (Id.) Consequently, a POSA would have expected that the

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   patients in Ryan 2011 would have responded better to treatment with abiraterone

   acetate, whether or not prednisone was present. (Id.)

         For example, Janssen compares the survival rates between patients in Attard

   2009 and Ryan 2011 to demonstrate evidence of unexpected results, yet the Ryan

   2011 study states that, “[t]he PSA response proportion of 67% in this study is

   slightly higher than that observed in previous phase II studies with abiraterone

   acetate.” (WCK1021, 4860; WCK1002, ¶110.) As Dr. Godley explains, multiple

   explanations for this observation may exist, but most importantly the population in

   Ryan 2011 had much less extensive disease than those in Attard 2009—as

   demonstrated by the disparate values in the median PSA level of the patients in

   each study (i.e., the Ryan 2011 patients had a median PSA level of 23, while the

   Attard 2009 patients had a median PSA level of 110). (WCK1002, ¶110;

   WCK1021, Table 1; WCK1022, Table 1.) Consequently, as Dr. Godley explains,

   any decrease in PSA levels was most likely not because of co-administering

   prednisone with abiraterone acetate versus administering abiraterone alone.

   (WCK1002, ¶110-115.) But instead, it is a reflection of treating a patient

   population with less extensive disease, i.e., Ryan 2011’s patients. (Id.)

         Fourth, as further evidence of the lack of any unexpected results, Dr. Godley

   explains that Danila (WCK1024) discloses a phase II clinical study in which

   abiraterone acetate and prednisone were co-administered to patients with mCRPC


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   and who had progressed after treatment with docetaxel-based chemotherapy.

   (WCK1024, Abstract; WCK1002, ¶¶113-114.) Danila reported that the study’s

   cohort had a median PSA level of 189.6 and a median time to PSA progression

   (“TTPP”) of 169 days. (WCK1024, Abstract, 1497, 1499; WCK1002, ¶113-114.)

   Danila’s reported TTPP was approximately 11 months shorter than the TTPP

   reported in Ryan 2011. (WCK1024, 1499; WCK1002, ¶113.) This once again

   demonstrates that the extent of a patient’s disease affects the ability of abiraterone

   acetate and prednisone to affect the length of progression-free survival.

   (WCK1002, ¶113-115.)

         Based on Danila’s data, Dr. Godley concludes, that there is nothing

   unexpected in Ryan 2011’s results. (Id., ¶115.) This is because, like in Attard 2009,

   the patients in Danila had more extensive disease. (Id.) And not surprisingly, the

   patients in Danila did not respond as well to co-administration of abiraterone and

   prednisone as did the patients in Ryan 2011, who had much less extensive disease

   than Danila’s patients but received the same treatment as Danila’s patients. (Id.)

   Indeed, a POSA would have expected administering two well-known anti-cancer

   agents would be more effective in treating patients with less extensive disease. (Id.,

   ¶115.) In sum, Janssen failed to put forth any probative evidence of unexpected

   results in the 286 POPR. (Id., ¶¶108-115.)




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                           ii.   Janssen’s alleged evidence of unexpected results
                                 has no nexus to the ’438 patent

         Unexpected results must be attributable to the claimed invention, and

   apart from what is in the prior art, to have a nexus to the claims of the patent. In

   re Kao, 639 F.3d at 1068; Gnosis S.p.A., IPR2013-00117, at 35. Here, both

   abiraterone acetate and prednisone were both well-known in the prior art before

   August 25, 2006. Each of abiraterone and prednisone were administered as a

   monotherapy for treating prostate cancer long before the ’438 patent. (See, e.g.,

   WCK1006, Abstract; WCK1005, Abstract; WCK1002, ¶¶38-39, 41-45, 62-66.)

   Administering prednisone with a CYP17 inhibitor, i.e., ketoconazole, to treat

   prostate cancer was also well-known long before the ’438 patent. (WCK1004,

   1177-1178; WCK1002, ¶¶36-37, 60-61.) And co-administering prednisone with

   other anti-cancer agents, such as docetaxel and mitoxantrone, had long been the

   standard of care in prostate cancer treatment. (WCK1029, 8253; WCK1007, 1509;

   WCK1002, ¶29.) Further, dosing information of Jevanta® (cabazitaxel), a

   chemotherapy agent that entered the market a year before Zytiga®, instructs co-

   administration with prednisone. (WCK1063, 1; WCK1077, ¶47.) As such, co-

   administering prednisone with an anti-cancer agent, and even more specifically a

   CYP17 inhibitor, was already in the prior art and does not defeat a finding of

   obviousness. In re Kao, 639 F.3d at 1068; Gnosis S.p.A., IPR2013-00117, at 35.

         Moreover, for there to be a nexus to the ’438 patent, the combination of

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   abiraterone acetate and prednisone should provide synergistic and not merely

   additive results. Biocraft Labs., 874 F.2d at 808-809; In re Huang, 100 F.3d at 139.

   But, as discussed above, the comparison of Ryan 2011 to Attard 2009 fails to

   demonstrate the required synergy. Consequently, Janssen has not demonstrated the

   required nexus. In re Kao, 639 F.3d at 1068; Gnosis S.p.A., IPR2013-00117, at 35.

                          iii.   Janssen’s evidence of unexpected results is not
                                 commensurate in scope with claims 1-10 and 12-18

         The patients in both Ryan 2011 and Attard 2009 received 1000 mg/day

   abiraterone acetate. (WCK1021, Abstract; WCK1022, Abstract; WCK1002, ¶108.)

   And Ryan 2011’s patients received 10 mg/day prednisone. (WCK1021, Abstract;

   WCK1002, ¶108.) As such, Janssen’s alleged evidence of unexpected results only

   applies to administering 1000 mg/day abiraterone acetate and 10 mg/day

   prednisone.

         But only claims 11, 19, and 20 specifically recite administering 1000 mg/day

   abiraterone acetate and 10 mg/day prednisone: claims 1-10 and 12-18 are broader.

   As such, Janssen’s alleged evidence of unexpected results are not reasonably

   commensurate in scope with claims 1-10 and 12-18, and thus should be ignored for

   those claims. In re Kao, 639 F.3d at 1068; see also Gnosis S.p.A., IPR2013-00117,

   at 38-39. And even if the Board were to credit Janssen’s alleged evidence of

   unexpected results, which it should not, that evidence does not support

   patentability of claims 11, 19, and 20.

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               2.     No commercial success
         During prosecution of the ’438 patent, the applicants asserted that the

   commercial success of Zytiga®, the commercial product containing abiraterone

   acetate, was evidence of the non-obviousness of the claimed invention.

   (WCK1031, 86, 134-135.) And the Examiner allowed the claims based on “[t]he

   unexpected commercial success of the launch of the drug”, Zytiga®. (Id., 206

   (emphasis added).) But doing so was in error.

         Commercial success, is only relevant to an obviousness inquiry if the

   patentee can show a direct link, or nexus, to the claims of the patent. Ormco Corp.

   v. Align Tech., Inc., 463 F.3d 1299, 1312 (Fed. Cir. 2006); Gnosis S.p.A., IPR2013-

   00117, at 35. Moreover, the ability to exclude others from bringing a product to

   market through either patent-based exclusivities, FDA-based exclusivities, or both

   makes an inference of nonobviousness from evidence of commercial success weak.

   Merck & Co. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1376-1377 (Fed. Cir.

   2005); Galderma Labs. v. Tolmar, Inc., 737 F.3d 731, 740-741 (Fed. Cir. 2013).

   Commercial success must arise from the novel features of the claims, not from

   elements already known in the prior art. Ormco Corp., 463 F.3d at 1313; Gnosis

   S.p.A., IPR2013-00117, Paper 71 at 35; Medtronic, Inc., IPR2014-00100, Paper 46




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   at 28. 3

                           (a)   Patent-based and FDA-based exclusivities limit any
                                 economic relevance of commercial success
            The evidence shows, as discussed in Dr. Stoner’s declaration, that Zytiga®’s

   sales success, if any, derives from a blocking patent— separate from the ’438

   patent here—and the New Chemical Entity (“NCE”) FDA regulatory exclusivity,

   both of which serve to preclude competition resulting in higher sales of Zytiga®.

   (WCK1077, ¶¶36-45.) And neither of these dynamics have any nexus to the ’438

   patent. Teva, 395 F.3d at 1377; Galderma, 737 F.3d at 740-741.

            The Federal Circuit’s Teva decision controls here and is squarely on point,

   having nearly identical material facts. In Teva, the challenged patent claimed a

   weekly dosing regimen for the drug alendronate sodium. However, Merck (the

   patentee) also had another patent that claimed alendronate sodium, which issued

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       The Board should note that Janssen has not established that the sales of Zytiga®

       actually amount to a level that would give rise to a finding of commercial

       success, as such information is proprietary. (WCK1077, ¶¶63-71.) However, data

       indicates that Zytiga® serves a small patient share and its performance in the

       marketplace is dwindling. (Id.) As such, based on the current record there has

       been no showing of the substantial sales prong of the commercial success inquiry

       by Janssen. (Id.)



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   thirteen years before the patent at issue. 395 F.3d at 1377. And the Court found

   that this other patent effectively blocked anyone from developing the methods

   claimed in the challenged patent. Id. Likewise, the Court also found that Merck,

   just like Janssen does here, also enjoyed the right to exclude anyone from

   marketing an alendronate sodium drug product for five years under the FDA’s

   NCE exclusivity. Id. And “[b]ecause market entry by others was precluded on

   those bases,” the Federal Circuit found that an “inference of non-obviousness …

   from evidence of commercial success [was] weak.” Id. The same result should

   apply here.

         Like in Teva, Janssen has enjoyed the blocking exclusivity of U.S. Patent

   No. 5,604,213, which claims the abiraterone compound and methods for treating

   an androgen-dependent disorders (such as prostate cancer) using abiraterone and

   abiraterone acetate. (WCK1030; WCK1077, ¶¶23, 37.) The ’213 patent issued in

   1997, over 19 years ago, and will not expire until December 2016. (WCK1030;

   WCK1077, ¶37.) Similarly, Janssen has enjoyed five years of marketing NCE

   exclusivity for abiraterone acetate since April 2011 for Zytiga®. (WCK1058, see

   NCE date; WCK1077, ¶12.) These patent and statutory blocks are what’s

   responsible for Zytiga®’s sales; not the’438 patent. Teva, 395 F.3d at 1377;

   Galderma, 737 F.3d at 740-741. (WCK1077, ¶¶12, 38-39.)

         Janssen argued in the 286 POPR that “[i]n 1995, abiraterone acetate was


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   licensed, via BTG, to Boehringer, which had abiraterone acetate for four years and

   failed to arrive at the invention claimed in the ’438 patent,” and that “[i]n 1999,

   after it lost interest in the drug, Boehringer returned the [] license to BTG,”

   consequently making the drug “available for licensing” from 2000. (286 POPR at

   51.) Janssen also claimed that abiraterone “was actively shopped around to other

   companies” between 2000 and 2004, but there was “limited interest” by the time

   that Johnson &Johnson “licensed the drug from BTG in 2004,” in view of the fact

   other companies turned down opportunities to license and commercialize the drug

   from BTG. (Id. at 51-52). Yet Janssen’s arguments lack merit. (WCK1077, ¶¶39-

   44.)

          First, Janssen asserts that only the drug—and not the ’213 patent—was

   licensed. This does not rebut the argument that “blocking patent” activity of the

   ’213 patent limits the relevance of analysis of commercial success as it relates to

   the ’438 Patent. (Id., ¶41.)

          Second, Janssen does not elaborate as to whether the license was exclusive

   or non-exclusive and what “field-of-use” was licensed. (Id., ¶42.) Indeed, an

   exclusive license would still have prevented third parties from developing the

   alleged invention claimed in the ’438 patent. (Id.) Further, Janssen has held

   exclusive rights in the ’213 patent for nearly 20 years since 1997, and will continue

   until its expiration in December 2016. (Id.) Thus, the interest Janssen had in


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   licensing the ’213 patent does not lessen the impact of the ’213 blocking patent on

   the commercial success analysis.

         Third, Janssen fails to support its conclusory statement that Boehringer (the

   only licensed party) failed to arrive at the ’438 patent claims, nor does it

   substantiate its allegations that abiraterone was available for licensing. (Id., ¶43.)

   Indeed, Boehringer may have decided not to move forward with the

   commercialization of abiraterone due to various business factors, and not because

   of any alleged non-obviousness. (Id.) Janssen has not presented any evidence that

   Boehringer’s lack of commercialization was due to a failure to appreciate any

   potential benefits of combining abiraterone with a prednisone, as the combination

   of ketoconazole with prednisone was already well-known in the art. (See §§

   IV.B.5.)

         In sum, as in Teva, the ’213 patent, tied together with Zytiga®’s NCE

   marketing exclusivity, has precluded others from developing the ’438 patent’s

   claimed methods. (WCK1077, ¶¶12, 44-45.) Thus, Zytiga®’s sales are properly

   traced to the blocking patent and NCE marketing exclusivity, not the ’438 patent.

   (Id.) Therefore, any evidence of commercial success is entitled to little if any

   weight.




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                       (b)   There is no nexus between the performance of
                             Zytiga® and the ’438 patent claims because any
                             features of the ’438 patent driving Zytiga®’s sales
                             already existed in the prior art
         Janssen has failed to provide any evidence nexus between the Zytiga® sales

   and the ’438 patent, either during prosecution or in the 286 POPR. For example, in

   the 286 POPR Janssen did not address the nexus between the allegedly novel

   features of the ’438 patent and the commercial success of Zytiga®. (286 POPR at

   49.) Instead, Janssen summarily stated that taking abiraterone acetate with

   prednisone, as directed by the Zytiga® label, is a “commercial embodiment of the

   claimed invention, erroneously assuming that there are novel features of the ’438

   patent that drive Zytiga®’s commercial success. (Id.; WCK1077, ¶33.) To the

   contrary, several factors demonstrate a lack of nexus between the ’438 patent

   claims and Zytiga®’s performance: (1) the ’438 patent cannot claim invention of

   the abiraterone or prednisone compounds themselves; (2) both abiraterone and

   prednisone were well-known in the prior art, as was administering prednisone with

   other anti-cancer agents, including CYP17 inhibitors; and (3) the lack of evidence

   that Zytiga®’s sales are driven by the benefits of adding prednisone to the treatment

   of abiraterone acetate. (Id, ¶¶33-35.)

         Janssen cannot show non-obviousness if Zytiga®’s alleged commercial

   success is attributable to characteristics of the claimed method that were already in

   the prior art. Dippin’ Dots, Inc. v. Mosey, 476 F.3d 1337, 1345 (Fed. Cir. 2007)

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   (finding that where commercial success can be attributed to characteristics of the

   invention that were already in the prior art, non-obviousness is not shown); Gnosis

   S.p.A., IPR2013-00117, at 35.

         As discussed above, methods of using each of abiraterone acetate and

   prednisone to treat prostate cancer were well-known in the art before the ’438

   patent. (§§ IV.B.3, IV.B.5., IV.D., IV.E.; WCK1002, ¶¶38-39, 41-45, 82;

   WCK1077, ¶¶46-53.) Indeed, both abiraterone acetate and prednisone were well-

   known to have anti-prostate cancer activity when each of them was administered as

   a monotherapy. (WCK1006, Abstract; WCK1005, Abstract; WCK1002, ¶38-39,

   41, 82; WCK1077, ¶48.) Moreover, administering prednisone in combination with

   the CYP17 inhibitor ketoconazole was well-known in the art. (WCK1004, 1177-

   1178: WCK1002, ¶¶37, 45.) And administering prednisone with other anti-cancer

   agents, such as docetaxel and mitoxantrone, had long been the standard of care in

   prostate cancer treatment. (WCK1029, 8253; WCK1007, 1509; WCK1002, ¶29.)

   Further, dosing information of Jevanta® (cabazitaxel), a chemotherapy agent that

   entered the market a year before Zytiga®, instructs co-administration with

   prednisone. (WCK1049; WCK1077, ¶47.)

         As such, co-administering prednisone with another anti-cancer agent when

   treating prostate cancer was already in the prior art and does not defeat a finding of

   obviousness. Dippin’ Dots, 476 F.3d at 1345; Gnosis S.p.A., IPR2013-00117, at


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   35. Consequently, no nexus between the commercial success of Zytiga® and the

   ’438 patent claims exists. (WCK1077, ¶¶46-53.)

         Further, no available evidence suggests that Zytiga® sales are due to the

   benefits of co-administering prednisone with abiraterone acetate, or a synergistic

   effect of administering abiraterone and prednisone, rather than the additive benefits

   of each component individually. (WCK1077, ¶¶50-53.) Indeed, the expansion of

   Zytiga®’s label to include an indication for treating pre-chemo patients due to data

   that “showed that Zytiga plus prednisone provides a statistically significant

   [overall survival] benefit vs. prednisone alone” failed to have any market effect.

   (Id., ¶35.) Consequently, the addition of prednisone to the administration of

   abiraterone adds nothing substantial over the administration of abiraterone acetate

   alone and what was already in the prior art. (Id., ¶¶35, 50-53.)

                       (c)   Xtandi® has taken Zytiga®’s market share

         Because of the known side effects of long-term prednisone administration,

   the need to combine abiraterone with prednisone has become a drawback of

   Zytiga®. (WCK1065; WCK1077, ¶54.) As a result, Zytiga® has lost market share

   to more recently-introduced prostate cancer drugs, such as Xtandi® (enzulutamide),

   which do not require co-administration with a steroid. (WCK1065; WCK1077,

   ¶54.) Competition form Xtandi® has also resulted in (1) lowering of Zytiga®’s

   price, (2) industry expectations that Xtandi® will become the premier treatment


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   option, and (3) Janssen’s investment in a competitor to Xtandi®. (WCK1077, ¶¶54-

   58) This market shift is particularly notable in light of the applicants’ argument

   during prosecution that Zytiga®’s continued commercial success after the

   introduction of Xtandi® was further evidence of the commercial success of the

   invention. (Id., 67.)

                           (d)   Unexpected commercial success of Zytiga® is neither
                                 economically nor legally relevant, and the
                                 performance metrics for Zytiga® presented during
                                 prosecution of the ’438 patent are misleading and
                                 incomplete

          In allowing the ’438 patent, the Examiner cited to the “unexpected

   commercial success” of the launch of Zytiga® as overcoming the pending

   obviousness rejections. (WCK1031, 206.) Yet, “unexpected” commercial success

   has no bearing on a finding of nonobviousness based on commercial success

   because it would not affect the material economic incentives for development that

   existed at the time of the alleged invention of the ’438 patent. (WCK1077, ¶59.)

          If the claim is that there was “unexpected” commercial success based on

   “unexpected” Zytiga® sales in relation to what would have been predicted based on

   the known effects of abiraterone acetate and prednisone in the prior art, no

   evidence in the record supports such a conclusion. (Id., ¶60.) Indeed, as discussed

   in § VI.B.2(b), any features of the ’438 patent that drove Zytiga®’s sales were

   already present in the prior art. (Id.)


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         Moreover, the ’438 patent applicants did not provide the Examiner with any

   expectations or perceptions of expected commercial success of Zytiga®. (Id., ¶61.)

   In fact, they only provided to the Examiner post-launch data based on an erroneous

   patient-share and relative to other oral cancer drugs, which was misleading and

   incomplete. (Id.) But, any success of Zytiga® would have been expected, not based

   on any alleged patentable features of the ’438 patent, but based on the prior

   knowledge of the anti-cancer effect of each of abiraterone and prednisone

   individually. (Id., ¶¶61-62.) As such, any claims of “unexpected” commercial

   success by Janssen should be ignored.

                3.     No long felt need and failure of others
         A showing of a long-felt and unmet need requires that the need must have

   been a persistent one that was recognized by those of ordinary skill in the art.

   Ecolochem, Inc. v. S. Cal. Edison Co., 227 F.3d 1361, 1377 (Fed. Cir. 2000). The

   long-felt need must not have been satisfied by another before the invention. Minn.

   Mining & Mfg. Co. v. Johnson & Johnson Orthopedics, Inc., 976 F.2d 1559, 1574-

   75 (Fed. Cir. 1992). The invention must in fact satisfy the long-felt need. Id. at

   1575. Failure of others to find a solution to the problem which the patent purports

   to solve is also relevant in determining nonobviousness. Id.

         As discussed in §§ IV.B. and VI.A., administering abiraterone acetate and

   prednisone both individually for treating prostate cancer was well-known in the art


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   by August 25, 2006. (See, e.g., WCK1005, Abstract; WCK1006, Abstract;

   WCK1002, ¶¶38-39, 41-45, 62-66.) Moreover, co-administering abiraterone

   acetate and prednisone did not provide any unexpectedly superior results for

   treating prostate cancer. (See §VI.B.1.) Further, co-administering prednisone with

   abiraterone acetate did not satisfy any need to make abiraterone acetate

   significantly more effective in prolonging progression-free survival. (WCK1002,

   ¶118.) Lastly, there was no failure of others to develop a method of treating

   prostate cancer with abiraterone acetate and prednisone by August 25, 2006. (Id.)

   This is because prednisone had long been the standard of care in prostate cancer

   treatment and prednisone had already been administered with another CYP17

   inhibitor, ketoconazole. (WCK1029, 8253; WCK1007, 1509; WCK1005, 1177-

   1178; WCK1002, ¶29, 37.)

                4.    Copying by generic drug makers is irrelevant
         Janssen may argue that Wockhardt and other generic drug companies seek to

   copy the invention of the ’438 Patent by commercializing generic versions of

   abiraterone acetate. Because copying “is required for FDA approval” of generic

   drugs, any “evidence of copying in the [generic drug] context is not probative of

   nonobviousness.” Bayer Healthcare Pharms., Inc. v. Watson Pharms., Inc., 713

   F.3d 1369, 1377 (Fed. Cir. 2013).




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   VII. Conclusion
         Each of claims 1-20 is obvious over the asserted prior art as discussed above

   for the reasons stated in Ground 1. Thus, the Board should institute IPR for each

   challenged claim.

   VIII. Mandatory notices (37 C.F.R. § 42.8)
         Real Parties-In-Interest (37 C.F.R. § 42.8(b)(l)): Wockhardt Bio AG,

   Wockhardt Limited, Wockhardt USA LLC, Morton Grove Pharmaceuticals,

   Inc., and MGP Inc.

         Related Matters (37 C.F.R. § 42.8(b)(2)):

         Administrative: Amerigen Pharms., Ltd. v. Janssen Oncology, Inc.,

   IPR2016-00286 (PTAB Dec. 4, 2015); Argentum Pharms. LLC v. Janssen

   Oncology, Inc., IPR2016-01317 (PTAB June 29, 2016); Mylan Pharms. Inc. v.

   Janssen Oncology, Inc., IPR2016-01332 (PTAB June 30, 2016)

         Judicial: BTG Int’l Ltd. et al. v. Actavis Laboratories FL, Inc., et al., 15-cv-

   5909 (D.N.J.); Janssen Biotech, Inc. v. Mylan Pharms., Inc. et al., 15-cv-130

   (N.D.W.V.); BTG Int’l Ltd. et al. v. Amerigen Pharms., Inc. et al., 16-cv-2449

   (D.N.J.); BTG Int’l Ltd. et al. v. Glenmark Pharms. Inc., USA et al., 16-cv-3743

   (D.N.J.)

         Designation of Lead and Back-Up Counsel (37 C.F.R. § 42.8(b)(3)):

         Lead counsel:             Dennies Varughese (Reg. # 61,868 )



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                        Petition for Inter Partes Review of U.S. Patent No. 8,822,438


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         Notice of Service Information (§ 42.8(b)(4)): Please direct all

   correspondence to lead counsel and back-up counsel at the above address.

   Petitioner consents to email service at: dvarughe-PTAB@skgf.com, dsterlin-

   PTAB@skgf.com, and cgallo-PTAB@skgf.com.

         Procedural Statements: This Petition is filed in accordance with 37 C.F.R.

   § 42.106(a). Concurrently filed are a Power of Attorney and Exhibit List under 37

   C.P.R. § 42.10(b) and § 42.63(e), respectively. The required fee is paid through.

   Deposit Acct. No. 19-0036 (Customer ID No. 45324). The Office is authorized to

   charge any fee deficiency, or credit any overpayment, to Deposit Acct. No. 19-

   0036 (Customer ID No. 45324).




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                                n for Interr Partes R eview of U.S. Patent No. 8,8222,438
                         Petition


         Word Count Certificcation Und
                                     der 37 C.F
                                              F.R. § 42.24(a): Petitioner certtifies

   that this Petition is 13,990 words
                                w          ngth, as d etermined by Microsooft Word®
                                      in len

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         ount feature, excludin

   § 42.8, certificate of service or word co
                                           ount, or apppendix off exhibits or claim listting.


                                         Respectfully submittedd,
                                         STEERNE, KESSLER, GOLDSTEIN & FOX P.L.L
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Case 2:19-cv-12107-KM-ESK Document 79-3 Filed 09/13/19 Page 299 of 384 PageID: 1789

                                   n for Interr Partes R eview of U.S. Patent No. 8,8222,438
                            Petition

             CERTIFIC
                    CATION OF
                           O SERV
                                VICE (37 C.F.R. §§ 442.6(e), 422.105(a))

             The undersigned hereby certifies that the aabove-captioned “Pettition for IInter

   Partes Review of U.S. Paten
                             nt No. 8,82
                                       22,438 under 35 U.S..C. §§ 311-319 and 337

   C.F.R. §§
          § 42.1-.80, 42.100-..123,” and supporting Exhibits WCK1001 – WCK11080

   was served in its entirety on August 10
                                         0, 2016, u pon the following parrties via

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                                EXHIBIT G
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 Index Patients

                    Index Patient                                                                             Description

 Index Patient 1: Asymptomatic non-metastatic CRPC             One of the first clinical presentations of CRPC occurs in a patient with a rising PSA despite medical or
                                                                  surgical castration. This is defined as a patient with a rising PSA and no radiologic evidence of
                                                                  metastatic prostate cancer. The Prostate Cancer Clinical Trials Working Group 2 defines PSA only
                                                                  failure as a rising PSA greater than 2 ng/ml higher than the nadir; the rise has to be at least 25%
                                                                  over nadir confirmed by a second PSA at least three weeks later. The patient is required to have
                                                                  castrate levels of testosterone (less than 50 ng/ml) and no radiographic evidence of metastatic
                                                                  disease.* To date, there are no randomized trials showing an OS benefit in this patient population
                                                                  from a particular form of treatment.
 Index Patient 2: Asymptomatic or minimally-                   These patients are characterized as having a rising PSA in the setting of castrate levels of
  symptomatic mCRPC without prior docetaxel                       testosterone, documented metastatic disease on radiographic imaging and no prior treatment with
  chemotherapy                                                    docetaxel chemotherapy for CRPC. This patient is defined as having no symptoms or mild symptoms
                                                                  attributable to their prostate cancer. In general, if patients require regular narcotic medications for
                                                                  pain relief, they are not included in this category.
 Index Patient 3: Symptomatic mCRPC with good                  These patients have a rising PSA in the setting of castrate levels of testosterone, documented
  performance status and no prior docetaxel                       symptomatic metastatic disease on radiographic imaging and no prior history of docetaxel
  chemotherapy                                                    chemotherapy. The patient must have symptoms that are clearly attributable to the metastatic
                                                                  disease burden, not any other medical condition. If having pain, the patient should require regular
                                                                  opiate pain medications for symptoms attributable to documented metastases in order to achieve an
                                                                  acceptable level of pain control.
 Index Patient 4: Symptomatic mCRPC with poor                  Clinical trials have generally excluded patients with a poor performance status from participation.
  performance status and no prior docetaxel                       Thus, most data regarding management of such patients is extrapolated from randomized trials of
  chemotherapy                                                    eligible patients who had a better performance status; however, treatments with acceptable safety
                                                                  profiles do exist and should be considered. This is especially true in those patients in whom the
                                                                  poor performance status may be considered directly related to the cancer itself, and thus whose
                                                                  status might improve with effective treatment.
 Index Patient 5: Symptomatic mCRPC with good                  As patients with prostate cancer receive hormonal therapy earlier in the course of the disease, they
  performance status and prior docetaxel                          may actually develop non-metastatic or asymptomatic castration-resistant disease resulting in a
  chemotherapy                                                    population of mCRPC patients who have completed docetaxel and may continue to be asymptomatic
                                                                  or minimally symptomatic with an excellent performance status. A focus of therapy should be to
                                                                  maintain their excellent performance status without significant toxicity from additional therapy.
 Index Patient 6: Symptomatic mCRPC with poor                  The American Society of Clinical Oncology advocates for an increasing emphasis on a patient’s quality
  performance status and prior docetaxel                          of life and concentrates on symptom management. Treatment given in the last months of life may
  chemotherapy                                                    delay access to end of life care, increase costs and add unnecessary symptom management.
                                                                  Patients with poor performance status (ECOG 3 or 4) should not be offered further treatment.

 * Scher HI, Halabi S, Tannock I et al: Design and end points of clinical trials for patients with progressive prostate cancer and castrate levels of testosterone:
 recommendations of the Prostate Cancer Clinical Trials Working Group. J Clin Oncol 2008; 26: 1148.


 statements and the accompanying treatment algorithm                                  of prostate cancer and over 28,000 deaths were es-
 (see figure) were formed based on this literature review.                            timated in the U.S. in 2012.2 While most advanced
    The AUA nomenclature system explicitly links state-                               prostate cancer patients respond initially to andro-
 ment type to body of evidence strength and the Panel’s                               gen deprivation therapy, they ultimately progress
 judgment regarding the balance between benefits and
                                                                                      despite castration on average between one and three
 risks/burdens.1 For a complete discussion of the method-
 ology and evidence grading, please refer to the unabrid-
                                                                                      years after initiation of therapy.
 ged guideline available at www.AUAnet.org/education/
 guidelines/castration-resistant-prostate-cancer.cfm.                                 Changing Treatment Paradigm
                                                                                      The treatment of men with mCRPC has dramati-
                                                                                      cally changed in the last decade. Prior to 2004, once
 BACKGROUND                                                                           patients failed primary ADT, treatments were ad-
                                                                                      ministered solely for palliation. Landmark articles
 Definition
                                                                                      by Tannock et al3 and Petrylak et al4 demonstrated
 For the purpose of the guideline, CRPC was defined
                                                                                      that docetaxel improved survival for these patients
 as a rising prostate specific antigen level and/or
                                                                                      with mCRPC. Since the approval of docetaxel, four
 radiographic evidence of prostate cancer progression
                                                                                      additional agents (enzalutamide, abiraterone, sip-
 despite medical or surgical castration.
                                                                                      uleucel-T and cabazitaxel) that show a survival ben-
 Prevalence                                                                           efit have been FDA-approved on the basis of ran-
 Prostate cancer is the most commonly diagnosed                                       domized clinical trials. These agents have been
 solid organ malignancy in the United States and                                      tested in multiple “disease states” of CRPC to deter-
 remains the second leading cause of cancer deaths                                    mine if or when patients might benefit from each
 among men. Approximately 240,000 new diagnoses                                       treatment.
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                                                   Summary flowchart



  GUIDELINE STATEMENTS                                        synthesis inhibitors (ketoconazoleⴙsteroid) to
                                                              select patients with non-metastatic CRPC who
  Index Patient 1
                                                              are unwilling to accept observation. (Option;
  1. Clinicians should recommend observation
                                                              Evidence Level Grade C)
  with continued ADT to patients with non-met-
                                                                 While it is the Panel’s judgment that observation
  astatic CRPC. (Recommendation; Evidence
                                                              is the most appropriate treatment for this patient
  Level Grade C)
                                                              population, some patients in this setting may be
     Since all agents have potential side effects, and no
                                                              uncomfortable with treatment with systematic ADT
  treatment has been shown to extend survival or
                                                              alone and may wish to initiate additional treatment
  demonstrate a clinically meaningful delay in the
                                                              despite the lack of good evidence with regards to the
  development of metastasis, we must first do no
                                                              benefits and harms in this setting.
  harm. As such, it is the Panel’s judgment that no
  treatment (i.e. observation) other than continued           Antiandrogens. Though first-line antiandrogens
  ADT be the recommended treatment based upon the             (flutamide, bicalutamide and nilutamide) are com-
  lack of any data to refute this recommendation. Pa-         monly used, these agents can be associated with side
  tients should be encouraged to enter clinical trials,       effects, including gastrointestinal upset and liver
  when available.                                             toxicity. Though some small single-arm non-ran-
  2. Clinicians may offer treatment with first-gen-           domized studies suggest a PSA decline,5–10 the po-
  eration antiandrogens (flutamide, bicalutamide              tential benefit appears modest with PSA declines
  and nilutamide) or first-generation androgen                greater than 50% occurring typically in 20% to 40%
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 of men with a median duration of only several            adrenocorticotropic hormone and attendant side
 months. In addition, antiandrogen withdrawal has         effects.
 been used as an option in this setting. There are no
                                                          Docetaxel. Docetaxel is a potent inhibitor of micro-
 randomized studies of either antiandrogens or anti-
                                                          tubule assembly and disassembly. In a randomized
 androgen withdrawal compared to observation; as
                                                          trial of men with mCRPC (TAX-327), patients who
 such, there is a lack of data suggesting any mean-       received docetaxel⫹prednisone every three weeks
 ingful clinical benefit.                                 had significantly better survival than those receiv-
 Androgen synthesis inhibitors (ketoconazole). Ke-        ing mitoxantrone.3 While this study provides strong
 toconazole is a weak inhibitor of CYP11A and             evidence to support the use of docetaxel⫹prednisone
 CYP17A and suppresses the synthesis of adrenal           in men with mCRPC, there are two important cave-
 and tumor tissue androgens. Ketoconazole can be          ats. First, this study did include many patients with
 associated with nausea and hepatotoxicity and must       symptomatic mCRPC (Index Patient 3). Second,
 be given with replacement steroids. There are mul-       26% of patients in the docetaxel⫹prednisone every
 tiple single-arm studies that show PSA response          three weeks arm had one or more serious adverse
 rates (greater than 50% decline in PSA) of 30% to        events, and roughly 11% of patients in this group
 60% with typical responses around 50%.11–17              discontinued treatment due to adverse events. The
 3. Clinicians should not offer systemic chemo-           side effect profile associated with docetaxel may lead
 therapy or immunotherapy to patients with                patients to delay docetaxel treatment until symp-
 non-metastatic CRPC outside the context of               tomatic or to elect not to receive this treatment at
 a clinical trial. (Recommendation; Evidence              all. A thorough discussion of the risks and benefits of
 Level Grade C)                                           this treatment is warranted with all patients who
    There are no data to support use of these agents      are considering this therapy.
 in this patient population. The combination of no        Sipuleucel-T. Sipuleucel-T immunotherapy is an
 known benefit with known and potentially serious         FDA-approved agent in this setting based upon the
 harms results in a recommendation not to use these       results of the IMPACT trial.19 In this randomized
 agents.                                                  double-blind placebo controlled clinical trial, men
                                                          with asymptomatic or minimally symptomatic
 Index Patient 2                                          mCRPC and good functional status treated with sip-
 4. Clinicians should offer abirateroneⴙpred-             uleucel-T, as compared to placebo, had a significant
 nisone, docetaxel or sipuleucel-T to patients            reduction in the risk of death. It is worth noting that
 with asymptomatic or minimally symptomatic               patients receiving sipuleucel-T therapy rarely (less
 mCRPC with good performance status and no                than 10%) exhibit a clinical, serologic or radio-
 prior docetaxel chemotherapy. [Standard; Ev-             graphic response; as such, patients should be coun-
 idence Level Grade A (abiraterone)/B (do-                seled appropriately not to expect to see a decline in
 cetaxel)/B (sipuleucel-T)]                               PSA or reduction in radiological volume of disease
    Docetaxel chemotherapy and sipuleucel-T im-           when undergoing this treatment.
 munotherapy are currently the only agents that              There are no direct studies comparing the agents
 have demonstrated a survival advantage, while            that can be used to inform optimal sequencing. As a
 abiraterone⫹prednisone has demonstrated radio-           general principle, it is preferable to give the least
 graphic progression-free survival benefits. All three    toxic agent first, particularly given the lack of head-
 have an FDA indication for use in men with mCRPC         to-head data, but this must be considered in light of
 who have not yet received docetaxel chemotherapy.        other considerations, including convenience of
                                                          administration.
 Abiraterone. Abiraterone is an irreversible inhibitor    5. Clinicians may offer first-generation antian-
 of the hydroxylase and lyase activities of CYP17A.       drogen therapy or observation to patients
 Prior to docetaxel chemotherapy, abiraterone⫹            with asymptomatic or minimally symptomatic
 prednisone demonstrated an improvement in radio-         mCRPC with good performance status and no
 graphic PFS and a trend toward improvement in            prior docetaxel chemotherapy who do not
 overall survival in the COU-AA-302 study.18 Abi-         want or cannot have one of the standard ther-
 raterone is associated with expected increases in        apies. (Option; Evidence Level Grade C)
 mineralocorticoids upstream of CYP17A, accounting           Manipulation with existing antiandrogen agents,
 for the treatment-related side effects, such as hyper-   such as bicalutamide, nilutamide or flutamide, can
 tension, hypokalemia, edema and fatigue that re-         only be considered an option in this setting, if only
 spond to low dose glucocorticoids. Use of abiraterone    because they offer patients who do not want or can-
 in combination with low dose prednisone is required      not have one of the standard therapies a relatively
 to prevent these treatment-related increases in          less toxic therapeutic option.
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     In patients who elect not to receive the standard     regardless of symptoms; therefore, it is appropriate
  therapies, there are a number of other options avail-    for Index Patient 3.
  able. Data to support these options in the setting of    8. Clinicians may offer ketoconazoleⴙsteroid,
  asymptomatic or minimally symptomatic prostate           mitoxantrone or radionuclide therapy to pa-
  cancer are limited and generally of lesser strength      tients with symptomatic mCRPC with good
  than the standard treatments. Some have suggested        performance status and no prior docetaxel
  that the removal of antiandrogen therapy may have        chemotherapy who do not want or cannot have
  a beneficial effect on mCRPC. The majority of stud-      one of the standard therapies. [Option; Evi-
  ies supporting this approach are observational, and      dence Level Grade C (ketoconazole)/B (mitox-
  the single randomized clinical trial addressing this     antrone)/C (radionuclide therapy)]
  issue failed to show any survival benefit associated
  with antiandrogen withdrawal.20                          Ketoconazole. Ketoconazole has not shown signifi-
     Finally, some patients may not wish to pursue         cant OS improvements in patients with symptom-
  any therapy, waiting for the onset of symptoms to        atic, chemotherapy-naïve mCPRC. Ketoconazole has
  pursue treatment (if they are to ever elect treatment    substantial treatment-related side effects that have
  at all). Given current data in this patient popula-      prompted the development of more potent CYP17A
  tion, this approach is a reasonable option.              inhibitors, such as abiraterone.

  Index Patient 3                                          Mitoxantrone. Mitoxantrone, a microtubule inhibi-
  6. Clinicians should offer docetaxel to patients         tor, has not shown a survival benefit compared to
  with symptomatic mCRPC with good perfor-                 docetaxel-based chemotherapy regimens in mCRPC
  mance status and no prior docetaxel chemo-               as previously discussed.3 Mitoxantrone is primarily
  therapy. (Standard; Evidence Level Grade B)              utilized in symptomatic mCRPC patients with poor
                                                           performance status (ie not candidates for docetaxel-
  Docetaxel. As previously noted, high-quality evi-        based chemotherapy). In support of its use, mitox-
  dence supports the use of first-line docetaxel every     antrone has been shown to provide a palliative re-
  three weeks with daily prednisone in symptomatic         sponse in symptomatic patients in one randomized
  mCRPC.3,4 Bone pain responses were more signifi-         study.21
  cant in docetaxel patients (35% vs. 22%, p ⫽ 0.08), as
  were improvements in quality of life compared to the     Radionuclide therapy. The use of systemic radio-
  mitoxantrone group.                                      therapy with samarium-153 or strontium-89 occa-
  7. Clinicians may offer abirateroneⴙprednisone           sionally benefits patients with widely metastatic,
  to patients with symptomatic mCRPC with                  symptomatic bone involvement; however, this ther-
  good performance status and no prior do-                 apy is usually reserved for candidates who are not
  cetaxel chemotherapy. (Recommendation; Evi-              responding to palliative chemotherapy and who are
  dence Level Grade C)                                     not candidates for localized external beam radio-
  Abirateroneⴙprednisone. In the previously dis-           therapy.22,23 The risk of bone marrow suppression,
  cussed COU-AA-302 study, the Independent Data            which might influence the ability to administer sys-
  Monitoring Committee unanimously recommended             temic chemotherapy agents, should be considered
  unblinding based on a planned interim analysis of        before initiation of radionuclide therapy.
  radiographic PFS, OS and clinical benefit. At 22         9. Clinicians should not offer treatment with
  months of follow-up, neither median radiographic PFS     either estramustine or sipuleucel-T to patients
  nor OS for the abiraterone arm had been reached, but     with symptomatic mCRPC with good perfor-
  the hazard ratio for radiographic PFS was reported       mance status and no prior docetaxel chemo-
  as 0.53 (95% CI: 0.45, 0.62) that was statistically      therapy. (Recommendation; Evidence Level
  significant (p ⬍0.001). OS was improved with             Grade C)
  abiraterone⫹prednisone (median survival not yet          Estramustine. Estramustine has both cytotoxic and
  reached vs. 27.2 months for prednisone alone; haz-       hormonal effects. The major mechanism of action is
  ard ratio, 0.75; 95% CI, 0.61 to 0.93; p ⫽ 0.01) but
                                                           as an alkylating agent that has not shown signifi-
  did not cross the efficacy boundary.18 While the ran-
                                                           cant OS advantages. Given the significant toxicity
  domized phase-III trial was only conducted in
                                                           with estramustine, its use cannot be encouraged.3
  asymptomatic and minimally symptomatic men, the
  mechanism of action of abiraterone is similar to that    Sipuleucel-T. The use of sipuleucel-T immunother-
  of ketoconazole and has shown marked palliative          apy is not recommended in symptomatic disease
  and skeletal related benefits. Abiraterone is FDA        that necessitates narcotic use, consistent with the
  approved for treatment of this patient population        FDA indication for this compound.19
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 Index Patient 4                                           Mitoxantrone. Mitoxantrone was approved based
 10. Clinicians may offer treatment with                   on two randomized trials that demonstrated a pal-
 abirateroneⴙprednisone to patients with                   liative benefit in symptomatic mCRPC.21,24 No sur-
 symptomatic mCRPC with poor performance                   vival benefit has been seen with mitoxantrone. How-
 status and no prior docetaxel chemotherapy.               ever, it could be considered as an alternative option
 (Option; Evidence Level Grade C)                          to docetaxel or potentially as a second-line therapy
    In the previously discussed COU-AA-302 study, OS       in men with symptomatic disease and a poor perfor-
 did not meet the pre-specified boundary for signifi-      mance status. If the poor performance status is not
 cance at the early point of unblinding.18 Thus, though    related to cancer progression, then systemic chemo-
 survival trend is better with abiraterone⫹prednisone,     therapy of any kind is not recommended.
 it remains unclear if abiraterone⫹prednisone im-          13. Clinicians should not offer sipuleucel-T to
 proves OS. Nevertheless, the FDA approved the la-         patients with symptomatic mCRPC with poor
 bel for use of abiraterone⫹prednisone in mCRPC            performance status and no prior docetaxel
 independent of docetaxel treatment. Notably, COU-         chemotherapy. (Recommendation; Evidence
 AA-302 was administered only in good performance          Level Grade C)
 status patients, but it is the Panel’s opinion that          In subsequent analyses of the IMPACT trial, it
 abiraterone⫹prednisone would be a reasonable al-          appears that the survival benefit associated with its
 ternative to chemotherapy for patients even with a        use does not appear until six months after ther-
 poor performance status.                                  apy.19 Sipuleucel-T appears to benefit patients with
 11. Clinicians may offer treatment with                   a lower disease burden and better performance sta-
 ketoconazoleⴙsteroid or radionuclide therapy              tus. Patients with very symptomatic disease and a
 to patients with symptomatic mCRPC with                   poor performance status would be unlikely to gain a
 poor performance status and no prior do-                  significant survival benefit from the use of sipuleu-
 cetaxel chemotherapy who are unable or un-                cel-T and should be directed toward alternative
 willing to receive abirateroneⴙprednisone.                options.
 (Option; Evidence Level Grade C)
                                                           Index Patient 5
 Ketoconazole. Ketoconazole has been demonstrat-
                                                           14. Clinicians should offer treatment with
 ed to have anti-cancer effects20 in the setting of
                                                           abirateroneⴙprednisone, cabazitaxel or en-
 mCRPC and could be a viable alternative, in partic-
                                                           zalutamide to patients with mCRPC with good
 ular if abiraterone⫹prednisone is unavailable.
                                                           performance status who have received prior
 Radionuclide therapy. Samarium-153 and stron-             docetaxel chemotherapy. If the patient re-
 tium-89 have not shown a survival benefit but may         ceived abirateroneⴙprednisone prior to do-
 offer palliative benefit in patients symptomatic with     cetaxel chemotherapy, he should be offered
 bone pain.                                                cabazitaxel or enzalutamide. [Standard; Evi-
 12. Clinicians may offer docetaxel or mitoxan-            dence Level Grade A (abiraterone)/B (cabazi-
 trone chemotherapy to patients with symp-                 taxel)/A (enzalutamide)]
 tomatic mCRPC with poor performance status                   Abiraterone⫹prednisone and enzalutamide have
 and no prior docetaxel chemotherapy in select             clinical benefit and may be administered with signifi-
 cases, specifically when the performance sta-             cantly less acute toxicity and no apparent cumulative
 tus is directly related to the cancer. (Expert            toxicity as compared to approved chemotherapy in this
 Opinion)                                                  clinical scenario. This is in contradistinction to caba-
    Patients with mCRPC may have a poor perfor-            zitaxel that may show cumulative bone marrow tox-
 mance status for multiple reasons, but the two ma-        icity (manifested by pancytopenia), but also cumu-
 jor possibilities are cancer related and non-prostate     lative neurotoxicity, particularly in patients with
 cancer related causes. The latter patient may benefit     some underlying peripheral neuropathy from their
 from treatment.                                           prior docetaxel.
 Docetaxel. Docetaxel is considered the standard           Abirateroneⴙprednisone. In a phase III trial
 first-line therapy in mCRPC and has demonstrated          (COU-AA-301), patients who had failed docetaxel
 both a survival benefit as well as a palliative benefit   received abiraterone⫹prednisone or placebo. At a
 in symptomatic disease. Most patients with a poor         median of 12.8 months, OS and PFS favored the
 performance status are not considered qualified can-      abiraterone⫹prednisone cohort.25 As previously
 didates for chemotherapy, but it is possible that         noted, abiraterone⫹prednisone was well tolerated
 some patients whose cancers are mostly contribut-         during clinical trial but did show an increase in
 ing to their disability may benefit from anti-cancer      adverse events, specifically those side effects related
 treatment.                                                to mineralocorticoid excess.
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  Cabazitaxel. Cabazitaxel is a tubulin-binding tax-         mains a viable alternative for patients unable to
  ane chosen for clinical development because of pre-        obtain abiraterone⫹prednisone.
  clinical activity in tumor models resistant to other       16. Clinicians may offer re-treatment with do-
  taxanes. An open-label, randomized phase III trial         cetaxel to patients with mCRPC with good per-
  compared cabazitaxel with oral prednisone vs mitox-        formance status who were benefitting at the
  antrone with the same dose of prednisone, both ad-         time of discontinuation (due to reversible side
  ministered on an every three week basis.26 In this         effects) of docetaxel chemotherapy. (Option;
  trial, patients who had received prior docetaxel were      Evidence Level Grade C)
  randomized, and the group receiving cabazitaxel               In an effort to prolong the overall period of dis-
  demonstrated improved OS and PFS. Cabazitaxel              ease control with docetaxel, to allow reversible side-
  resulted in more clinically significant diarrhea, but      effects to improve and to maximize QOL by spending
  its primary toxicity is hematological, with 82% of         as much time off chemotherapy as possible, the use
  patients developing grade 3 or 4 neutropenia, 8%           of intermittent therapy with built-in drug holidays
  developing febrile neutropenia and 5% deaths. The          has become a common practice. Non-randomized
  FDA label indication for this drug recommends pro-         data as well as one randomized trial29 suggest that
                                                             a minority of patients may retain sensitivity to the
  phylactic neutrophil growth factor support in those
                                                             drug with multiple discontinuous periods of admin-
  patients most susceptible to neutropenia, including
                                                             istration. It is apparent that those drug holidays
  older individuals and those with significant prior
                                                             may last, on average, four to five months, and sub-
  radiotherapy. Because of the need for intravenous
                                                             sequent non-treatment periods might also last a
  administration, the more modest clinical benefit and
                                                             number of months. Patients with these characteris-
  the higher rates of significant toxicity, cabazitaxel is
                                                             tics and who have recovered from prior toxicity may
  ranked below abiraterone⫹prednisone and enzalut-           be considered for a re-trial of docetaxel.
  amide for this group of patients.
  Enzalutamide. Enzalutamide is a novel androgen-            Index Patient 6
                                                             17. Clinicians should offer palliative care to pa-
  receptor signaling inhibitor. The double-blind, pla-
                                                             tients with mCRPC with poor performance sta-
  cebo controlled phase III AFFIRM trial was per-
                                                             tus who received prior docetaxel chemotherapy.
  formed in men who had received prior docetaxel
                                                             Alternatively, for selected patients, clinicians
  therapy.27 Patients received either enzalutamide or
                                                             may offer treatment with abirateroneⴙpredni-
  placebo, and OS, the primary end point, favored
                                                             sone, enzalutamide, ketoconazoleⴙsteroid or ra-
  enzalutamide. Toxicity from enzalutamide was re-
                                                             dionuclide therapy. (Expert Opinion)
  lated primarily to fatigue, diarrhea and hot flashes,         The goal of palliation is to prevent and relieve
  although 5 of 800 patients receiving the drug devel-       suffering and to support the best possible QOL for
  oped seizure activity. This drug was approved by the       the patient and family. Advanced prostate cancer
  FDA and represents another highly active oral              can be debilitating with bone pain, fatigue and
  agent with minimal toxicity available to these             weight loss. Palliative radiotherapy can be an option
  patients.                                                  for controlling bone pain in some patients.
  15. Clinicians may offer ketoconazoleⴙsteroid              18. Clinicians should not offer systemic chemo-
  to patients with mCRPC with good perfor-                   therapy or immunotherapy to patients with
  mance status who received prior docetaxel if               mCRPC with poor performance status who re-
  abirateroneⴙprednisone, cabazitaxel or en-                 ceived prior docetaxel chemotherapy. (Expert
  zalutamide is unavailable. (Option; Evidence               Opinion)
  Level Grade C)                                                There is insufficient evidence demonstrating a
     A number of clinical trials have established the        benefit in this patient population. The potential for
  efficacy and toxicity of high-dose ketoconazole in this    harm greatly outweighs the potential benefit, so
  setting,28 with as many as 50% of patients showing         these treatments should not be offered.
  greater than 50% drop in PSA, fewer bidimension-
  ally measurable disease responses and a median
  time to progression of five to eight months. One           GUIDELINE STATEMENTS
  study has suggested that 1) prior response to an anti-     ON BONE HEALTH
  androgen; 2) pretreatment PSA doubling time; and 3)        Several factors conspire to place the average patient
  extent of disease may be associated with the likelihood    with metastatic prostate at a higher risk of bone
  of clinical response to this therapy.28 Although keto-     complications. First, the median age of onset of the
  conazole likely has a lower response rate, a shorter       disease is in the late 60’s, meaning that the average
  time to progression and higher incidence of signifi-       patient with metastatic disease may be in his 70’s
  cant toxicity than abiraterone⫹prednisone, it re-          (or beyond), clearly a population at risk of physio-
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 logical, age-related decreases in bone mineral den-      reason, when prescribing denosumab, it is recom-
 sity. Secondly, ADT, a primary therapeutic inter-        mended to include supplemental calcium and mon-
 vention in patients with recurrent disease, is           itor serum calcium level. Osteonecrosis of the jaw
 associated with progressive loss of bone mineral         was uncommon in both arms. Based on these data,
 density, not infrequently to the point of measurable     both denosumab and zoledronic acid can be consid-
 osteopenia or frank osteoporosis, increasing the pa-     ered options, with denosumab providing slightly su-
 tient’s fracture risk even in patients with non-met-     perior efficacy results in a head-to-head comparison,
 astatic disease.30,31 Finally, in patients with ad-      and, therefore, is listed as the first option.
 vanced disease, bones are the most common site of
 metastatic disease with as many as 70% of patients       Zoledronic Acid
 at some point in their course demonstrating evi-         Bisphosphonates are a class of potent inhibitors of
 dence of disease in this site.                           bone resorption and have decreased the incidence of
 19. Clinicians should offer preventative treat-          SREs. Zoledronic acid is the only bisphosphonate to
 ment (e.g. supplemental calcium, vitamin D)              demonstrate a beneficial effect in patients with
 for fractures and skeletal related events to             mCRPC. In a phase III randomized trial,39 zole-
 CRPC patients. (Recommendation; Evidence                 dronic acid decreased the incidence of SREs as com-
 Level Grade C)                                           pared to placebo. Furthermore, longer therapy (up to
                                                          24 months) appears to confer continued benefit, even
 Vitamin D                                                in patients who have experienced one SRE, when
 A meta-analysis of randomized controlled trials in       compared to placebo. The toxicity of this therapy
 over 9,000 patients 60 years of age or older has         includes a small incidence of osteonecrosis of the
 reported a reduction in the relative risk of hip frac-   jaw, hypocalcemia and nephrotoxicity.
 ture of 26% (compared to calcium alone or placebo)
 and of non-vertebral fractures by 23%, although          Radionuclide Therapy
 these reductions were only observed with higher          Intravenous radionuclides have been developed in
 doses of vitamin D (700 – 800 IU/day).32 There was       an attempt to palliate patients with painful bony
 no benefit observed at 400 IU/day, a dose commonly       metastases. Samarium-153 has been shown in two
 incorporated into multivitamin preparations.             randomized trials to provide palliation to patients
                                                          with painful bony metastases and to have less se-
 Calcium                                                  vere and more transient hematological toxicity,
 Supplemental calcium is recommended in general to        likely related to its shorter half-life40,41 that also
 help prevent bone loss. This is particularly impor-      results in the possibility of giving multiple doses to
 tant in men on either zoledronic acid or denosumab       patients safely.42 The toxicity profile alone would
 since hypocalcemia requiring dose modification or        result in the selection of samarium-153 over stron-
 abandonment is a not-uncommon side effect. How-          tium-89 in this group of patients.
 ever, its use should be tempered by the fact that
 calcium supplementation alone (500 –1,000 mg/day)        Conflict of Interest Disclosures
 cannot prevent bone mineral density loss from            All panel members completed COI disclosures. Re-
 ADT.33 Also, calcium supplementation may not be          lationships that have expired (more than one year
 innocuous, as epidemiologic studies have suggested       old) since the panel’s initial meeting, are listed.
 a relationship between calcium intake and the risk       Those marked with (C) indicate that compensation
 of subsequent cardiovascular disease34,35 and pros-      was received; relationships designated by (U) indi-
 tate cancer risk including fatal prostate cancer,        cate no compensation was received. Consultant/
 though conflicting data exist.36,37                      Advisor: Michael S. Cookson, Spectrum (C), Myr-
 20. Clinicians may choose either denosumab or            iad (C), US HIFU(C), Endo (C), GE Healthcare (C),
 zoledronic acid when selecting a preventative            Covidien (C); Stephen J. Freedland, Amgen (C),
 treatment for skeletal related events for                Medivation (C), Bayer (C), Mitomics (C), Astellas
 mCRPC patients with bony metastases. (Op-                (C), AstraZeneca (C), Dendreon (C), Janssen (C),
 tion; Evidence Level Grade C)                            Glaxo Smith Kline (C) (Expired); Maha Hussain,
                                                          Merck (C), Lilly (C), Exelexis (C), Johnson & John-
 Denosumab                                                son (C); Adam S. Kibel, Dendreon (C), Myriad Ge-
 Denosumab is a human monoclonal antibody di-             netics (C), National Cancer Institute (C), Sanofi-
 rected against RANKL and inhibits osteoclast-me-         Aventis (C), Specrum (C); Daniel W. Lin, Caris Life
 diated bone destruction. In a randomized trial,          Sciences (U), Dendreon Corporation (C), GenProbe
 patients with mCRPC treated with denosumab dem-          (U), Myriad Genetics (C), Pfizer (C); William T.
 onstrated a longer time to first skeletal-related        Lowrance, Myriad Genetics (C), Dendreon (C);
 event compared to zoledronic acid.38 Denosumab re-       William K. Oh, Active Biotech (C), Amgen (C), As-
 sulted in more significant hypocalcemia. For this        tellas (C), Bayer (C), Bellicum Pharmaceuticals (C),
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  Centocor Ortho Biotech (C), Dendreon (C), Genen-                                  committee provides an ongoing conflict of interest
  tech (U), Imedex (C), Janssen (C), Medivation (C),                                disclosure to the AUA. While these guidelines do not
  Millenium (U), Pfizer (C), sanofi-aventis (C). Inves-                             necessarily establish the standard of care, AUA
  tigator: William K. Oh, Genentech (U) (Expired),                                  seeks to recommend and to encourage compliance by
  Millenium (C) (Expired). Meeting Participant or                                   practitioners with current best practices related to
  Lecturer: Michael S. Cookson, Photocure (C);                                      the condition being treated. As medical knowledge
  Stephen J. Freedland, AstraZeneca, (C), Den-                                      expands and technology advances, the guidelines
  dreon, (C), Amgen (C) (Expired), AstraZeneca (C)                                  will change. Today these evidence-based guidelines
  (Expired), Centocor Ortho Biotech (C)(Expired);                                   statements represent not absolute mandates but
  Maha Hussain, Ferring (C), Astra Zeneca (C);                                      provisional proposals for treatment under the spe-
  Adam S. Kibel, Dendreon (C), Sanofi-Aventis (C)                                   cific conditions described in each document. For all
  (Expired); Daniel W. Lin, Dendreon Corporation                                    these reasons, the guidelines do not pre-empt phy-
  (C), Myriad (C); William K. Oh, sanofi-aventis (C)
                                                                                    sician judgment in individual cases. Treating physi-
  (Expired). Scientific Study or Trial: Michael S.
                                                                                    cians must take into account variations in resources,
  Cookson, Endo (C), GE Healthcare (C), Covidien
                                                                                    and patient tolerances, needs, and preferences. Con-
  (C); Stephen J. Freedland, Glaxo Smith Kline (C)
                                                                                    formance with any clinical guideline does not guar-
  (Expired), Dendreon (C) (Expired), Janssen (C);
  Maha Hussain, Imclone (U), celgene (U), Mille-                                    antee a successful outcome. The guideline text may
  nium (U), Abbott (U), EMD Serono (U), Genta (U),                                  include information or recommendations about cer-
  Abraxis, (U) (Expired); Adam S. Kibel, Sanofi-                                    tain drug uses (“off label”) that are not approved by
  Aventis (C); Daniel W. Lin, Department of Defense                                 the Food and Drug Administration, or about medi-
  (C), GenProbe (U), NIH/NCI (C), Sanofi-Aventis (C),                               cations or substances not subject to the FDA ap-
  Veteran’s Affairs (U); William K. Oh, Pfizer (C)                                  proval process. AUA urges strict compliance with all
  (Expired); Bruce J. Roth, Oncogenix (U), Exelixis                                 government regulations and protocols for prescrip-
  (U), Medivation (U).                                                              tion and use of these substances. The physician is
                                                                                    encouraged to carefully follow all available prescrib-
  Guidelines Disclaimer
                                                                                    ing information about indications, contraindica-
  This document was written by the Castration-Resis-
                                                                                    tions, precautions and warnings. These guidelines
  tant Prostate Cancer Guidelines Panel of the Amer-
                                                                                    and best practice statements are not intended to
  ican Urological Association Education and Re-
                                                                                    provide legal advice about use and misuse of these
  search, Inc., which was created in 2011. The Practice
  Guidelines Committee of the AUA selected the com-                                 substances. Although guidelines are intended to en-
  mittee chair. Panel members were selected by the                                  courage best practices and potentially encompass
  chair. Membership of the committee included urolo-                                available technologies with sufficient data as of close
  gists, and oncologists and other clinicians with spe-                             of the literature review, they are necessarily time-
  cific expertise on this disorder. The mission of the                              limited. Guidelines cannot include evaluation of all
  committee was to develop recommendations that are                                 data on emerging technologies or management, in-
  analysis-based or consensus-based, depending on                                   cluding those that are FDA-approved, which may
  Panel processes and available data, for optimal clin-                             immediately come to represent accepted clinical
  ical practices in the treatment of Castration-Resis-                              practices. For this reason, the AUA does not regard
  tant Prostate Cancer. Funding of the committee was                                technologies or management which are too new to be
  provided by the AUA. Committee members received                                   addressed by this guideline as necessarily experi-
  no remuneration for their work. Each member of the                                mental or investigational.


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                                EXHIBIT H
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   READ ME FIRST

   DOING BUSINESS WITH VA
   The Department of Veterans Affairs operates a nationwide system of hospitals, clinics, Veterans
   Integrated Service Networks (VISN), data processing centers, and National Cemeteries, all of which
   require a broad spectrum of goods and services. These goods and services are purchased on a national,
   regional, and local level – so no matter how large or small your business, VA is a potential customer.
   The VA Federal Supply Schedule (FSS) Program establishes long-term governmentwide contracts that
   allow VA and other government agencies to acquire a vast array of medical equipment and supplies
   directly from commercial suppliers.

   IS A VA FSS CONTRACT RIGHT FOR YOU?
   VA awards contracts to responsible companies offering commercial items at fair and reasonable prices.
   Contracting Officers determine whether prices are fair and reasonable by comparing the
   prices/discounts that a company offers the government with the prices/discounts offered to commercial
   customers; this practice is commonly known as “most favored customer” pricing. In order to make this
   comparison, VA requires offerors to furnish commercial pricelists and disclose information regarding
   their commercial pricing/discounting practices.

   DO YOU QUALIFY FOR A VA FSS CONTRACT?
   To qualify for a VA FSS contract you should:
     1. Be able to demonstrate that your firm is responsible.
     2. Complete the GSA “Pathway to Success” education seminar. Submit a copy of the certificate of
        completion with your proposal. Please note that this is only required for new offerors without an
        existing FSS contract.
     3. Meet all the requirements of the solicitation.
     4. Be able to fulfill all contract obligations outlined in the solicitation.
   Contact the VA FSS Help Desk to discuss your firm’s eligibility!


   IMPORTANT CRITERIA TO CONSIDER

   Assess Your Competition
   It is recommended that you identify and assess your competition prior to submitting a proposal. This
   task can be completed by reviewing the Contract Catalog Search Tool, GSA eLibrary or GSA Advantage.
   These websites contain information regarding the supplies and services that current VA FSS contractors
   already offer. Your review of the competition should include: competitor’s pricing, delivery times,
   warranty terms, services, and any other elements that make their offering distinct when compared to
   your own.
   Best Value Determination
   Schedule buyers award task/delivery orders to FSS contractors based upon a “best value”
   determination. In FAR 2.101, best value is defined as the “expected outcome of an acquisition that, in
   the Government’s estimation, provides the greatest overall benefit in response to the requirement.”
   Factors that may be considered when making a best value determination include (but are not limited
   to):



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       •   Price
       •   Special features of the service or supply required for effective performance
       •   Past performance records
       •   Quality of the proposed solutions and cost differences
       •   Trade-in considerations
       •   Warranty
       •   Delivery terms
       •   Expertise of the offeror
       •   Socioeconomic status

   Minimum Sales Criteria
   VA expects all FSS contractors to exceed $25,000 in sales within the first two years after contract award
   and $25,000 each succeeding year in order to retain your VA FSS contract. You should consider the
   difficulty you may have in meeting this performance requirement if your company is newly established
   or has low sales of the services/supplies you want to offer to the Government. If you decide to submit
   an offer under the VA FSS program, it is suggested that you draft a business plan covering how you
   intend to meet this performance requirement.

   GETTING ON SCHEDULE
   Once you’ve determined that a VA FSS contract is in your company’s best interest you will need to
   submit an offer for contract award. While not all firms are awarded VA FSS contracts, the VA FSS
   program is open to all responsible offerors. To be considered for contract award, you must demonstrate
   that your firm is responsible and is able to meet all Schedule program requirements, including price
   reasonableness. By following the best practices and understanding the review and award processes
   discussed in this document, vendors will be well equipped to submit a quality offer and negotiate to
   receive a Schedule contract.

   Prior to submitting a proposal, interested companies should:
    1. Choose the Schedule program that best aligns to the supplies and/or services your company wants
       to offer. Select the appropriate solicitation number to be linked directly to the solicitation files.
       Download the solicitation, including all corresponding documents, and follow the instructions for
       completion.
    2. Read the entire Schedule solicitation thoroughly and respond to all requirements.
    3. Make sure all offered line items fall within the scope of the Schedule solicitation.
    4. Make sure the company is financially sound.
    5. Be ready to negotiate the company’s best offer.

   Other helpful hints:
    (1) Obtain a Data Universal Numbering System (DUNS) Number, also known as the unique entity
        identifier.
    (2) Register in the System for Acquisition Management (SAM) database. Vendors must be registered
        in SAM prior to the award of the Schedule contract (see FAR 52.212-4(t)). Contractors that
        complete electronic annual representations and certifications via the SAM website must update as
        necessary, but at least annually, to ensure they are kept current, accurate, and complete.
    (3) Submit all required documents including Manufacturer Letter of Supply and proof of insurance as
        required.

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   BEST PRACTICES




                 Submitting a Proposal                                    Proposal Review
         •Read the solicitation package in its entirety      •Understand the review process and anticipated
         •Ensure all information is current, accurate, and    timelines
          complete                                           •Provide timely and complete responses to all
         •Provide proof of registration requirements          requests for information and clarification requests
         •Make sure your company meets the minimum           •Ask questions! If you are not sure what
          requirements of the solicitation                    information to provide contact the FSS Help Desk or
         •Use the Solicitation checklist to ensure the        your assigned contracting officer.
          completeness of your offer                         •Be ready to negotiate the company's best offer




   Key Elements of a Successful Offer:
   Ensuring these key elements are included in your proposal may expedite the review and award process:
    •     Scope – Are the supplies/services within the scope of the Schedule? See the Scope of Solicitation
          section in the Vendor Response Document 02.
    •     Past Performance – Does your firm meet its commitments and responsibilities?
    •     Financial Capability – Is your firm financially sound?
    •     Pricing – Is your proposed pricing competitive with current market conditions?
    •     Subcontracting Plan – Required if your firm is considered “other than a small business” and if the
          estimated value of the contract exceeds $700,000 (including all option periods).
     •    Other Regulatory Compliance – Is your firm debarred? Are all registration requirements
          complete? See the Compliance Requirements web page for a complete list of all required
          registrations.

   Your regional Procurement Technical Assistance Center (PTAC) offers a wide range of assistance (most
   free of charge) through one-on-one counseling, classes, seminars, and matchmaking events. Contact
   your local PTAC for help in
     • Determining your firm’s suitability for contracting
     • Proposal preparation
     • Securing necessary registrations and socioeconomic registrations
     • Researching procurement histories
     • Networking
     • Identifying bid opportunities
     • Contract performance issues
     • Preparing for audit

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   PROPOSAL REVIEW & AWARD PROCESS

   Review & Award Process
                                                    6. CS requests the
                                                      offeror's Final                  7. CS submits
                  1. Proposal Received              Proposal Revision                proposal for final
                                                   (FPR) (the offeror's                    review
                                                   best and final offer)


                                                                                       8. If the offer is
                   2. Proposal assigned             5. CS enters in to
                                                                                   approved, the vendor
                  to Contract Specialist          negotiations with the
                                                                                   is notified of contract
                           (CS)                          offeror
                                                                                             award


                  3. CS reviews and, if
                                                     4. CS conducts a
                  applicable, asks for
                                                    price analysis and
                      clarifying or
                                                    fully evaluates the
                       additional
                                                          proposal
                      information

   The goal of this review process is to ensure the vendor is responsible, the Government is receiving a fair
   and reasonable price, and that any potential contract award is in the best interest of the Government.

   Process Time
   In general, proposals will be reviewed and, if applicable, awarded within six (6) months from the time
   they are assigned to a Contract Specialist. To further discuss the review process, please contact your
   assigned contract specialist or the FSS Help Desk. Well prepared offers with competitive pricing are
   easier to evaluate and, therefore, may expedite the award process. The offer process time can vary
   depending on:
     • The timeliness of your responses to requests for clarification or additional information
     • The quality and completeness of the proposal and subsequent clarification responses
     • Complexity of the proposal, including number of line items offered
     • Quality assurance reviews


   TRAINING

   Required Training
   New offerors without an existing FSS contract must successfully complete GSA’s Pathway to Success at
   GSA’s Vendor Education Center and include a copy of the certificate with their proposal. This seminar is
   designed to assist prospective Schedule contractors in making an informed business decision as to
   whether obtaining a GSA Schedule contract is in their best interests.
   Please note that the individual whose name appears on the course completion certificate must be an
   officer of the company and also be designated as an authorized negotiator. This designation is made at
   K-FSS-1 Authorized Negotiators, located in the Vendor Response section of Document 02. The course
   must be completed within one year of the date of your proposal (the date listed on the SF 1449).


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   Recommended Training
   The VA FSS Service offers extensive training presentations on our VA FSS Training web page. Under our
   “Webinars” section, you will find presentations outlining the steps involved in getting a VA Schedule
   contract. These presentations describe:
       • How to submit an offer
       • How to effectively negotiate your offer
       • The post-award contract administration process and reporting requirements
       • FSS electronic tools
   Please utilize the two solicitation guides found in the “Solicitation Assistance” section of our VA FSS
   Training page. These guides will provide step-by-step instructions for completing the Vendor Response
   and Commercial Sales Practices sections of the solicitation and will assist you with submitting a more
   accurately prepared proposal.
   Additionally, the FSS Training page offers best practice tip sheets offering information on the various
   aspects of the VA Schedules program.
   GSA offers numerous in-person and virtual training sessions that provide attendees with an in-depth
   understanding of acquisition vehicles and policies. Visit the GSA Interact Training page as well as GSA’s
   YouTube channel and Schedule podcast offerings! Additional training is offered by the GSA Vendor
   Support Center.


   Additional Information
   While VA provides its Government customers with training in “Using VA Schedules,” including
   information on the benefits of the Schedules Program, VA does not promote the use of any company’s
   specific Schedule contract. Vendors should be aware that obtaining a VA Schedule contract is not a
   guarantee of sales. Vendors awarded a VA Schedule contract will need to market their supplies and
   services to Government customers as they would to commercial customers.


   Contact Us
   Contact the FSS Help Desk for additional information on submitting a proposal or on the VA FSS review
   and award process!




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   PART I – TERMS AND CONDITIONS APPLICABLE TO GOODS AND SERVICES

   CONTINUATION OF SF-1449 BLOCKS 19-21, SCHEDULE OF ITEMS
   See Continuation of SF-1449 Blocks 19-21, Schedule of Items in Document 02 - Vendor Response.

   NATIONAL DRUG CODES (JUN 2005)
   NOTE: May not be applicable to SINs 42-1, 42-3, 42-5 and 622.
   Offeror is required to enter the National Drug Code following each item pursuant to the instructions of
   the Commercial Sales Practices (CSP) section of this solicitation. If an NDC has not been assigned, then
   the offeror should so state. The shipping container shall be marked with the NDC, if available.

   BAR CODING (MAY 2012)
   All pharmaceutical products provided under this contract shall include bar code labeling at the unit-of-
   use package level. The bar code labeling must be in a linear format that conforms to all GS1-128
   (formerly EAN.UCC) or Health Industry Business Communication Council (HIBCC) Health Industry Bar
   Code (HIBC) supplier labeling standards. The bar code symbology must comply with all GSI or HIBCC
   parameters including, but not limited to: symbology type or encoded pattern, bar and space dimensions
   and tolerances, and allowable ratio of wide to narrow elements.
   The bar code may be any linear bar code symbology such as GS1-128 (formerly EAN.UCC), GS1 DataBar
   (formerly RSS), or Universal Product Code (if the UPC contains the National Drug Code or NDC). The bar
   code must encode the NDC, either alone or within the GS1 data structure (Global Trade Item Number
   (GTIN)).
   The bar code printing must be American National Standards Institute (ANSI)/International Organization
   for Standardization (ISO)/IEC Quality Grade C or better. Manufacturers and packagers must ensure that
   production runs include an initial verification check, as well as routine audits to ensure the bar code is
   printed clearly and consistently to meet the quality standard of Grade C or better. Contractors shall be
   responsible for ensuring that bar code labels meet the quality requirements specified in this clause prior
   to shipping pharmaceutical products to any Government Prime Vendor or authorized ordering activity
   under this contract.
   The bar code must be on the outside container or wrapper of the medication as well as on the
   immediate container, unless the bar code is readily visible and machine-readable through the outside
   container or wrapper. When the bar code is not easily machine-readable through the over wrap, the
   over wrap should contain the bar code.
   The bar code must go on each cell of a blister pack. Furthermore, the bar code must remain intact under
   normal conditions of use; thus it should not be printed across the perforations of a blister pack.
   When applicable to the symbology used, bar codes shall be surrounded by sufficient quiet zone so that
   the bar code can be scanned correctly. Bar code placement shall minimize curvature of the bar code.
   For example, bar codes should be placed in “ladder orientation” on vials or bottles to minimize
   curvature of the bar code. Bar code labeling shall not be placed solely on outer packaging.
   It is recommended that bar code labeling also include the lot number and expiration date. If two
   separate distinctive bar codes are used, one for NDC and the other for lot number/expiration date, the
   lot number and expiration date bar code must not be in close proximity to the NDC barcode or in a
   format that may be confused with the NDC bar code. When applicable, all Healthcare Distribution
   Management Association (HDMA) guidelines shall be followed.




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   THERAPEUTIC EQUIVALENCE (FEB 2007)
   NOTE: This requirement applies only to SINs 42-2a and 42-2b.
   Only products that have received under the Federal Food, Drug and Cosmetic Act a therapeutic
   equivalence code of “A” by the Food and Drug Administration will be considered, unless all drugs in the
   family group are “B” rated. In that case, no award will be made other than to the innovator unless the
   non-innovator vendor submits acceptable data demonstrating bioequivalence.

   AS1345 RECALLS (MAR 2009)
   If a drug recall is initiated for any drug provided under this contract, regardless of whether it is a
   voluntary recall by the manufacturer or a recall required by the U.S. Food and Drug Administration
   (FDA); or, if FDA withdraws their approval to manufacture any drug that is included on this contract, the
   following action shall immediately be taken by the contractor:
   Forward two copies of the recall notification along with any pertinent information to:
           1) Chief, Contracting – Administration Section, Federal Supply Schedule Service (003A4B)
              VA National Acquisition Center
               P.O Box 76
               Hines, IL 60141
               Fax number (708) 786-4974
           2) Deputy Chief Consultant (M/S119D)
              VHA Pharmacy Benefits Management Services
              1st Ave., 1 Block North of Cermak Rd., Bldg. 37, Rm 139
              Hines, IL 60141
              Fax number (708) 786-7894
           3) Manager, Product Recall Office
              National Center for Patient Safety
              Veterans Health Administration
              24 Frank Lloyd Wright Drive, Lobby M
              Ann Arbor, MI 48106
              VHANCPSRecallsNotification@va.gov
              Phone Number: (734) 930-5865
           4) All Government Prime Vendors that were sent shipments of the affected product(s).
           5) All FSS ordering activities that were sent shipments of the affected product(s).

   AS1346 LABELER CODES (JUN 2005)
   (This applies to dealers wishing to participate in VA’s Pharmaceutical Prime Vendor (PPV) program. May not be
   applicable to SINs 42-1, 42-3, 42-5 and 622.)
   Dealers must provide their own labeler code, to be used in the National Drug Code (NDC) number for
   the offered items. If a dealer does not have a labeler code, it must apply and be approved with the U.S.
   Food & Drug Administration (FDA) for its own labeler code prior to making an offer under this
   solicitation.
   NEW DRUG APPLICATION (NOV 2005)
   By signing this solicitation, the offeror certifies that it has on file (if any of the following are required by
   FDA for the offered drugs) an FDA approved New Drug Application (NDA), an approved abbreviated NDA
   (ANDA), or a Biologic License approval, as appropriate for the items offered in response to the
   solicitation.

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   AS3023 DIVERSION OF PHARMACEUTICAL PRODUCTS (SEP 2010)
   (1) Pharmaceutical products ordered under Federal Supply Schedule (FSS) contracts are intended solely
       for the use of authorized ordering activities in carrying out their governmental missions; they are
       not intended for resale or barter. Any transfer of FSS contract items that does not serve the
       ordering activity's defined mission, as well as any transfer for the purpose of generating a profit on
       the difference between FSS prices and commercial prices (such as "AWP"), is an improper diversion
       of government supplies.
   (2) The Contractor may require an ordering activity that is not listed in the appendices to GSA Adm.
       Order 4800.2E (and its later revisions) or a pharmaceutical prime vendor ordering on an activity's
       behalf to demonstrate its eligibility to place FSS orders. The Contractor may also require an
       authorized ordering activity to disclose the intended use of ordered pharmaceuticals before
       commencing delivery. The Contractor is not required to fill an FSS order (or that portion of an
       order) that investigational facts suggest will be diverted into the commercial market or will
       otherwise be diverted from usage by authorized FSS ordering activities. (An example of such facts
       might be the tripling of usual ordered quantities by an activity, coupled with its failure to
       demonstrate a corresponding increase in its institutional size or patient base.) However, the
       Contractor may not unreasonably delay filling an FSS order, pending its investigation of the intended
       use of the items ordered. Based on investigational facts that suggest that a pattern of diversion has
       occurred, a Contractor may elect not to fill indirect orders of an activity through an authorized
       Government PPV and, instead, to accept only direct orders.
   (3) If the Contractor refuses to fill an FSS order because of an expectation that some or all of the order
       will be diverted or refuses to continue accepting indirect orders because of a perceived pattern of
       diversion, Contractor must notify the Schedule contracting officer (CO) of its decision within 48
       hours and state the basis for the refusal. The CO may instruct the Contractor to fill an executive-
       agency-level order and/or resume acceptance of executive agency indirect orders if the CO finds
       that there is no factual basis for the Contractor's decision. No authorized FSS ordering activity may
       be suspended from eligibility under the Schedule by any Contractor, except on the written
       instruction of the Schedule CO issued after: a) full consideration of all evidence of diversion or other
       improper practices, and b) affording the ordering activity an opportunity to present its position on
       the claimed abuse of the Schedule. An ordering activity suspended by the Schedule CO may appeal
       that decision in writing to the VA Deputy Assistant Secretary for Acquisition and Materiel
       Management, within 30 days of the CO’s decision.


   PART II – CONTRACT TERMS AND CONDITIONS______________________

   52.212-4 CONTRACT TERMS AND CONDITIONS—COMMERCIAL ITEMS (JAN
                  2017) (TAILORED)
   (a) Inspection/Acceptance. The Contractor shall only tender for acceptance those items that conform to
       the requirements of this contract. The Ordering Activity reserves the right to inspect or test any
       supplies or services that have been tendered for acceptance. The Ordering Activity may require
       repair or replacement of nonconforming supplies or reperformance of nonconforming services at no
       increase in contract price. If repair/replacement or reperformance will not correct the defects or is
       not possible, the Ordering Activity may seek an equitable price reduction or adequate consideration
       for acceptance of nonconforming supplies or services. The Ordering Activity must exercise its post-
       acceptance rights—
       (1) Within a reasonable time after the defect was discovered or should have been discovered; and


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       (2) Before any substantial change occurs in the condition of the item, unless the change is due to the
           defect in the item.
   (b) Assignment. The Contractor or its assignee may assign its rights to receive payment due as a result of
       performance of this contract to a bank, trust company, or other financing institution, including any
       Federal lending agency in accordance with the Assignment of Claims Act (31 U.S.C. 3727). However,
       when a third party makes payment (e.g., use of the Governmentwide commercial purchase card), the
       Contractor may not assign its rights to receive payment under this contract. NOTE: Please see
       52.232-23 Assignment of Claims located within this document under Part II – Contract Terms and
       Conditions as well as 552.232-23 Assignment of Claims located in the Regulations Incorporated by
       Reference section of this document.
   (c) Changes. Changes in the terms and conditions of this contract may be made only by written
       agreement of the parties.
   (d) Disputes. This contract is subject to 41 U.S.C. chapter 71, Contract Disputes. Failure of the parties to
       this contract to reach agreement on any request for equitable adjustment, claim, appeal or action
       arising under or relating to this contract shall be a dispute to be resolved in accordance with the
       clause at FAR 52.233-1, Disputes, which is incorporated herein by reference. (Note: This clause is
       included in full text in this solicitation using Alternate I, Dec 1991). The Contractor shall proceed
       diligently with performance of this contract, pending final resolution of any dispute arising under the
       contract.
   (e) Definitions. The clause at FAR 52.202-1, Definitions, is incorporated herein by reference.
   (f) Excusable delays. The Contractor shall be liable for default unless nonperformance is caused by an
       occurrence beyond the reasonable control of the Contractor and without its fault or negligence such
       as, acts of God or the public enemy, acts of the Government in either its sovereign or contractual
       capacity, fires, floods, epidemics, quarantine restrictions, strikes, unusually severe weather, and
       delays of common carriers. The Contractor shall notify the Contracting Officer in writing as soon as it
       is reasonably possible after the commencement of any excusable delay, setting forth the full
       particulars in connection therewith, shall remedy such occurrence with all reasonable dispatch, and
       shall promptly give written notice to the Contracting Officer of the cessation of such occurrence.
   (g) Invoice.
       (1) The Contractor shall submit an original invoice and three copies (or electronic invoice, if
           authorized) to the address designated in the contract to receive invoices. An invoice must
           include—
           (i) Name and address of the Contractor;
           (ii) Invoice date and number;
           (iii) Contract number, line item number and, if applicable, the order number;
           (iv) Description, quantity, unit of measure, unit price and extended price of the items delivered;
           (v) Shipping number and date of shipment, including the bill of lading number and weight of
                 shipment if shipped on Government bill of lading;
           (vi) Terms of any discount for prompt payment offered;
           (vii) Name and address of official to whom payment is to be sent;
           (viii) Name, title, and phone number of person to notify in event of defective invoice; and
           (ix) Taxpayer Identification Number (TIN). The Contractor shall include its TIN on the invoice only if
                 required elsewhere in this contract.
           (x) Electronic funds transfer (EFT) banking information.
                (A) The Contractor shall include EFT banking information on the invoice only if required
                   elsewhere in this contract.


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                (B) If EFT banking information is not required to be on the invoice, in order for the invoice to be
                   a proper invoice, the Contractor shall have submitted correct EFT banking information in
                   accordance with the applicable solicitation provision, contract clause (e.g., 52.232-33,
                   Payment by Electronic Funds Transfer—System for Award Management, or 52.232-34,
                   Payment by Electronic Funds Transfer—Other Than System for Award Management), or
                   applicable agency procedures.
                (C) EFT banking information is not required if the Government waived the requirement to pay
                   by EFT.
       (2) Invoices will be handled in accordance with the Prompt Payment Act (31 U.S.C. 3903) and Office
           of Management and Budget (OMB) prompt payment regulations at 5 CFR Part 1315.
   (h) Patent indemnity. The Contractor shall indemnify the Ordering Activity and its officers, employees
       and agents against liability, including costs, for actual or alleged direct or contributory infringement
       of, or inducement to infringe, any United States or foreign patent, trademark or copyright, arising out
       of the performance of this contract, provided the Contractor is reasonably notified of such claims and
       proceedings.
   (i) Payment.—
       (1) Items accepted. Payment shall be made for items accepted by the Ordering Activity that have
           been delivered to the delivery destinations set forth in this contract.
       (2) Prompt payment. The Government will make payment in accordance with the Prompt Payment
           Act (31 U.S.C. 3903) and prompt payment regulations at 5 CFR Part 1315.
       (3) Electronic Funds Transfer (EFT). If the Government makes payment by EFT, see 52.212-5(b) for the
           appropriate EFT clause.
       (4) Discount. In connection with any discount offered for early payment, time shall be computed from
           the date of the invoice. For the purpose of computing the discount earned, payment shall be
           considered to have been made on the date which appears on the payment check or the specified
           payment date if an electronic funds transfer payment is made.
       (5) Overpayments. If the Contractor becomes aware of a duplicate contract financing or invoice
           payment or that the Ordering Activity has otherwise overpaid on a contract financing or invoice
           payment, the Contractor shall—
           (i) Remit the overpayment amount to the payment office cited in the contract along with a
                description of the overpayment including the—
                (A) Circumstances of the overpayment (e.g., duplicate payment, erroneous payment,
                   liquidation errors, date(s) of overpayment);
                (B) Affected contract number and delivery order number, if applicable;
                (C) Affected line item or subline item, if applicable; and
                (D) Contractor point of contact.
           (ii) Provide a copy of the remittance and supporting documentation to the Contracting Officer.
       (6) Interest.
           (i) All amounts that become payable by the Contractor to the Government under this contract
                shall bear simple interest from the date due until paid unless paid within 30 days of becoming
                due. The interest rate shall be the interest rate established by the Secretary of the Treasury as
                provided in 41 U.S.C. 7109 , which is applicable to the period in which the amount becomes
                due, as provided in (i)(6)(v) of this clause, and then at the rate applicable for each six-month
                period as fixed by the Secretary until the amount is paid.
           (ii) The Government may issue a demand for payment to the Contractor upon finding a debt is due
                under the contract.


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          (iii) Final decisions. The Contracting Officer will issue a final decision as required by 33.211 if—
                (A) The Contracting Officer and the Contractor are unable to reach agreement on the
                    existence or amount of a debt within 30 days;
                (B) The Contractor fails to liquidate a debt previously demanded by the Contracting Officer
                    within the timeline specified in the demand for payment unless the amounts were not
                    repaid because the Contractor has requested an installment payment agreement; or
                (C) The Contractor requests a deferment of collection on a debt previously demanded by the
                    Contracting Officer (see 32.607-2).
          (iv) If a demand for payment was previously issued for the debt, the demand for payment included
               in the final decision shall identify the same due date as the original demand for payment.
          (v) Amounts shall be due at the earliest of the following dates:
               (A) The date fixed under this contract.
               (B) The date of the first written demand for payment, including any demand for payment
                   resulting from a default termination.
          (vi) The interest charge shall be computed for the actual number of calendar days involved
               beginning on the due date and ending on—
               (A) The date on which the designated office receives payment from the Contractor;
               (B) The date of issuance of a Government check to the Contractor from which an amount
                   otherwise payable has been withheld as a credit against the contract debt; or
               (C) The date on which an amount withheld and applied to the contract debt would otherwise
                   have become payable to the Contractor.
          (vii) The interest charge made under this clause may be reduced under the procedures prescribed
                in 32.608-2 of the Federal Acquisition Regulation in effect on the date of this contract.
   (j) Risk of loss. Unless the contract specifically provides otherwise, risk of loss or damage to the supplies
       provided under this contract shall remain with the Contractor until, and shall pass to the Ordering
       Activity upon:
       (1) Delivery of the supplies to a carrier, if transportation is f.o.b. origin; or
       (2) Delivery of the supplies to the Ordering Activity at the destination specified in the contract, if
          transportation is f.o.b. destination.
   (k) Taxes. The contract price includes all applicable Federal, State, and local taxes and duties.
   (l) Termination for the Government’s convenience. The Government reserves the right to terminate this
       contract, or any part hereof, for its sole convenience. In the event of such termination, the
       Contractor shall immediately stop all work hereunder and shall immediately cause any and all of its
       suppliers and subcontractors to cease work. Subject to the terms of this contract, the Contractor shall
       be paid a percentage of the contract price reflecting the percentage of the work performed prior to
       the notice of termination, plus reasonable charges the Contractor can demonstrate to the
       satisfaction of the Government using its standard record keeping system, have resulted from the
       termination. The Contractor shall not be required to comply with the cost accounting standards or
       contract cost principles for this purpose. This paragraph does not give the Government any right to
       audit the Contractor’s records. The Contractor shall not be paid for any work performed or costs
       incurred which reasonably could have been avoided.
   (m) Termination for cause. The Government may terminate this contract, or any part hereof, for cause in
       the event of any default by the Contractor, or if the Contractor fails to comply with any contract
       terms and conditions, or fails to provide the Government, upon request, with adequate assurances of
       future performance. In the event of termination for cause, the Government shall not be liable to the
       Contractor for any amount for supplies or services not accepted, and the Contractor shall be liable to


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       the Government for any and all rights and remedies provided by law. If it is determined that the
       Government improperly terminated this contract for default, such termination shall be deemed a
       termination for convenience.
   (n) Title. Unless specified elsewhere in this contract, title to items furnished under this contract shall
       pass to the Ordering Activity upon acceptance, regardless of when or where the Ordering Activity
       takes physical possession.
   (o) Warranty. Tailored – See Addendum to 52.212-4.
   (p) Limitation of liability. Tailored - See Addendum to 52.212-4
    (q) Other compliances. The Contractor shall comply with all applicable Federal, State and local laws,
       executive orders, rules and regulations applicable to its performance under this contract.
   (r) Compliance with laws unique to Government contracts. The Contractor agrees to comply with 31
       U.S.C. 1352 relating to limitations on the use of appropriated funds to influence certain Federal
       contracts; 18 U.S.C. 431 relating to officials not to benefit; 40 U.S.C. chapter 37, Contract Work Hours
       and Safety Standards; 41 U.S.C. chapter 87, Kickbacks; 41 U.S.C. 4712 and 10 U.S.C. 2409 relating to
       whistleblower protections; 49 U.S.C. 40118, Fly American; and 41 U.S.C. chapter 21 relating to
       procurement integrity.
   (s) Order of precedence. Any inconsistencies in this solicitation or contract shall be resolved by giving
       precedence in the following order:
       (1) The schedule of supplies/services.
       (2) The Assignments, Disputes, Payments, Invoice, Other Compliances, Compliance with Laws Unique
          to Government Contracts, and Unauthorized Obligations paragraphs of this clause;
       (3) The clause at 52.212-5.
       (4) Addenda to this solicitation or contract, including any license agreements for computer software.
       (5) Solicitation provisions if this is a solicitation.
       (6) Other paragraphs of this clause.
       (7) The Standard Form 1449.
       (8) Other documents, exhibits, and attachments.
       (9) The specification.
   (t) System for Award Management (SAM).
       (1) Unless exempted by an addendum to this contract, the Contractor is responsible during
          performance and through final payment of any contract for the accuracy and completeness of the
          data within the SAM database, and for any liability resulting from the Ordering Activity’s reliance
          on inaccurate or incomplete data. To remain registered in the SAM database after the initial
          registration, the Contractor is required to review and update on an annual basis from the date of
          initial registration or subsequent updates its information in the SAM database to ensure it is
          current, accurate and complete. Updating information in the SAM does not alter the terms and
          conditions of this contract and is not a substitute for a properly executed contractual document.
       (2) (i) If a Contractor has legally changed its business name, “doing business as” name, or division
               name (whichever is shown on the contract), or has transferred the assets used in performing
               the contract, but has not completed the necessary requirements regarding novation and
               change-of-name agreements in FAR subpart 42.12, the Contractor shall provide the responsible
               Contracting Officer a minimum of one business day’s written notification of its intention to
               (A) change the name in the SAM database; (B) comply with the requirements of subpart 42.12;
               and (C) agree in writing to the timeline and procedures specified by the responsible Contracting
               Officer. The Contractor must provide with the notification sufficient documentation to support
               the legally changed name.


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          (ii) If the Contractor fails to comply with the requirements of paragraph (t)(2)(i) of this clause, or
               fails to perform the agreement at paragraph (t)(2)(i)(C) of this clause, and, in the absence of a
               properly executed novation or change-of-name agreement, the SAM information that shows
               the Contractor to be other than the Contractor indicated in the contract will be considered to
               be incorrect information within the meaning of the “Suspension of Payment” paragraph of the
               electronic funds transfer (EFT) clause of this contract.
       (3) The Contractor shall not change the name or address for EFT payments or manual payments, as
          appropriate, in the SAM record to reflect an assignee for the purpose of assignment of claims (see
          subpart 32.8, Assignment of Claims). Assignees shall be separately registered in the SAM database.
          Information provided to the Contractor’s SAM record that indicates payments, including those
          made by EFT, to an ultimate recipient other than that Contractor will be considered to be
          incorrect information within the meaning of the “Suspension of payment” paragraph of the EFT
          clause of this contract.
       (4) Offerors and Contractors may obtain information on registration and annual confirmation
          requirements via SAM accessed through https://www.acquisition.gov.
   (u) Unauthorized Obligations
       (1) Except as stated in paragraph (u)(2) of this clause, when any supply or service acquired under this
          contract is subject to any End User License Agreement (EULA), Terms of Service (TOS), or similar
          legal instrument or agreement, that includes any clause requiring the Government to indemnify
          the Contractor or any person or entity for damages, costs, fees, or any other loss or liability that
          would create an Anti-Deficiency Act violation (31 U.S.C. 1341), the following shall govern:
          (i) Any such clause is unenforceable against the Government.
          (ii) Neither the Government nor any Government authorized end user shall be deemed to have
               agreed to such clause by virtue of it appearing in the EULA, TOS, or similar legal instrument or
               agreement. If the EULA, TOS, or similar legal instrument or agreement is invoked through an “I
               agree” click box or other comparable mechanism (e.g., “click-wrap” or “browse-wrap”
               agreements), execution does not bind the Government or any Government authorized end
               user to such clause.
          (iii) Any such clause is deemed to be stricken from the EULA, TOS, or similar legal instrument or
               agreement.
       (2) Paragraph (u)(1) of this clause does not apply to indemnification by the Government that is
          expressly authorized by statute and specifically authorized under applicable agency regulations
          and procedures.
   (v) Incorporation by reference. The Contractor’s representations and certifications, including those
       completed electronically via the System for Award Management (SAM), are incorporated by
       reference into the contract.


   CLAUSES FOR ADDENDA 52.212-4_________________________________

   52.212-4 (o) (TAILORED)
   Warranty: The Contractor warrants and implies that the items delivered hereunder are merchantable
   and fit for use for the particular purpose described in this contract. In the event that the terms of the
   contractor’s standard commercial warranty conflict with the warranty terms contained in this clause,
   the terms of this clause will govern this contract, unless some other resolution is specified in the award
   document.



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   AS13 EXAMINATION OF RECORDS BY VA (MULTIPLE AWARD SCHEDULE)
            (FEB 1998)
   (a) The Contractor agrees that the Secretary of the Department of Veterans Affairs or any duly
       authorized representative shall have access to, and the right to examine, any books, documents,
       papers, computer tapes, and any other directly pertinent records of the Contractor to verify that the
       pre-award pricing, sales, marketing and other data, related to the supplies or services offered under
       the contract which formed the basis for award, were accurate, complete and current. This right to
       initiate an audit exists for two (2) years after each of the following events:
            (1) Contract award, or
            (2) The date of modification adding this clause to the contract, or
            (3) The date of modification to the contract which requires new Commercial Sales Practices
                information, with the right, in this instance only, being limited to information contained in
                the modification.
   (b) The Contractor agrees that the Secretary of the Department of Veterans Affairs or any duly
       authorized representative shall have access to, and the right to examine, any books, documents,
       papers, computer tapes, and any other directly pertinent records of the Contractor related to this
       contract for overbillings, billing errors, compliance with the Price Reduction clause and compliance
       with the Industrial Funding Fee clause of this contract. The authority to initiate postaward audits
       shall expire 3 years after final payment. The basic contract and each option shall be treated as
       separate contracts for purposes of the review for overbillings, billing errors and price reductions.
       Further information is contained in 552.215-72 Price Adjustment - Failure to Provide Accurate
       Information (Aug 1997).

    552.216-70 ECONOMIC PRICE ADJUSTMENT—FSS MULTIPLE AWARD
                  SCHEDULE CONTRACTS (SEP 1999) (ALTERNATE I - SEP 1999)
                  (DEVIATION I - APR 2007)
   Note 1: For Special Item Number (SIN) 42-2A, paragraph (b) is no longer controlling for covered drugs
   listed on the FSS at their federal ceiling prices (FCPs). Any request for an economic price adjustment
   under SIN 42-2A will be determined in accordance with the MA and PPA entered into between the
   contractor and the VA pursuant to Public Law 102-585. Contractors with dual SIN 42-2A pricelists may
   apply paragraph (b) to covered drug items on their OGA pricelists. Please see clause AS212 Generic
   Item Modifications for additional requirements for price increases and decreases for SIN 42-2b.
   Note 2: The tracking customer’s price must be disclosed with your request for increases. The awarded
   tracking customer and the established ratio at the time of award will affect your ability to receive an
   increase.
   Price adjustments include price increases and price decreases. Adjustments will be considered as
   follows:
   (a) Contractors shall submit price decreases anytime during the contract period in which they occur.
        Price decreases will be handled in accordance with the provisions of the Price Reduction Clause.
   (b) Contractors may request price increases providing all of the following conditions are met:
        (1) Increases resulting from a reissue or other modification of the Contractor's commercial
             catalog/pricelist that was used as the basis for the contract award.
        (2) Increases are requested before the last 60 days of the contract period.
        (3) At least 30 days elapse between requested increases.
   (c) The following material shall be submitted with the request for a price increase:
        (1) A copy of the commercial catalog/pricelist showing the price increase and the effective date
             for commercial customers.

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               Defense Authorization Act for Fiscal Year 1991 (Public Law 101-510; 10 U.S.C. 2302 note))
               when both the mentor and the protégé are small. There is no exception to joint venture size
               affiliation for offers received from teaming arrangements under the Department of Defense
               Pilot Mentor-Protégé Program; and
         (3) See 13 CFR 121.103(b)(9) regarding the exception to affiliation for offers received from Small
            Business Teaming Arrangements in the case of a solicitation of offers for a bundled contract with
            a reserve.
   (b) The Government is soliciting and will consider offers from any responsible source, including
      responsible small business concerns and offers from Small Business Teaming Arrangements or joint
      ventures of small business concerns.

   52.214-34 SUBMISSION OF OFFERS IN THE ENGLISH LANGUAGE (APR 1991)
   Offers submitted in response to this solicitation shall be in the English language. Offers received in other
   than English shall be rejected.

   52.214-35 SUBMISSION OF OFFERS IN U.S. CURRENCY (APR 1991)
   Offers submitted in response to this solicitation shall be in terms of U.S. dollars. Offers received in other
   than U.S. dollars shall be rejected.

   52.215-20 REQUIREMENTS FOR CERTIFIED COST OR PRICING DATA OR DATA
               OTHER THAN CERTIFIED COST OR PRICING DATA (OCT 2010)
               (ALTERNATE IV—OCT 2010)
   (a) Submission of certified cost or pricing data is not required.
   (b) Provide data described below:
         (1) An offer prepared and submitted in accordance with the clause at 552.212-70, Preparation of
             Offer (Multiple Award Schedule);
         (2) Commercial sales practices. The Offeror shall submit information in the format provided in
             this solicitation in accordance with the instructions at Figure 515.4-2 of the GSA Acquisition
             Regulation (48 CFR 515-2); or submit information in the format specified in Document 02 in
             the Commercial Sales Practice Format section. An Excel spreadsheet is provided in 03-
             Proposal Price List Preparation.
         (3) Any additional supporting information requested by the Contracting Officer. The Contracting
             Officer may require additional supporting information, but only to the extent necessary to
             determine whether the price(s) offered is fair and reasonable.
         (4) By submission of an offer in response to this solicitation, the Offeror grants the Contracting
             Officer or an authorized representative the right to examine, at any time before initial award,
             books, records, documents, papers, and other directly pertinent records to verify the pricing,
             sales and other data related to the supplies or services proposed in order to determine the
             reasonableness of price(s). Access does not extend to offeror’s cost or profit information or
             other data relevant solely to the offeror’s determination of the prices to be offered in the
             catalog or marketplace.

   52.216-1 TYPE OF CONTRACT (APR 1984)
   The Government contemplates award of fixed price with economic price adjustment, indefinite delivery,
   indefinite quantity (IDIQ) Multiple Award Schedule contracts resulting from this solicitation.




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                                EXHIBIT I
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                                                                  Attorney Docket No. 11515-004-999


                     METHODS AND COMPOSITIONS FOR TREATING CANCER


                                         FIELD OF THE INVENTION
       [0001)            Methods and compositions for treating cancer are described herein. More
       particularly, the methods for treating cancer comprise administering a 17a.-hydroxylase/C 17 •
       20 -lyase   inhibitor, such as abiraterone acetate (i.e., 3~-acetoxy-17-(3-pyridyl) androsta-5,
       16-diene), in combination with at least one additional therapeutic agent, such as an anti-
       cancer agent or a steroid. Furthermore, disclosed are compositions comprising a 17u-
       hydroxylase/C 17• 20 -lyase inhibitor, and at least one additional therapeutic agent such as an
       anti-cancer agent or a steroid, e.g., a corticosteroid or, more specifically, a glucocorticoid.


                                                BACKGROUND
       [0002]            The number of people diagnosed with cancer has significantly increased. Of
       special interest are individuals diagnosed with androgen-dependent disorders, such as
       prostate cancer, and estrogen-dependent disorders, such as breast cancer since such
       diagnoses are increasing in number at an alarming rate.
       [0003]            Prostate cancer is currently the most common non-skin cancer and the
       second leading cause of cancer-related death in men after lung cancer. The primary course
       of treatment for patients diagnosed with organ-confined prostate cancer is usually
       prostatectomy or radiotherapy. Not only are these treatments highly invasive and have
       undesirable side effects, such localized treatments arc not effective on prostate cancer after
       it has metastasized. Moreover, a large percent of individuals who receive localized
       treatments will suffer from recurring cancer.
       [0004)            Additionally, breast cancer incidence in women has increased from one out
       of every 20 women in 1960 to one out of every eight women in 2005. Moreover, it is the
       most common cancer among white and African-American women. Similar to treating
       prostate cancer, most options for women diagnosed with breast cancer are highly invasive
       and have significant side-effects. Such treatments include surgery, radiation and
       chemotherapy.
       [0005)            Hormone therapy is another treatment option for individuals diagnosed with
       prostate or breast cancer. Honnone therapy is a fonn of systemic treatment for prostate or
       breast cancer wherein hormone ablation agents are used to suppress the production or block
                                                       - 1-
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       the effects of hormones, such as estrogen and progesterone in the body, which are believed
       to promote the growth of breast cancer, as well as testosterone and dihydrotestosterone,
       which are believed to promote the growth of prostate cancer. Moreover, hormone therapy is
       less invasive than surgery and does not have many of the side effects associated with
       chemotherapy or radiation. Hormone therapy can also be used by itself or in addition to
       localized therapy and has shown to be effective in individuals whose cancer has
       metastasized.
       [0006)          Even though hormone therapy is less invasive and can be used on more
       advanced stages of cancer, some individuals administered current horn1one therapy
       treatments may not show a significant response or may not show any response at all to such
       treatments. Additionally, some patients treated with current hormone therapy treatments
       may also suffer from relapsing or recurring cancer. Currently, such refractory cancer
       patients are left with very few treatment options.
       [0007]          Despite the progress made in the treatment of cancer, there remains a need
       for more effective ways to treat cancer such as, but not limited to, prostate cancer and breast
       cancer. Additionally, there is a need for effective anti-cancer treatment options for patients
       who are not responding to current anti-cancer treatments. Also, there is a need for effective
       anti-cancer treatment options for patients whose cancer has recurred.


                                   SUMMARY OF THE INVENTION
       [0008]          Described herein are methods for treating a cancer in which a therapeutically
       effective amount of a 17a-hydroxylase/C11. 20-lyase inhibitor, such as abiraterone acetate
       (i.e. 3J3-acetoxy-l 7-(3-pyridyl)androsta-5,16-diene), is administered to a patient, e.g., a
       patient in need thereof, in combination with a therapeutically eftcctive amount of at least
       one additional therapeutic agent including, but not limited to, an anti-cancer agent or
       steroid. Such methods can also provide an effective treatment for individuals with a
       refractory cancer, including individuals who are currently undergoing a cancer treatment.
       Therefore, in certain embodiments, the method is directed to treating a refractory cancer in a
       patient, in which a therapeutically effective amount of l 7a-hydroxylase/C 17. 20 -lyase
       inhibitor is administered to a patient currently receiving an anti-cancer agent.
       [0009]          For example, in certain embodiments, the method for the treatment of a
       cancer in a mammal comprises administering an amount of about 0.01 mg/kg/day to about



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       100 mg/kg/day of abiraterone acetate and an amount of about 0.1 mg/m 2 to about 20 mg/m 2
       of mitoxantrone.
       [0010]         In another embodiment, the method for the treatment of a cancer in a
       mammal comprises administering an amount of about 0.01 mg/kg/day to about 100
       mg/kg/day of abiraterone acetate and an amount of about 1 mg/m 2 to about 175 mg/m 2 of
       paclitaxel.
       [0011]         In still other embodiments, the method for the treatment of a cancer in a
       mammal comprises administering an amount of about 0.01 mg/kg/day to about 100
       mg/kg/day of abiraterone acetate and an amount of about 1 mg/n/ to about 100 mg/n/ of
       docetaxel.
       [0012]         Furthermore, described herein is a method for the treatment of a cancer in a
       mammal comprising administering an amount of about 0.01 mg/kg/day to about 100
       mg/kg/day ofabiraterone acetate; and an amount of about 0.01 mg to about 200 mg of
       leuprolide, wherein the leuprolide is administered over a period of about 3 days to about 12
       months.
       (0013)         In other embodiments, the method for the treatment of a cancer in a mammal
       comprises administering an amount of about 0.01 mg/kg/day to about 100 mg/kg/day of
       abiraterone acetate and an amount of about 0.01 mg to about 20 mg of goserelin, wherein
       the goserelin is administered over a period of about 28 days to about 3 months.
       [0014]         Additionally, in another embodiment, the method for the treatment of a
       cancer in a mammal comprises administering an amount of about 0.01 mg/kg/day to about
       100 mg/kg/ day of abiraterone acetate and an amount of about 0.01 mg to about 20 mg of
       triptorelin, wherein the triptorelin is administered over a period of about 1 month.
       [0015]         The method for the treatment of a cancer in a mammal can also comprise
       administering an amount of about 0.01 mg/kg/day to about 100 mg/kg/day of abiraterone
       acetate and an amount of about 0.1 µg/day to about 500 µg/day of seocalcitol, such as about
       100 µg/day of seocalcitol.
       [0016]         Also, the method for the treatment of a cancer in a mammal can comprise
       administering an amount of about 0.01 mg/kg/day to about 100 mg/kg/day of abiraterone
      acetate and an amount of about 1 mg/day to about 300 mg/day of bicalutamide.
       [0017]         In yet another embodiment, the method for the treatment of a cancer in a
      mammal can comprise administering an amount of about 0.01 mg/kg/day to about 100



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       mg/kg/day of abiraterone acetate and an amount of about 1 mg/day to about 2000 mg/day of
       flutamide.
       [0018]         Moreover, the method for the treatment of a cancer in a man1mal can
       comprise administering an amount of about 50 mg/day to about 2000 mg/day of abiraterone
       acetate and an amount of about 0.0 I mg/day to about 500 mg/day of a glucocorticoid
       including, but not limited to, hydrocortisone, prednisone or dexamethasone.
       [0019]         Also described herein are compositions for the treatment of cancer that
       comprise a combination of a therapeutically effective amount of at least one 1 7a-
       hydroxylase/C 17. 20 -lyase inhibitor and a therapeutically effective amount of at least one
       additional anti-cancer agent, such as, but not limited to, mitoxantrone, paclitaxel, docetaxel,
       leuprolide, goserelin, triptorelin, seocalcitol, bicalutamide, flutamide, or a steroid including,
       but not limited to, hydrocortisone, prednisone, or dexamethasone.
       [0020]         Finally, single unit dosage forms comprising abiraterone acetate and a
       glucocorticoid, optionally with carriers, diluents or excipients, are contemplated. Also, kits
       comprising at least one 17a-hydroxylase/C 17. 20-lyase inhibitor and an additional anti cancer
       agent or steroid are contemplated. For example, the kit may include a vial containing
       abiraterone acetate and another vial containing a glucocorticoid.


       Definitions
       [0021]         As used herein and unless otherwise defined the word "cancer," refers to the
       growth, division or proliferation of abnormal cells in the body. Cancers that can be treated
       with the methods and the compositions described herein include, but are not limited to,
       prostate cancer, breast cancer, adrenal cancer, leukemia, lymphoma, myeloma,
       Waldenstrom's macroglobulinemia, monoclonal gammopathy, benign monoclonal
       gammopathy, heavy chain disease, bone and connective tissue sarcoma, brain tumors,
       thyroid cancer, pancreatic cancer, pituitary cancer, eye cancer, vaginal cancer, vulvar
       cancer, cervical cancer, uterine cancer, ovarian cancer, esophageal cancer, stomach cancer,
       colon cancer, rectal cancer, liver cancer, gallbladder cancer, cholangiocarcinoma, lung
       cancer, testicular cancer, penal cancer, oral cancer, skin cancer, kidney cancers, Wilms'
       tumor and bladder cancer.
       [0022]         As used herein, and unless otherwise defined, the terms "treat," "treating"
       and "treatment" include the eradication, removal, modification, management or control of a



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       tumor or primary, regional, or metastatic cancer cells or tissue and the minimization or
       delay of the spread of cancer.
       [0023)          As used herein, and unless otherwise defined, the term "patient" means an
       animal, including but not limited to an animal such as a human, monkey, cow, horse, sheep,
       pig, chicken, turkey, quail, cat, dog, mouse, rat, rabbit, or guinea pig. In one embodiment,
       the patient is a mammal and in another embodiment the patient is a human. In certain
       embodiments, the patient can be an adult male or female. In some embodiments, the patient
       is a male of age about 30 years to about 85 years. In other embodiments, the patient is a
       female of age about 30 years to about 85 years. In a particular embodiment, the patient has
       or is susceptible to having (e.g., through genetic or environmental factors) cancer. In a
       further embodiment, the patient has or is susceptible to having (e.g., tlu-ough genetic or
       environmental factors) a tumor. In other embodiments, the patient can be castrated or non-
       castrate<l.
       [0024]          The term "l 7a-hydroxylase/C 17. 20 -lyase inhibitor" as used herein refers to an
       inhibitor of 17a-hydroxylase/C 17 _20 -lyase, (which is an enzyme in testosterone synthesis), an
       analog thereof, derivative thereof, metabolite thereof or pharmaceutically acceptable salt
       thereof. Also, unless otherwise noted, reference to a particular 17a-hydroxylase/C 17 • 20 -
       lyase inhibitor can include analogs, derivatives, metabolites or pharmaceutically acceptable
       salts of such particular l 7a-hydroxylase/C 17 . 20 -lyase inhibitor.
       [0025]          The tem1 "anti-cancer agent" as used herein refers to any therapeutic agent
       that directly or indirectly kills cancer cells or directly or indirectly prohibits stops or reduces
       the proliferation of cancer cells. It should be noted that even though throughout this
       specification and in the claims the phrase "anti-cancer agent" is written as a singular noun,
       for example; "an anti-cancer agent" or "the anti-cancer agent," the phrase '·anti-cancer
       agent" should not be interpreted as being limited to the inclusion of a single anti-cancer
       agent.
       [0026]          As used herein, and unless otherwise defined, the phrase "therapeutically
       effective amount" when used in connection with a 17a-hydroxylase/C17_ 20-lyase inhibitor or
       therapeutic agent means an amount of the l 7a-hydroxylase/C 17 , 20 -lyase inhibitor or
       therapeutic agent effective for treating a disease or disorder disclosed herein, such as cancer.
       [0027]          As used herein and unless otherwise defined the phrase "refractory cancer,"
       means cancer that is not responding to an anti-cancer treatment or cancer that is not



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       responding sufficiently to an anti-cancer treatment. Refractory cancer can also include
       recurring or relapsing cancer.
       [0028]          As used herein and unless otherwise defined the phrase "refractory patient,"
       means a patient who has refractory cancer.
       [0029]         As used herein and unless otherwise defined the phrase "relapse cancer,"
       means cancer that was at one time responsive to an anti-cancer treatment but has become no
       longer responsive to such treatment or is no longer responding sufficiently to such
       treatment.
       [0030]         As used herein and unless otherwise defined the phrase "recurring cancer,"
       means cancer that has returned after a patient has been earlier diagnosed with cancer, under
       gone treatment or had been previously diagnosed as cancer-free.
       [0031]         As used herein and unless otherwise defined the term "derivative" refers to a
       chemically modified compound wherein the chemical modification takes place at one or
       more functional groups of the compound. The derivative may retain or improve the
       pharmacological activity of the compound from which it is derived.
       [0032]         As used herein and unless otherwise defined the term "analog" refers to a
       chemical compound that is structurally similar to another but differs slightly in composition
       (as in the replacement of one atom by an atom of a different element or in the presence of a
       particular functional group).
       [0033]         As used herein and unless otherwise defined the phrase "pharmaceutically
       acceptable salt" refers to any salt of a 17a-hydroxylase/C17. 20-lyase inhibitor which retains
       the biological effectiveness of the I 7a-hydroxylase/C 17 _20-lyase inhibitor. Examples of
       pharmaceutically acceptable salts include, but are not limited to, acetates, sulfates,
       pyrosulfates, bisulfates, sulfites, bisulfites, phosphates, monohydrogenphosphates,
       dihydrogcnphosphatcs, metaphosphates, pyrophosphates, chlorides, bromides, iodides,
       acetates, propionates, decanoates, caprylates, acrylates, fom1ates, isobutyrates, caproates,
       heptanoates, propiolates, oxalates, malonates, succinates, suberates, sebacates, fumarates,
       maleates, butyne-1,4-dioates, hexyne-1,6-dioates, benzoates, chlorobenzoates,
       methylbenzoates, dinitrobenzoates, hydroxybenzoates, methoxybenzoates, phthalates,
       sulfonates, xylenesulfonates, phylacetates, phenylpropionates, phenylbutyrates, citrates,
       lactates, gamma-hydroxybutyrates, glycollates, tartarates, alkanesulfonates (e.g. mcthane-
       sulfonate or mesylatc ), propancsulfonatcs, naphthalcne-1-sulfonates, naphthalene-2-



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       sulfonatcs, and mandclatcs. Several of the officially approved salts are listed in Remington:
       The Science and Practice of Pharmacy, Mack Publ. Co., Easton.


                          DETAILED DESCRIPTION OF THE INVENTION
       [0034)          The methods described herein for treating cancer comprise administering to a
       mammal, preferably a human, a l 7a-hydroxylase/Cn, 20-lyase inhibitor in addition to at
       least one therapeutic agent, such as an anti-cancer agent or steroid, particularly a
       glucocorticoid. The compositions described herein comprise a l 7a-hydroxylase/C 17. 2 o-
       lyase inhibitor and at least one additional therapeutic agent, such as an anti-cancer agent or
       steroid, paiiicularly a corticosteroid or glucoco1iicoid. Other anti-cancer treatments such as,
       administration of yet another anti-cancer agent, radiotherapy, chemotherapy, photodynamic
       therapy, surgery or other immunotherapy, can be used with the methods and compositions.


       17a-hydroxylase/C17 20-lyase Inhibitors
                              2


       [0035)          l 7a-hydroxylase/C 17 _20 -lyase inhibitors have been shown to be useful in the
       treatment of cancer, specifically hormone-dependent disorders such as, androgen-dependent
       and estrogen-dependent disorders like prostate cancer and breast cancer respectively, as
       described in United States Patent No. 5,604,213 to Barrie et al., which is herein
       incorporated by reference in its entirety.
       [0036]          In certain embodiments, the l 7a-hydroxylase/C 17. 20-lyase inhibitor can be
       17-(3-pyridyl)androsta-5, 16-dien-3(3-ol; 17-(3-pyridyl)androsta-3,5, 16-triene; 17-(3-
       pyridyl)androsta-4, 16-dien-3-one; 17-(3-pyridyl)estra-1,3,5 [IO], 16-tetraen-3-ol; 17-(3-
       pyridyl)-5a-androst- l 6-en-3a-ol; 17-(3-pyridyl)-Sa -androst-16-en-3-one; 17-(3-pyridyl)-
       androsta-4, 16-diene-3, 11-dione; 17-(3-pyridyl)-androsta-3 ,5, 16-trien-3-ol; 6a-and 6(3-
       fluoro-17-(3-pyridyl)androsta-4, 16-dicn-3-one; 17-(3-pyridyl)androsta-4, 16-dien-3,6-dione;
       3a-trifluoromethyl-l 7-(3-pyridyl)androst-16-en-3~)-ol or their acid addition salts and 3-
       esters as well as metabolites, analogs, derivatives or a pharmaceutically acceptable salt
       thereof.
       [0037]          In certain embodiments, the 17a-hydroxylase/C 17, 20 -lyase inhibitor can have
       the structure of formula (I):




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                                                        R~~
                                                             1/        N




                                                                      R16




                                                     R14 R15
                                                                            (I)


       wherein X represents the residue of the A, B and C rings of a steroid which can be, without
       limitation, androstan-3a- or 3j3-ol; androst-5-en-3a- or 3j3-ol; androst-4-en-3-one; androst-2-
       ene; androst-4-ene; androst-5-ene; androsta-5, 7-dien-3a or 3j3-ol ; androsta-1,4-dien-3-one;
       androsta-3,5-diene; androsta-3,5-diene-3-ol; estra-1,3,5[ 1O]-triene; estra-1,3,5[1 O]-trien-3-
       ol; 5a -androstan-3-one; androst-4-ene-3,11-dione; 6-fluoroandrost-4-ene-3-one; or
       androstan-4-ene-3 ,6-dione; each of which, where structurally permissible, can he farther
       derivatized in one or more of the following ways, including, but not limited to, to fonn J-
       esters; to have one or more carbon or carbon ring double bonds in any of the 5,6-, 6,7-, 7,8-,
       9,11- and 11,12-positions; as 3-oximes; as 3-methylenes; as 3-carboxylates; as 3-nitriles; as
       3-nitros; as 3-desoxy derivatives; to have one or more hydroxy, halo, C 14 -alkyl, trifluoro-
       methyl, C 1-4 -alkoxy, C 1_4 -alkanoyloxy, benzoyloxy, oxo, methylene or alkenyl substituents
       in the A, B. or C-ring; or to be 19-nor;
                R represents a hydrogen atom or an alkyl group of 1-4 carbon atoms;
                R 14 represents a hydrogen atom, a halogen atom or an alkyl group of I to 4 carbon
       atoms;
                each of the R 15 substituents independently represents a hydrogen atom or an alkyl or
       alkoxy group of 1-4 carbon atoms, a hydroxy group or an alkylcarbonyloxy group of 2 to 5
       carbon atoms or together represent an oxo or methylene group or R 14 and one of the R 15
       groups together represent a double bond and the other R 15 group represents a hydrogen atom
       or an alkyl group of I to 4 carbon atoms; and
                R 16 represents a hydrogen atom, halogen atom, or an alkyl group of 1 to 4 carbon
       atoms, in the form of the free bases or pharmaceutically acceptable acid addition salts, but
       excluding 313-acetoxy-17-(3-pyridyl)androsta-5, 14, 16-triene, 3j3, I Sa- and 3j3, I 5j3-diacetoxy-
       l 7-(3-pyridyl )androsta-5, 16-diene and 3j3-methoxy-17-(3-pyridyl-5a-androst-16-ene.

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       Suitable inhibitors also include metabolites, derivatives, analogs, or pharmaceutically
       acceptable salts of formula (I).
       [0038]         In another embodiment, the l 7a-hydroxylase/C 17 , 2o-lyase inhibitor can have
       the structure of fonnula (I):



                                                                           ~N




                           RO                                                     (I)

       wherein R represents hydrogen or a lower acyl group having 1 to 4 carbons. Suitable
       inhibitors also include derivatives, analogs, or pharmaceutically acceptable salts of formula
       (I).
       [0039]         In still another embodiment, the l 7a-hydroxylase/C 17 , 20 -lyase inhibitor can
       be a 3~-alkanoyloxy-17-(3-pyridyl) androsta-5, 16-diene in which the alkanoyloxy group
       has from 2 to 4 carbon atoms.
       [0040]         In a preferred embodiment, the l 7a-hydroxylase/C17, 20-lyase inhibitor
       comprises abiraterone acetate or 3 ~-acetoxy-17-(3-pyridyl)androsta-5, 16-diene which has
       the following structural formula:




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                                                                              ~N




                          AcO                                                      (II)

       and pharmaceutically acceptable salts thereof

       (0041]          Preferred salts of abiraterone acetate and methods of making such salts are
       also disclosed in United States Provisional Application No. 60/603,559 to Hunt, which is
       incorporated by reference in its entirety. Preferred salts include, but are not limited to,
       acetates, citrates, lactates, alkanesulfonates (e.g. methane-sulfonate or mesylate) and
       tartarates. Of special interest is the abiraterone acetate mesylate salt (i.e. 3 ~-acetoxy-17-(3-
       pyridyl)androsta-5, 16-diene mesylate salt) which has the following structural formula:


                                                               I       e~iN
                                                        o=r=-o 1
                                                             HO




                                                                   H


                                                                                      (III)
       (0042)         The l 7a-hydroxylase/C, 7, 20-lyase inhibitors can be made according to any
      method known to one skilled in the art. For example, such inhibitors can be synthesized
      according to the method disclosed in United States Patent Nos. 5,604,213 and 5,618,807 to
      Barrie et al., herein incorporated by reference. Another method of making l 7a-


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       hydroxylasc/C 17, 20 -lyase inhibitors is disclosed in United States provisional application
       60/603,558 to Bury, herein incorporated by reference.
       [0043]         The amount of 17a-hydroxylase/C 17, 20-lyase inhibitor administered to a
       mammal having cancer is an amount that is sufficient to treat the cancer, whether the 17a-
       hydroxylase/C 17 , 20 -lyase inhibitor is administered alone or in combination with an
       additional anti-cancer treatment, such as an additional anti-cancer agent.


       Additional Therapeutic Agents
       l0044]         Suitable compounds that can be used in addition to l 7a-hydroxylase/C17, 20-
       lyase inhibitors as an anti-cancer agent include, but are not limited to, hormone ablation
       agents, anti-androgen agents, differentiating agents, anti-neoplastic agents, kinase inhibitors,
       anti-metabolite agents, alkylating agents, antibiotic agents, immunological agents,
       interferon-type agents, intercalating agents, growth factor inhibitors, cell cycle inhibitors,
       enzymes, topoisomerase inhibitors, biological response modifiers, mitotic inhibitors, matrix
       metalloprotease inhibitors, genetic therapeutics, and anti-androgens. The amount of the
       additional anti-cancer agent administered to a mammal having cancer is an amount that is
       sufficient to treat the cancer whether administered alone or in combination with a l 7a-
       hydroxylase/C 17 , 20 -lyasc inhibitor. Below arc lists of examples of some of the above
       classes of anti-cancer agents. The examples are not all inclusive and are for purposes of
       illustration and not for purposes of limitation. Many of the examples below could be listed
       in multiple classes of anti-cancer agents and are not restricted in any way to the class in
       which they are listed in.
       [0045]         Suitable hormonal ablation agents include, but are not limited to, androgen
       ablation agents and estrogen ablation agents. In preferred embodiments, the 17a-
       hydroxylase/C 17 , 20 -lyase inhibitor is administered with a hormonal ablation agent, such as
       dcslorclin, lcuprolide, goserelin or triptorelin. Even though throughout this specification
       and in the claims the phrase "hormonal ablation agent" is written as a singular noun, for
       example; "a hom1onal ablation agent" or "the hormonal ablation agent," the phrase
       "hormonal ablation agent" should not be interpreted as being limited to the inclusion of a
       single hormonal ablation agent. The amount of the hormonal ablation agent administered to
       a mammal having cancer is an amount that is sufficient to treat the cancer whether
       administered alone or in combination with a 17a-hydroxylase/C11 20-lyase inhibitor.


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       (0046]          Suitable anti-androgen agents include but are not limited to bicalutamide,
       flutamide and nilutamide. The amount of the anti-androgen agent administered to a
       mammal having cancer is an amount that is sufficient to treat the cancer whether
       administered alone or in combination with a 17a-hydroxylase/C 11, 20-lyase inhibitor.
       [0047]          In another embodiment, the 17a-hydroxylase/C 17 , 20 -lyase inhibitor may be
       administered with a differentiating agent. Suitable differentiating agents include, but are
       not limited to, polyamine inhibitors; vitamin D and its analogs, such as, calcitriol,
       doxcrcalcifcrol and seocalcitol; metabolites of vitamin A, such as, A TRA, retinoic acid,
       retinoids; short-chain fatty acids; phenylbutyrate; and nonsteroidal anti-inflammatory
       agents. The amount of the differentiating agent administered to a mammal having cancer is
       an amount that is sufficient to treat the cancer whether administered alone or in combination
       with a 17a-hydroxylase/C17_20-lyase inhibitor.
       (00481          In another preferred embodiment, the 17a-hydroxylase/C 17 . 20 -lyase inhibitor
       may be administered with an anti-neoplastic agent, including, but not limited to, tubulin
       interacting agents, topoisomerase inhibitors and agents, acitretin, alstonine, amonafide,
       amphethinile, amsacrine, ankinomycin, anti-neoplaston, aphidicolin glycinate, asparaginase,
       baccharin, batracylin, benfluron, benzotript, bromofosfamide, caracemide, carmethizole
       hydrochloride, chlorsulfaquinoxalonc, clanfcnur, claviridenone, crisnatol, curaderm,
       cytarabine, cytocytin, dacarbazine, datelliptinium, dihaematoporphyrin ether,
       dihydrolenperone, dinaline, distamycin, docetaxel, elliprabin, elliptinium acetate,
       epothilones, ergotamine, etoposide, etretinate, fenretinide, gallium nitrate, genkwadaphnin,
       hexadecylphosphocholine, homoharringtonine, hydroxyurea, ilmofosine, isoglutamine,
       isotretinoin, leukoregulin, lonidamine, merbarone, merocyanlne derivatives,
       methylanilinoacridine, minactivin, mitonafide, mitoquidone, mitoxantrone, mopidamol,
       motretinide, N-(retinoyl)amino acids, N-acylated-dehydroalanines, nafazatrom, nocodazole
       derivative, ocreotidc, oquizanocinc, paclitaxel, pancratistatin, pazelliptine, piroxantrone,
       polyhaematoporphyrin, polypreic acid, probimane, procarbazine, proglumide, razoxane,
       retelliptine, spatol, spirocyclopropane derivatives, spirogermanium, strypoldinone,
       superoxide dismutase, teniposide, thaliblastine, tocotrienol, topotecan, ukrain, vinblastine
       sulfate, vincristine, vindesine, vinestramide, vinorelbine, vintriptol, vinzolidine, and
       withanolides. The amount of the anti-neoplastic agent administered to a mammal having
       cancer is an amount that is sufficient to treat the cancer whether administered alone or in
       combination with a l 7a-hydroxylasc/C 17 , 20 -lyase inhibitor.

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       [0049]          The l 7a-hydroxylase/C 17 _20 -lyase inhibitors may also be used with a kinase
       inhibitor including p38 inhibitors and CDK inhibitors, TNF inhibitors, metallomatrix
       proteases inhibitors (MMP), COX-2 inhibitors including celecoxib, rofecoxib, parecoxib,
       valdecoxib, and etoricoxib, SOD mimics or av~J inhibitors. The amount of the kinase
       inhibitor administered to a mammal having cancer is an amount that is sufficient to treat the
       cancer whether administered alone or in combination with a 17a-hydroxylase/C 17 _20 -lyase
       inhibitor.
       [0050]          In another embodiment, the 17a-hydroxylase/C 17, 20-lyase inhibitor may be
       administered with an anti-metabolite agent. Suitable anti-metabolite agents may be selected
       from, but not limited to, 5-FU-fibrinogen, acanthifolic acid, aminothiadiazole, brequinar
       sodium, carmofur, cyclopentyl cytosine, cytarabine phosphate stearate, cytarabine
       conjugates, dezaguanine, dideoxycytidine, dideoxyguanosine, didox, doxifluridine,
       fazarabine, floxuridine, fludarabine phosphate, 5-fluorouracil, N-(2'-furanidyl)-5-
       fluorouracil, isopropyl pyrrolizine, methobenzaprim, methotrexate, norspermidine,
       pentostatin, piritrexim, plicamycin, thioguanine, tiazofurin, trimetrexate, tyrosine kinase
       inhibitors, and uricytin. The amount of the anti-metabolite agent administered to a mammal
       having cancer is an amount that is sufficient to treat the cancer whether administered alone
       or in combination with a l 7a-hydroxylase/C 17 • 20 -lyase inhibitor.
       [0051]          In another embodiment, the l 7a-hydroxylase/C 17 , 20 -lyase inhibitor may be
       administered with an alkylating agent. Suitable alkylating agents may be selected from, but
       not limited to, aldo-phosphamide analogues, altretamine, anaxirone, bestrabucil, budotitane,
       carboplatin, carmustine, chlorambucil, cisplatin, cyclophosphamide, cyplatate,
       diphenylspiromustine, diplatinum cytostatic, elmustine, estramustine phosphate sodium,
       fotemustine, hepsul-fam, ifosfamide, iproplatin, lomustine, mafosfamide, mitolactol,
       oxaliplatin, prednimustine, ranimustine, semustine, spiromustine, tauromustine,
       temozolomide, teroxironc, tctraplatin and trimelamol. The amount of the alkylating agent
       administered to a mammal having cancer is an amount that is sufficient to treat the cancer
       whether administered alone or in combination with a 17a-hydroxylase/C17,20-lyase
       inhibitor.
       [0052)         In another preferred embodiment, the 17a-hydroxylase/C17, 20-lyase inhibitor
       may be administered with an antibiotic agent. Suitable antibiotic agents may be selected
       from, but not limited to, aclarubicin, actinomycin D, actinoplanone, adriamycin,
       aeroplysinin derivative, arnrubicin, anthracycline, azino-mycin-A, bisucaberin, bleomycin

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       sulfate, bryostatin-1, calichcmycin, chromoximycin, dactinomycin, daunorubicin,
       ditrisarubicin R, dexamethasone, doxorubicin, doxorubicin-fibrinogcn, clsamicin-A,
       epirubicin, erbstatin, esorubicin, esperamicin-Al, esperamicin-Alb, fostriecin, glidobactin,
       gregatin-A, grincamycin, herbimycin, corticosteroids such as hydrocortisone, idarnbicin,
       illudins, kazusamycin, kesarirhodins, menogaril, mitomycin, neoenactin, oxalysine,
       oxaunomycin, peplomycin, pilatin, pirarubicin, porothramycin, prednisone, prednisolone,
       pyrindanycin A, rapamycin, rhizoxin, rodorubicin, sibanomicin, siwenmycin, sorangicin-A,
       sparsomycin, talisomycin, tcrpcntccin, thrazine, tricrozarin A, and zorubicin. The amount
       of the antibiotic agent administered to a mammal having cancer is an amount that is
       sufficient to treat the cancer whether administered alone or in combination with a 17a-
       hydroxylase/C 17, 20-lyase inhibitor.
       [0053]          Alternatively, the 17a-hy<lroxylase/C 11, 20 -lyase inhibitors may also be used
       with other anti-cancer agents, including but not limited to, acemannan, aclarubicin,
       aldesleukin, alemtuzumab, alitretinoin, altretamine, amifostine, amsacrine, anagrelide,
       anastrozole, ancestim, bexarotene, broxuridine, capecitabine, celmoleukin, cetrorelix,
       cladribine, clotrimazole, daclizumab, dexrazoxane, dilazep, docosanol, doxifluridine,
       bromocriptine, carmustinc, cytarabinc, diclofcnac, edelfosine, edrecolomab, eflornithine,
       emitefur, exemestane, exisulind, fadrozole, filgrastim, finastcride, fludarabine phosphate,
       formestane, fotemustine, gallium nitrate, gemcitabine, glycopine, heptaplatin, ibandronic
       acid, imiquimod, iobenguane, irinotecan, irsogladine, lanreotide, leflunomide, lenograstim,
       lentinan sulfate, letrozole, liarozole, lobaplatin, lonidamine, masoprocol, melarsoprol,
       metoclopramide, mifepristone, miltefosine, mirimostim, mitoguazone, mitolactol,
       molgramostim, nafarelin, nartograstim, nedaplatin, nilutamide, noscapine, oprelvekin,
       osaterone, oxaliplatin, pamidronic acid, pegaspargase, pentosan polysulfate sodium,
       pentostatin, picibanil, pirarubicin, porfimer sodium, raloxifene, raltitrexed, rasburicase,
       rituximab, romurtide, sargramostim, sizofiran, sobuzoxane, soncrmin, suramin, tasoncrmin,
       tazarotene, tegafur, temoporfin, temozolomide, teniposide, tetrachlorodecaoxide,
       thalidomide, thymalfasin, thyrotropin alfa, topotecan, toremifene, trastuzumab, treosulfan,
       tretinoin, trilostane, trimetrexate, ubenimex, valrubicin, verteporfin, vinorelbine. The
       amount of the anti-cancer agent administered to a mammal having cancer is an amount that
       is sufficient to treat the cancer whether administered alone or in combination with a 17a-
       hydroxylase/C 11, 20 -lyase inhibitor.


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       l0054J          The 17a-hydroxylase/C 11. 20 -lyase inhibitors may also be administered or
       combined with steroids, such as corticosteroids or glucocorticoids. The 17a-
       hydroxylase/C 11.20- lyase inhibitors and the steroid may be administered in the same or in
       different compositions. Non-limiting examples of suitable steroids include hydrocortisone,
       prednisone, or dexamethasone. The amount of the steroid administered to a mammal
       having cancer is an amount that is sufficient to treat the cancer whether administered alone
       or in combination with a l 7a-hydroxylase/C 17, 20 -lyase inhibitor.
       [0055)          In one embodiment, provided herein are methods and compositions
       comprising both abiraterone acetate and a steroid particularly a corticosteroid, or more
       particularly a glucocorticoid. Steroids within the scope of the disclosure include, but are not
       limited to, (1) hydrocortisone (cortisol; cyprionate (e.g., CORTEF), oral; sodium phosphate
       injection (HYDROCORTONE PHOSPHATE); sodium succinate (e.g., A-HYDROCORT,
       Solu-CORTEF); cortisone acetate oral or injection forms, etc.), (2) dexamethasone (e.g.,
       Decadron, oral; Decadron-LA injection, etc.), (3) prednisolone (e.g., Delta-CORTEF,
       prednisolone acetate (ECONOPRED), prednisolone sodium phosphate (HYDEL TRASOL),
       prednisolone tebutate (HYDELTRA-TBA, etc.)), or (4) prcdnisone (e.g.. DELTASONE,
       etc.) and combinations thereof. See, e.g.,   GOODMAN    & OILMAN'S THE PHARMACOLOGICAL
       BASIS OF THERAPEUTICS, 10TH EDITION      2001.
       [0056]          In a specific embodiment, single unit solid oral dosage forms which
       comprise an amount from about 50 mg to about 300 mg of abiraterone acetate and an
       amount from about 0.5 mg to about 3.0 mg of a steroid, e.g., glucocorticoid in a single
       composition, optionally with excipients, carriers, diluents, etc. is contemplated. For
       instance, the single unit dosage form can comprise about 250 mg of abiraterone acetate and
       about 1.0 mg, 1.25 mg, 1.5 mg, or 2.0 mg of a steroid, such as but not limited to
       corticosteroids or glucocorticoids.

       Administration of the 17a-hydroxylase/C 17, 20 -lyase Inhibitor
       and an Additional Therapeutic Agent

       [0057)         The l 7a-hydroxylase/C17. 20-lyase inhibitor and the additional therapeutic
       agent, such as an anti-cancer agent or a steroid can be administered by any method known
       to one skilled in the art. In certain embodiments, the 17a-hydroxylase/C 17, 20 -lyase inhibitor
       and the additional therapeutic agent can be in separate compositions prior to administration.



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       In the alternative, the l 7a-hydroxylase/C 17, 20 -lyase inhibitor and the additional therapeutic
       agent can be combined into a single composition for administration,
       [0058]          The 17a-hydroxylase/C 17. 20 -lyase inhibitor and the additional therapeutic
       agent can be administered sequentially or simultaneously, If administered sequentially, the
       order of administration is flexible. For instance, 17a-hydroxylase/C 17. 20 -lyase inhibitor
       acetate can be administered prior to administration of the additional therapeutic agent.
       Alternatively, administration of the additional therapeutic agent can precede administration
       of l 7a-hydroxylase/C11. 20-lyase inhibitor.
       l0059J          Whether they are administered as separate compositions or in one
       composition, each composition is preferably pharmaceutically suitable for administration.
       Moreover, the 17a-hydroxylase/C 17, 20-lyase inhibitor and the therapeutic agent, if
       administered separately, can be administered by the same or different modes of
       administration. Examples of modes of administration include parenteral (e.g.,
       subcutaneous, intramuscular, intraorbital, intracapsular, intraspinal, intrasternal,
       intravenous, intradermal, intraperitoneal, intraportal, intra-arterial, intrathecal, transmucosal,
       intra-articular, and intrapleural,), transdermal (e.g., topical), epidural, and mucosal (e.g.,
       intranasal) injection or infusion, as well as oral, inhalation, pulmonary, and rectal
       administration. In specific embodiments, both arc oral.
       [0060]          For example, the 17a-hydroxylase/C11. 20-lyase inhibitor can be administered
       transdermally and the additional therapeutic agent can be administered parenterally.
       Alternatively, the l 7a-hydroxylase/C 17. 20-lyase inhibitor can be administered orally, such as
       in a tablet, caplet or capsule, while the additional therapeutic agent can be administered
       intravenously. Such intravenous administered therapeutic agents include, but are not
       limited to, docetaxel injections, such as Taxotere1<J; paclitaxel injections, such as Paclitaxel@
       and mitoxantrone injections, such as Novantrone®. Also, the additional therapeutic agent
       can be in the form of depots or implants such as lcuprolidc depots and implants, e.g.
       Viadur® and Lupron Depot'~\ triptorelin depots, e.g. Trelstar@; goserelin implants, e.g.
       Zoladex(R).
       [0061]         The suitable daily dosage of the 17u-hydroxylase/C17_ 20-lyase inhibitor
       depends upon a number of factors, including, the nature of the severity of the condition to
       be treated, the particular inhibitor, the route of administration and the age, weight, and
       response of the individual patient. Suitable daily dosages of l 7a-hydroxylase/C 17 , 20 -lyase
       inhibitors can generally range from about 0.0001 mg/kg/day to about 1000 mg/kg/day, or

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       from about 0.001 mg/kg/day to about 200 mg/kg/day, or from about 0.01 mg/kg/day to
       about 200 mg/kg/day, or from about 0.01 mg/kg/day to about 100 mg/kg/day in single or
       multiple doses.
       [0062)            In some embodiments, the 17u-hydroxylase/C17_ 20-lyase inhibitor can be
       administered in an amount from about 0.004 mg/day to about 5,000 mg/day, or from about
       0.04 mg/day to about 3,000 mg/day, or from about 0.4 mg/day to about 1500 mg/day. In
       certain embodiments, the 17a-hydroxylase/C 17. 20 -lyase inhibitor can be administered in an
       amount from about 0.1 mg/day to about 2000 mg/day or from about 1 mg/day to about 2000
       mg/day or from about 50 mg/day to about 2000 mg/day or from about 100 mg/day to about
       1500 mg/day or from about 5 mg/day to about 1,000 mg/day or from about 5 mg/day to
       about 900 mg/day or from about 10 mg/day to about 800 mg/day or from about 15 mg/day
       to about 700 mg/day or from about 20 mg/day to about 600 mg/day or from about 25
       mg/day to about 500 mg/day in single or multiple doses.
       [0063)         In certain embodiments, the 17a-hydroxylase/C 17 . 20 -lyase inhibitor is co-
       administered with an additional anti-cancer agent such as mitoxantrone, paclitaxel or
       docetaxel. For example, a method for the treatment of a cancer in a mammal comprises
      administering an amount of abiratcrone acetate and an amount of mitoxantrone. For
      example, the abiraterone acetate can be administered in an amount of ahout 0.01 mg/kg/day
      to about 100 mg/kg/day and the mitoxantrone can be administered in an amount of about
      0.1 mg/m 2 to about 20 mg/ni2. Preferably, the mitoxantrone is administered over a period of
      between about 10 to about 20 minutes once every 21 days.
       roo64J         Also, a method for the treatment of a cancer in a mammal can comprise
      administering an amount of abiraterone acetate and an amount of paclitaxel. In one
      embodiment, the abiraterone acetate can be administered in an amount of about 0.01
      mg/kg/day to about 100 mg/kg/day and the paclitaxel can be administered in the amount of
      about 1 mg/m 2 to about 175 mg/m 2 . Preferably, the paclitaxel is administered over a period
      of between about 2 to about 5 hours once every three months.
      [0065]         Additionally, a method for the treatment of a cancer in a mammal comprises
      administering an amount of abiraterone acetate and an amount of docetaxel. For example,
      the abiraterone acetate can be administered in an amount of about 0.01 mg/kg/day to about
      100 mg/kg/day and the docetaxel can be administered in an amount of about 1 mg/m 2 to
      about 100 mg/m 2 . Preferably, the docetaxel is administered over a period of between about
      1 to about 2 hours once every three weeks.

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       [0066)         In certain embodiments, the l 7a-hydroxylase/C 17 . 20 -lyase inhibitor is
       administered along with an anti-cancer agent that comprises a hormonal ablation agent,
       including, but not limited to, leuprolide, goserelin, or triptorelin. For example, one method
       for the treatment of a cancer in a mammal also comprises administering an amount of
       abiraterone acetate and an amount of leuprolide. The amount of abiraterone acetate can be
       about 0.0 I mg/kg/day to about 100 mg/kg/day and the amount of leuprolide can be about
       0.01 mg to about 200 mg over a period of about 3 days to about 12 months. Preferably, the
       leuprolide is administered in the amount of about 3 .6 mg of leuprolide over a period of
       about 3 days to about 12 months.
       [0067)         Additionally, the methods for the treatment of cancer in a mammal include
       administering an amount of abiraterone acetate and an amount of goserelin. For example,
       the amount of abiraterone acetate can be about 0.01 mg/kg/day to about 100 mg/kg/day and
       the amount of goserelin can be about 0.01 mg to about 20 mg over a period of about 28 days
       to about 3 months. Preferably, the goserelin is administered in the amount of about 3.6 mg
       to about 10.8 mg over a period of about 28 days to about 3 months.
       [0068]         In certain embodiments the methods for the treatment of cancer in a mammal
       comprises administering an amount of abiraterone acetate and an amount oftriptorelin. For
       example, the amount of abiraterone acetate can be about 0.01 mg/kg/day to about 100
       mg/kg/day and the amount of triptorelin can be about 0.01 mg to about 20 mg, over a period
       of about I month, preferably the triptorelin is administered in the amount of about 3. 75 mg
       over a period of about 1 month.
       [0069]         Also, in one embodiment, the method for the treatment of a cancer in a
       mammal comprises administering an amount of abiraterone acetate and an amount of
       seocalcitol. For instance, the method involves administering an amount of about 0.0 I
       mg/kg/day to about 100 mg/kg/day of abiraterone acetate and an amount of about 0.1
       µg/day to about 500 µg/day of seocalcitol, such as about 100 µg/day of scocalcitol.
       [0070]         In another embodiment, the method for the treatment of a cancer in a
       mammal comprises administering an amount of abiraterone acetate and an amount of
       bicalutamide. For instance, the method involves administering an amount of about 0.01
       mg/kg/day to about 100 mg/kg/day of abiraterone acetate and an amount of about 1 mg/day
       to about 300 mg/day of bicalutamide.
       [0071]        In yet another embodiment, the method for the treatment of a cancer in a
       mammal comprises administering an amount of abiraterone acetate and an amount of

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       flutamide. For example, the method comprises administering an amount of about 0.01
       mg/kg/day to about 100 mg/kg/day of abiraterone acetate and an amount of about 1 mg/day
       to about 2000 mg/day of flutamide.
       [0072]         Moreover, the method for the treatment of a cancer in a mammal can
       comprise administering an amount of a 17a-hydroxylase/C 17. 20 -lyase inhibitor such as
       abiraterone acetate and an amount of a glucocorticoid including, but not limited to,
       hydrocortisone, prednisone or dexamethasone. For example, the method can comprise
       administering an amount of about 50 mg/day to about 2000 mg/day of abiraterone acetate
       and an amount of about 0.01 mg/day to about 500 mg/day ofhydrocmiisone. In other
       instances, the method can comprise administering an amount of about 500 mg/day to about
       1500 mg/day of abiraterone acetate and an amount of about 10 mg/day to about 250 mg/day
       of hydrocortisone.
       [0073]         The method for the treatment of a cancer can also comprise administering an
       amount of a 17a-hydroxylase/C11. 20 -lyase inhibitor, such as abiraterone acetate, and an
       amount of a glucocorticoid, such as prednisone. For example, the method can comprise
       administering an amount of about 50 mg/day to about 2000 mg/day of abiraterone acetate
       and an amount of about 0.01 mg/day to about 500 mg/day ofprednisone. Also, the method
       can comprise administering an amount of about 500 mg/day to about 1500 mg/day of
       abirakrone acetate and an amount of about 10 mg/day to about 250 mg/day of prednisone.
       [0074]         In addition, the method for the treatment of a cancer can also comprise
       administering an amount of a 17a-hydroxylase/C 17. 20 -lyase inhibitor, such as abiraterone
       acetate, and an amount of a glucocorticoid, such as dexamethasone. For example, the
       method can comprise administering an amount of about 50 mg/day to about 2000 mg/day of
       abiratcronc acetate and an amount of about 0.01 mg/day to about 500 mg/day of
       dexamethasone. Also, the method can comprise administering an amount of about 500
       mg/day to about 1500 mg/day of abiraterone acetate and an amount of about 0.5 mg/day to
       about 25 mg/day of dexamethasone.


       Compositions Containing a 17a-hydroxylase/C 17• 20 -
       Iyase Inhibitor and an Additional Therapeutic Agent

       [0075]         In certain embodiments, the compositions can contain a combination of a
       l 7a-hydroxylase/C 11. 20-lyase inhibitor, preferably abiraterone acetate, and any of the
       therapeutic agents recited above. Whether the 17a-hydroxylase/C 17 , 20 -lyase inhibitor and

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       the additional therapeutic agent are administered in separate compositions or as a single
       composition, the compositions can take various forms. For example, the compositions can
       take the form of solutions, suspensions, emulsions, tablets, pills, capsules, powders or
       sustained-release fonnulations, depending on the intended route of administration.
       [0076)          For topical or transdermal administration, the compositions can be
       formulated as solutions, gels, ointments, creams, suspensions or salves.
       [0077]          For oral administration, the compositions may be formulated as tablets, pills,
       dragees, troches, capsules, liquids, gels, symps, slurries, suspensions and the like, for oral
       ingestion by a patient to be treated.
       L0078J          The composition may also be formulated in rectal or vaginal compositions
       such as suppositories or retention enemas that contain conventional suppository bases such
       as cocoa butter or other glycerides.
       (0079)          In addition to the formulations described previously, the composition may
       also be formulated as a depot preparation. Such long acting formulations may be
       administered by implantation (for example subcutaneously or intramuscularly) or by
       intramuscular injection. Thus, for example, the therapeutic agents may be formulated with
       suitable polymeric or hydrophobic materials (for example as an emulsion in an acceptable
       oil) or ion exchange resins, or as sparingly soluble derivatives, for example, as a sparingly
       soluble salt.
       (0080)          Additionally, the composition may be delivered using a sustained-release
       system, such as semi-permeable matrices of solid polymers containing the composition.
       Various forms of sustained-release materials have been established and are well known by
       those skilled in the art. Sustained-release capsules may, depending on their chemical nature
       can release the composition over a period of hours, days, weeks, months. For example a
       sustained release capsule can release the compositions over a period of 100 days or longer.
       Depending on the chemical nature and the biological stability of the composition, additional
       strategies for stabilization may be employed.
       (0081)          The compositions can further comprise a pharmaceutically acceptable
       earner. The term "carrier" refers to a diluent, adjuvant (e.g., Freund's adjuvant (complete
       and incomplete)), excipient, or vehicle with which the therapeutic is administered.
       [0082)          For parenteral administrations, the composition can comprise one or more of
       the following carriers: a sterile diluent such as water for injection, saline solution, fixed oils,
       polyethylene glycols, glycerin, propylene glycol or other synthetic solvents; antibacterial

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       agents such as benzyl alcohol or methyl parabcns; antioxidants such as ascorbic acid or
       sodium bisulfite; chelating agents such as ethylenediaminetetraacetic acid; buffers such as
       acetates, citrates or phosphates and agents for the adjustment of tonicity such as sodium
       chloride or dextrose. The parenteral preparation can be enclosed in ampules, disposable
       syringes or multiple dose vials made of glass or plastic.
       [0083]         For oral solid formulations suitable carriers include fillers such as sugars,
       e.g., lactose, sucrose, mannitol and sorbitol; cellulose preparations such as maize starch,
       wheat starch, rice starch, potato starch, gelatin, gum tragacanth, methyl cellulose,
       hydroxypropylmethyl-cellulose, sodium carboxymethylcellulose, fats and oils; granulating
       agents; and binding agents such as microcrystalline cellulose, gum tragacanth or gelatin;
       disintegrating agents, su<.:h as cross-linked polyvinylpyrrolidone, agar, or alginic acid or a
       salt thereof such as sodium alginate, Primogel, or com starch; lubricants, such as
       magnesium stearate or Sterotes; glidants, such as colloidal silicon dioxide; a sweetening
       agent, such as sucrose or saccharin; or flavoring agents, such as peppermint, methyl
       salicylate, or orange flavoring. If desired, solid dosage forms may be sugar-coated or
       enteric-coated using standard techniques.
       [0084]         For intravenous administration, suitable carriers include physiological saline,
       bacteriostatic water, phosphate buffered saline (PBS). In all cases, the composition must be
       sterile and should be fluid to the extent that easy injectability with a syringe. It must be
       stable under the conditions of manufacture and storage and must be preserved against the
       contaminating action of microorganisms such as baderia and fungi. The carrier can be a
       solvent or dispersion medium containing, for example, water, ethanol, polyol (for example,
       glycerol, propylene glycol, and liquid polyethylene glycol, and the like), and suitable
       mixtures thereof. The proper fluidity can be maintained, for example, by the use of a
       coating such as lecithin, by the maintenance of the required particle size in the case of
       dispersion and by the use of surfactants. Prevention of the action of microorganisms can be
       achieved by various antibacterial and antifungal agents, for example, parabens,
       chlorobutanol, phenol, ascorbic acid, thimerosal, and the like. In many cases, it will be
       preferable to include isotonic agents, for example, sugars; polyalcohols such as mannitol,
       sorbitol; sodium chloride in the composition. Prolonged absorption of the injectable
       compositions can be brought about by including in the composition an agent which delays
       absorption, for example, aluminum monostearate and gelatin.


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       (0085]          Also for intravenous administration, the compositions may be formulated in
       solutions, preferably in physiologically compatible buffers such as Hanks's solution,
       Ringer's solution, or physiological saline buffer. The solution may contain formulatory
       agents such as suspending, stabilizing and/or dispersing agents. In a preferred embodiment,
       the compositions are formulated in sterile solutions.
       (0086]          For transmucosal administration, penetrants appropriate to the barrier to be
       permeated arc used in the formulation. Such penetrants are generally known in the art, and
       include, for example, for transmucosal administration, detergents, bile salts, and fi.1sidic acid
       derivatives. Transmucosal administration can be accomplished through the use of nasal
       sprays or suppositories.
       (0087]          For administration by inhalation, the compositions may be formulated as an
       aerosol spray from pressurized packs or a nebulizer, with the use of a suitable propellant,
       e.g., dichlorodifluoromethane, trichlorofluoromethane, diehlorotetrafluoroethane, carbon
       dioxide or other suitable gas. In the case of a pressurized aerosol, the dosage unit may be
       determined by providing a valve to deliver a metered amount. Capsules and cartridges of
       gelatin for use in an inhaler or insufflator may be formulated containing a powder mix of
       the composition and a suitable powder base such as lactose or starch.
       (0088]         The phannaceutical compositions may be manufactured by means of
       conventional mixing, dissolving, granulating, dragee-making, levigating, emulsifying,
       encapsulating, entrapping or lyophilizing processes.
       (0089]         One example of a composition comprising a 17a-hydroxylase/Cn 20-lyase
       inhibitor and an additional therapeutic agent is an oral composition or composition suitable
       for oral administration comprising abiraterone acetate in combination with a steroid. For
       example, the oral composition can be a solid dosage form such as a pill, a tablet or a
       capsule. The oral composition can comprise about 10 mg, 25 mg, 50 mg, 75 mg, 100 mg,
       150 mg, 200 mg, 250 mg, 300 mg, 350 mg, 400 mg, 450 mg, 500 mg, 550 mg, 600 mg, 650
       mg, 700 mg, 750 mg, 800 mg, 850 mg, 900 mg, 950 mg, or 1000 mg of abiraterone acetate.
       The oral composition can comprises about 0.25 mg, 0.5 mg, 0.75 mg, 1.0 mg, 1.25 mg, 1.5
       mg, 1.75 mg, 2.0 mg, 2.25 mg, 2.5 mg, 2.75 mg, 3.0 mg, 3.25 mg, 3.5 mg, 3.75 mg, 4.0 mg,
       4.25 mg, 4.5 mg, 4.75 mg, 5.0 mg, 7.5 mg, 10 mg, 20 mg, 30 mg, 40 mg or 50 mg of a
       steroid, such as a glucocorticoid.
       [0090]         In one embodiment, the oral composition can comprise about 50 mg to about
       500 mg of abiraterone acetate and an amount of about 0.25 mg to about 3.5 mg of the

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       steroid, such as hydrocortisone, prednisone or dexamethasone. In other instances, the
       composition can comprise about 50 mg to about 300 mg of abirateronc acetate and an
       amount of about 1.0 mg to about 2.5 mg of the steroid, such as hydrocortisone, prednisone
       or dexamethasone. In another embodiment the composition can comprise about 50 mg to
       about 300 mg of abiraterone acetate and about 0.5 mg to about 3.0 mg of a steroid. For
       example, the oral composition can be a tablet containing 250 mg of abiraterone acetate; 1.25
       mg or 2.0 mg of a steroid, such as hydrocortisone, prednisone or dexamethasone; and one or
       more carriers, excipients, diluents or additional ingredients. Additionally, the oral
       composition can be a capsule containing 250 mg of abiratcrone acetate; 1.25 mg or 2.0 mg
       of a steroid, such as hydrocortisone, prednisone or dexamethasone; and one or more
       carriers, excipients, diluents or additional ingredients.
       [0091]          The description contained herein is for purposes of illustration and not for
       purposes of limitation. The methods and compositions described herein can comprise any
       feature described herein either alone or in combination with any other feature(s) described
       herein. Changes and modifications may be made to the embodiments of the description.
       Furthermore, obvious changes, modifications or variations will occur to those skilled in the
       art. Also, all references cited above are incorporated herein, in their entirety, for all
       purposes related to this disclosure.




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                 Application Number:                      13034340


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                  Title of Invention:                     Methods and Compositions for Treating Cancer




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